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17                             UNITED STATES DISTRICT COURT
18                          NORTHERN DISTRICT OF CALIFORNIA
19

20 IN RE TESLA, INC. SECURITIES                   Case No. 3:18-cv-04865-EMC
   LITIGATION
21                                                DECLARATION OF KYLE BATTER IN
                                                  SUPPORT OF DEFENDANTS’
22
                                                  EMERGENCY MOTION TO COMPEL
23                                                SUPPLEMENTAL EXPERT REPORTS
                                                  AND DEPOSITIONS
24
                                                  Date: TBD
25                                                Time: TBD
26                                                Location: Courtroom 5, 17th Floor
                                                  Judge: Hon. Edward Chen
27

28

                                                                     Case No. 3:18-cv-04865-EMC
            BATTER DECL. IN SUPPORT OF MOTION FOR SUPP. EXPERT DISCLOSURES AND DEPOSITIONS
     Case 3:18-cv-04865-EMC Document 515-1 Filed 12/21/22 Page 2 of 271




 1                               DECLARATION OF KYLE BATTER

 2 I, Kyle Batter, declare as follows:

 3         1.      I am an attorney at the law firm Quinn Emanuel Urquhart & Sullivan, LLP, counsel for

 4 Defendants in this action. I make this declaration in support of Defendants’ Emergency Motion to

 5 Compel Supplemental Expert Reports and Depositions. I know the facts stated herein of my own

 6 personal knowledge, and if called as a witness, I could and would testify competently thereto.

 7         2.      Attached hereto as Exhibit A is a true and correct copy of the Expert Report of Steven

 8 L. Heston, dated November 8, 2021.

 9         3.      Attached hereto as Exhibit B is a true and correct copy of the Expert Damages Report

10 of Michael L. Hartzmark, dated November 10, 2021.

11         4.      Attached hereto as Exhibit C is a true and correct copy of excerpts from the October
12 25, 2022 transcript from the Final Pretrial Conference.

13         5.      Attached hereto as Exhibit D is a true and correct copy of a December 11-19, 2022
14 email chain between Plaintiff’s counsel and Defendants’ counsel.

15

16         I declare under penalty of perjury of the laws of the State of California that the foregoing is
17 true and correct.

18

19         Executed this 21st day of December, 2022 in Moraga, California.
20

21

22

23                                                       Kyle Batter

24

25

26

27

28

                                               -1-                    Case No. 3:18-cv-04865-EMC
             BATTER DECL. IN SUPPORT OF MOTION FOR SUPP. EXPERT DISCLOSURES AND DEPOSITIONS
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                Exhibit A
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                     UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF CALIFORNIA

IN RE TESLA, INC. SECURITIES LITIGATION    Case No. 3:18-cv-04865-EMC



                                           Hon. Edward M. Chen




               EXPERT REPORT OF STEVEN L. HESTON, PH.D.


                              November 8, 2021
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1     I NTRODUCTION
1.1      Qualifications and Compensation

    1.    I have taught at the University of Maryland, Robert H. Smith School of Business from
2002. Since 2012, I have held the position of Professor of Finance. Prior to that, I held the position
of Associate Professor of Finance. I have held previous faculty positions at Washington University
in St. Louis as Assistant Professor of Finance (1994 to 1998), Columbia Business School as
Visiting Assistant Professor of Finance (1993 to 1994), and Yale School of Organization and
Management as Assistant Professor of Finance (1989 to 1993).

    2.    I hold a Ph.D. in Finance, awarded in 1990 by the Carnegie Mellon University, Graduate
School of Industrial Administration. In addition to my Ph.D., I hold an M.S. degree in Finance and
an M.S degree in Industrial Administration (“M.B.A.”), awarded Carnegie Mellon University in
1987 and 1985 respectively. I also hold a B.S. degree from the University of Maryland, College
Park, awarded in 1983, where I majored in Mathematics and Economics.

    3.    I have taught introductory Corporate Finance and Corporate Governance courses as well
as Ph.D. classes on asset pricing theory, Options and Derivatives, International Finance, and Fixed
Income. The majority of classes I have taught have been at the masters (M.B.A., Masters in
Finance, Masters in Quantitative Finance) or undergraduate level.

    4.    Between 1998 and 2002 I worked in the private sector at Goldman Sachs in New York. I
initially held the position of Vice President on the U.S. Arbitrage desk in the Fixed Income
Division. I then moved to Quantitative Equities in Goldman Sachs’ Asset Management division,
where my position was Vice President.

    5.    As detailed in my curriculum vitae, I have authored or co-authored more than 20 published
peer-reviewed scholarly articles.

    6.    A current copy of my curriculum vitae, including professional appointments and
publications, is included as Appendix A.

    7.    My work in this matter is billed at the rate of $700 per billable hour. In this matter I am
also supported by staff from Fideres Partners LLP. My compensation does not depend in any way


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on my opinions or the outcome in this matter or any other. I have no financial or other interest in
Fideres Partners’ billings in this matter.

1.2       Summary of Relevant Facts

     8.    It is my understanding that a securities litigation class action was brought on behalf of the
Class against Defendants Tesla, Inc. (“Tesla”), Elon Musk (Tesla’s CEO and Chairman), and
certain members of Tesla’s Board of Directors for violations of the federal securities laws.

     9.    It is further my understanding that the Class Period: (a) begins on August 7, 2018 at 12:48
p.m. EDT when Mr. Musk tweeted “Am considering taking Tesla private at $420. Funding
secured.”; and (b) ends on August 17, 2018, after the publication of a New York Times article.1

1.3       Statement of Assignment

     10. I have been retained by Court-appointed Lead Counsel and Class Counsel (“Counsel”)2 for
Lead Plaintiff and Class Representative Glen Littleton and the putative Class3 in the matter of In
re Tesla, Inc. Securities Litigation to analyze the price movements of options on Tesla common
stock during the Class Period from 12:48 p.m. EDT4 on August 7, 2018 to August 17, 2018. As
part of this engagement, I have reviewed historical Tesla stock and options data to evaluate: a) the
effect of Tesla stock price movements on Tesla option values; and b) additional movements in
Tesla option prices beyond the effect of stock price.




1
    See, e.g., Consolidated Complaint for Violations of the Federal Securities Laws, In re Tesla, Inc. Secs Litig., ¶¶1-2,
       6, Case No. 18-CV-04865 (EMC) (N.D. Cal. Jan. 16, 2019), ECF No. 184 (hereinafter, “Complaint”). See also
       Stipulation And Order For Class Certification, Case No. 18-CV-04865 (EMC) (N.D. Cal. Jan. 16, 2019), ECF
       No. 298.
2
    Levi & Korsinsky, LLP.
3
    It is my understanding the “Class” has been certified as “All individuals and entities who purchased or sold Tesla
        stock, options, and other securities from 12:48 p.m. EDT on August 7, 2018 to August 17, 2018 and were damaged
        thereby” (the “Class”).” Stipulation and Order for Class Certification, ¶4, In re Tesla, Inc. Secs. Litig., 3-18-cv-
        04865-EMC (N.D. Cal.), ECF No. 298. Additionally, “Excluded from the Class are: Defendants; the officers and
        directors of Tesla, Inc. at all relevant times; members of their immediate families and their legal representatives,
        heirs, successors, or assigns; and any entity in which Defendants have or had a controlling interest.” ibid., ¶5.
4
    All times are Eastern Daylight Time unless otherwise noted.


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2       S UMMARY OF O PINIONS
      11. At-the-money-forward Tesla option prices, including straddles, provide a reasonable and
reliable measurement of option prices relative to underlying stock prices. Section 3.2 explains
that a “straddle” options position is when an investor buys both a put and a call with the same
strike and maturity date simultaneously. Straddle holders bet that there will be a large change in
the stock price, either upward or downward, but are neutral with respect to stock movements.
Straddle prices therefore reflect “implied volatility,” or the market’s expectation of future stock
price volatility.

      12. Following 12:48 p.m. on August 7, 2018, Tesla stock prices rose, and long-term ATM-
forward Tesla option straddle prices fell sharply. Section 5.4 shows that on August 7, 2018,
following 12:48 p.m., long-term ATM-forward Tesla option straddles lost value.5 This decline in
price is substantial and rare. This decline can be directly translated into a significant decrease in
implied volatility using standard Black-Scholes-Merton formulas. I observe that at the same time,
Tesla stock prices rose from around $356.79, to $385.93 during the Class Period, then dropped to
$305.5 at the close of August 17, 2018.6

      13. All long-term Tesla put options lost value on August 7, 2018. Option theory predicts that
rising stock prices and declining volatility will reduce the value of put options. As reflected in the
Tesla options data, put options lost value on August 7, 2018, after 12:48 p.m.

      14. Prices of long-term out-of-the money Tesla call options fell, while prices of long-term in-
the-money Tesla call options rose on August 7, 2018. Call options benefitted from the rise in Tesla
stock price but were negatively impacted by the fall in implied volatility. Consequently, the price
of in-the-money and out-of-the-money Tesla call options diverged on August 7, 2018. These two
countervailing effects during the Class Period must be netted to determine the combined impact
on option prices.



5
    Long-term expiries include October 19, 2018; November 16, 2018; December 21, 2018; January 18, 2019; February
      15, 2019; March 15, 2019; June 21, 2019; August 16, 2019; and January 17, 2020. Short-term expiries include
      August 10, 2018; August 17, 2018; August 24, 2018; August 31, 2018; September 7, 2018, September 14, 2018;
      September 21, 2018; and September 28, 2019. I explain this distinction further in Section 5.4.
6
    I do not further analyze Tesla stock prices, beyond the observations of historical prices reported.


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    15. The combined impact of the alleged misstatements on Tesla option prices can be reliably
and reasonably calculated using the Black-Scholes-Merton model. I present a reliable,
reasonable, and robust method to convert ATM-forward straddle prices into implied volatilities for
any given maturity in the but-for world and to calculate the impact on option prices using the
Black-Scholes-Merton formulas given the changes in the underlying stock price and implied
volatilities. If asked to do such, I can measure the impact of the alleged misstatements on Tesla
options by inputting the following variables into the Black-Scholes-Merton model: a) but-for
implied volatilities (estimated from but-for straddle prices) and b) but-for Tesla stock prices. I have
not been asked to opine as to the appropriate but-for ATM-forward straddle prices for Tesla options
(and therefore but-for implied volatility) or the but-for price of Tesla common stock, but could
calculate the combined impact of the alleged misstatements on Tesla option prices using the
method I present in my report if provided with these figures by Dr. Michael L. Hartzmark and/or
the finder of fact.

    16. In summary, on August 7, 2018, following 12:48 p.m., the price of Tesla common stock
rose which generally increased the prices of Tesla call options and decreased the prices of Tesla
put options. Simultaneously, long-term ATM-forward straddle prices fell significantly as a
percentage of the stock price (i.e., implied volatility fell). Given but-for stock prices and but-for
implied volatilities, the Black-Scholes-Merton formulas can quantify the impact of but-for stock
prices and implied volatilities on all Tesla options traded during the Class Period.

    17. To reach the above opinions, I have relied on the materials listed in the appendices and
have cited in this report. The research and analysis upon which my opinions are based has been
conducted by me and the personnel working under my direction and supervision. My conclusions
are based on information available to me as of the date of this report. I may review, evaluate, and
analyze relevant material that becomes available to me in the future. I reserve the right to amend,
supplement, or otherwise modify my findings and conclusions as appropriate.

3     B ACKGROUND ON E QUITY O PTIONS
3.1    General Rights and Terms Concerning Equity Options

    18. An option gives the buyer (or “holder”) the right – but not the obligation, to buy (in the
case of a “call option”) or to sell (in the case of a “put option”) a particular underlying commodity

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or financial instrument (“underlying” or “underlying asset”), at a predetermined price (“strike
price” or “strike”), at or until a specified date and time in the future (“expiry date” or “expiry”).7

      19. The options relevant to my analyses are stock options, meaning their underlying asset is
equity in a publicly traded company - Tesla. The underlying asset in question is therefore common
stock in Tesla.

      20. When the holder of an option exercises their right to buy or sell the stock and settle the
option, it is said that the buyer “exercises” their right, or the option is “exercised”.

      21. Options can be “in-the-money” (“ITM”), “at-the-money” (“ATM”) or “out-of-the-money”
(“OTM”). A call option is in-the-money when spot price exceeds the strike price, at-the-money
when the spot price equals the strike price, and out-of-the-money when the spot price is below the
strike price. A put option is in-the-money when the spot price is below the strike price, at-the-
money when the spot price equals the strike price, and out-of-the-money when the spot price
exceeds the strike price. Options will only be exercised when they are in-the-money. 8

      22. There are two types of exercise rights, referring to when option holders buy or sell the
underlying stock: American options and European options. An American option can be exercised
any time up to and including the expiry date. A European option can only be exercised on the
expiry date.

      23. It is not optimal to exercise an American call option early unless the stock pays a substantial
dividend – Tesla did not during the Class Period and has never declared. But it can be optimal to
exercise an American put option on a non-dividend-paying stock early when it is sufficiently deep
in-the-money.9 However, as numerically shown by Heston and Zhou (2000)10, the positive impact
of the option to early exercise is almost negligible for American put options when compared to
European put options with the same specifications.


7
    Hull, John C. Option, Futures and Other Derivatives. Pearson Education, 2015 (hereinafter, “Hull”), p. 213.
8
    ibid., p. 220.
9
    ibid., p. 245-250.
10
     Heston, Steve, and Guofu Zhou. "On the Rate of Convergence of discrete‐time Contingent Claims." Mathematical
      Finance, vol. 10, no. 1, 2000, pp. 53-75.


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      24. An option class refers to all options of the same type (i.e., call or put) that have the same
underlying stock. An option series comprises all options in a particular class that have the same
strike price and expiry date.11

      25. The price of an option contract is also known as the “premium.” This is paid by the holder
to the writer in consideration for the right to buy or sell the stock. An option is a “derivative”
security because its value depends on, i.e., is derived from: the value of the underlying asset, in
this case a stock. An option’s price is determined by the current price of the stock (“spot price” or
𝑆), the strike price (𝐾), the time to expiry (𝑇), the volatility of the stock price, the interest rate, and
the dividend yield of the stock.

      26. The holder of an option will use their right to exercise the option when the final payoff is
positive. For call options, this occurs when the strike price is below the prevailing stock price on
the exercise date and the holder can acquire the stock for less than the spot price. For put options,
this occurs when the strike price is above the prevailing stock price on the exercise date, and the
holder gets a higher price for delivering the stock to the writer, than how much the stock could be
acquired on the market.

      27. The value of an option is comprised of “intrinsic” and “time value.” The intrinsic value of
an option is its value if the holder had to immediately decide whether to exercise it or not. For a
call option, this is spot minus strike price when an option is in-the-money, or zero if the option is
at or out-of-the-money, given by max(𝑆 − 𝐾, 0). For a put option, the intrinsic value is the
strike minus the spot price when the option is in-the-money, otherwise zero if the option is at or
out-of-the-money, defined as max(𝐾 − 𝑆, 0). An out-of-the-money option has zero intrinsic value
as the holder will choose not to exercise the option.12

      28. Option time value refers to the portion of an option’s premium that is attributable to the
amount of time remaining until option expiry. Time value arises from the possibility that the stock
price will favorably increase or decrease by the expiration date. For example, it is often optimal
for the holder of an in-the-money American option not to exercise before expiry because their


11
     Hull, p. 220.
12
     ibid.


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option has time value.13

      29. American options are always worth at least their intrinsic value as the holder can choose to
exercise the option at any time before the expiration date. The holder usually prefers to wait due
to their option’s time value. For call options, it is only preferable to exercise the option early if
stock’s dividend exceeds the option’s time value. However, for put options, the holder might
benefit by exercising early because spot prices have a zero lower bound and they can earn risk-
free returns. Imagine the spot price for a stock is $1, the strike price is $10, and there is risk-free
interest rate. The holder may exercise early, get $9, and earn risk-free interest on their $9. The
difference between the strike price and stock price can only increase by $1, so depending on the
volatility and risk-free return, the holder may earn more by exercising the option early. Generally,
exercising a put option early becomes more attractive as the spot price decreases, the interest rate
increases, or volatility decreases.14

      30. For example, if a holder has a call option to buy 100 shares of underlying stock at a strike
price of $60, and the market price for the share is $70, the option is in-the-money as the share
could be sold straight after exercising the option for a profit. Conversely, if a holder has a put
option to sell a share for $60, and the market price for the share is $70, the option is out-of-the-
money because it would not be economical for the holder to sell at the lower price. Whether an
option is ITM/ATM/OTM depends on the relevant prevailing market price of the underlying stock.
All options additionally have an extrinsic value, a/k/a “time value.” Table 1 below provides a
summary:



                 Spot > Strike       In-the-Money (ITM)            Out-of-the-Money (OTM)
                 Spot = Strike     At-the-Money (ATM)                At-the-Money (ATM)
                 Spot < Strike    Out-of-the Money (OTM)              In-the-Money (ITM)

                                                   Table 1

      31. A physically settled option requires delivery of the stock. For example, if the asset is a


13
     ibid.
14
     ibid., p. 247.


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listed equity, settlement requires transfer of shares to the holder if they exercise the option. Options
can also be cash-settled, meaning the writer of the option makes a cash payment to the holder based
on the difference between the spot and the strike price.

      32. If the holder does not exercise an option, the option position is deemed expired or closed.
For exchange traded options, an option position can also be closed if the holder sells an “offsetting
option” prior to the expiry date, i.e., the holder buys another option with the opposite position.
Conversely the writer of an option can close out the option position by purchasing an offsetting
option.

                      3.1.1   Call Options

      33. An investor purchases a call option alone when they believe the stock price will increase.
A holder will only exercise the option if it is in-the-money. Call options become more valuable as
the stock price increases, and less valuable as the strike price increases.15 Similarly, call options
gain value if investors think the volatility of a stock will increase.

      34. If a holder of a call option exercises their right to buy the stock, the writer is obligated to
sell it at the strike price. The holder can then sell the asset at the current market value for a profit.

      35. Consider a call option with a strike price of $70 to buy 100 shares in company X. If the
stock price is less than $70 at expiration, the holder will allow the option to expire without
exercising it. However, if the share price was $80 at expiration, the holder will exercise their
option, buy at $70 from the option writer, and then sell at $80, receiving a payoff of $10 per share.

      36. In a call options contract, the holder takes a long position, meaning they anticipate the spot
price will rise above the strike price, while the writer takes a short position, believing the spot price
will be at or below the strike price.

      37. If the holder of a call option exercises their right to buy the stock, the proceeds will be the
amount by which the asset’s price exceeds the strike price.16 The payoff for call option holder can



15
     ibid., p. 214.
16
     ibid.


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therefore be calculated as follows (where 𝑆𝑇 is the stock’s spot price on the exercise date):

                                                   max (𝑆𝑇 − 𝐾, 0)

      38. In determining whether the holder will make a profit, the premium paid also needs to be
considered. To break even, the stock’s price will need to have increased by at least the premium
paid. The net profit for a call buyer can be calculated as follows (where C is the call premium):

                                                max (𝑆𝑇 − 𝐾, 0) − 𝐶

      39. A call option holder is protected from losses arising from extreme downward movements
in prices of the stock, as he/she will let the option expire. As a result, a call option holder’s losses
are limited to the premium paid for the option contract. The maximum profit is, in theory,
unlimited17.




                                                          Figure 1

      40. Writers of call options take a short position on the underlying stock, meaning they believe
its price will fall, or at least be less than the strike price. Writers benefit from a short position


17
     Note that the usual practice is to ignore the time value of money when showing the gain or loss from options (See
      Hull p. 213).


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through the call premium. Like call options, put options also gain value when investors think
volatility will rise.

   41. The payoff of a short call option position is exactly the opposite of a long call option
position. The maximum payoff for a call option writer is the premium received. However, the
maximum loss is, in theory, unlimited.




                                                  Figure 2


                3.1.2   Put Options

   42. An investor purchases a put option alone when they believe the stock price will decrease.
A holder will only exercise the option if it is in-the-money (i.e., the strike price is greater than the
asset’s current market price). Put options therefore become more valuable as the strike price
increases and less valuable as the stock price increases.

   43. If a holder of a put option exercises their right to sell the stock, the writer is obligated to
buy at the strike price. In put options, writer’s take a long position on the underlying stock, but a
short position on the option itself. Inversely, holder’s take a short position on the underlying stock,
but a long position on the option itself. This is because the value of the put option rises as the spot
price declines, so each party’s position on the put option is antithetical to their position on the

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underlying stock.

   44. As an example, consider a European put option with a strike price of $70 to sell 100 shares
in company X, with a premium of $5 per share. If the stock price is $80 at expiration, it would not
make sense to sell at $70, and so the option will expire. However, if the share price reaches $60 at
expiration, the holder will exercise the option.

   45. There are two basic put option positions: a short position (taken by the writer) and a long
position (taken by the holder).

   46. If the holder of a put option exercises his/her right to sell the stock, the proceeds will be
the amount by which the strike price exceeds the stock price. On the exercise date, the payout for
a put option holder can therefore be calculated as follows:

                                           max (𝐾 − 𝑆𝑇 , 0)

   47. In determining whether the holder will make a profit, the premium paid also needs to be
considered. The profit for a put option holder can be calculated as follows (where P is the put
premium):

                                        max (𝐾 − 𝑆𝑇 , 0) − 𝑃

   48. A put option holder is protected from losses arising from extreme increases in the stock
price, as he/she could let the option expire. However, if the stock price remains unchanged at the
expiry date, the holder would lose the entire investment, (i.e., the premium paid). The maximum
possible benefit for the put option holder is the full strike price, because the spot price will not fall
below zero.




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                                                 Figure 3

  49. The payoff of a short put option position is exactly the opposite of a long put option
position, and is received by the writer. The maximum profit for a put option writer is the premium
received. The writer’s maximum loss is bound at the full strike price because the minimum possible
spot price is zero (and the strike price minus zero is simply the strike price).




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                                                             Figure 4


                    3.1.3    Put-Call Parity

      50. The above graphs demonstrate that calls are bullish and puts are bearish about the
underlying price, and the two consequently behave in opposite ways.18 Payoffs from options
trading are a “zero-sum game” – when the option holder makes a profit, the option writer loses the
equal amount.

      51. However, options allow both parties to hedge their risk, and so both parties may
nonetheless benefit from an options contract. For example, an investor who owns stock in a
company may write (sell) a covered call to limit their risk if the stock price declines. Similarly, an
investor may buy (hold) a protective put, which they would exercise if the stock price fell.

      52. “Put-call parity” refers to the relationship between European call options and put options
with the same underlying asset, strike price and expiry date. If this equilibrium is violated, an



18
     A bullish investor believes a security will gain value, i.e., takes a long position, whereas a bearish investor believes
       the security will lose value, i.e., takes a short position.


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arbitrage opportunity arises, whereby an investor can theoretically earn risk-free profits.19

      53. Put-call parity provides that:

                                                  𝐶 = 𝑆 + 𝑃 – 𝑃𝑉(𝐾)

           where,
           𝐶 is the premium of the European call option with strike price 𝐾 and expiry 𝑇;
           𝑃 is the premium of the European put option with strike price 𝐾 and expiry 𝑇;
           𝑆 is the spot price of the current market value of the underlying asset; and
           𝑃𝑉(𝐾) is the present value of the strike price 𝐾, discounted from the value on the expiry
           at the risk-free interest rate.

      54. The above formula can be alternatively written below. The rewritten formula shows that
the price of a call option minus the price of a put option is equivalent to a levered stock position,
because either the long call or short put will be exercised, so that this position will inevitably
receive the stock and pay the exercise price.

                                                 𝐶 – 𝑃 = 𝑆 – 𝑃𝑉(𝐾)

      55. Put-call parity also indicates that owning the present value of the strike price plus the
opportunity to exchange it for stock is equivalent to owning the stock plus the opportunity to
exchange it for the strike price.

                                                 𝐶 + 𝑃𝑉(𝐾) = 𝑃 + 𝑆

      56. Put-call parity implies that call and put prices will be equal when the stock price equals the
present value of the strike price. More broadly, it also shows that the time value of a call is
equivalent to the time value of the corresponding put.

      57. When stock prices are higher than the present value of strike price, call options will be in-
the-money (with respect to the present value of the strike), and will be worth more than the
corresponding out-of-the-money puts, and vice versa. Because of put-call parity, an out-of-the-


19
     “Theoretical” in the sense that the market should be liquid enough to allow for arbitrage trades.


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money option can be converted into an in-the-money option. Therefore, when pricing option series,
one can focus on the cheaper out-of-the-money options, which have no intrinsic value.

      58. Put-call parity is complicated by early exercise rights in American options. In the case of
Tesla common stock, this is a fringe issue. Call options are only exercised early if the stock pays
sufficiently large dividends, however Tesla common stock pays no dividends.20 Put options might
be exercised early despite a lack of dividends if they are sufficiently deep in-the-money, 21 however
at no point during the relevant period were a significant number of Tesla put options deep enough
in-the-money for early exercise to be optimal, see Section 5.2.

                    3.1.4   Factors Affecting Option Prices

      59. Prices for put and call options are affected by six factors:22

           •    The current (or spot) stock price, 𝑆0 ;
           •    The strike price, 𝐾;
           •    The time to expiration, 𝑇, also denoted as 𝑇 − 𝑡 where 𝑇 is the expiration date and 𝑡
                is the current date;
           •    The implied volatility of the underlying stock price, 𝜎;
           •    The risk-free interest rate, 𝑟; and
           •    Expected dividends.

      60. Implied volatility is distinct from the actual volatility of the underlying stock and is the
only variable listed above that is not directly observable. Actual, or historical, volatilities are
backward looking, meaning they are based on the previous level of volatility observed in a stock’s
price movements. Implied volatility, on the other hand, is forward looking, meaning it shows the
level of volatility investors expect in the future.23 It is possible that the historic volatility of a stock
is very low, whereas the implied volatility is high. This would occur when investors expect
substantial future changes in the stock price. In reality, implied volatility tends to be less variable




20
     Tesla’s 2017 Annual report, stating “We have never declared or paid cash dividends on our common stock. We
      currently do not anticipate paying any cash dividends in the foreseeable future.”
      https://www.annualreports.com/HostedData/AnnualReportArchive/t/NASDAQ_TSLA_2017.pdf, p.36.
21
     Hull, pp. 245-251.
22
     ibid., pp. 234-235.
23
     ibid., pp. 341-342.


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than the price of the option itself.24

      61. Implied volatility is also a “risk-neutral” measure of volatility, i.e., it looks at the
probability of a stock price movement within a distribution, rather than analyzing the risk of a
particular stock. In the original Black-Scholes-Merton formulas (see Section 4 for more details),
implied volatility is assumed to be constant across stock and strike prices, but other versions of the
formula relax this assumption. Throughout this report, wherever I refer to volatility, I mean implied
volatility unless otherwise specified.

      62. With the exception of time to expiration and implied volatility, put and call options have
opposite reactions to each of these variables, summarized below in Table 2.25




                                                       Table 2

      63. Recall that the payoff for a call option is how much greater the spot price is than the strike
price. Consequently, call options become more valuable as the stock price rises, and less valuable
as it declines, all else equal. Call options also lose value with higher strike prices, all else equal.

      64. Conversely, the value of a put option falls as the stock price rises, because the payoff on a
put option is the amount the strike price exceeds stock price, all else equal. This also means put
options are more valuable the higher their strike price is, all else equal. The inverse relationships
call and put options have with the stock and strike prices is depicted in the first panel of Figure 5


24
     ibid.
25
     ibid., pp. 234-235. Note, when dividends are sufficiently high, exercising an American option early may be
       profitable despite its time value.


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below.

  65. Each chart below shows how the value of an option responds to the variable shown on the
horizontal axis, holding everything else constant. Values are calculated using the Black-Scholes-
Merton formula, detailed in Section 4. I use constants of 30% implied volatility, $50 strike, $50
spot, 5% risk-free return, and one period to expiration. E.g., the first plot, titled “Stock Price,”
shows how the value of an option responds to changes in stock (spot) price between $0 and $100,
with implied volatility fixed at 30%, a strike price at $50, risk-free returns at 5%, and one period
to expiration. Put/call options have opposite reactions to stock and strike prices.




                                                 Figure 5



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     66. Unlike stock and strike prices, both put and call options have a positive relationship with
the time to expiration. That is, the longer the time to expiration, the more valuable the options
become, all else equal. The more time until the option expires, the greater chance of a favorable
price movement.

     67. The fifth relevant variable is the interest rate. The value of call options increases with the
interest rate because, holding the current spot price, or 𝑆0 constant, investors expect the future
stock price, 𝑆𝑡+1, to increases with the interest rate. This same effect causes the put option value
to decline with the interest rate. In reality, interest rates tend not to change significantly over the
lifespan of an option. This is especially true for the Class Period – see Figure 6 below and Table
10 in Appendix C.26 As a result, I use a fixed 2.4% interest rate for the calculations in Section 5
and Section 6 of this report. Because of the impact methodology I describe in Section 6.2, the
choice of interest rate has little effect on my conclusions.




26
     The constant maturity Treasury yields data was obtained from the Federal Reserve Board database,
      https://fred.stlouisfed.org/categories/115, Methodology found here, https://www.treasury.gov/resource-
      center/data-chart-center/interest-rates/Pages/yieldmethod.aspx


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                                                 Figure 6

  68. As depicted in Figure 7 below, implied volatility also raises both put and call option values,
all else equal. Put and call options protect their holders from downside risk. The most a holder can
ever lose with an option is the premium. However, their upside potential is unlimited in the case
of call options, and only limited by zero spot price in put options. Options holders therefore benefit
from implied volatility, because they stand to rake in large profits given extreme favorable price
movements, but are protected against similarly extreme unfavorable price changes.




                                                 Figure 7

  69. The relationship between implied volatility and option values is visualized above as a shift
from the solid to the dotted lines. An increase in implied volatility shifts the entire option curve
up, meaning for any given stock or strike price, an increase in volatility raises the option value.
This is true for both call and put options.

  70. Option value’s sensitivities are also conventionally called option Greeks, because the
symbols used to represent the sensitivities of these complex derivatives come from calculus and

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use the Greek Alphabet.27 The following are the most common option Greeks:

            vega (or 𝜈 ) measures impact of a change in volatility in option prices;

            theta (or Θ) measures impact of a change in time remaining on option prices;

            delta (or 𝛥) measures impact of a change in the price of underlying; and

            gamma (or 𝛤) measure impact of rate of change of Delta.

      71. Although there are six inputs that are used to calculate the value of option under the BSM
model, only two variables change randomly that have a large impact on option value – stock price
and implied volatility. Given that other option inputs remain relatively constant overtime, knowing
how implied volatility and the underlying stock price changes over time, I can effectively isolate
and explain their corresponding impact on option values.

3.2       Option Straddle

      72. A straddle is a widely applied option strategy and are commonly studied by practitioners
and in academia.28 Notably, the original VIX index was calculated by inverting Black-Scholes-
Merton formulas using prices of ATM-forward straddles.29

      73. A “long straddle” is when an investor buys both a call and put option of the same underlying
asset, each with the same strike price and expiry date.30 Investors buy a straddle when they think
the stock price will change substantially, but are not sure in which direction, i.e., they think there
will be a general increase in volatility of the underlying stock. Straddle holders bet that the implied
volatility of the stock will increase.

      74. A “short straddle” is when an investor sells both a call and put option of the same
underlying asset, each with the same strike price and expiry date. In contrast, to a holder of a



27
     Vega itself is not a Greek letter, but is denoted by the Greek letter nu (𝜈).
      https://corporatefinanceinstitute.com/resources/knowledge/trading-investing/vega-%CE%BD/
28
     See for example, Goyal, A. and Saretto, A., 2009. Cross-section of option returns and volatility. Journal of Financial
       Economics, 94(2), pp.310-326.
29
     See Carr, Peter and Liuren Wu. “A Tale of Two Indices.” The Journal of Derivatives 13.3 (2006): 13-29. Print.
30
     Bodie, Zvi, Alex Kane, and Alan Marcus. Investments. McGraw-Hill, 1999, p. 628. (hereinafter, “Investments”).


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straddle, the straddle writer is betting that the asset’s price will remain stable, (i.e., less volatile).

      75. Because an option holder’s loss risk is bound at the call premium, holders can purchase
both a put and call option simultaneously (e.g., a straddle position), and benefit from a large change
in the stock price, regardless of the direction. Imagine a holder who buys a straddle, then the stock
price increases. They will exercise their call option and allow their put option to expire. When an
investor enters into a long straddle, they risk the loss of the value of their premium, but as long as
the stock price increases to exceed the sum of the premiums paid to create the straddle (because
they purchased two options), they will profit. Similarly, if the stock price declines, the holder will
exercise their put option, allowing their call option to expire. If the stock price falls by more than
the sum of the premiums (again because they purchased two options and therefore paid two
premiums), the holder will make a profit. The straddle strategy relies on the bounded risk of the
option holder.

      76. A straddle holder’s payoff increases regardless of whether the stock price increases or
decreases (also known as “delta neutral”), so long as the stock price moves substantially in either
direction. The straddle holder’s payoff therefore benefits from increased implied volatility. If
implied volatility is low and there ultimately no movement in stock price, the holder will lose the
premiums paid for both options. While the value of the portfolio at expiry can never be negative,
it must still exceed the premiums paid for the holder to make a profit.31

      77. A long straddle position has unlimited profit potential and a limited loss potential (i.e., the
sum of the premiums paid to purchase both the call and put options to create the straddle). The
potential payoff and loss for a can by depicted as the following:




31
     ibid.


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                                              Figure 8


  78. Conversely, a short straddle position has unlimited risk (loss) potential in both directions
and has a maximum profit potential equal to the sum of the premiums received for selling both the
call and put options. The potential payoff and loss for a straddle writer can by depicted as the
following:




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                                                            Figure 9

      79. Mathematically, the payoff for straddles can be calculated as:

                                                             𝑆 − 𝐾, 𝑖𝑓 𝑆𝑇 > 𝐾
                         𝑚𝑎𝑥(𝑆𝑇 − 𝐾, 0) + 𝑚𝑎𝑥(𝐾 − 𝑆𝑇 , 0) = { 𝑇
                                                             𝐾 − 𝑆𝑇 , 𝑖𝑓 𝐾 ≥ 𝑆𝑇

           where,

           𝑆𝑇 = Underlying stock price at expiry 𝑇

           𝐾 = Strike price

      80. In addition to regular ATM straddles, there are also ATM-forward straddles. An ATM-
forward straddle, as opposed to a simple ATM straddle, means the forward (rather than spot) price
equals the strike for both option positions in the straddle.32 Equivalently, the present value of the



32
     ATM-forward is the same as ATM, except that the strike price equals the prevailing forward price rather than the
      prevailing spot price. The forward price is roughly equal to the spot price, but includes storage costs and interest
      rates. https://onlinelibrary.wiley.com/doi/10.1002/9781118793251.ch4


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strike price equals the spot price.

      81. ATM-forward straddle prices represent the total price of a portfolio of ATM-forward
options for a particular maturity. As we will show in section 5.5, a drop in ATM-forward straddle
prices means a uniform drop in prices of this portfolio of ATM options.33

      82. According to the Black–Scholes-Merton model,34 implied volatility of an option can be
derived given the price of an ATM-forward straddle, the current stock price, and the time to
expiration.35 This is mainly because the value of a call and put are equal when the underlying stock
price equals the present value of the strike.

      83. ATM options also have the highest time value and vega. Therefore, as discussed in further
detail in Section 6.1, by analyzing changes in prices of ATM-forward straddles, I can measure
changes in implied volatility.36

3.3      Options Markets and Exchange-traded Options

                   3.3.1    Options Markets

      84. An option can either be traded on exchanges or off exchange (a.k.a. the over-the-counter
or “OTC market”).

      85. In OTC markets, option trades are negotiated through a dealer, and the terms of the option
contract can be individually tailored. There are no membership requirements for trading.37
Counterparty risk (i.e., the risk of the other party to a transaction defaulting on their obligations)
is a key factor in OTC markets.

      86. Exchange-traded options, as their name indicates are traded on option exchanges such as

33
     Hull, pp. 104-131.
34
     See Section 4 introducing and discussing the Black–Scholes-Merton model.
35
     See Brenner, Menachem, and Marti G. Subrahmanyam. "A Simple Formula to Compute the Implied Standard
       Deviation." Financial Analysts Journal, vol. 44, no. 5, 1988, pp. 80-83. See also Corrado, Charles J., and Thomas
       W. Miller Jr. "A Note on a Simple, Accurate Formula to Compute Implied Standard Deviations." Journal of
       Banking & Finance, vol. 20, no. 3, 1996, pp. 595-603.
36
     For simplicity of presentation, future references to straddles, or ATM straddles, means ATM-forward straddles
      unless otherwise specified.
37
     Investments, p. 74.


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The Chicago Board Options Exchange (“CBOE”).38 Exchange-traded options use standardized
contract terms for strike prices, expiry dates and deliverable specifications. Exchange traded
options also settle through an exchange clearing house, who guarantees that options writers will
fulfill their obligations under the terms of option contracts and keeps a record of all long and short
positions.

                     3.3.2   Exchange-traded Options – Specifications

      87. In the United States, some of the exchanges that trade stock options include the CBOE, the
Philadelphia Stock Exchange, and the American Stock Exchange.39 CBOE operates four U.S.-
listed cash equity options markets, including the largest options exchange in the U.S. – CBOE
Options Exchange.

      88. The CBOE’s standard terms for equity options provide that the underlying asset is generally
100 shares for each option contract.40

      89. Strike prices are typically set at 2.5-point intervals when the strike price is between $5 and
$25; 5-point intervals when the strike price is between $25 and $200; and 10-point intervals when
the strike price is over $200.41

      90. The CBOE’s trading hours are 8:30 a.m. to 3 p.m. Central Time.42

      91. The expiration date is the third Friday of the expiration month. The expiration months
consist of two near-term months (the current month, plus the following month), and two additional
months depending on whether the stock is assigned to the January, February or March cycle. The
January expiration cycle uses the first months in each quarter, (January, April, July, October), the
February cycle uses the second months in each quarter, (February, May, August, November), and


38
     A derivative exchange is a market where individuals trade standardized contracts that have been defined by the
      exchange. See Hull, p. 2.
39
     Hull, p. 218.
40
     “Equity Options Product Specifications.” CBOE, available at
       https://www.cboe.com/exchange_traded_stock/equity_options_spec/, hereinafter (“Equity Options Product
       Specifications”), (accessed November 4, 2021).
41
     ibid.
42
     ibid.


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the March cycle uses the third months in each quarter (March, June, September, December). For
example, an option issued in March assigned to the January cycle would have available expiration
months of March (the current month), April (the following month), and July and October (the next
two months after April in the January cycle).43

      92. The premium is quoted on a per share basis and is stated in decimals, with one point
equaling $100. For example, a quoted price of $3.00 would result in a total premium of $300 ($3
multiplied by 100).

                   3.3.3   Exchange-traded Options – Clearing and Settlement

      93. Given that exchange-traded options are subject to standardized parameters, this permits
exchange-traded options to be cleared through a central clearing counterparty. As such, exchange-
traded options have no counterparty risk as all exchange-traded options are cleared through a
central counterparty, the Options Clearing Corporation (“OCC”). As the issuer of exchange listed
options, OCC in effect becomes the buyer to every clearing member representing a seller and the
seller to every clearing member representing a buyer.44

      94. The OCC provides clearing and settlement services to multiple exchanges, including the
CBOE. A firm must be a member of the OCC to use its services. In order to protect against member
default, the OCC imposes several requirements to qualify for membership. An applicant must: be
a broker dealer or futures commission merchant registered with the SEC or Commodity Futures
Trading Commission, or a non-U.S. securities firm; have minimum net capital of $2,500,000; and
have qualified staff and adequate facilities to self-clear options.45 The OCC charges a clearing
fee.46

      95. Clearing is the process by which option trades settle. In the case of shares, this involves
physical delivery of the shares to the buyer. A clearinghouse acts as an intermediary between the
parties to an option contract, and effectively becomes the “opposite party to every trade,” (i.e., the


43
     https://www.cboe.com/us/options/trading/codes/.
44
     https://www.cboe.com/investor_protection/.
45
     https://www.theocc.com/Company-Information/Becoming-a-Clearing-Member.
46
     https://www.theocc.com/Company-Information/Schedule-of-Fees.


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buyer for the short position and the seller for the long position).47 Parties on each side of an option
contract deal only with the clearinghouse, which acts as the guarantor.48

      96. This arrangement also allows traders to liquidate or terminate an option position at any
time before expiry, by issuing an “offsetting” order. For example, an investor with a long position
can close its position by selling the option and assuming a short position. The exchange then “nets
out” the investor’s long and short positions, effectively reversing the trade.49

      97. Investors trade with the exchange and not necessarily with the same buyer and seller in a
particular transaction. When an option holder exercises an option, the OCC assigns a member “at
random” with a short position in the same option, who must then fulfil the terms of the option.
This is known as “assignment.”50

      98. Trading volume refers to the number of options contracts that have changed ownership
during a particular period, regardless of the actual number of contracts. Trading volume can
increase or decrease without a change in the total number of options contracts.

      99. Exchange traded option volume can also be measured through “open interest.” Open
interest counts the number of outstanding options contracts, meaning contracts which have not
been settled. Open interest counts each contract once, so it could be measured either by the volume
of long positions or by the volume of short positions (which must necessarily be equal), but not by
the sum of the two. This differs from volume traded as it only accounts for new contracts, rather
than the exchange of existing contracts. I.e., if two investors agreed to open a new option contract
with each other, open interest would rise by one contract. If one of those investors then sold their
position to another investor, open interest would be unaffected, but volume traded would rise.51




47
     https://www.cboe.com/investor_protection/.
48
     Investments, p. 614, p. 695.
49
     Investments, p. 695.
50
     https://www.theocc.com/getmedia/0cdda3c2-ab81-450f-b8b8-7ce84d88fce7/standard-assignment-procedures.pdf,
      (accessed November 8, 2021).
51
     Hull, p. 37. See also https://www.cftc.gov/MarketReports/CommitmentsofTraders/ExplanatoryNotes/index.htm,
      (accessed November 2021, 2021).


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4      T HE B LACK -S CHOLES -M ERTON M ODEL
4.1      Background of Options Theory and the Black-Scholes-Merton Model

      100. The start of modern-day option theories goes back to the 1960’s when Paul Samuelson52,
winner of the 1970 Nobel Memorial Prize in Economic Sciences, rediscovered French
mathematician Louis Bachelier’s work53 from the 1900’s. Aside from Paul Samuelson’s own work,
some of the key works around the same time include Case Sprenkle54 and James Boness.55

      101. The BSM model was the first theoretical mathematical valuation of an option contract. It
shows how options react to changes in the underlying stock price, strike price, risk-free returns,
implied volatility, and time to expiration.

      102. The first BSM model, The Pricing of Options and Corporate Liabilities56 was published
by Fisher Black and Myron Scholes in 1973. It was then widely adopted by the financial world.
The creation of a sound mathematical framework for option pricing provided legitimacy to option
trading and led to a sharp increase in option trading. Around one month after its publication, the
CBOE started to trade call options on 16 stocks. Scholes stated that “There were many young
traders who either had taken courses at MIT or Chicago in using the option pricing technology. On
the other hand, there was a group of traders who had only intuition and previous experience. And
in a very short period of time, the intuitive players were essentially eliminated by the more
systematic players who had this pricing technology.”57 The early success of this model prompted
academics to start working on variations, which were used to price different financial instruments.

      103. In 1973, Merton published an equally important version of the model which could account


52
     Samuelson, Paul A. "Rational Theory of Warrant Pricing." IMR; Industrial Management Review (Pre-1986), vol.
       6, no. 2, 1965, pp. 13.
53
     Bachelier, Louis. “Theory of Speculation (Théorie de la Spéculation).” Annales Scientifiques de l’École Normale
      Supérieure, Sér 3, 17 (1900), pp. 21-86, translated by D. May.
54
     Sprenkle, Case M. “Warrant Prices as Indicators of Expectations and Preferences.” Yale Economic Essays, Vol.
       1, No. 2 (Fall 1961), pp. 179-231.
55
     Boness, James A. “Elements of a Theory of Stock-Option Value.” Journal of Political Economy, Vol. 72, No. 2
      (April 1964), pp. 163-175.
56
     Black, Fischer, and Myron Scholes. "The Pricing of Options and Corporate Liabilities." Journal of Political
      Economy, vol. 81, no. 3, 1973, pp. 637-654.
57
     https://www.bbc.co.uk/news/magazine-17866646.


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for dividend payments.58 Merton shows, as discussed in Section 3.1, that an option holder might
choose to exercise their option early, despite its time value, when dividends are high enough.
Merton’s contribution to the literature is equality important despite the fact that the Black-Scholes-
Merton model is most commonly referred to as the Black-Scholes or BS model.

      104. Since its inception, economists have further generalized the model, but the original BSM
model forms the foundation of modern option pricing. The original BSM model nonetheless
remains a powerful tool. Multiple academics and papers independently converged to the same
formula. For example, Rubinstein (1976) generalized BSM with no hedging arguments and
showed the same formulas.59 The BSM is also a limiting case of Cox, Ross and Rubenstein’s
binomial model.60 The academic community converged on the BSM model in the 1970s, and even
with the modern adjustments, BSM was instrumental in establishing the current academic
paradigm for valuing options.

4.2      BSM Formulas

      105. The Black Scholes model allows market participants to price a put or call option with the
following equation:

                                        𝐶 = 𝑆𝑡 𝑁(𝑑1 ) − 𝐾𝑒 −𝑟(𝑇−𝑡) 𝑁(𝑑2 )

                                      𝑃 = 𝐾𝑒 −𝑟(𝑇−𝑡) 𝑁(−𝑑2 ) − 𝑆𝑡 𝑁(−𝑑1 )



           where:

                                                   𝑆         𝜎2
                                                𝑙𝑛 𝐾𝑡 + (𝑟 + 2 ) (𝑇 − 𝑡)
                                         𝑑1 =
                                                          𝜎√𝑇 − 𝑡

                                                𝑑2 = 𝑑1 − 𝜎√𝑇 − 𝑡


58
     Merton, Robert C. "Theory of Rational Option Pricing." The Bell Journal of Economics and Management Science,
      1973, pp. 141-183. (hereinafter, “Merton 1973”).
59
     Rubinstein, Mark. "The Valuation of Uncertain Income Streams and the Pricing of Options." The Bell Journal of
      Economics, 1976, pp. 407-425.
60
     Cox, John C., Stephen A. Ross and Mark Rubinstein. "Option Pricing: A Simplified Approach." Journal of Financial
       Economics 7.3 (1979): 229-263. Print.


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       and:

       𝐶, 𝑃 = call/put option price
       𝑆𝑡 = underlying security market price at time t
       T = option expiry
       𝑡 = current date
       𝐾 = strike price
       𝑟 = risk-free interest rate
       𝑇 − 𝑡 = time to expiration
       𝑁(·) = cumulative normal distribution probability function
       𝜎 = implied volatility of the underlying stock

  106. This formula readily offers considerable insight on the factors that influence the price of
an option. As an example, keeping the other variables constant, an increase in strike price, and
time to expiration tends to decrease the price of a call, while an increase in the price of the asset
or its volatility will cause the call option’s price to increase. In the case of the strike price and
underlying price, the logic behind these relationships is rather simple – an option to buy something
for cheap is more valuable than an option to buy something at a higher price. As for the volatility,
a higher standard deviation means that there is a higher chance of the stock increasing or decreasing
by a large margin. This benefits options holders because they only benefit from the upside, while
their losses are capped at zero (if the underlying were to decrease in price, the option would not be
exercised)

  107. The BSM model also obeys Put-Call Parity explained in Section 3.1.3. For example, when
the stock price is zero, price of call option equals zero and when stock price is infinity price of put
option is infinity. This can be algebraically derived, as represented below:

  𝐶 = 𝑆𝑡 𝑁(𝑑1 ) − 𝐾𝑒 −𝑟(𝑇−𝑡) 𝑁(𝑑2 ) = 𝑆𝑡 (1 − 𝑁(−𝑑1 )) − 𝐾𝑒 −𝑟(𝑇−𝑡) (1 − 𝑁(−𝑑2 ))
                 = 𝑆𝑡 + 𝐾𝑒 −𝑟(𝑇−𝑡) 𝑁(−𝑑2 ) − 𝑆𝑡 𝑁(−𝑑1 ) − 𝐾𝑒 −𝑟(𝑇−𝑡) = 𝑆𝑡 + 𝑃 − 𝐾𝑒 −𝑟(𝑇−𝑡)

4.3   The BSM Model Revolutionized Options Markets

  108. Beyond simply describing options markets, the adoption of the BSM model supported
development of options markets. The first modern options exchange, the CBOE, opened in
Chicago in 1973, the same year Black and Scholes released their seminal paper.

  109. As Burton R. Rissman, former counsel for the CBOE stated “Black-Scholes was really
what enabled the exchange to thrive. [I]t gave a lot of legitimacy to the whole notion of hedging


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and efficient pricing, whereas we were faced, in the late 60s/early 70s with the issue of gambling.
That issue fell away, and I think Black-Scholes made it fall away. It wasn’t speculation or
gambling, it was efficient pricing. I think the SEC [Securities and Exchange Commission] very
quickly thought of options as a useful mechanism in the securities markets and it’s probably - that’s
my judgement - the effects of Black-Scholes. I never heard the word “gambling” again in relation
to options.”61

      110. Since Black, Scholes, and Merton’s original work, variations of the BSM model have
proliferated. BSM is a special case of stochastic volatility (see Hull and White (1987),62 Heston
(1993)), and discrete-time GARCH models (see Heston and Nandi (2000)).63

4.4          The BSM Model is the Accepted Industry and Academic Standard

      111. Because of the fundamental importance of the BSM model for managing risk and laying
the foundation of derivatives markets, Robert Merton and Myron Scholes were awarded the 1997
Nobel Memorial Prize in Economics. Fischer Black would also have been a recipient, but he passed
away two years prior.64

      112. In its award, the Nobel Committee stated “Black, Merton and Scholes made a vital
contribution” and that they had “developed a pioneering formula for the valuation of stock
options.”65 Going on to note “thousands of traders and investors now use this formula every day
to value stock options in markets throughout the world.”66 The Black Scholes formula “thus laid
the foundation for the rapid growth of markets for derivatives.”67

      113. While many variations of the BSM model have emerged in the decades following its


61
     MacKenzie, Donald, Fabian Muniesa, and Lucia Siu, editors. “Do Economists make Markets?: On the
      Performativity of Economics.” Princeton University Press, 2020. p. 64.
62
     Hull, John, and Alan White. "The Pricing of Options on Assets with Stochastic Volatilities." Journal of Finance,
      1987, pp. 281-300. (hereinafter, “Hull and White 1987”).
63
     Heston, Steven L., and Saikat Nandi. "A Closed-Form GARCH Option Valuation Model." The Review of Financial
      Studies, vol. 13, no. 3, 2000, pp. 585-625. (hereinafter, “Heston and Nandi 2000”).
64
     https://www.nobelprize.org/prizes/economic-sciences/1997/press-release/.
65
     ibid.
66
     ibid.
67
     ibid.


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original publication, each author is fundamentally standing on the shoulders of Black, Merton, and
Scholes. As the Nobel Committee found, “Their method has more general applicability, however,
and has created new areas of research.”68 As Rubinstein states, Black-Scholes option pricing model
is the most widely used formula, with embedded probabilities, in human history.69

5       E QUITY O PTIONS ON T ESLA C OMMON S TOCK DURING THE C LASS
        P ERIOD
5.1          The Market for Tesla Options was Substantial70

      114. Tesla options were actively traded during the Class Period and represented a substantial
portion of options trading on the CBOE. 2,443 unique Tesla option series were traded during the
Class Period on the CBOE, 1,141 of which were call options and 1,302 of which were put options.
The strike prices of these option series ranged from $10 to $700, and the maturities ranged from
August 10, 2018 to January 17, 2020.71

      115. The underlying shares represented by Tesla options trading were a larger market than Tesla
equities trading during the Class Period. As Table 3 shows, during the Class Period, underlying
shares represented by Tesla options trading were consistently 1.6-3.6 times the level of Tesla
equities trading.




68
     ibid.
69
     Rubinstein, Mark. "Implied Binomial Trees." The Journal of Finance 49.3 (1994): 771-818. Print.
70
     For this section, I relied on Option Intervals data for options on Tesla common stock obtained for one-minute
      intervals from the Cboe Exchange, Inc., Cboe DataShop. I understand that this underlying data is the same as
      what Michael L. Hartzmark used in his class certification report (Case 3:18-cv-04865-EMC, Document 291). The
      underlying ticker for the Tesla options considered is “TSLA”.
71
     In total 17 maturity dates were traded: August 10, 2018; August 17, 2018; August 24, 2018; August 31, 2018;
       September 7, 2018; September 14, 2018; September 21, 2018; September 28, 2018; October 19, 2018; November
       16, 2018; December 21, 2018; January 18, 2019; February 15, 2019; March 15, 2019; June 21, 2019; August 16,
       2019; and January 17, 2020.


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            07 August 2018                       30,875,770                      49,975,500               162%
            08 August 2018                       24,571,163                      53,065,900               216%
            09 August 2018                       17,183,811                      50,786,200               296%
            10 August 2018                       11,552,044                      41,118,700               356%
            13 August 2018                       10,463,881                      20,441,200               195%
            14 August 2018                         6,986,427                     18,392,100               263%
            15 August 2018                         9,101,258                     25,218,100               277%
            16 August 2018                        6,064,033                      18,501,100               305%
            17 August 2018                       18,958,611                      59,569,300               314%
                                              135,756,998                     337,068,100                  248%



                                                           Table 3

      116. The volume of Tesla call and put options traded during the Class Period was 1,772,322 and
1,598,359 contracts respectively. In total, these transactions represent around 337 million
underlying shares or approximately 2.48 times of the trading volume of Tesla shares listed on
NASDAQ during the Class Period.

      117. The open interest (defined in Section 3.3.3) for all Tesla options that traded was 718
thousand contracts for call options, and 1.3 million contracts for put options.72 In total, these option
open interests represent around 199 million underlying shares or approximately 1.56 times of the
average float of Tesla shares listed on NASDAQ during the Class Period.

5.2      Tesla Common Stock Price Movements Affect the Value of Tesla Options

      118. As described in detail in Section 3.1.4, changes in the underlying spot price affect option
prices. This is not only based on well-documented option theories (i.e., mathematical derivations)
but can be clearly and simply observed in Tesla option price data.

      119. Almost all stock option formulas are “homogeneous” in the stock price and strike price.


72
     Measured as the average open interest for each option series during the Class Period, then summed across all Tesla
      options series.


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This means that when the stock price and strike price increase proportionately, the option value
also increases proportionately. By looking at the ratio of the spot to the strike price, I show how
option values react to the spot price while normalizing for the strike price.

      120. Figure 10 below shows the curves of Tesla put and call options with 30 days to maturity
on three distinct dates by their strike price.73 These curves clearly follow the same shape, but are
shifted to different levels. The key factor explaining these differences is the stock price on each
date. A higher stock price shifts the call option curve up, but the put option curve down, at any
given strike price.




                                                          Figure 10

      121. Figure 11 below shows Tesla option premiums and spot prices divided by their strike
prices.74 It demonstrates that option curves are relatively stable on different days. In other words,
most movements in option prices divided by their strike prices are caused by movements in


73
     For details on the construction of Figure 10, see Appendix E, Section 11.9.
74
     For details on the construction of Figure 11, see Appendix E, Section 11.9.


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underlying stock prices (i.e., move along the option curves) unless the entire option curve shifts
(i.e., a change in implied volatility).

      122. Both curves demonstrate that an increase/decrease in underlying prices commensurately
increases/decreases prices of call/put options, regardless of expiry or time to maturity.




                                                        Figure 11

      123. Moreover, Figure 11 shows that, once the stock price has been standardized on any given
date by the strike price, the option curves for Tesla are uniform. Thus, any change in Tesla stock
prices can be uniformly translated into changes in option prices, by moving along the option
curves.

5.3      Most Tesla Options were Traded Near-the-Money – Implied Volatility is Quantifiable

      124. During the Class Period, Tesla options with strikes within a 20% range of the underlying
price accounted for 85% of the trading volume.75 Figure 12 and Figure 13 below illustrate this


75
     85% as measured by option values, e.g., premium-intrinsic value. See Appendix C.


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observation for two example expiries.76 These examples are representative of all maturities that
traded during the Class Period.77




                                                           Figure 12




76
     For details on construction of Figure 12 and Figure 13, see Appendix E, Section 11.6.
77
     Appendix C shows the percent of options traded within 20% of the money for each expiration date traded during
      the period of 12:48 p.m. on August 7 to the close of trading on August 17, 2018. For the shortest maturing options,
      e.g., those expiring August 10, 2018, 99.96% of options were traded within 20% of the money. Throughout all
      maturities, at least 63.21% were traded near-the-money, see the June 21, 2019 expiry.


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                                                          Figure 13

      125. It is suboptimal to exercise American options early unless they are deep in-the-money puts.
Figure 12 and Figure 13 above show that most Tesla options are traded near-the-money. For these
options, any early exercise premium is tiny, and insensitive to stock or volatility movements – see
Section 3.1. Therefore, we can apply the BSM option formulas to approximate the values of these
options.78

      126. During the Class Period, Tesla stock price rose from around $356.79 to $385.93 and then
closed at $305.5 on August 17, 2018. Therefore, options that were near-the-money before the Class
Period most likely stayed near-the-money throughout. Empirically, most Tesla options were traded
within 20% of the money, as shown in Figure 12 and Figure 13, during the Class Period.

      127. The intrinsic value of an option falls to zero as the stock price approaches the strike price.
The remaining value of the option is therefore its time value. Time value is determined by implied


78
     Mathematically, the BSM model only applies options that do not have early exercise right (i.e., European options).
      Tesla options are American options (with early exercise right embedded) but the vast majority of Tesla options
      were too close to the money for it to make sense to exercise early. Therefore, the BSM model can be applied.


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volatility and time to maturity. Of these, only implied volatility is truly variable, as maturity is
built into the options contract. ATM-forward straddles are therefore neutral with respect to the
underlying stock price movements, and any value they have is indicative of the time value of these
options (i.e., implied volatility of the stock).

      128. Put-call parity holds for ATM options, and I can consequently use ATM-forward straddle
prices to calculate implied volatility (because the entirety of their value is time value), as shown
in Section 6.1. This allows me to evaluate the impact of implied volatility on options prices, while
controlling for spot and strike prices. I explain this process in more detail in Section 5.5.2.

5.4      Long-Term ATM-forward Straddle Prices Fell on August 7, 2018

      129. Unlike changes in the underlying stock price, a decline in implied volatility affected call
and put options alike – as measured by the prices of ATM-forward straddles as a proportion of the
stock price. Sections 3.2 and 6.1 explain that ATM-forward straddles can be used to accurately and
reliably calculate implied volatility over time. These positions are neutralized against fluctuations
in the underlying stock price (i.e., delta neutral). Instead, they are increasing functions of implied
volatility. ATM-forward straddles have zero intrinsic value by definition and measure the pure time
value. In the BSM model, ATM-forward straddles are approximately proportional to implied
volatility and to the square-root of time to maturity.

      130. As shown in Figure 14 below,79 the price of long-term ATM-forward straddles (which
represent implied volatility) dropped sharply after 12:48 p.m.80




79
     For details on construction of Figure 14, see Appendix E, Section 11.4.
80
     On August 7, 2018, at approximately 2:08 p.m., Nasdaq issued a trading halt on Tesla common stock that lasted
      until approximately 3:45 p.m., https://www.cbsnews.com/news/elon-musk-proposes-taking-tesla-private-
      sending-share-prices-soaring/. The break in the graphed lines on the afternoon of August 7 reflects the halt of the
      trading in the CBOE data.


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                                                          Figure 14

      131. Based on Figure 14, I distinguish between short and long-term Tesla options based on
which options depreciated following 12:48 p.m. on August 7, 2018, and which appreciated, or
were at least constant. I define “long-term” Tesla options as those expiring on or after October 19,
2018.81 Figure 14 depicts that there is notable decline in the long-term Tesla options ATM-forward
straddle prices following 12:48 p.m.82 “Short-term” Tesla options are those expiring on or before
September 28, 2018, which saw flat to moderately increasing ATM-forward straddles following
12:48 p.m.83

      132. Short-term options depend on immediate information releases to gain value, while long-
term options pay a premium for the possibility that new information will come out over a longer
period. Short-term options benefit from news released shortly before their exercise date. Long-

81
     Long-term expiries include: October 19, 2018; November 16, 2018; December 21, 2018; January 18, 2019; February
       15, 2019; March 15, 2019; June 21, 2019; August 16, 2019; and January 17, 2020.
82
     For details on construction of Figure 15, See Appendix E, Section 11.3.
83
     Short-term expiries include August 10, 2018; August 17, 2018; August 24, 2018; August 31, 2018; September 7,
       2018, September 14, 2018; September 21, 2018; and September 28, 2019.


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term options instead lose value from a reduction in long-term volatility and the ensuing reduction
in long-term payout prospects. This is consistent with ATM-forward straddle price movements on
August 7, 2018.

      133. Figure 15 below constructs the prices of ATM-forward Tesla straddles using constant time
to maturity at each point during the Class Period.84 The prices shown are also standardized by
dividing the straddle prices with the corresponding strike prices. It similarly shows that the 1-year,
180-day, and 90-day options lost value following 12:48 p.m., while shorter term options (30 days
or less to expiry) slightly gained.




                                                          Figure 15

      134. This drop in long-term option prices is consistent with the academic literature on merger
and buyout announcements. Following a merger or buyout announcement, stock prices usually rise
while option prices fall. Bester, Martinez, and Rosu (2011) examined the impact of mergers on


84
     There are no “constant maturity” options. Figure 15 shows a floating portfolio that is continually adjusted to show
       ATM-forward straddles that are 15, 30, 90, 180, and 360 days to maturity respectively. For details see Appendix
       E, Section 11.3.


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options values to show that “the Black–Scholes implied volatility decreases when the deal is close
to being successful: a success probability close to one leads to an implied volatility close to zero.”85
Similarly, Brown, Barone-Adesi, and Harlow (1994) argue that “an informationally efficient
option market would predict that the volatilities implied for a target firm must decline for options
with successively longer expiration dates if the market ultimately expects the deal to
consummated.”86

      135. This exact pattern is visible in the Tesla options data. Following 12:48 p.m., the longest
maturing options lost the most value and recovered the slowest, while the very short-term options
saw little effect. This could indicate both that the Tesla options market was informationally
efficient, and that the market, at least initially, viewed Musk’s tweet “Am considering taking Tesla
private at $420. Funding secured.” and any other alleged misstatements as credible.

      136. Figure 16 below shows the relationship between changes in price on short-term (30 days)
versus long-term (360 days) Tesla ATM-forward straddles.87 The grey points show the previous
relationship between changes in long- and short-term straddles in the six months leading up to
August 7, 2018. The colored points show days in the Class Period that deviate significantly from
the previously observed relationship between short and long-term ATM-forward straddle returns.88




85
     Bester, C. A., Victor H. Martinez, and Ioanid Roşu. "Option Prices and the Probability of Success of Cash
      Mergers.", forthcoming, Journal of Financial Econometrics.
86
     Brown, Keith C., Giovanni Barone-Adesi, and W. V. Harlow. "On the use of Implied Volatilities in the Prediction
       of Successful Corporate Takeovers." Advances in Futures and Options Research, vol. 7, 1994, pp. 147-165.
87
     For details on construction of Figure 16, see Appendix E, Section 11.5.
88
     See further details on “normal” relationship in the ensuing discussing of t-statistics.


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                                                            Figure 16

      137. Figure 16 demonstrates a substantial and significant departure in the relationship between
long-term and short-term ATM-forward straddles on four days: August 7, 2018; August 8, 2019;
August 9, 2018; and August 17, 2018. Figure 16 demonstrates that August 7, 2018, August 8, 2018,
August 9, 2018, and August 17, 2018, were the largest four outliers of the stable relationship
between long-term and short-term ATM-forward straddle price movements on a daily level, when
compared to all other days February 13, 2018 to August 17, 2018. Moreover, the deviations on
these days were statistically significant at all conventional confidence levels (e.g., above 99%).89

      138. On August 7, 2018 the large long-term ATM-forward straddle price decreases accompanied
large short-term ATM-forward straddle price increases. This movement was not observed during




89
     The t-statistic values are 22.00 on August 7, 2018, 9.01 on August 8, 2018, 7.97 on August 9, 2018 and 7.05 on
      August 17, 2018. T-statistic is a type of inferential statistic used to determine if there is a significant difference
      between the mean of two groups that may be related. For details on this regression, see Appendix E, Section 11.8.


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the six-month periods prior to or after August 7, 2018.90

     139. Between August 8 and August 17, 2018, long-term straddle prices grew more than
anticipated from their previous relationship with short-term straddle prices. This pattern was
unusual compared to the previous six months of returns. It was not until August 17, 2018 that the
relationship between short- and long-term straddles returned to the normal levels observed
historically.

     140. This pattern shows a clear divergence between short- and long-term implied volatility that
was not observed in the daily observations in the six months before and after before August 7,
2018.91 The absence of similar prior movements further reinforces that the observed movements
on the afternoon of August 7, 2018, were unusual. Figure 16 shows day-to-day movements, but as
I show below, on August 7, 2018, the unusual movements in ATM-forward straddle prices began
specifically after 12:48 p.m. on August 7, 2018.

     141. Figure 16 further indicates that the drop in long-term implied volatility was not due to
market-wide forces, but rather was specific to Tesla. The short-term ATM-forward straddles serve
as a control group for the long-term straddles. Were there an event that reduced implied volatilities
across the entire options market, or even just the automotive options market, this should have been
reflected in the short-term Tesla options data. Instead, long-term volatility fell by a statistically
significant amount while short-term volatility was comparatively constant.

     142. Further, I observe that up until the minute of the tweet, ATM-forward straddle prices were
almost perfectly flat across all but the shortest-term options on the morning of August 7, 2018.
Between 12 p.m. and 12:30 p.m., the shortest-term options gained value, but there were no
perceptible movements in long-term straddle prices. Immediately following 12:48 p.m., long-term
straddle prices began to fall.

     143. Further, the ATM-forward straddle prices during the morning of August 7, 2018 were


90
     Figure 16 only shows the prior six months, but the regression detailed in Appendix E, Section 11.8 additionally
       analyzes the following six months.
91
     Figure 16 shows observations for the six months before August 7, 2018, however I also ran a regression for both
       the six months before and the six months after August 7, 2018 (detailed in Section 11.8) which similarly shows
       that these dates were a statistically significant departure from the norm.


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perfectly flat for long-term options (defined above). Figure 17 zooms in from Figure 14 to show
ATM-forward straddle prices on August 6 and August 7, 2018.92 During trading on August 6 and
the morning of August 7, 2018, long-term ATM-forward straddle prices saw no significant
movements, however immediately after 12:48 p.m. on August 7, 2018, their prices began to fall.




                                                          Figure 17

      144. As demonstrated above in Figure 14 and Figure 15, long-term option values fell on August
7, 2018. Figure 17 further shows that this drop occurred immediately after 12:48 p.m. on August
7, 2018.93 As a result of general movements in a stock price from day to day, a straddle that is ATM
one day will not be ATM the next, particularly when there are large movements in stock price like
those that occurred on August 7. I therefore standardized these figures by the stock price and
reconstruct the portfolio of ATM-forward straddles based on which options were ATM-forward at
each point in time. This is useful because it allows me to cancel out the impact of the stock price
movement on the ATM-forward straddles and focus on implied-volatility, but does not show the

92
     For details on the construction of Figure 17, see Appendix E, Section 11.4.
93
     Trading day starts at 9:30 a.m. Eastern Time.


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simple change in price that occurred between August 6 and August 17, 2018.

      145. I therefore also compared the overnight returns on an ATM-spot straddle that an investor
could purchase at 12:47 p.m. on August 7, 2018 to the close of trading for each day during the
Class Period. This shows how the prices of ATM-spot straddles purchased at 12:47 p.m. changed
during the Class Period. Table 4 reflects this analysis:94




           Aug 07, 2018 12:57              $    108.90                            $   167.95
           Aug 07, 2018 16:00              $     89.95               -17.40%      $   121.28            -27.79%
           Aug 08, 2018 16:00              $     93.28                3.70%       $   131.30               8.27%
           Aug 09, 2018 16:00              $    101.50                8.82%       $   139.93               6.57%
           Aug 10, 2018 16:00              $     99.23                -2.24%      $   136.00              -2.81%
           Aug 13, 2018 16:00              $     97.40                -1.84%      $   129.70              -4.63%
           Aug 14, 2018 16:00              $     94.65                -2.82%      $   126.02              -2.83%
           Aug 15, 2018 16:00              $     92.83                -1.93%      $   127.13               0.87%
           Aug 16, 2018 16:00              $     92.35                -0.51%      $   128.93               1.42%
           Aug 17, 2018 16:00              $    103.90               12.51%       $   144.90             12.39%

                                                           Table 4

      146. Table 4 shows change in portfolio value for a hypothetical investor who bought ATM-spot
straddles expiring March 15, 2019, and January 17, 2020, at 12:47 p.m. Their ATM-spot straddle
expiring March 15, 2019, lost 17.40% value overnight.95 Their option expiring January 17, 2020,
instead lost 27.79% overnight.96 This difference (17.40% versus 27.79%) shows that the impact
on investors scales with the time to maturity. In other words, the longer term an option was, the
more its price fell on the afternoon of August 7, 2018.




94
     For details on the construction of Table 4, see Appendix E, Section 11.14.
95
     The ATM-spot straddle expiring March 15, 2019 traded at $108.90 at 12:57 p.m. on August 7, 2018, but fell to
      $89.95 by the close of trading August 7, 2018.
96
     The ATM-spot straddle expiring January 17, 2020 traded at $167.95 at 12:57 p.m. on August 7, 2018, and fell to
       $121.28 by the close of trading August 7, 2018.


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5.5      The Decrease in Long-term Implied Volatility Beginning after 12:48 p.m. on August 7,
         2018 Affected Long-term Tesla Options of All Moneyness

                   5.5.1    Long-Term Option Values Diverged on August 7, 2018

      147. As illustrated in Section 5.2, option curve movements are typically small, and result in
parallel shifts that graphically appear overlapping rather than intersecting. Figure 18 provides an
example of the parallel shifts of the option curves for Tesla options with a January 17, 2020 expiry
between four dates.97




                                                          Figure 18

      148. This parallel shift, however, was not observed after the increase in Tesla stock price
following 12:48 p.m. on August 7, 2018. Rather, given the impact of implied volatility shifts on
the options pricing, the options curve tilted near the spot price of Tesla stock. The shift between
August 6, 2018 and August 7, 2018 consequently shows an unusual pattern where ITM call option
prices increased, but OTM call option prices decreased.


97
     For details on construction of Figure 18, see Appendix E, Section 11.10.


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      149. Figure 19 shows how the call options curve (as a function of strike price) changed before
and after 12:48 on August 7, 2018. The curve inflected around at-the-money call options (where
strike price equals stock price). This change cannot be explained by changes in the stock price
alone. As previously established, when holding all else constant, call options will gain value given
an increase in the underlying stock price. The fact that OTM options prices decreased demonstrates
that something beyond stock price was impacting the price of the OTM options on August 7, 2018.
Specifically, this chart demonstrates that there are two countervailing effects on August 7, 2018:
the increase in Tesla’s stock price and the decrease in the implied volatility for the January 17,
2020 expiry.




                                                            Figure 19

      150. In Figure 19, the option curves were constructed using actual option data. In Figure 20, the
option curves are fitted by the BSM model. A comparison of Figure 19 and Figure 20 shows that
the BSM model captures/reflects the movement/change very well – or similar.98



98
     For details on the construction of Figure 19, see Appendix E, Section 11.11. For details on the construction of Figure
       20, see Appendix E, Section 11.13.


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                                                          Figure 20

      151. Figure 21 plots the exact same data as Figure 19 (which shows the shift from before and
after 12:48 p.m. on August 7, 2018). It normalizes option prices by dividing them by their strike
prices (i.e., showing moneyness on the horizontal axis).99 After accounting for the change in the
stock price on August 7, 2018 after 12:48 p.m., Figure 21 illustrates that the entire options curve
dropped due to the decline in implied volatility for the January 17, 2020 expiry:




99
     For details on construction Figure 21, see Appendix E, Section 11.11.


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                                                Figure 21

  152. The yellow dots are at-the-money $340 strike call options with an initial midpoint value
of $92.08. This midpoint subsequently fell to $81.05 by the close of trading August 7, 2018, while
the stock price rose from $356.94 to $379.58. Because of the decline in implied volatility, some
call options actually lost value despite the rise in stock price. Even some options that were at-the-
money at 12:47 p.m. lost value after 12:48 p.m. on August 7, 2018.

  153. This effect is starker for the out-of-the-money call options. The red points show an out-of-
the-money call option with $450 strike. This option fell in value from $50.58 to $28.90. Long-
term call options of all moneyness were negatively impacted by the drop in implied volatility,
though for in-the-money options this was all or partially offset by a rise in the stock price. The
larger a call option’s strike price on August 7, 2018, the more it lost value after 12:48 p.m.

              5.5.2   Implied Volatility Dropped, Causing All Long-Term Options to Lose
                      Value

  154. Section 5.2 established that option curves are typically stable and shift in parallel. In other
words, changes in implied volatility affects option prices of all moneyness.

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      155. Section 5.4 further showed that long-term implied volatilities fell in the afternoon
immediately following 12:48 p.m., while short-term implied volatilities rose or stayed flat. This
movement was unique in the sense that it was not observed anywhere other than August 7, 2018
over Tesla option’s data six month before and after August 7, 2018.

      156. In Figure 22 and Figure 23, below, the decrease in implied volatility examined in Section
5.4 is graphically represented by option curves for puts and calls for the January 18, 2019 and
January 17, 2020 expiries. They show the shift in implied volatility measured during the five
minutes before (back to 12:43 p.m.) and the final five minutes of the trading day.100 The difference
between the curves between these two periods shows that the decrease in implied volatilities
lowered long-term option prices across all stock and strike prices (or alternatively moneyness).
Simply put, the decrease in implied volatility between these two periods shifted the entire option
curve down.

      157. Figure 22 shows observed Jan 18, 2019 expiry Tesla option curves five minutes before
12:48 p.m. for options expiring January 18, 2019 and five minutes before closing on the same day.
Each point on the chart represents an actual transaction while the shaded area around the
transaction represents the average bid-ask spread around the time of transaction.

      158. Long-term Tesla option curves fell during intraday trading on August 7, 2018. This was
accompanied by a clear expansion in the bid-ask spread on these options. However, even
accounting for an expansion of the bid-ask spreads, the curve still clearly fell across strike and
stock prices.




100
      For details on construction of Figure 22 and Figure 23, see Appendix E, Section 11.7.


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                                              Figure 22

  159. This effect occurred across all options with a long-term maturity. For example, Figure 23
shows precisely the same downward shift in the option curve, but for options expiring January 17,
2020 – one year later.




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                                                Figure 23

    160. Because all the curves are taken from the same day, one before and one after 12:48 p.m.,
these shifts cannot be explained by changes in time to expiration or risk-free returns.

    161. Furthermore, because the curves all control for shifts in the underlying stock price by
dividing the strike prices by the spot price, these shifts cannot be explained by changes in stock
price. Therefore, pursuant to the BSM model, the only factor that is impacting the curves in the
Figure 22 and Figure 23, is changes in implied volatility.

6    T HE BSM M ODEL C AN C ALCULATE C OUNTERFACTUAL O PTION P RICES
    162. In this section, I present a reliable, reasonable, and robust methodology to calculate the
impact on option prices given changes in underlying stock price and implied volatility.

    163. In general, there are two ways to calculate the impact on traded options. One possibility is
to calculate a unique but-for price, and then compare that to the transacted price. Another is to
calculate an impact quantum, i.e., a dollar or percentage amount by which an option would have
been more or less expensive.

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      164. In my methodology, I utilize an impact quantum to calculate the difference between option
prices based on actual option transactions and the calculated price for an option using a
counterfactual stock price and implied volatility. Choosing a quantum over a simple but-for price
has two main benefits.

                a. It allows me to account for differences in outcomes investors experienced in the
                    real world. Following 12:48 p.m. on August 7, 2018, the bid-ask spread of traded
                    Tesla option values grew, so some investors, either by happenstance or acumen,
                    achieved better prices. By applying an impact quantum, I can equitably show the
                    difference in the amount of option price paid or received as compared to a
                    counterfactual price across investors regardless of their independent and individual
                    circumstances. I discuss this more in detail in Section 6.3; and

                b. It allows me to difference out potential model fitting biases in the levels. Like all
                    models, the BSM model and its extensions have biases in the levels. If I were to
                    simply calculate a but-for price, the impact could vary based on which model I
                    used. We apply the BSM model with a robust methodology that measures changes
                    in value, thereby differencing out potential biases in levels.

      165. For each Tesla option traded, I can calculate an impact quantum using the BSM model101
as follows:

                a. First, I find the price of the ATM-forward straddle that has the same expiry and
                    transaction date as the option in question, and calculate the implied volatility using
                    the BSM formulas. I refer to this calculated implied volatility as the “Actual
                    Implied Volatility.”

                b. Second, using the Actual Implied Volatility and the actual spot price of Tesla stock
                    at the time of the option transaction in question (the “Actual Underlying Price”), I

101
      For the purpose of this report, I have chosen the BSM model to construct option curves. Dumas, Fleming and
       Whaley (1998) have shown that the overparametrized Implied Binomial Tree approach predicts option price
       changes worse than Black-Scholes one week out of the data sample. They also show that Practitioner Black-
       Scholes models do not provide important improvement over the BSM model in calculating option prices. See
       Dumas, Bernard, Jeff Fleming, and Robert E. Whaley. "Implied Volatility Functions: Empirical Tests." The
       Journal of Finance, vol. 53, no. 6, 1998, pp. 2059-2106.


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                      construct a re-valued BSM option curve (the “Actual BSM Option Curve”). I then
                      locate the option in question on the Actual BSM option Curve to find its value. I
                      refer to this as the “Re-Valued Fitted Option Value.”

                 c. Third, using the but-for implied volatility and but-for Tesla stock price at the time
                      of the option transaction in question, I construct a but-for option curve - the “But-
                      for BSM Option Curve.” I then locate the option in question on the But-for BSM
                      Option Curve to show its but-for value – the “But-for Fitted Option Value.”

                 d. The impact quantum for the option in question is the difference between Re-Valued
                      Fitted Option Value and But-for Fitted Option Value.

      166. Table 5 below provides an example of how the impact quantum on Tesla option prices is
calculated for call and put options traded at 9:34 a.m. on August 8, 2018, with a January 17, 2020
expiry and $400 strike price. If we assume that the 50.52% BSM model implied volatility on
August 7, 2018, at 12:47 p.m.102 is the counterfactual implied volatility (the but-for implied
volatility) and $305.50 is the counterfactual Tesla stock price (the but-for price of Tesla common
stock), the impact quantum calculates that the call option is $11.91 less valuable and a put option
is $54.54 more valuable.




102
      As listed in Table 6.


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                                 Aug 8, 2018 09:34             Aug 8, 2018 09:34             -
                                      Jan 17, 2020                  Jan 17, 2020             -
                                              527                          527               -
                                              2.4%                         2.4%              -

                            $               371.95       $              305.50      $ - 66.45
                            $               385.08       $              316.28      $ - 68.80
                            $               400.00       $              400.00      $     -
                                            37.08%                      50.52%         13.45%
                            $                59.89       $               47.98      $ - 11.91
                            $                74.30       $              128.84      $       54.54


                                               Table 5


6.1   Measuring Implied Volatility Using ATM-forward Straddle Prices

  167. Based on the BSM model, I can precisely quantify the BSM implied volatility using the
price of ATM-forward straddles across a range of option maturities. Specifically, the algebraic
calculation shows that:

                                                   𝑌
                                         2 ∗ 𝑁 −1 ( 4 + 0.5)
                                    𝜎=
                                               √𝑇 − 𝑡
                                                365

       where:
       𝑌 = price of ATM-forward straddle, as a fraction of underlying price at time 𝑡
       T = option expiry
       𝑇 − 𝑡 = time to expiration measured in calendar days
       𝑁 −1 (·) = inverse function of cumulative normal distribution probability function
       𝜎 = implied volatility of the underlying

  168. To illustrate, the ATM-forward Jan 17, 2020 expiry Tesla straddle was worth 48.15% of the
underlying stock price at the close of trading on August 6, 2018, which corresponds to an
annualized BSM implied volatility of 50.91%. At close of trading of August 7, 2018, the same
straddle was worth only 31.06% of the new stock price, which corresponds to a BSM volatility of
32.57%.


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      169. I apply this formula to the close of trading standardized ATM-forward straddle prices for
each maturity traded during the Class Period shown in Table 8 in Appendix C. The result is shown
in Table 6 below and repeated in Appendix C.103



  Aug 10, 2018     43.19%   53.65%   66.99%   61.90%   70.04%    NA       NA       NA       NA       NA       NA
  Aug 17, 2018     41.87%   45.87%   53.58%   52.11%   61.74%   54.83%   56.07%   49.24%   49.46%   44.36%    NA
  Aug 24, 2018     42.43%   44.70%   45.77%   49.55%   59.30%   54.83%   52.74%   48.59%   51.35%   47.74%   66.54%
  Aug 31, 2018     42.91%   44.06%   45.58%   47.81%   56.97%   54.06%   51.79%   49.77%   51.77%   49.45%   64.71%
    Sep 7, 2018    42.51%   43.14%   44.82%   46.08%   54.98%   52.08%   49.76%   48.67%   50.01%   48.58%   61.08%
  Sep 14, 2018     43.03%   43.39%   41.50%   45.39%   53.88%   51.55%   49.63%   48.96%   50.09%   49.24%   59.88%
  Sep 21, 2018     43.40%   43.70%   41.08%   44.25%   52.88%   50.86%   49.21%   48.93%   49.91%   49.18%   58.99%
  Sep 28, 2018      NA       NA       NA       NA      52.11%   50.29%   48.55%   48.60%   49.70%   49.33%   58.46%
  Oct 19, 2018     45.90%   45.79%   40.09%   43.44%   51.40%   49.49%   48.18%   48.41%   49.46%   49.56%   57.54%
  Nov 16, 2018     49.45%   49.22%   41.33%   44.12%   51.55%   50.29%   49.14%   49.51%   50.06%   50.28%   59.05%
  Dec 21, 2018     48.88%   49.10%   37.96%   41.82%   49.42%   47.66%   46.99%   47.49%   47.90%   48.16%   56.68%
   Jan 18, 2019    48.82%   48.97%   36.75%   40.92%   48.36%   46.69%   45.94%   46.41%   46.85%   47.00%   55.39%
  Feb 15, 2019     49.90%   49.97%   38.03%   40.48%   47.77%   46.50%   45.44%   45.77%   46.19%   46.60%   54.62%
  Mar 15, 2019     50.16%   50.14%   36.80%   39.96%   47.17%   45.65%   44.99%   45.17%   45.50%   45.94%   53.92%
   Jun 21, 2019    50.58%   50.36%   35.71%   38.72%   44.95%   43.88%   42.63%   42.77%   43.52%   43.76%   51.65%
  Aug 16, 2019     50.96%   50.63%   34.78%   38.46%   44.73%   43.04%   41.65%   41.90%   42.74%   42.95%   50.88%
   Jan 17, 2020    50.91%   50.52%   32.57%   37.08%   42.02%   40.43%   38.54%   38.37%   39.96%   40.87%   48.65%



                                                          Table 6


6.2      The BSM Model Provides an Impact Quantum

      170. To calculate the impact of any Tesla stock price inflation and implied volatility deflation
as a result of the alleged fraud, two options curves are fitted using the BSM Model:

                  a. A “re-valued” curve based on observed stock prices and implied volatilities (i.e.,
                     the “Actual BSM Option Curve” defined above); and

                  b. A “but-for” curve based on counterfactual stock prices and counterfactual implied
                     volatilities (i.e., the “But-for BSM Option Curve” defined above).

      171. With the Actual BSM Option Curve and But-for BSM Option Curve created, I calculate
the impact of fluctuations in underlying stock price and implied volatility on option prices in two
steps. First, I calculate the vega impact (or loss arising from the fall in implied volatility) as the
shift from the Actual BSM Option Curve to the But-for BSM Option Curve. Second, I calculate



103
      Minute-by-minute BSM implied volatility can be calculated based on the CBOE DataShop Data using the same
       formulas.


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the delta impact (or loss arising from the allegedly inflated stock price) as the movement along the
But-for BSM Option Curve.

  172. This two-step process requires two formulas, one for each curve. These formulas are
identical to the BSM formula detailed in Section 4.2, and only differ based on the stock price and
implied volatility values used.

              6.2.1    Re-Valued Fitted Option Value

  173. The re-valued call and put option value (𝐶𝑎𝑙𝑙𝑟𝑒−𝑣𝑎𝑙𝑢𝑒𝑑 and 𝑃𝑢𝑡𝑟𝑒−𝑣𝑎𝑙𝑢𝑒𝑑 respectively) are
given by:

              𝐶𝑎𝑙𝑙𝑟𝑒−𝑣𝑎𝑙𝑢𝑒𝑑 = 𝑆𝑜𝑏𝑠𝑒𝑟𝑣𝑒𝑑 𝑁(𝑑1 𝑜𝑏𝑠𝑒𝑟𝑣𝑒𝑑 ) − 𝐾𝑒 −𝑟(𝑇−𝑡) 𝑁(𝑑2 𝑜𝑏𝑠𝑒𝑟𝑣𝑒𝑑 )

             𝑃𝑢𝑡𝑟𝑒−𝑣𝑎𝑙𝑢𝑒𝑑 = 𝐾𝑒 −𝑟(𝑇−𝑡) 𝑁(−𝑑2 𝑜𝑏𝑠𝑒𝑟𝑣𝑒𝑑 ) − 𝑆𝑜𝑏𝑠𝑒𝑟𝑣𝑒𝑑 𝑁(−𝑑1 𝑜𝑏𝑠𝑒𝑟𝑣𝑒𝑑 )


where:
                                         𝑆                𝜎 2 𝑜𝑏𝑠𝑒𝑟𝑣𝑒𝑑
                                       𝑙𝑛 𝑜𝑏𝑠𝑒𝑟𝑣𝑒𝑑 + (𝑟 +              ) (𝑇 − 𝑡)
                                             𝐾                  2
                       𝑑1 𝑜𝑏𝑠𝑒𝑟𝑣𝑒𝑑 =
                                                  𝜎𝑜𝑏𝑠𝑒𝑟𝑣𝑒𝑑 √𝑇 − 𝑡

                            𝑑2 𝑜𝑏𝑠𝑒𝑟𝑣𝑒𝑑 = 𝑑1 𝑜𝑏𝑠𝑒𝑟𝑣𝑒𝑑 − 𝜎𝑜𝑏𝑠𝑒𝑟𝑣𝑒𝑑 √𝑇 − 𝑡

  174. The key variables in the equation above are: 𝑆𝑜𝑏𝑠𝑒𝑟𝑣𝑒𝑑 , denoting the actual allegedly
inflated stock price and 𝜎𝑜𝑏𝑠𝑒𝑟𝑣𝑒𝑑 , denoting the actual allegedly deflated implied volatility. For my
calculations, I take 𝜎𝑜𝑏𝑠𝑒𝑟𝑣𝑒𝑑 based on the observed ATM-forward straddle prices presented in
Table 8.

              6.2.2    But-for Fitted Option Value

  175. The but-for call and put option fitted value (𝐶𝑎𝑙𝑙𝑏𝑢𝑡−𝑓𝑜𝑟 and 𝑃𝑢𝑡𝑏𝑢𝑡−𝑓𝑜𝑟 , respectively) are
given by:

                  𝐶𝑎𝑙𝑙𝑏𝑢𝑡−𝑓𝑜𝑟 = 𝑆𝑏𝑢𝑡−𝑓𝑜𝑟 𝑁(𝑑1 𝑏𝑢𝑡−𝑓𝑜𝑟 ) − 𝐾𝑒 −𝑟(𝑇−𝑡) 𝑁(𝑑2 𝑏𝑢𝑡−𝑓𝑜𝑟 )

              𝑃𝑢𝑡𝑏𝑢𝑡−𝑓𝑜𝑟 = 𝐾𝑒 −𝑟(𝑇−𝑡) 𝑁(−𝑑2 𝑏𝑢𝑡−𝑓𝑜𝑟 ) − 𝑆𝑏𝑢𝑡−𝑓𝑜𝑟 𝑁(−𝑑1 𝑏𝑢𝑡−𝑓𝑜𝑟 )

         where:



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                                                𝑆𝑏𝑢𝑡−𝑓𝑜𝑟        𝜎 2 𝑏𝑢𝑡−𝑓𝑜𝑟
                                             𝑙𝑛          + (𝑟 +             ) (𝑇 − 𝑡)
                                                   𝐾                 2
                             𝑑1 𝑏𝑢𝑡−𝑓𝑜𝑟 =
                                                          𝜎𝑏𝑢𝑡𝑓−𝑓𝑜𝑟 √𝑇 − 𝑡

                                  𝑑2 𝑏𝑢𝑡−𝑓𝑜𝑟 = 𝑑1 𝑏𝑢𝑡−𝑓𝑜𝑟 − 𝜎𝑏𝑢𝑡−𝑓𝑜𝑟 √𝑇 − 𝑡

      176. Again, the key variables in the equation above are: 𝑆𝑏𝑢𝑡−𝑓𝑜𝑟 denoting the counterfactual
stock price and 𝜎𝑏𝑢𝑡−𝑓𝑜𝑟 , denoting the counterfactual implied volatility.

6.3       The Black-Scholes Impact Quantum is Reliable, Reasonable and Robust
          Methodology

      177. Figure 22 and Figure 23 in Section 5.5.2 show that on August 7, 2018, the actual option
curves based on the mid point of CBOE Datashop bid and ask quotes for the January 18, 2019 and
Jan 17, 2020 expiries shifted due to a drop in implied volatility. Figures 22 and 23 shows this is a
clear and uniform effect.

      178. Zooming in on these figures to see the bid-ask spread shows that variation around the
midpoint grew in the afternoon August 7, 2018.

      179. Figure 24 shows the bid-ask spread at 12:47 p.m. on August 7, 2018, and compares it with
the bid-ask spread at the close of trading that same day. In addition to a drop in implied volatility,
the bid-ask spreads expanded following 12:48 p.m. on August 7, 2018.104




104
      For more details on the construction of Figure 24, See Appendix E, Section 11.12.


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                                                Figure 24

  180. Someone who sold an option at the top of the 16:00 blue shaded area managed to achieve,
either by luck or guile, a better price than someone who simply by misfortune sold at the bottom
of the 16:00 blue shaded area. But between 12:47 p.m. and 16:00 p.m., the price of all trades shifted
down. There is typically a distribution of prices lying within the bid-ask spreads. I account for this
by applying the impact quantum methodology detailed in Section 6.2.

  181. Given the existence of bid-ask spreads, a reasonable way to measure the difference between
an actual option trade and a counterfactual option trade is to place both on equal footing, i.e., an
apples-to-apples comparison. I achieve this through an impact quantum. An impact quantum
measures the magnitude of the shift without being affected by the bid-ask spread. If I measured
impact as the difference between a unique but-for price and an actual transaction price, then the
impact would vary based on where the actual transaction fell within the bid-ask spread. An impact
quantum, however, is not affected by the bid-ask spread as it fits both actual and counterfactual
transactions to the BSM curve.

  182. Therefore, it is important to account for both the fact that each extension to the BSM model
predicts a different price level and the fact that trades are exercised within a bid-ask spread.

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Applying a simple but-for option price would ignore these level effects, and erroneously show
larger losses for people who paid closer to the bid price, and lower losses for someone who
transacted closer to the ask price.

  183. To account for this, the actual option transactions are used to fit a re-valued actual option
curve, i.e., the “Re-Valued Fitted Option Value.” Specifically, the observed strike price, stock price,
risk-free return, time to maturity, and implied volatility are used to calculate an option’s value
according to the BSM model. The but-for option curve is then fitted by substituting in the
counterfactual implied volatility and stock price, i.e., the “But-for Fitted Option Value.” The
difference between the re-valued and the counterfactual curves is measured as the price impact.




I declare under penalty of perjury that the foregoing is true and correct.

RESPECTFULLY SUBMITTED THIS EIGHTH DAY OF NOVEMBER 2021




_________________

Steven L. Heston, Ph.D.




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7   A PPENDIX A
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1. Personal Information

Present Employment

Professor of Finance, Smith School of Business, University of Maryland, College Park,

2012-2018

Education

    1. Ph.D. in Finance, Carnegie Mellon University, Graduate School of Industrial
       Administration, 1990
    2. M.S. in Finance, Carnegie Mellon University, 1987
    3. M.S. in Industrial Administration ("M.B.A."), Carnegie Mellon University, 1985
    4. B.S. in Mathematics and Economics, University of Maryland, College Park, 1983

Employment History

    1.   Professor of Finance, Robert H. Smith School of Business, 2012-2018
    2.   Associate Professor of Finance, Robert H. Smith School of Business, 2007-2012
    3.   Assistant Professor of Finance, Robert H. Smith School of Business, 2002-2007
    4.   Goldman Sachs (New York), 1998-2002
           i. Vice President (U.S. Arbitrage)
          ii. Vice President (Quantitative Equities)
    5.   Assistant Professor of Finance, Washington University in St. Louis, 1994-1998
    6.   Visiting Assistant Professor of Finance, Columbia Business School, 1993-1994
    7.   Assistant Professor of Finance, Yale School of Organization and Management,
    8.   1989-1993

2. Research & Publications

a. Books

    1. w/ Blair Rodman and Lee Nelson, Kill Phil, Huntington Press, 2005.
    2. w/ Blair Rodman and Lee Nelson, Kill Elky (French Translation), Huntington Press,
       2009.
          - Designed approximate optimal strategies for this book using combinatorial
              optimization.

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   3. w/ Lee Nelson and Tysen Streib, Kill Everyone, Huntington Press, 2007.
         - Analyzed equilibrium strategies using game theory.

b. Book Chapters

   •    Heston, Steven L. and Guofu Zhou, "Exploring the Relation Between Discrete-time Jump
        Processes and the Finite Difference Method," Advanced Fixed-Income Valuation Tools
        (edited by N.Jegadeesh and B.Tuckman), 2000.

c. Scholarly (Refereed) Articles

1. "A Closed-Form Solution for Options with Stochastic Volatility, with Applications to Bond
and Currency Options," Review of Financial Studies 6, No. 2 (1993) 327- 343 (Reprinted in
Stochastic Volatility (Neil Shephard ed.), Oxford University Press, 2005).

2. "Invisible Parameters in Option Prices," Journal of Finance 48, No. 3 (1993) 933- 947.

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4. Heston, Steven L., K. Geert Rouwenhorst, and Roberto Wessels, "The Structure of
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5. Heston, Steven L. and K. Geert Rouwenhorst, “Industry and Country Effects in International
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7. "Valuation and Hedging of Risky Lease Payments," Financial Analysts Journal 55, No. 1
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8. Heston, Steven L. and Guofu Zhou, “On the Rate of Convergence of Discrete Time
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9. Heston, Steven L. and Saikat Nandi, “A Closed Form GARCH Option Valuation Model,”
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10. "Option Pricing with Infinitely Divisible Distributions,” Quantitative Finance 4 (October
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Skewness,” Journal of Econometrics, 131, No. 2 (2006), 253-285.

12. Heston, Steven L, Mark Loewenstein, and Greg Willard, “Options and Bubbles,” Review of
Financial Studies, 20, No. 2 (2007), 359-390.


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13. “A Model of Discontinuous Interest Rate Behavior, Yield Curves and Volatility,” Review of
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15. Camara, Antonio and Steven L. Heston, “Closed Form Option Pricing Formulas with
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the Volatility Smirk,” Management Science 55, No. 12 (2009), 1914-1932.

17. Heston, Steven L. and Dan Bernhardt, “Point Shaving in College Basketball: A Cautionary
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18. “Common Patterns of Predictability in the Cross-Section of International Stock Returns,”
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23. Heston, Steven L. and Nitish R. Sinha, “News vs. Sentiment: Predicting Stock Returns from
News Stories,” Financial Analysts Journal 73, No. 3 (2017), 67-83.

d. Other Articles

   •    "Discrete-Time Versions of Continuous-Time Interest Rate Models," Journal of Fixed-
        Income 5 (1995) 86-88.
   •    “A Two-Factor Term Structure Model under GARCH Volatility” (with Saikat Nandi),
        Journal of Fixed Income 13, No. 1 (2003) 87-95.

e. Research Prizes and Awards

   1.   Panagora Crowell Prize finalist, 2008-2009
   2.   Chicago Quantitive Alliance Award (top 3 finalist), 2007
   3.   Top 15% Teaching, R.H. Smith School, 2005-2006
   4.   Best Paper on Derivatives, Montreal Financial Econometrics Conference, 2005

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5. Q-Group Funding Award for Option Valuation with a Multifactor Term Structure of
   Volatility, 2005
6. Risk Magazine Risk Management Hall of Fame, 2002

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8   A PPENDIX B
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9   A PPENDIX C
                              Additional Exhibits




                     Aug 10, 2018                99.96%
                     Aug 17, 2018                99.52%
                     Aug 24, 2018                98.89%
                     Aug 31, 2018                96.72%
                     Sep 07, 2018                95.73%
                     Sep 14, 2018                96.63%
                     Sep 21, 2018                91.46%
                     Sep 28, 2018                97.24%
                     Oct 19, 2018                85.25%
                     Nov 16, 2018                78.53%
                     Dec 21, 2018                78.86%
                      Jan 18, 2019               75.37%
                     Feb 15, 2019                77.22%
                     Mar 15, 2019                80.00%
                      Jun 21, 2019               63.21%
                     Aug 16, 2019                77.31%
                      Jan 17, 2020               64.52%

                                       Table 7




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Aug 10, 2018     3.61%    3.97%    4.84%    3.66%      2.92%    NA       NA       NA       NA       NA       NA
Aug 17, 2018     5.80%    6.10%    7.07%    6.53%      7.29%    6.06%    4.68%    3.56%    2.92%    1.85%    NA
Aug 24, 2018     7.52%    7.72%    7.88%    8.27%      9.59%    8.56%    7.30%    6.42%    6.43%    5.64%    7.35%
Aug 31, 2018     8.96%    9.04%    9.32%    9.57%     11.15%   10.34%    9.17%    8.57%    8.64%    7.99%   10.10%
  Sep 7, 2018   10.04%   10.05%   10.41%   10.53%     12.35%   11.50%   10.38%    9.95%   10.01%    9.51%   11.68%
Sep 14, 2018    11.21%   11.18%   10.68%   11.52%     13.49%   12.72%   11.72%   11.37%   11.45%   11.06%   13.22%
Sep 21, 2018    12.28%   12.25%   11.50%   12.25%     14.46%   13.75%   12.82%   12.58%   12.66%   12.31%   14.55%
Sep 28, 2018     NA       NA       NA       NA        15.37%   14.68%   13.74%   13.60%   13.75%   13.49%   15.80%
Oct 19, 2018    16.46%   16.33%   14.28%   15.37%     18.05%   17.26%   16.44%   16.39%   16.62%   16.53%   19.03%
Nov 16, 2018    20.80%   20.61%   17.31%   18.39%     21.36%   20.73%   19.95%   19.99%   20.11%   20.09%   23.44%
Dec 21, 2018    23.80%   23.84%   18.45%   20.24%     23.80%   22.88%   22.30%   22.45%   22.56%   22.59%   26.45%
 Jan 18, 2019   26.07%   26.08%   19.61%   21.75%     25.59%   24.64%   24.03%   24.19%   24.34%   24.34%   28.55%
Feb 15, 2019    28.79%   28.77%   21.94%   23.28%     27.36%   26.57%   25.77%   25.88%   26.05%   26.21%   30.58%
Mar 15, 2019    30.95%   30.87%   22.72%   24.60%     28.92%   27.94%   27.35%   27.39%   27.53%   27.73%   32.41%
 Jun 21, 2019   37.38%   37.17%   26.47%   28.63%     33.13%   32.30%   31.25%   31.30%   31.79%   31.91%   37.50%
Aug 16, 2019    40.76%   40.46%   27.94%   30.83%     35.72%   34.35%   33.13%   33.27%   33.89%   34.01%   40.11%
 Jan 17, 2020   48.15%   47.75%   31.06%   35.25%     39.83%   38.31%   36.45%   36.26%   37.70%   38.50%   45.60%


                                                    Table 8




Aug 10, 2018    43.19%   53.65%   66.99%   61.90%     70.04%    NA       NA       NA       NA       NA       NA
Aug 17, 2018    41.87%   45.87%   53.58%   52.11%     61.74%   54.83%   56.07%   49.24%   49.46%   44.36%    NA
Aug 24, 2018    42.43%   44.70%   45.77%   49.55%     59.30%   54.83%   52.74%   48.59%   51.35%   47.74%   66.54%
Aug 31, 2018    42.91%   44.06%   45.58%   47.81%     56.97%   54.06%   51.79%   49.77%   51.77%   49.45%   64.71%
  Sep 7, 2018   42.51%   43.14%   44.82%   46.08%     54.98%   52.08%   49.76%   48.67%   50.01%   48.58%   61.08%
Sep 14, 2018    43.03%   43.39%   41.50%   45.39%     53.88%   51.55%   49.63%   48.96%   50.09%   49.24%   59.88%
Sep 21, 2018    43.40%   43.70%   41.08%   44.25%     52.88%   50.86%   49.21%   48.93%   49.91%   49.18%   58.99%
Sep 28, 2018     NA       NA       NA       NA        52.11%   50.29%   48.55%   48.60%   49.70%   49.33%   58.46%
Oct 19, 2018    45.90%   45.79%   40.09%   43.44%     51.40%   49.49%   48.18%   48.41%   49.46%   49.56%   57.54%
Nov 16, 2018    49.45%   49.22%   41.33%   44.12%     51.55%   50.29%   49.14%   49.51%   50.06%   50.28%   59.05%
Dec 21, 2018    48.88%   49.10%   37.96%   41.82%     49.42%   47.66%   46.99%   47.49%   47.90%   48.16%   56.68%
 Jan 18, 2019   48.82%   48.97%   36.75%   40.92%     48.36%   46.69%   45.94%   46.41%   46.85%   47.00%   55.39%
Feb 15, 2019    49.90%   49.97%   38.03%   40.48%     47.77%   46.50%   45.44%   45.77%   46.19%   46.60%   54.62%
Mar 15, 2019    50.16%   50.14%   36.80%   39.96%     47.17%   45.65%   44.99%   45.17%   45.50%   45.94%   53.92%
 Jun 21, 2019   50.58%   50.36%   35.71%   38.72%     44.95%   43.88%   42.63%   42.77%   43.52%   43.76%   51.65%
Aug 16, 2019    50.96%   50.63%   34.78%   38.46%     44.73%   43.04%   41.65%   41.90%   42.74%   42.95%   50.88%
 Jan 17, 2020   50.91%   50.52%   32.57%   37.08%     42.02%   40.43%   38.54%   38.37%   39.96%   40.87%   48.65%

                                                    Table 9




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                                Table 10




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10 A PPENDIX D
                                            Data Sources

10.1 IVolatility Data

  1.     IVolatility Historical Intraday Options Trades Data is available from January 2018 to
December 2018 and includes full trade by trade data for options on Tesla common stock. The
IVolatility data includes the following data:

   •     Options’ trade prices with sizes during trading market hours
   •     Options’ bid and ask quotations at the time of transaction
   •     Underlying’s bid, ask, and trade prices at the time of option’s trade
   •     Options’ Implied Vols and Greeks

10.2 Bloomberg Data

  2.     Bloomberg volume data (field: PX_VOLUME) for Tesla common stock, August 2018 was
used.

10.3 CBOE Data

  3.     CBOE DataShop Option Intervals data is available from February 12, 2018 to February 11,
2019 and includes data for options on Tesla common stock obtained for one-minute intervals from
the CBOE Exchange, Inc., CBOE DataShop.

  4.     The raw data was cleaned as follows:

   •     Any entry with a symbol different from “TSLA” was discarded
   •     Bid and ask prices of 0 were ignored
   •     Mid prices were computed as the average of bid and ask
   •     Time to maturity was computed as the time to 4pm on the day of the expiry / 365 days
   •     The forward price of the underlying price (with maturity equal to the maturity of the
         option) is computed using a flat interest rate of 2.4% over 365 days, continuously
         compounded
   •     Quotes collected during the trading halt of the underlying were discarded (14:08 to 15:45
         on Aug 7, 2018)




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10.4 Data Source Summary




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11 A PPENDIX E
                                       Further Explanations

11.1 Standardized ATM-Forward Straddle Price

  1.    Given an expiration date 𝑚0 , an ATM-forward straddle 𝜃𝑚0 is a portfolio of the two
straddles with the strike prices 𝐾0 , 𝐾1 closest to the forward price 𝐹 as of the given expiration date
such that 𝐾0 < 𝐹 < 𝐾1. These two straddles are weighted such that more weight is given to the
straddle whose strike price is closer to the computed forward price 𝐹, and divided by the
contemporaneous active underlying stock price.

                                              𝐹 = 𝑆0 𝑒 𝑟𝑡

                                                     (𝐾1 − 𝐹)
                                            𝑤𝐾0 =
                                                      𝐾1 − 𝐾0

                                            𝑤𝐾1 = 1 − 𝑤𝐾0

                                𝑤𝐾0 ∗ (𝑐𝐾0 + 𝑝𝐾0 ) + 𝑤𝐾1 ∗ (𝑐𝐾1 + 𝑝𝐾1 )
                       𝜃𝑚0 =
                                                   𝑆0

  2.    The forward price 𝐹 is computed using the formula above, where 𝑟 is the continuously
compounded interest rate (2.4% over 365 days), 𝑡 is the time to maturity of the option expressed
                                𝑑𝑎𝑦𝑠 𝑡𝑜 𝑚𝑎𝑡𝑢𝑟𝑖𝑡𝑦
as a fraction of 365 days 𝑡 =                      , and 𝑆0 is the current active underlying price at the
                                      365

time of the creation of the straddle. Lastly, 𝑐 and 𝑝 represent respectively the mid-prices of a put
and of a call option on Tesla shares, with maturity indicated in the subscript. The mid-prices are
computed as the average of the bid and ask spread for that option.

11.2 Constant Maturity ATM-Forward Straddle Price

  3.    Given a desired time to maturity 𝑡𝑚𝑥 , a constant maturity straddle portfolio 𝜃𝑚𝑥 is a
portfolio of the two standardized ATM-forward straddle portfolios (see above) 𝜃𝑚0 and 𝜃𝑚1 such
                                                                      𝑑𝑎𝑦𝑠 𝑡𝑜 𝑚𝑎𝑡𝑢𝑟𝑖𝑡𝑦
that 𝑡𝑚0 < 𝑡𝑚𝑥 < 𝑡𝑚1 with time to maturity closest to 𝑡𝑚𝑥 =                              . The two straddle
                                                                            365

portfolios are weighted accordingly to their distance from the desired time to maturity, with the
straddle closest to the desired maturity being given a larger weight.



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                                           𝑡𝑚1 − 𝑡𝑚𝑥
                                          𝑤𝑚0 =
                                           𝑡𝑚1 − 𝑡𝑚0
                                     𝑤𝑚1 = 1 − 𝑤𝑚0
                                √𝑡𝑚𝑥            √𝑡𝑚𝑥
                           𝜃𝑥 =      𝑤𝑚0 𝜃𝑚0 +        𝑤𝑚1 𝜃𝑚1
                                 √𝑡0             √𝑡1
  4.      The value of an ATM-forward straddle is increasing with expiration and roughly
proportional to the squared root of maturity. Although we do not assume any model, both the BSM
model and the data show that ATM-forward straddle price scaled by the square-root of maturity is
almost constant. Therefore, a portfolio of longer and shorter options can be rebalanced to maintain
a constant weighted-average maturity. While we cannot interpret the changes in this price as
returns, we can interpret the changes as fluctuations in market prices of similar options over time.

11.3 Constant Maturity Straddle

  5.      The constant maturity line in Figure 15 is constructed from the CBOE DataShop minute-
by-minute quote data and portray the change in the price of a constant maturity straddle portfolio
over the course of the Class Period.

  6.      The straddles are constructed on a five-minute basis - by taking the last available quotes in
each five-minute window and plotting each resulting standardized straddle. Each line represents a
series of constant maturity straddles with different time to maturity, as illustrated in the legend.

11.4 Raw Maturity Straddle

  7.      The raw maturity lines in Figure 14 and Figure 17 are constructed from the CBOE
DataShop minute-by-minute quote data and portray the change in the price of a fixed maturity date
straddle portfolio over the course of the Class Period.

  8.      Figure 14 is constructed on a five-minute basis - by taking the last available quotes in each
five-minute window and plotting the price of each resulting standardized straddle. Each line
represents a series of constant maturity straddles with different expirations, as illustrated in the
legend.

  9.      Figure 17 is constructed on a minute-by-minute basis on raw data, and shows data only for
August 6 and 7, 2018.



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11.5 Scatter Plot

   10. The straddle figure (Figure 16) is constructed from the CBOE DataShop minute-by-minute
quote data and portray the relationship between changes in the prices of long- and short-term
straddles (vertical and horizontal axis, respectively). For the purpose of this figure, I discarded all
quote data following the end of the Class Period, and only used the last quote of the trading day.

   11. The constant maturity straddles are first computed as per Section 11.2, for the times to
maturity indicated in the axis, for each day of the data selected. Then on each day, the percentage
change is computed against the previous day – each point on the chart has coordinates
corresponding to the percentage change in price on long- and short-term straddles.

   12. A simple linear regression is then run, regressing the long-term straddle changes against
the short-term straddle changes, excluding the colored points in the chart (i.e., August 7, 8, 9, and
17). The shaded area represents the regression line ± 5 times the sample standard deviation of the
residuals of the regression.

11.6 Trading Volume by Moneyness

   13. These histograms (Figure 12 and Figure 13) are constructed from the IVolatility Data. Each
bar chart shows the option value traded from 12:48 p.m. on August 7 to the close of trading on
August 17, 2018 for a given option expiry. The option value is shown as a function of moneyness,
such that each bar represents the total option value traded for that bucket of moneyness (strike
price / stock price). For each chart, 50 equally sized moneyness buckets were created, covering the
whole range of observed moneyness for that option in that time period.

   14. Option value is here computed as the difference between the total option premium and the
intrinsic value of that option. As an example, for any trade on a put option the option value 𝑂𝑉
will be the put premium 𝑝, less the maximum of 0 and the difference between the present value of
the strike K, and the active underlying stock price 𝑆𝑜 . As with other calculations, t is the time to
maturity for that option, and r is the interest rate.

   15. Consequently, each bar height will be computed as the sum of the 𝑂𝑉 traded across all the
set 𝑋 of options traded in period specified above, with the stated maturity and moneyness. Please
note that the premiums stated in the dataset refer to the price of an option on a single TSLA share,

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while the option underlying is 100 contracts – the bar height has been adjusted accordingly.

                                                                    𝐾
                                     𝑖𝑓 𝑝𝑢𝑡            𝑝 − 𝑚𝑎𝑥 (0,      − 𝑆0 )
                               𝑂𝑉 = {                              𝑒 𝑟𝑡
                                                                          𝐾
                                      𝑖𝑓𝑐𝑎𝑙𝑙           𝑐 − 𝑚𝑎𝑥 (0, 𝑆0 − 𝑟𝑡 )
                                                                         𝑒

                                         𝑏𝑎𝑟 ℎ𝑒𝑖𝑔ℎ𝑡 = ∑ 100 𝑂𝑉𝑖
                                                           𝑖∈𝑋

11.7 Spread Change Plots

      16. The figures (Figure 22 and Figure 23) are constructed using both the CBOE DataShop data
and IVolatility data, subset to quotes and trades from August 7. Each plot shows bid-ask spreads
and trades occurring before and after 12:48 p.m. In particular, the blue dots represent trades which
occurred in the five minutes before the tweet (12:43 p.m. to 12:47 p.m.), while the red dots
represent trades which occurred in the last five minutes of the trading day (15:56 to 16:00).
Similarly, the orange ribbons represent the bid-ask spread before 12:48 p.m., while the blue ribbons
represent the bid-ask spread at the end of the trading day (16:00). Each trade and quote price is
standardized by the contemporaneous active stock price. Similarly on the horizontal axis, the strike
price is divided by the contemporaneous active underlying stock price, from the same dataset.

      17. For each of the two points in time, the chart shows two ribbon-curves, representing spreads
on calls and puts respectively. Each ribbon is composed of two lines, representing the bid and ask
premium, across different strikes – the colored area between the two lines represents the bid-ask
spread.

      18. I present the bid-ask spread in the CBOE DataShop minute-by-minute data because the
individual bid-ask spread associated with each transaction does not necessarily reflect market
liquidity when the underlying price is changing quickly. The widening of bid-ask spread for many
individual trades were likely a result of market makers protecting themselves from losing money
on their hedges because of the rapid change in underlying prices.105 In fact, August 7, 2018 had
large trading volume, indicating a liquid market, as shown in Table 3.


105
       See   https://tickertape.tdameritrade.com/trading/large-bid-ask-spreads-volatile-markets-15241   (accessed
      November 8, 2021).


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11.8 Regression

  19. The t-statistics shown in footnote 89 were based on regression analysis that relies on CBOE
DataShop data, and captures the relationship between changes in the prices of long- and short-term
constant maturity straddles (dependent and independent variables, respectively).

  20. For the purpose of this analysis, we have only used data from the last quote of each day,
throughout the whole dataset.

  21. The constant maturity straddles are first computed as per Section 11.2, for each day,
separately for a fixed time to maturity. Then, on each day, the percentage change in straddle price
is computed against the previous day. The resulting two variables are then entered in a regression
in which the changes in long-term straddle price are modelled as the dependent variable. The
independent variables are respectively the short-term straddle prices, and four dummy variables
representing respectively August 7, 8, 9, and 17, as well as an intercept.

  22. The t-values of each coefficient are computed as the coefficient itself, divided by its
standard error.

11.9 Option Bid-Ask Spread Curves

  23. Figure 10 and Figure 11 represent the bid-ask spreads, on the last minute of the trading day,
across different strikes and/or underlying stock price, on options with exactly 30 days to maturity.
These figures are created using the CBOE DataShop data.

  24. For each day, Figure 10 show two ribbon-curves, representing spreads on calls and puts
respectively. Each ribbon is composed of two lines, representing respectively the current bid and
ask premium, across different strikes – the colored area between the two lines represents the bid-
ask spread.

  25. Figure 11 is identical to Figure 10 except for the scaling – in this chart, bids and asks are
expressed as bid price/stock price and ask price/stock price, where the “stock price” is the
contemporaneous active underlying stock price, as per the CBOE DataShop data.




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11.10 Mid Prices on Consecutive Days

  26. Figure 18 represents the mid prices of Tesla call options on two pairs of consecutive days
– the first two trading days of March and June, respectively. The chart was constructed using the
4 p.m. quotes from the CBOE DataShop data on the relevant dates. Mid prices are computed as
the average of bid-ask spreads

11.11 Mid-Price Drop

  27. Figure 19 and Figure 21 represent the mid-prices of Tesla call options on August 7, before
and after 12:48, across different strikes. The charts are constructed using CBOE DataShop quote
data, and the mid-price is computed as the average of the bid and ask prices.

  28. In Figure 21, both the mid-prices and strikes are standardized by the contemporaneous
active underlying price, as per the same dataset. In this figure, the two red and yellow points
represent the same option on two different days – i.e., call options with a strike of $450 and $340,
respectively.

11.12 Spread Widening on August 7

  29. Figure 24 represents the option prices of Tesla call options at and after 12:47 p.m. on
August 7, across different strikes. The chart shows two ribbon-curves, representing spreads on
calls at different points in time, as well as a line within them, representing the mid-price (computed
as the average of the bid and ask). Each ribbon is composed of two lines, representing the bid and
ask premium, across different strikes – the colored area between the two lines represents the bid-
ask spread. The red points are placed at the mid-price for a $450 call option, at the two different
points in time

  30. These charts are created using the CBOE DataShop data.

11.13 Black Scholes Charts

  31. This figure (Figure 20) displays two theoretical option curves computed using the standard
BSM formula presented in Section 4.2, representing the BSM prices implied by the ATM-forward
straddles at the end of August 6 and 7. The following inputs were used:




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                                             $    356.94      $    379.58
                                                 47.75%           31.06%
                                                 50.52%           32.57%
                                                 1.4469*          1.4466*
                                                    2.4%             2.4%



11.14 Overnight Returns

  32. Table 4 shows the change in value over the Class Period of two straddles expiring March
15, 2019 and Jan 17, 2020, had they been purchased by an investor at 12:47 p.m. on August 7,
2018. Unlike most of my analysis, these are ATM-spot, not ATM-forward straddles.

  33. The straddle returns represent the percentage decline in the same straddle. For example,
suppose that a $360 straddle drops from $120 to $100 when the stock price rises from $360 to
$400, and the new $400 straddle costs $120. Although the ATM straddle/stock changes from 33.3%
to 30%, the old $360 straddle lost 16.67% of its value. Therefore, the return is -16.67%.

  34. The strikes of the straddles were selected to be the closest strikes to ATM-spot and are
taken from CBOE DataShop data.




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                 Exhibit B
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                  UNITED STATES DISTRICT COURT
                NORTHERN DISTRICT OF CALIFORNIA




IN RE TESLA, INC. SECURITIES             Case No. 18-cv-04865-EMC
LITIGATION
                                         Hon. Edward M. Chen




       Expert Damages Report of Michael L. Hartzmark, Ph.D.

                         November 10, 2021




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I.       INTRODUCTION

         1.    On September 22, 2020, I submitted a report in this matter (the “Class
Certification Report”), in which I opined:1

              (1) Tesla, Inc. (“Tesla” or the “Company”) common stock and options on Tesla
                 common stock traded in open, well-developed and efficient markets
                 (hereinafter referred to as “efficient markets”) throughout the proposed
                 class period of 12:48 p.m. ET August 7, 2018 to August 17, 2018 (the “Class
                 Period”);2 and

              (2) The calculations of damages for violations of Section 10(b) of the Securities
                 Exchange Act of 1934 (the “Exchange Act”) and SEC Rule 10b-5 for both
                 the Tesla common stock and the options on Tesla common stock in this case
                 are subject to common methodologies and may be computed on a class-
                 wide basis.

         2.    On November 25, 2020, the Court issued a Stipulation and Order for Class
Certification.3 In the Class Certification Order, the Court approved the stipulation and
agreement by counsel for Plaintiff and Defendants of, among other things:

                Based on the foregoing [agreements between parties], the
                following class is certified: “All individuals and entities who
                purchased or sold Tesla stock, options, and other securities from




1
     Class Certification Report, ¶10. I was also deposed on November 19, 2020 wherein I reiterated
     the same opinions (“Hartzmark Dep”).
2
     Consolidated Complaint for Violation of the Federal Securities Laws filed January 16, 2019,
     ¶1 (the “Complaint”). The Complaint (¶2) alleges that the Class Period begins “On August 7,
     2018, at 12:48 p.m. ET, [when] Musk tweeted the following message to over 22 million people:
     ‘Am considering taking Tesla private at $420.’” The Class Period ends on August 17, 2018
     after the final alleged corrective disclosure that appeared in The New York Times online edition
     after the conclusion of trading on August 16, 2018 and in the print edition on August 17, 2018
     before market hours (Complaint, ¶196).
3
     Stipulation and Order for Class Certification, ECF No. 298, filed November 25, 2020 (the
     “Class Certification Order”).


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                12:48 p.m. EDT on August 7, 2018 to August 17, 2018 and were
                damaged thereby” (the “Class”).4

         3.    I note that, as part of the stipulation and agreement:

                WHEREAS, for purposes of class certification only,
                Defendants stipulate that Tesla, Inc. common stock, options,
                and other securities traded in an efficient market at all relevant
                times and do not seek to rebut the presumption of reliance.5

         4.    For this report (the “Damages Report”), Lead Counsel for Plaintiff6
(“Counsel”) has asked me to:

              (1) examine and opine on the economic materiality7 of Defendants’ alleged
                  false and misleading statements related to the “Musk Tweets”8 at issue in
                  the litigation, including: (a) the information allegedly misrepresented
                  and/or omitted in the Musk Tweets, as well as (b) foreseeable
                  consequential effects caused by disclosures following the Musk Tweets
                  exposing their falsity (e.g., Tesla’s reduced management credibility and
                  revealed failures of corporate governance and internal controls, as well as
                  Tesla’s increased legal risks and scrutiny from U.S. Securities and


4
     Class Certification Order, ¶4. In addition, “Excluded from the Class are: Defendants; the
     officers and directors of Tesla, Inc. at all relevant times; members of their immediate families
     and their legal representatives, heirs, successors, or assigns; and any entity in which Defendants
     have or had a controlling interest.” Class Certification Order, ¶5.
     Note, unless otherwise indicated all times are Eastern Time.
5
     Class Certification Order, p. 2.
6
     Levi & Korsinsky, LLP.
7
     When I refer to materiality or “economic materiality,” it is from the perspective of a financial
     economist and includes a fully developed evaluation that includes an empirical examination of
     the stock price movements in response to the disclosure of new information, along with an
     examination of analysts’ commentary, media discussion, relationship to government
     regulations and academic research, among other factors.
8
     Complaint (¶2) alleges that the Class Period begins “On August 7, 2018, at 12:48 p.m. ET,
     [when] Musk tweeted the following message to over 22 million people: “Am considering
     taking Tesla private at $420.” Defendant Musk made further tweets during the August 7, 2018
     trading day, as well as sending an email to employees at 3:16 p.m., which was then
     subsequently posted on a public Tesla blog that was linked to a Musk tweet at 3:28 p.m. I
     refer to these tweets and emails as the “Musk Tweets.” Class Certification Report, ¶71;
     Complaint, ¶84; see also Complaint at ¶¶120, 122, 124, 126, 128, 130.


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                   Exchange Commission (“SEC”) investigations), which are inextricably
                   bound and causally-linked to the Musk Tweets (I refer to these foreseeable
                   consequences as the “Consequential Harm”);

              (2) opine on whether investor losses were proximately caused by the
                   information allegedly misrepresented and/or omitted in the Musk Tweets,
                   as well as the Consequential Harm (i.e., “loss causation”);9

              (3) quantify the amount of loss attributable to the revelation of the allegedly
                   misrepresented and/or omitted facts in the Musk Tweets, as well as the
                   losses attributable to the Consequential Harm;

              (4) construct the artificial inflation or deflation ribbons, as appropriate, so as
                   to quantify the artificial inflation or deflation per share for Tesla common
                   stock, per contract for call and put stock options and per Note for Tesla
                   debt securities10 for each day of the Class Period attributable to the
                   information allegedly misrepresented and/or omitted in the Musk Tweets,
                   as well as the Consequential Harm;




9
      The Complaint references multiple stock price declines over the Class Period, culminating with
      a final price decline on August 17, 2018 (Complaint, ¶¶188-196). As will be discussed in
      detail, I assume for the purposes of this Damages Report that the finder of fact will determine
      that the period between the Musk Tweets on August 7, 2018 starting at 12:48 p.m. and the close
      of trade of August 17, 2018 is filled with numerous statements and partial corrective disclosures
      revealing curative information; and that there was a final corrective disclosure on August 17,
      2018. As discussed in this Damages Report, my framework for estimating damages per share,
      including disaggregation of price movements and scaling over the Class Period, which are the
      foundation of the inputs for calculating daily artificial inflation, offer flexibility in that
      alternative figures can be used if additional evidence is presented. An electronic file will be
      turned over that allows for adjusting my inputs to create alternative artificial inflation ribbons
      and damages scenarios based on different findings by the finder of fact, including any findings
      concerning the effects of the myriad of disclosures made throughout the period between the
      Musk Tweets starting on August 7, 2018 at 12:48 p.m. and the close of trade of August 17,
      2018.
10
      The debt securities I have been asked to examine are: (i) 0.25% Convertible Senior Notes due
      in 2019 (the “2019 Note”); (ii) 1.25% Convertible Senior Notes due in 2021 (the “2021 Note”);
      (iii) 2.375% Convertible Senior Notes due in 2022 (the “2022 Note”); and (iv) 5.30% Senior
      Notes due in 2025 (the “2025 Note”). I refer to these collectively as the “Tesla Notes” or the
      “Notes.”


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               (5) provide a model to quantify Rule 10b-5 damages on Tesla common stock
                   on a per share basis that can be applied to each Class Member based on the
                   Out-of-Pocket (“OOP”) methodology I described in my Class Certification
                   Report;11

               (6) provide a model to quantify Rule 10b-5 damages on options on Tesla
                   common stock on a per contract basis that can be applied to each Class
                   Member based on the OOP methodology I described in my Class
                   Certification Report;12 and

               (7) provide a model to quantify Rule 10b-5 damages on the Tesla Notes on a
                   per Note basis that can be applied to each Class Member based on the OOP
                   methodology I describe below.

          5.    In this Damages Report, I detail my research and findings that I have carried
out in response to the request above. My Damages Report applies generally accepted and
widely utilized economic, financial, and statistical analyses to form opinions regarding
materiality, loss causation, and damages under Rule 10b-5. This Damages Report does not
contain a verbatim account of every detail of my expected testimony, and I may address
additional topics in response to arguments or assertions offered by Defendants and their
experts during the course of the proceedings. Because my conclusions are based on
information available to me as of the date of this Damages Report and I understand that
fact discovery and expert discovery are ongoing, and I might be asked to review, evaluate
and analyze relevant material that is produced, brought to my attention or otherwise
becomes available to me, I reserve the right to amend, supplement, or otherwise modify
my findings and conclusions, after service of this Damages Report, as appropriate.
Particularly, I am aware that Defendant Musk’s deposition in this matter took place on
November 5, 2021, shortly before the date of this report, and I reserve the right to revise
this report, as needed, based on his testimony.




11
      Class Certification Report, ¶¶158-169.
12
      Class Certification Report, ¶¶170-174.


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         6.     My Expert Damages Report is organized as follows: in Section II, I present
my qualifications as an expert. In Section III, I summarize my opinions. In Section IV, I
provide a summary overview of Plaintiff’s allegations, as set forth in the Complaint and
Plaintiff’s Responses to Defendants’ First Set of Interrogatories.13            In Section V, I
demonstrate that the alleged misstatements and/or omissions in the Musk Tweets, as well
as the Consequential Harm were material to the price of Tesla common stock. In Section
VI, I establish loss causation and determine the magnitude of the price impact of the alleged
partial corrective disclosures on Tesla common stock, which enables me to quantify the
artificial inflation per share and its evolution on each day of the Class Period in Tesla
common stock. In Section VII, I calculate per share damages for Tesla common stock
under Rule 10b-5, including an examination of losses to short sellers. In Section VIII, I
quantify the artificial inflation and/or deflation per contract and its evolution on each day
of the Class Period in options on Tesla common stock and provide my analysis of damages
for options on Tesla common stock. In Section IX, I quantify the artificial inflation per
Note and its evolution on each day of the Class Period in the Tesla Notes and provide my
analysis of damages for the Tesla Notes.

II.      QUALIFICATIONS AND COMPENSATION

         7.     I am President of Hartzmark Economics Litigation Practice, LLC and prior to
this I was a Principal and Director at Navigant Economics (formerly dba Chicago Partners,
LLC, a subsidiary of Navigant Consulting, Inc.). Both firms specialize in the application
of economics and finance to legal, commercial and regulatory issues, including issues such
as those addressed in this report. I also am currently engaged as an independent contractor
the Office of the Attorney General of the State of New Jersey and was previously engaged
by the Office of the Attorney General of the State of New York, to assist in investigations
of the mortgage-backed securities market.14



13
      Plaintiff’s Responses to Defendants’ First Set of Interrogatories dated November 4, 2021 (
      “Plaintiff’s Responses”).
14
      “A residential mortgage-backed security (MBS) is an instrument whose cash flow depends on
      the cash flows of an underlying pool of mortgages.” Frank J. Fabozzi and Steven V. Mann, The


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          8.    I have served as a testifying and consulting expert in numerous securities class
actions. In addition, I have published scholarly articles on a multitude of issues in financial
economics including those associated with securities class actions, including the topic of
market efficiency. I have spent considerable time as an economic consultant evaluating
issues related to market efficiency and damages. My primary focus has been on securities
such as common stock, options, corporate bonds, Treasury and energy futures, swaps,
swaptions, and asset-backed securities. My expert reports which included the topics of
market efficiency and common damages methodology have been cited with approval by
the respective courts in In re: CenturyLink Sales Practices and Securities Litigation,15
Laurence Rougier, et al. v. Applied Optoelectronics, Inc., et al.,16 In re Signet Jewelers
Limited Securities Litigation,17 West Palm Beach Police Pension Fund, et al. v. DFC
Global Corp., et al.,18 In re Cobalt International Energy, Inc. Securities Litigation,19 and
William D. Wallace, et al. v. IntraLinks Holdings, Inc., et al.20 I also wrote a series of
reports cited in the district court’s opinion granting class certification of DVI common
stock and corporate bonds in In re DVI, Inc. Securities Litigation, 249 F.R.D. 196 (E.D.
Pa. 2008), which was affirmed by the Third Circuit in In re DVI, Inc. Securities Litigation,




      Handbook of Fixed Income Securities, Seventh Edition, McGraw-Hill Education (2005), p. 16
      (“Handbook”).
15
      In re: CenturyLink Sales Practices and Securities Litigation, 2020 WL 5517483 (D. Minn.
      Sept. 14, 2020).
16
      Laurence Rougier, et al. v. Applied Optoelectronics, Inc., et al., Memorandum and
      Recommendation, (S.D. Tx., Nov. 13, 2019), Dkt. 125 (which was adopted by the Court in
      Order Adopting Magistrate Judge’s Memorandum and Recommendation entered December 20,
      2019, Dkt. 131).
17
      In re Signet Jewelers Limited Sec. Litig., 2019 WL 3001084 (S.D.NY. 2019).
18
      W. Palm Beach Police Pension Fund, et al. v. DFC Global Corp., et al., 2016 WL 4138613
      (E.D. Pa. Aug. 4, 2016).
19
      In re Cobalt Intl. Energy, Inc., Sec. Litig., 2017 WL 2608243 (S.D. Tex. 2017).
20
      William D. Wallace, et al. v. IntraLinks et al., Opinion (S.D.N.Y., September 30, 2014), Dkt.
      99.


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639 F.3d 623 (3d Cir. 2011). I have also co-authored three law review publications
discussing the commonly used empirical tests applicable to securities class actions.21

          9.    I earned my B.A. in economics from The University of Michigan and my
M.A. and Ph.D. in economics from The University of Chicago. I have taught economics
and financial economics in the Department of Economics at The University of Chicago and
jointly in the Michigan Business School (now the Ross School of Business) and the
Department of Economics at the University of Michigan.

          10.   At the University of Michigan, I created and taught courses on financial and
commodity futures markets. While an Assistant Professor at the University of Michigan,
I received a research grant from the University of Chicago Center for the Study of Futures
Prices, as well as the John M. Olin Faculty Fellowship to further my research in financial
markets. In addition, I published articles in peer-reviewed journals related to financial
markets. Prior to my tenure track appointment at the University of Michigan, I was
employed as a Financial Economist at the Commodity Futures Trading Commission,
Division of Economics and Education.

          11.   I have been a holder of the Series 7 and 63 registered representative licenses
and have served as a Financial Advisor at Fahnestock & Co., Inc. (now Oppenheimer &
Co., Inc.). I was also founder and President of DARMA, LLC, a wealth and asset advisory
company affiliated with Oppenheimer & Co., Inc.

          12.   My qualifications, publications, and expert engagements are summarized in
detail in my curriculum vitae, which is attached to this report as Appendix 1. Hartzmark
Economics Litigation Practice, LLC is being compensated at a rate of $800 per hour for
my work in this matter. Neither my compensation nor the compensation of Hartzmark
Economics Litigation Practice, LLC is any way contingent upon the outcome of this case
or upon the opinions that I express.


21
      Michael L. Hartzmark, Cindy A. Schipani, H. Nejat Seyhun, Fraud on the Market: Analysis
      of the Efficiency of the Corporate Bond Market, 2011 Colum. Bus. L. Rev., 654-716 (2011);
      Michael L. Hartzmark, H. Nejat Seyhun, The Curious Incident of the Dog That Didn’t Bark
      and Establishing Cause-and-Effect in Class Action Securities Litigation, 6 Va. L. & Bus. Rev.,
      415-66 (Winter 2012); Michael L. Hartzmark, H. Nejat Seyhun, Understanding the Efficiency
      of the Market for Preferred Stock, 8 Va. L. & Bus. Rev., 149-230 (Spring 2014).


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III.      SUMMARY OF OPINIONS

          13.    Based on my analysis to date, I have formed the opinions that follow. In
reaching these opinions, I have relied upon various materials, which are listed throughout
this Report and/or in Appendix 2 (which lists materials that I relied upon for this Damages
Report).        The research and analysis upon which my opinions are based have been
conducted by me with the assistance of personnel working under my direction and
supervision.

OPINION 1: In the Class Certification Report, I described and proposed a market model
for Tesla’s common stock to control for market and industry effects and to form the basis
of an appropriate event study.22 It is my opinion that this market model serves as an
appropriate basis to begin the calculation of artificial inflation.

OPINION 2: The alleged misrepresentations and/or omissions in the Musk Tweets and
the related Consequential Harm were economically material because they substantially
altered the total mix of information available to investors.

OPINION 3: There is an economic link, which can be reliably measured, between the
alleged misrepresentations and/or omissions in the Musk Tweets and the revelation of the
truth, as well as the Consequential Harm, which when realized throughout the Class Period
proximately caused losses to investors. The quantification of the negative repercussions
and the harm to investors can be reliably measured by examining the price movements as
market participants learned the truth about the Musk Tweets and Consequential Harm. The
harm to investors can also be reliably measured by calculating the differences between
observed prices and true or “but-for” prices that account for the price impact of the
revelation of the truth and the Consequential Harm, along with appropriate adjustments for
market-wide, industry and confounding influences.

OPINION 4: The alleged misrepresentations and/or omissions in the Musk Tweets caused
the price of Tesla securities to be at artificially inflated levels throughout the Class Period23
and the curative information revealing the truth concerning Defendants’ alleged
misstatements in the Musk Tweets and the revelations related to the Consequential Harm
realized throughout the Class Period proximately caused the artificially inflated price of
Tesla’s securities to decline.24


22
      Class Certification Report, Appendix E.
23
      In OPINIONS 3-6, “artificial inflation” would refer to “artificial deflation” (and the curative
      information causing the deflated prices to rise) as it relates to securities that are put option
      contracts and certain call option contracts.
24
      My opinions regarding amounts of inflation (and deflation in the put options and certain call
      options) and damages per Tesla security under Rule 10b-5 are based upon my assumption of


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OPINION 5: Based on a formulaic procedure that can accommodate any modification
determined to be necessary by the finder of fact, I calculate the levels of artificial inflation
(or deflation) in all of Tesla’s securities that are related to Plaintiff’s allegations for the
close on each day of the Class Period as presented in Table 1 through Table 3. Moreover,
I am able to separate the levels of artificial inflation (or deflation) that is directly and
proximately caused by the Musk Tweets from the artificial inflation caused by the
Consequential Harm. The amounts of Direct Artificial Inflation are also presented in Table
1 through Table 3. Appendix 8 provides artificial inflation and deflation in Tesla options
on a daily basis for a range of options.

                                             Table 1
                                                    Total       Direct
                                                  Artificial   Artificial
                             Date        Price    Inflation    Inflation
                             8/7/2018     $379.57   $66.67       $23.27
                             8/8/2018     $370.34   $57.44       $16.75
                             8/9/2018     $352.45   $39.55        $9.59
                            8/10/2018     $355.49   $42.59       $11.90
                            8/13/2018     $356.41   $43.51       $14.64
                            8/14/2018     $347.64   $34.74       $14.88
                            8/15/2018     $338.69   $25.79       $12.57
                            8/16/2018     $335.45   $22.55       $11.27
                            8/17/2018     $305.50      ---          ---




   Defendants’ liability for violations of Section 10(b) of the Exchange Act, as is standard in a
   damages analysis.


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                                  Table 2
                                              Total       Direct
                                            Artificial   Artificial
                    Date          Price     Inflation    Inflation


                 2019 Note
                    8/7/2018     $114.69       $11.21       $4.49
                    8/8/2018     $110.56        $7.07       $3.23
                    8/9/2018     $108.27        $4.78       $1.85
                   8/10/2018     $108.60        $5.12       $2.30
                   8/11/2018     $109.29        $5.81       $2.83
                   8/12/2018     $108.12        $4.63       $2.87
                   8/13/2018     $106.63        $3.15       $2.43
                   8/14/2018     $106.10        $2.61       $2.17
                   8/17/2018     $102.16           ---         ---


                 2021 Note
                    8/7/2018     $122.55       $17.56       $6.17
                    8/8/2018     $116.14       $11.15       $4.44
                    8/9/2018     $112.31        $7.32       $2.54
                   8/10/2018     $112.74        $7.75       $3.16
                   8/11/2018     $114.64        $9.65       $3.88
                   8/12/2018     $111.76        $6.77       $3.95
                   8/13/2018     $109.79        $4.80       $3.34
                   8/14/2018     $108.80        $3.81       $2.99
                   8/17/2018     $103.44           ---         ---


                 2022 Note
                    8/7/2018     $130.41       $18.35       $6.26
                    8/8/2018     $123.61       $11.55       $4.50
                    8/9/2018     $120.81        $8.75       $2.58
                   8/10/2018     $121.19        $9.13       $3.20
                   8/11/2018     $122.32       $10.26       $3.94
                   8/12/2018     $120.27        $8.21       $4.00
                   8/13/2018     $117.47        $5.41       $3.38
                   8/14/2018     $116.79        $4.73       $3.03
                   8/17/2018     $110.07           ---         ---




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                                        Table 3
 Panel A: Daily Total Artificial Inflation (Deflation) per Underlying Share in Tesla
                   Januay 17, 2020 Options, Select Strike Prices
                                  Calls                                       Puts
 Date          $300      $340         $380       $420         $300      $340       $380       $420
   8/7/2018    $27.05    $17.96       $10.50      $4.78     ($39.61)   ($48.70)   ($56.16)   ($61.89)
   8/8/2018    $25.46    $18.54       $12.76      $8.18     ($31.97)   ($38.90)   ($44.67)   ($49.25)
   8/9/2018    $18.57    $14.32       $10.74      $7.83     ($20.98)   ($25.23)   ($28.80)   ($31.71)
  8/10/2018    $18.63    $13.81        $9.80      $6.61     ($23.95)   ($28.78)   ($32.78)   ($35.98)
  8/13/2018    $16.78    $11.47        $7.17      $3.85     ($26.72)   ($32.03)   ($36.34)   ($39.66)
  8/14/2018    $10.06     $5.54        $2.03     ($0.53)    ($24.67)   ($29.19)   ($32.70)   ($35.26)
  8/15/2018     $5.78     $2.40       ($0.15)    ($1.97)    ($20.01)   ($23.38)   ($25.94)   ($27.75)
  8/16/2018     $4.73     $1.80       ($0.41)    ($1.96)    ($17.82)   ($20.75)   ($22.95)   ($24.51)

 Panel B: Daily Direct Artificial Inflation (Deflation) per Underlying Share in Tesla
                   January 17, 2020 Options, Select Strike Prices
                                Calls                                          Puts
 Date          $300       $340        $380        $420        $300      $340        $380      $420
   8/7/2018    ($6.12)   ($12.15) ($16.61)      ($19.47)    ($29.39)   ($35.42) ($39.88)     ($42.74)
   8/8/2018    ($5.70)    ($9.76) ($12.71)      ($14.61)    ($22.44)   ($26.51) ($29.46)     ($31.36)
   8/9/2018    ($4.78)    ($6.93)    ($8.44)     ($9.35)    ($14.37)   ($16.52) ($18.03)     ($18.94)
  8/10/2018    ($5.22)    ($7.91)    ($9.78)    ($10.93)    ($17.13)   ($19.81) ($21.68)     ($22.83)
  8/13/2018    ($5.76)    ($9.05) ($11.35)      ($12.73)    ($20.39)   ($23.69) ($25.98)     ($27.37)
  8/14/2018    ($6.08)    ($9.25) ($11.39)      ($12.61)    ($20.96)   ($24.13) ($26.27)     ($27.49)
  8/15/2018    ($5.73)    ($8.27)    ($9.93)    ($10.84)    ($18.31)   ($20.84) ($22.50)     ($23.41)
  8/16/2018    ($5.45)    ($7.68)    ($9.13)     ($9.91)    ($16.72)   ($18.95) ($20.40)     ($21.18)

OPINION 6: Under Rule 10b-5, damages per share, option or bond (before any statutory
limitations) for any Class member may be calculated as the difference between (i)
inflation25 in the security price when the Class member purchased the security and (ii)
inflation in the security price when the investor sold the security.26 For example, if an
investor bought27 Tesla common stock with the price artificially inflated shown above in




25
     My opinions regarding amounts of inflation and damages per security under Rule 10b-5 are
     based upon my assumption that Defendants will be found liable for violating Section 10(b) of
     the Exchange Act. In particular, I assume that Plaintiff will be able to prove that the Defendants
     knew or recklessly disregarded that they were issuing materially false or misleading statements
     or making statements that omitted material facts during the Class Period.
26
     In the case of short sellers, the stock has already been sold at the time of the purchase.
27
     This example describes a typical open-market purchase of stock. A similar calculation applies
     to a purchaser of any Tesla security whose purchase price was artificially inflated during the
     Class Period. The inverse calculation can be made for any investor who sold a Tesla security
     when their sale price was artificially deflated as a result of Defendants’ misrepresentations or
     omissions. As discussed below, this was the case for certain options on Tesla stock.


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Table 1 and held through August 17, 2018, the investor was harmed by the amount of
artificial inflation per share shown in Table 1 for the purchase date.28

IV.      BRIEF SUMMARY OF PLAINTIFF’S ALLEGATIONS AND RELEVANT
         BACKGROUND

         14.   In this section, I provide a brief summary of relevant facts and claims that I
rely upon in my analysis of the allegations, as well as the calculation of harm associated
with those allegations made by Plaintiff. To be clear, this section is not meant to recite
every fact or claim I relied upon or every allegation at issue in the case. Instead, this
summary of the allegations is intended to provide background and contextual information
relevant to my later analysis of materiality, loss causation, the measurement of artificial
inflation, and damages.

         A. Background on Tesla

         15.   In its Form 10-K filed for the fiscal year ending December 31, 2018, Tesla
described itself as follows:

               We design, develop, manufacture and sell high-performance
               fully electric vehicles (“EVs”) and energy generation and
               storage systems, and also install and maintain such energy
               systems and sell solar electricity. We are the world’s first
               vertically integrated sustainable energy company, offering end-
               to-end clean energy products, including generation, storage and
               consumption.29

         16.   Tesla is a Delaware corporation with headquarters in California.30
Throughout the Class Period, Tesla common stock was listed on The NASDAQ Global
Select Market under the “TSLA” trading symbol, where it began trading in June 2010.31




28
     In addition, I examine and account for the 90-day period following the end of the Class Period.
     I understand that under the Private Securities Litigation Reform Act of 1995 (“PSLRA”), a
     plaintiff may not recover more than the difference between the purchase price and the mean
     trading price of the stock during the 90-day lookback period. See 15 U.S.C. § 78u-4(e)(1).
29
     Tesla SEC Form 10-K filed February 19, 2019, p. 1.
30
     Tesla SEC Form 10-K filed February 19, 2019, cover.
31
     Tesla SEC Form 10-K filed February 19, 2019, p. 39.


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          17.   On July 27, 2018, approximately two weeks before the start of the Class
Period, Tesla had 170.6 million shares outstanding.32 On September 30, 2018 (about one
and a half months after the end of the Class Period), Tesla had 171.6 million shares
outstanding.33 As of June 30, 2018, Tesla and its subsidiaries had outstanding $10.91
billion in aggregate principal amount of indebtedness, including convertible and long-term
debt.34

          B. Tesla Was a Volatile Growth Stock with High Short Interest and a CEO at
             Odds with Short Sellers and Analysts

          18.   In 2018, Tesla stated the “trading price of our common stock has been highly
volatile and could continue to be subject to wide fluctuations…”35 Tesla was a growing
company in a capital intensive business36 with negative cash flow from operating and
investment activities of over $4.4 billion in 201737 and faced several business growth
challenges that included ramping up production and sales of its Model 3 vehicle, a lower
priced sedan designed for the mass market, at “significantly higher volumes than our
present production capabilities for the Model S or Model X vehicles.”38

          19.   The Company stated that it had “… been able to generate significant media
coverage of our company and our vehicles … media coverage and word of mouth have
been the primary drivers of our sales leads.”39 Tesla also stated it “… was highly dependent
on the services of Elon Musk, our Chief Executive Officer, Chairman of our Board of
Directors and largest stockholder.”40




32
     Tesla SEC Form 10-Q filed August 6, 2018, cover.
33
     Tesla SEC Form 10-Q filed November 2, 2018, p. 4.
34
     Tesla SEC Form 10-Q filed August 6, 2018, pp. 24, 59.
35
     Tesla SEC Form 10-K filed February 23, 2018, p. 32.
36
     Tesla SEC Form 10-K filed February 23, 2018, pp. 1, 30.
37
     Tesla SEC Form 10-K filed February 23, 2018, p. 56.
38
     Tesla SEC Form 10-K filed February 23, 2018, p. 15.
39
     Tesla SEC Form 10-K filed February 23, 2018, p. 6.
40
     Tesla SEC Form 10-K filed February 23, 2018, p. 24.


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         20.   Articles in The Wall Street Journal described Defendant Musk as someone
who is very demanding, though sometimes displaying an erratic management style and
controversial use of Twitter, including taunting short sellers of Tesla common stock who
were betting against the Company’s success.41 Prior to the Musk Tweets, there had been
extensive coverage on Defendants Musk and Tesla as described below:

               Mr. Musk … sets a high bar with the hope that if he reaches a
               fraction of his goal, Tesla will be successful, people familiar
               with his thinking said. For all his success, Mr. Musk can be his
               own worst enemy, setting unrealistic expectations publicly and
               at times displaying an erratic management style that add to
               Tesla’s challenges, say investors, former Tesla executives and
               close observers. …

               After Mr. Musk inflamed Wall Street in May during Tesla’s
               quarterly financial call by cutting off analysts—“Boring
               bonehead questions are not cool,” he said—he sought to make
               amends by calling some of Tesla’s largest shareholders,
               including Baillie, Fidelity Investments and T. Rowe Price to
               assuage concerns, people familiar with the matter said.42

                                              *****

               The outburst was the latest example of Mr. Musk’s aggressive
               and sometimes controversial use of Twitter. In recent months,
               he has used the platform to criticize regulators, taunt short
               sellers and debate people who criticized his political
               donations.43

                                              *****



41
     At the start of the Class Period the value of short interest in Tesla stock was higher than any
     other S&P 500 stock. “Tesla Short Selling Update - IHS Markit,” Exchange News Direct,
     August 7, 2018. The article stated: “In dollar terms, today's price move took Tesla’s equity
     short position above $13bn for the first time, the previous peak being $12.8bn on June 14th.
     The short interest equates to 20.7% of outstanding shares, down from a YTD peak of 23%
     observed in June. The short value is higher than any S&P 500 stock, only Under Armor has a
     higher percentage of outstanding shares short with 24%.”
42
     “Elon Musk Races to Exit Tesla’s ‘Production Hell’,” The Wall Street Journal, June 27, 2018,
     9:36 p.m.
43
     “Elon Musk Apologizes for Calling Thai Cave Rescuer a Pedophile,” The Wall Street Journal,
     July 18, 2018, 3:15 p.m.


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               Elon Musk’s swagger has helped win admirers and embolden
               Tesla Inc. TSLA +1.65% investors. This time, the billionaire
               chief executive may have gone too far.

               On Thursday, Tesla’s shares fell 5.6%, erasing about $3 billion
               in market value a day after Mr. Musk sparred with Wall Street
               analysts in a show of defiance rare for traditionally staid
               conference calls to discuss a company’s quarterly results.

               Several analysts reconsidered their outlooks for the Silicon
               Valley auto maker struggling to take on the century-old
               automotive industry….

               Mr. Musk’s bravado has polarized investors, pitting short
               sellers who are sure Tesla is headed for demise, against the
               “longs” who believe his vision will win out. The backers have
               so far prevailed, giving Mr. Musk room to make, and sometimes
               miss, overly ambitious goals and lifting Tesla’s market value to
               rival those of General Motors Co. and Ford Motor Co., much
               larger auto makers….

               Following the call, which was broadcast for investors online,
               analysts sent notes to clients that characterized Mr. Musk’s
               exchange as “bizarre theatrics” and “odd,” and said Mr. Musk
               might have struck some as being “dismissive” and “unhinged.”
               At least three analysts dropped their price targets….

               Following the call, Mr. Spak lowered his price target to $280
               from $305, telling clients the “performance shook confidence”
               on the part of investors “which we’d argue is an important piece
               of the Tesla story.”44

        21.   Just before the start of the Class Period, Tesla announced second quarter 2018
results that were mixed, reporting higher than expected quarterly losses but better than
expected negative cash flow, and its stock price increased over 16% on August 2, 2018.
Some news articles attributed much of the stock price increase to Mr. Musk restoring his
reputation and credibility after he apologized to two analysts for comments made on the
prior earnings call. This demonstrates the impact that Defendant Musk could have on
Tesla’s stock price and how important his credibility and reputation was to market
participants’ valuation of Tesla. For example:

44
     “Tesla’s Elon Musk Turns Conference Call Into Sparring Session,” The Wall Street Journal,
     May 3, 2018, 12:47 p.m.


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               Tesla CEO Elon Musk extended an olive branch to Wall Street
               during a conference call with analysts, fueling a big rally in the
               company’s shares Thursday.

               The electric car maker also continues to target positive cash
               flow and quarterly profits in the second half of the year amid
               expanded production of the Model 3. Despite reporting a record
               quarterly loss Wednesday, Tesla burned through less cash than
               Wall Street feared in the second quarter.45

                                             *****

               Tesla CEO Elon Musk stunned analysts a few months ago by
               refusing to answer their “boring” questions on a Tesla earnings
               call, choosing instead to field questions from a YouTuber.
               Tesla’s stock price took a hit.

               But on Wednesday, Musk said he was said he was sorry for the
               testy exchange. He spent more than an hour on this quarter’s
               earnings call taking questions from analysts and journalists.

               His amenable tone appeared to win investors over. Tesla’s
               after-hours stock price climbed more than 10% around the
               time he offered his apology.

               It’s a sign Tesla fans on Wall Street may have had their faith
               restored in Musk after a rocky few weeks.46

                                             *****

               As Fortune reported:

               Although Tesla stock rose slightly upon the release of the
               financial results themselves, it wasn’t until Musk started
               talking that it really took off, boosting Tesla’s market value
               by more than $5 billion in after-hours trading.47

                                             *****



45
     “Tesla stock rallies as Elon Musk apologizes, promises future profits,” Fox Business, August
     2, 2018.
46
     “Elon Musk apologizes for brushing off analysts on past earnings call,” CNN Money, August
     1, 2018, 9:19 p.m. (emphasis added).
47
     “Tesla’s Elon Musk Just Gave a $5 Billion Apology,” Inc., August 2, 2018 (emphasis added).


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               Chief Executive Elon Musk was more muted during the post-
               earnings call with analysts Wednesday, personally apologizing
               to the two he had lashed out back in May.

               That behavior, plus a renewed promise of profitability in the
               second half of the year, helped send Tesla (TSLA, US) shares
               up 16% in Thursday trading, marking their highest close since
               June 28. It was the stock’s best single-day percentage gain
               since December 2013. Since Tuesday, Tesla shares had their
               best three-day stretch since early April, rising 20.5% over the
               past three days.

               “The CEO worked to restore some faith and credibility with
               investors that he can be a plus to the investment narrative,
               not a minus,” wrote KeyBanc Capital Markets analyst Brad
               Erickson, who has the equivalent of a neutral rating on the
               stock. Musk delivered what Erickson called “maybe the most
               valuable apology of all time.”48

        C. Defendant Musk’s Tweets Were Considered to Be Appropriate Channels
           for the Dissemination of Corporate Information

        22.   The Wall Street Journal also documented Defendant Musk’s Twitter habits
stating, “Among big-company tech CEO’s, only Salesforce CEO Marc Benioff tweets
more than Musk.”49

        23.   Prior to the beginning of the Class Period, the Board of Directors of Tesla had
acknowledged and adopted Defendant Musk’s tweeting and disclosed that his tweeting
should be treated much like formal press releases and other normal and commonly used
channels to disseminate corporate information. These tweets would represent bona fide
Tesla disclosures. This was formalized in 2013:

               Tesla Disclosure Channels To Disseminate Information

               Tesla investors and others should note that we announce
               material information to the public about our company, products
               and services and other issues through a variety of means,
               including Tesla’s website, press releases, SEC filings, blogs and
               social media, in order to achieve broad, non-exclusionary

48
     “Elon Musk’s apology was worth more than $8 billion to Tesla shareholders—but questions
     linger,” MarketWatch, August 6, 2018, 3:42 p.m. (emphasis added).
49
     “4,925 Tweets_Elon Musk’s Twitter Habit, Dissected,” The Wall Street Journal, July 31, 2018,
     available at http://graphics.wsj.com/elon-musk-twitter-habit-analysis/.


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              distribution of information to the public. We encourage our
              investors and others to review the information we make public
              in the locations below as such information could be deemed to
              be material information. Please note that this list may be
              updated from time to time.

              Interested in keeping up with Tesla?

              For more information on Tesla and its products, please visit:
              teslamotors.com

              For more information for Tesla investors, please visit:
              ir.teslamotors.com

              For the latest information from Tesla, including press releases
              and the Tesla blog, please visit: teslamotors.com/press

              For additional information, please follow Elon Musk’s and
              Tesla’s Twitter accounts: twitter.com/elonmusk and
              twitter.com/TeslaMotors50

        24.   Tesla’s disclosure about its use of social media was consistent with the SEC’s
announcement earlier in 2013 that social media outlets were acceptable channels to
disseminate information to investors, stating:

              The Securities and Exchange Commission today issued a report
              that makes clear that companies can use social media outlets
              like Facebook and Twitter to announce key information
              incompliance with Regulation Fair Disclosure (Regulation FD)
              so long as investors have been alerted about which social media
              will be used to disseminate such information.

              The SEC’s report of investigation confirms that Regulation FD
              applies to social media and other emerging means of
              communication used by public companies the same way it
              applies to company websites… Today’s report clarifies that
              company communications made through social media channels
              could constitute selective disclosures and, therefore, require
              careful Regulation FD analysis.51




50
     Tesla SEC Form 8-K filed November 5, 2013 (emphasis added).
51
     “SEC Says Social Media Ok for Company Announcements if Investors Are Altered,”
     https://www.sec.gov/news/press-release/2013-2013-51htm.


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         25.   It would also be expected by market participants that as a public company,
Tesla would have had in place internal controls and corporate governance mechanisms to
monitor and review, so as to modify edit and amend (as appropriate) all corporate
disclosures of material information, which by virtue of its 2013 policy also included
information published via tweets from Defendant Musk.52 Moreover, NASDAQ also had
in place controls with rules specifying that its listed companies must notify the exchange
ten minutes prior to publicly releasing material information, which Defendant Musk did
not do before disseminating the Musk Tweets.53

         26.   Overall, with the SEC and NASDAQ rules, along with the expected Tesla
internal controls and corporate governance mechanisms, I conclude that investors would
have considered the Musk Tweets to have been evaluated prior to dissemination.

         D. Plaintiff’s Alleged Misrepresentations and/or Omissions

         27.   For the purposes of this Report, I assume that Plaintiff will prove that
Defendants misled the market when making certain misstatements regarding the potential
to take Tesla private. Specifically, Plaintiff alleges that Defendant Musk made the
following misstatements in the Musk Tweets, among others:54

               a) On August 7, 2018 at 12:48 p.m., Musk tweeted: “Am considering taking
                  Tesla private at $420. Funding secured.”55

52
     TESLA_LITTLETON_00006293 (Exhibit 318).
53
     “Except in unusual circumstances, a Nasdaq-listed Company shall make prompt disclosure to
     the public through any Regulation FD compliant method (or combination of methods) of
     disclosure of any material information that would reasonably be expected to affect the value of
     its securities or influence investors’ decisions. The Company shall, prior to the release of the
     information, provide notice of such disclosure to Nasdaq’s MarketWatch Department at least
     ten minutes prior to public announcement if the information involves any of the events set forth
     in IM-5250-1 and the public release of the material information is made between 7:00 a.m. to
     8:00 p.m. If the public release of the material information is made outside the hours of 7:00
     a.m. to 8:00 p.m, Nasdaq Companies must notify MarketWatch of the material information
     prior to 6:50 a.m. ET. As described in IM-5250-1, prior notice to the MarketWatch Department
     must be made through the electronic disclosure submission system available at
     www.nasdaq.net, except in emergency situations.” https://listingcenter.nasdaq.com/rulebook/
     nasdaq/ rules/nasdaq-5200-series.
54
     See Complaint, ¶¶74, 77, 82, 84-85, 124 and Plaintiff’s Responses, pp. 5-6.
55
     Complaint, ¶2; Elon Musk on Twitter.com, August 7, 2018, 12:48 p.m., available at:
     https://twitter.com/elonmusk/status/1026872652290379776?lang=en.


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               b) On August 7, 2018 at 1:15 p.m., Musk tweeted “420” when responding to
                  another Twitter user who had asked at what price he would be taking Tesla
                  private.

               c) On August 7, 2018 at 2:13 p.m., Musk tweeted “Shareholders could either
                  to [sic] at 420 or hold shares & go private.”

               d) On August 7, 2018 at 3:00 p.m., Musk tweeted “Yes, but liquidity events
                  would be limited to every 6 months . . . .” when responding to another
                  Twitter user who had asked whether the public could still invest in Tesla
                  once it was private.

               e) An email titled “Taking Tesla Private” purportedly from Elon Musk to
                  Tesla employees was published by Tesla on its publicly available blog on
                  August 7, 2018 at 3:22 p.m.

               f) Musk forwarded the email titled “Taking Tesla Private” via Twitter at
                  3:36 p.m., commenting: “Investor support is confirmed. Only reason why
                  this is not certain is that it’s contingent on a shareholder vote.”56

         28.   As stated in the MTD,

               … Plaintiff’s claim is directed at the phrase that funding was
               “secured” for a going private transaction at $420 per share. The
               statement could be read by a reasonable investor to mean
               complete funding for the transaction was unconditionally
               secured. So read, the statement is not true. Plaintiff alleges that
               Mr. Musk and Tesla had not, in fact, secured funding for the
               transaction to convert Tesla into a private company at the time
               of this tweet (or ever) ….”57

         29.   In summary, Plaintiff alleges that Musk’s and Tesla’s statements were false
and misleading because:

               a) There was no agreement to fund a going private transaction involving
                  Tesla;

               b) Musk had not discussed the potential price of $420 with the Saudi Arabian
                  Public Investment Fund (“PIF”) or any other potential investor;



56
     Complaint, ¶2; Elon Musk on Twitter.com, August 7, 2018, 3:36 p.m., available at:
     https://twitter.com/elonmusk/status/1026914941004001280?lang=en.
57
     Order Denying Plaintiff’s Motion to Convert or, Alternatively, to Strike; Granting Defendants’
     Request for Judicial Notice; and Denying Defendants’ Motion to Dismiss dated April 15, 2020
     (the “MTD”), p. 22.


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               c) Musk had not had any further substantive conversations with the PIF since
                  his meeting on July 31, 2018;

               d) Musk had not discussed interest in participating in the transaction with
                  any potential strategic investors;

               e) Musk had not provided Tesla’s Board with a specific proposal to take the
                  company private, only a tentative offer with “a lot of uncertainty” that
                  Musk believed only had a 50% likelihood of success;

               f) Musk had not contacted existing Tesla shareholders to assess their interest
                  in participating in the transaction;

               g) Musk had not formally retained any legal or financial advisors to assist
                  with the transaction;

               h) Musk had not determined whether retail investors would be able to remain
                  shareholders but had been advised that it would be unlikely and
                  “unprecedented”;

               i) Musk had not determined whether there were restrictions on illiquid
                  holdings by Tesla’s institutional investors;

               j) Musk had not determined what regulatory approvals would be necessary
                  for the transaction; and

               k) Musk had no formal agreement, commitment, or plan for Tesla to go
                  private at $420 per share or at any other price.58

         30. The MTD also upheld the actionability of an alleged misrepresentation in an
August 13, 2018 tweet by Musk that named financial advisors (Silver Lake and Goldman
Sachs) for the going private transaction.59

         31.   There was also an entry posted on Tesla’s blog on August 13, 2018 published
at 8:59 a.m., purportedly authored by Musk, titled “Update on Taking Tesla Private.” (the


58
     MTD, pp. 22-23, citing to Complaint, ¶150; Complaint, ¶¶121, 123, 125, 127, 129, 131, 135,
     137 (detailing the above and additional reasons; Plaintiff’s Responses, pp. 6-47.
59
     MTD, p. 26 (“Accordingly, the Consolidated Complaint sufficiently pleads that the August 7,
     2018 tweet was a false or misleading statement because funding was not secured. Mr. Musk’s
     tweet less than a week later (August 13, 2018) continued to send mixed, inaccurate signals to
     the public by claiming to have hired financial consultants when, in fact, he had not. Both of
     these representations were false or misleading.”).
     It is my understanding that the statement regarding Silver Lake and Goldman Sachs was upheld
     as a misrepresentation in the MTD.


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“August 13 Blog Post”; see paragraph 103 below for the full text). This purported Update
on Taking Tesla Private included vague discussions by Defendant Musk on: (1) What has
happened so far? (2) Why did I make a public announcement? (3) Why did I say “funding
secured”? and (4) What are the next steps? However, the Court found that this blog post
was not “independently actionable as a misleading statement because while it claimed on
the one hand that the deal was viable and imminent, it eventually (and truthfully) revealed
that the deal was subject to further scrutiny.”60

        32.   In addition, the Complaint states:

              … Musk was deliberately reckless in publishing his tweets and
              other statements regarding the potential going private
              transaction. He published his statements knowing that there
              were no formal agreements to secure funding or to document a
              proposal to go private at $420 per share that was ready to be
              voted on by stockholders. He did not discuss the content of his
              August 7, 2018 tweets with anyone else prior to publishing
              them to his over 22 million Twitter followers and anyone else
              with access to the Internet. He also did not inform NASDAQ
              that he intended to make his initial public announcement, as
              NASDAQ rules required.61

              Musk’s conduct represented an extreme departure from the
              standards of ordinary care, and presented a danger of
              misleading purchasers or sellers of Tesla securities that was
              either known to Musk or else was so obvious that Musk must
              have been aware of it.62

              On September 29, 2018, the SEC filed a Complaint against
              Tesla alleging that it violated SEC Rule 13a-15 issued pursuant
              to the Securities Exchange Act by failing to maintain adequate
              controls and procedures over its SEC filings.63

        33.   In summary, Plaintiff alleges that the Defendants allegedly misled the market
by making misstatements concerning taking Tesla private and related follow-on disclosures
failed to include important information clarifying the structure of the potential deal, its


60
     MTD, p. 26.
61
     Complaint, ¶166.
62
     Complaint, ¶167.
63
     Complaint, ¶172.


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funding, the response and purported support of shareholders and the role of the Board.
Moreover, once the Musk Tweets were released, Consequential Harm surfaced as to
Tesla’s lack of adequate internal controls or corporate governance mechanisms in place to
prevent such misstatements, and other causally-linked problems emerged, which upon
revelation resulted in foreseeable consequences that caused investor losses. This is also
consistent with the SEC’s complaints against Tesla and Musk, wherein the SEC concluded
that the Musk Tweets led to significant market disruption.64

         E. The Alleged Partial Corrective Disclosures and the Event Window

         34.   As discussed later, and as described in the Class Certification Report,65 my
analysis is based on the commonly utilized and widely accepted event study methodology.
The event study methodology examines the security price reaction to an “event” such as
the information released with the Musk Tweets. The event study methodology employs
statistical analysis and uses a scientific approach to examine these price movements to
determine within a specified degree of certainty whether they are caused by the event being
studied. When evaluating the price impact from an event like the Musk Tweets, an
appropriate event window is selected to encompass the period over which the event
affected the security’s price. For example, in the Class Certification Report, I performed
an event study relying on data with daily intervals when examining (a) the price movements
on the initial day of the Musk Tweets (August 7, 2018), and (b) the price movements on
the terminal day of the Class Period when the alleged corrective disclosure revealed to the
market the truth about the Musk Tweets (August 17, 2018).66 Moreover, as I demonstrate
in this Damages Report using the results from the event study presented in the Hartzmark
Class Certification Report, the price movements following August 7, 2018 were
cumulatively larger than what would be expected to be observed by chance.




64
     Complaint, ¶173; Complaint in U.S. Securities and Exchange Commission vs. Elon Musk filed
     September 27, 2018, ¶¶75-77; Complaint in U.S. Securities and Exchange Commission vs.
     Tesla, Inc. filed September 29, 2018, ¶¶32-33.
65
     Class Certification Report, Appendix E.
66
     Class Certification Report, ¶¶70-72, 77.


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         35.   Not only did I evaluate each date and the period as a whole, but in this
Damages Report, I have expanded my event study methodology and applied it to numerous
events throughout the Class Period with appropriate event windows for each. For example,
I perform an event study to the reaction of the Musk Tweets with an appropriate event
window spanning the minute-by-minute intervals from when the first Tweet was sent
through the close of trading on August 7, 2018.

         36.   I also employ an appropriate event window when examining the alleged price
decline that caused losses to investors. Plaintiff alleges that the price decline in Tesla’s
common stock commencing on August 8, 2018 caused losses to investors.67 Specifically,
in the Plaintiff’s Responses, Plaintiff describes his contentions regarding damages as
follows:

               Damages resulted from artificial inflation introduced and then
               maintained in the price for Tesla securities by the [Musk
               Tweets]. The artificial inflation was reduced during the Class
               Period as a result of questions publicly raised about the potential
               going-private investigation by financial analysts and journalists,
               disclosure in the media regarding the circumstances of the
               August 7, 2018 statements, disclosure of regulatory
               investigations, and the persistent failure by Elon Musk, Tesla, or
               the other Defendants to provide additional information
               regarding the potential going-private transaction except for the
               [Musk Tweets] despite widespread and public requests for
               additional information. Members of the class suffered harm
               when they purchased Tesla securities at an inflated price and
               then (1) held their Tesla securities to the end of the Class Period,
               (2) sold their Tesla securities at a lower price reflecting reduced
               inflation; or (3) used the Tesla stock purchased at an artificially
               inflated price to close an existing short position.
               The [Musk Tweets] also artificially reduced the price of certain
               Tesla securities and members of the Class suffered harm when
               they sold those securities at artificially deflated prices. The
               artificial deflation was reduced during the Class Period as a
               result of questions publicly raised about the potential going-
               private investigation by financial analysts and journalists,
               disclosure in the media regarding the circumstances of the
               August 7, 2018 statements, disclosure of regulatory
               investigations, and the persistent failure by Elon Musk, Tesla, or

67
     MTD, p. 34, citing to Complaint, ¶¶94, 99, 108, 110, 114.


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               the other Defendants to provide additional information
               regarding the potential going-private transaction except for the
               [Musk Tweets] despite widespread and public requests for
               additional information.
               Members of the class also suffered losses when the price of their
               Tesla securities declined as a result of reputational harm, loss of
               management credibility, and an increase in regulatory and legal
               risk caused by the [Musk Tweets].68
         37.   Given the immense flow of information throughout the Class Period related
to the alleged misstatements in the Musk Tweets, the continued failure by Defendants to
clarify the situation, and the revelations related to the Consequential Harm, as explained
below, I consider the entire Class Period as an appropriate event window in which to
measure investor harm, with separate event windows for the initial positive reaction to the
Musk Tweets and a separate event window for the decline in Tesla’s stock price after the
initial reaction to the Musk Tweets through the end of the Class Period.

         38.   As I show below there is substantial evidence that the price movements on
August 8, 2018 through August 17, 2018 are inextricably linked to the Musk Tweets. Thus,
given the nature and characteristics of the material, unanticipated information in the Musk
Tweets and the lack of detailed information that followed, it was the case that the price
impact from the Musk Tweets dominated the price movements throughout the Class Period.

         39.   Clearly, a critical part of the financial and news commentary and the reaction
of the market prices during the Class Period relates to the absence of disclosures of
meaningful, reliable and clear information describing the proposed going private
transaction. Following the Musk Tweets on August 7, 2018, there was intense scrutiny
from investors, financial analysts, and the media, as well as ultimately the SEC, into the
potential going private transaction. A constant theme of the commentary was the lack of
information about the structure of the potential deal, its funding, the response and purported
support of shareholders and the role of the Board. Despite this continuous barrage of
questions from market participants, Defendants Musk and Tesla provided no meaningful,
reliable and clear information following a brief and relatively non-substantive Board
statement issued pre-open on August 8, 2018 to Defendant Musk’s blog post on August

68
     Plaintiff’s Responses, pp. 85-86.


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13, 2018 – four trading days. Subsequent to the August 13, 2018 Blog Post, disclosures
from Defendants Musk and Tesla were sparse and limited to process rather than clarity
regarding funding or structure.       This failure to offer meaningful, reliable and clear
information persisted over days when the potential going private transaction was one of
the most high-profile news stories in the U.S. The failure to offer meaningful, reliable and
clear information steadily contributed to and increased skepticism about the true (and
concealed) status of the proposed transaction and the veracity of the Musk Tweets.

          40.   I offer further details on the event windows and results in my analysis
Sections V and VI of this Report

          F. Other Indicators of the Importance of the Alleged Misstatements to
             Investors

          41.   There is a long history of academic research that stresses the importance of
strong internal controls and corporate governance mechanisms in assessing the value of a
corporation. In addition, there is academic research that evaluates the impact on a
corporation’s value related to takeover bids, going private transactions (their success and
failure), and the credibility of management statements (their success and failure). This
academic research demonstrates the importance of the alleged misstatements to investors
in their valuation of Tesla.

          42.   Specifically, there has been extensive peer-reviewed academic literature on
the valuation effects on a corporation’s stock price that quantifies the reputational harm
caused by disclosures of investigations of financial misconduct, including securities-
related lawsuits, and regulatory enforcement actions for financial misrepresentation.69

          43.   Amiram et al. (2018) also explain the importance of reputation in economic
theory:

                Economists have long realized the importance of trust as a
                foundation for contracting, exchange, and production. …

69
     For example, Amiram et al. cite to 28 papers published since 1984 measuring the share price
     impact related to the revelation of financial misconduct. Dan Amiram, Zahn Bozanic, James
     D. Cox, Quentin Dupont, Jonathan M. Karpoff and Richard Sloan, Financial reporting fraud
     and other forms of misconduct: a multidisciplinary review of the literature, 23 Rev. Acctg.
     Stds., 732, 758, footnote 21 (2018) (“Amiram et al. (2018)”).


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               Reputational capital is the present value of the improvement in
               net cash flow and lower cost of capital that arises when the
               firm’s counterparties trust that the firm will uphold its explicit
               and implicit contracts and will not act opportunistically to their
               counterparties’ detriment.70

         44.   Karpoff et al. (2008) succinctly describe the theory on the effect of reputation
loss such as those at issue in this case:

               … the revelation of misconduct can have real effects on the
               firm’s cost and operations. We refer to the present value of such
               effects as the firm’s reputation loss. Reputation can be lost if
               customers change the terms on which they are willing to do
               business with the firm because of an increased probability of
               cheating or the perception that the firm cannot support
               warranties or supply compatible parts in the future. Diminished
               reputation also can reflect an increase in the firm’s cost of
               capital or trade credit, as input suppliers change the terms with
               which they do business with the firm. In addition, the firm can
               suffer real losses as managers are required to divert resources
               to the investigation and away from company business. The
               revelation of financial reporting problems could also force the
               firm to implement new monitoring and control policies,
               increasing the cost of operations. We group all such real effects
               on firm value into the reputation loss.71

         45.   Jiraporn et al. (2004) document that, consistent with prior studies, the stock
market reacts negatively to the withdrawal announcement in a management buyout
(“MBO”), i.e., a failed attempt to go-private:

               The stock market responds negatively when an MBO that was
               announced earlier is cancelled. The two-day cumulative
               abnormal return over the day before and the day of the
               announcement is -2.41 percent and statistically significant at the
               1 percent level, suggesting that shareholders, on average, lose
               2.41 percent of their wealth over the two-day period. The
               evidence shows that cancelling an MBO is viewed as
               detrimental to shareholders. This evidence is consistent with
               DeAngelo, DeAngelo and Rice (1984). Using a sample of 18

70
     Amiram et al. (2018) at 757-758.
71
     Jonathan M. Karpoff, D. Scott Lee and Gerald S. Martin, The Cost to Firms of Cooking the
     Books, 43 Jnl. Finl. & Quant. Analysis, 581, 598-599 (2008) (citation omitted) (“Karpoff et al.
     (2008)”).


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               withdrawn MBO’s from 1973 to 1980, DeAngelo, DeAngelo
               and Rice (1984) document adverse stock market reactions to the
               withdrawal announcement. Lee (1992) and Marais, Shipper,
               and Smith (1989) also report similar negative reactions for their
               samples of MBO withdrawals. Our study uses a more recent
               sample and produces similar results.72

        46.   In summary, academic research supports the conclusion that if Plaintiff is
successful in proving that the Defendants allegedly misled the market by making
misstatements concerning taking Tesla private, its subsequent revelation would
communicate important information concerning the lack of adequate internal controls or
corporate governance mechanisms in place to prevent such misstatements, and there would
be a material impact on the value of the corporation and foreseeable investor losses. In
other words, there would be Consequential Harm upon the failure of the actions proposed
in the Musk Tweets stemming from a loss of management credibility and ongoing distrust
in Tesla’s public statements. In addition, there are well known negative consequences from
making false public statements as a publicly traded company, primarily the increased
regulatory scrutiny from the SEC, as well as the potential for litigation from both the SEC
and private investors. The price impact from this Consequential Harm could be anticipated
to be particularly strong in the case of Tesla, which is so dependent on Defendant Musk
for publicity and is so closely associated with him.

V.      ECONOMIC MATERIALITY OF THE INFORMATION REVEALED DURING
        THE CLASS PERIOD

        A. Introduction

        47.   Materiality or whether the revelation of the misrepresented or omitted
information would likely have altered the total mix of information available to investors is
a fact question to be answered at trial. However, from an economic perspective, it is
reasonable to conclude that the information disseminated throughout the event window,
with its series of alleged partial corrective disclosures, and the absence of information


72
     Pornsit Jiraporn, Wallace N. Davidson III and Hong Qian, MBO Withdrawals and
     Determinants of Stockholders’ Wealth, 42 Qtrly. Jnl. Bus. & Econ., –13, 23 (2004) (“Jiraporn
     et al. (2004)”).


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clarifying the Musk Tweets would be considered important to investors because the
disclosures (or lack thereof) directly related to the alleged misstatements made by
Defendants, and thus would be expected to impact the performance of Tesla’s common
stock, options and Notes. In any case, I evaluate whether there is evidence supporting this
conclusion that “there [was] a substantial likelihood that the disclosure of the omitted
fact[s] would have been viewed by the reasonable investor as having substantially altered
the ‘total mix’ of information made available.”73

          48.   My investigation about whether (a) the alleged misrepresentations and/or
omissions in the Musk Tweets and related disclosures, and (b) the Consequential Harm
were material, is broken into three parts.

          49.   In the first part, I describe the information (or lack thereof) released
throughout the Class Period related to the Musk Tweets (including the Consequential
Harm) along with certain empirical results from my event study analyses. Next, I use these
analyses, along with an evaluation of other factors, to determine whether the alleged
misstatements and information disclosed related to the Consequential Harm were
economically material. Finally, in the third part in Section VI, I investigate loss causation
to isolate and quantify the impact of the alleged misstatements and information disclosed
related to the Consequential Harm on the price decline during the Class Period event
window, including adjusting for market and industry influences and accounting for any
potentially confounding information, to estimate the level of artificial inflation in Tesla
common stock. I then separate and calculate the levels of artificial inflation in Tesla
common stock caused by the misstatements in the Musk Tweets and related disclosures
and those caused by information disclosed related to the Consequential Harm. Finally, I
make any adjustments necessary to reliably account for day-by-day or minute-by-minute
changes in the magnitude of artificial inflation in Tesla common stock over the Class
Period.




73
     Basic Inc. v. Levinson, 485 U.S. 224, 231-232 (1988).


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        50.   In later sections of this Damages Report, I then apply the results of my
analyses of artificial inflation in Tesla common stock to calculate the levels of artificial
inflation (deflation) in Tesla Notes, as well as call and put options on Tesla common stock.

        B. Overview of Information Revealed During the Class Period

        51.   The Class Period in this action begins at 12:48 p.m. ET on August 7, 2018,
when Defendant Musk tweeted:

               Am considering taking Tesla private at $420. Funding
               secured.74

        52.   The Class Period ends on August 17, 2018, after the publication of a New
York Times article (“NYT Article”) that Plaintiff alleges:

               …reported that the Public Investment Fund had not committed
               to provide any cash, so funding was not “secured.” The New
               York Times article further disclosed that no one had seen or
               reviewed Musk’s August 7, 2018 tweet before he posted it
               indicating that no going private transaction was imminent.75

        53.    During the Class Period, there was a large flow of news and information
released related to the question of Defendant Musk taking Tesla private, with some of the
major topics being:

              a) whether or not funding was secured for the transaction;

              b) company news and actions about going private;

              c) whether or not there was shareholder support;

              d) articles about funding by the PIF and other potential sources of funding;
                 and

              e) articles about advisors providing services to Musk and Tesla and the
                 process followed both before and after the Musk Tweets.

        54.   In addition, during the Class Period, there was a large amount of news and
information released related to the Consequential Harm that surfaced after the Musk


74
     Complaint, ¶74 (emphasis added); Elon Musk on Twitter.com, August 7, 2018, 12:48 p.m.,
     available at: https://twitter.com/elonmusk/status/1026872652290379776?lang=en.
75
     Complaint, ¶6.


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Tweets, which are inextricably bound and causally linked to the Musk Tweets, with some
of the major topics being:

               a) lawsuits filed against Tesla and Musk due to the Musk tweets;

               b) information about the SEC probing and investigating the accuracy of the
                  Musk tweets;

               c) apparent failure to comply with NASDAQ rules;

               d) lapses in internal controls that purportedly existed in Tesla, such as the
                  failure to review the Musk Tweets before they were published;

               e) lapses in corporate governance at the Company; and

               f) loss in credibility and reputation of Tesla management and the Board of
                  Directors.

         55.   Appendix 3 is a summary of some of the main news related to the Musk
Tweets and follow-on disclosures and the Consequential Harm.

         56.   As discussed in the Class Certification Report, there was a voluminous
amount of media coverage during the Class Period, with approximately 2,400 articles
obtained from a search of Factiva and over 500 Bloomberg News or Bloomberg First Word
articles based on a search of Bloomberg.76 Based on my review of these headlines, the
predominant news coverage over the Class Period related to the going private transaction,
with approximately 70% of the article titles related in some way to the going private
transaction or its funding.77 In addition, based on available analyst reports, the analyst
reports’ coverage also thoroughly (and almost exclusively) discussed the going private
transaction.


76
     Class Certification Report, ¶32 and Appendix D.
77
     Based on a review of news article headlines in Appendix 14, after excluding duplicate
     headlines (matching on date of article and headline), and including headlines that contain terms
     such as “private,” “fund,” “Musk,” “tweet,” “lawsuit,” “SEC investigation,” and The New York
     Times interview of Musk published on August 16, 2018, amongst other headlines considered
     related to the going private transaction and possible funding. Appendix 14 is Appendix D to
     the Class Certification Report that has been supplemented with articles in Bloomberg (based
     on a search of Bloomberg News or Bloomberg First Word articles for “Tesla Inc” with medium
     relevance), The Financial Times and Seeking Alpha, as well as with Musk tweets and blog
     posts that were provided by Counsel.


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        57.    The news and analyst coverage following the Musk Tweets was also notable
for a lack of information sourced from Defendants Musk or Tesla. After the Musk Tweets
on August 7, 2018, the independent directors of the Tesla Board issued a rather brief press
release pre-open on August 8, 2018 which merely stated:

               Last week, Elon opened a discussion with the board about taking
               the company private. This included discussion as to how being
               private could better serve Tesla’s long-term interests, and also
               addressed the funding for this to occur. The board has met
               several times over the last week and is taking the appropriate
               next steps to evaluate this.78
        58.    The press release gave no substance regarding the proposed transaction such
as funding or structure. Following this press release, Defendants Musk and Tesla were
silent with no direct communications or formal disclosures regarding the proposed going
private transaction until August 13, 2018. Thus, for, nearly a week that covered four
trading days where Tesla stock and options were being actively traded, there were
numerous unanswered questions that abounded about the proposed going private
transaction.

        59.    Tesla finally published the blog post on August 13, 2018 providing an update
on going private, and the following day the Tesla Board announced the formation of a
Special Committee. Other than these disclosures, no further details regarding Defendant
Musk’s proposal, the source or amount of funding, or a proposed structure for a going
private transaction were disclosed. Indeed, no further information was provided by
Defendants Musk or Tesla regarding the proposed going private transaction until after the
Class Period.

        60.    The absence of information from Defendants Musk and Tesla contributed to
investors uncertainty, with financial media and analysts focusing on gossip, speculation,
and rumor by, and an increased skepticism about the veracity of the Musk Tweets and the
true substance of the proposed deal — especially as seemingly straightforward information
such as the source of the “secured funding” that was not confirmed by Defendants Musk


78
     “Statement from the following members of Tesla’s Board of Directors: Brad Buss, Robyn
     Denholm, Ira Ehrenpreis, Antonio Gracias, Linda Johnson Rice, and James Murdoch,”
     GlobeNewswires, August 8, 2018, 9:00 a.m.


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or Tesla. This can clearly be seen in analyst commentary (as summarized below) and was
reflected in Tesla’s securities prices.

         61.   Given the critical importance of the Musk Tweets and follow-on information
(or lack thereof) that led to widespread speculation regarding the potential going private
transaction, including its possible funding, corporate governance and regulatory issues
raised due to the Musk Tweets, it is my opinion that it is reasonable and appropriate to
consider the entire 10-calendar-day Class Period from August 7, 2018 (at 12:48 p.m.) to
August 17, 2018 (at the market close of 4:00 p.m.) as the proper “event window” to
evaluate for the purposes of examining loss causation.79 As discussed later, I sub-divide
this event window into two separate periods of analysis: (i) the initial positive reaction the
Musk Tweets on August 7, 2018 starting at 12:48 p.m.; and (ii) the decline in Tesla’s stock
price from the close on August 7, 2018 through the end of the Class Period on August 17,
2018.

         62.   In the Class Certification Report, I described the event study methodology.80
In the event study methodology, the event window is the period of interest over which the
impact (or lack thereof) of an event is measured. Academics will expand an event window
to include the time over which the event of interest may affect the subject company’s
security prices. Thus, given the ongoing continuous flow of news, analyst reports,
frequency of corporate and other disclosures and trading volume (which is a proxy for the




79
     Throughout this Damages Report I will refer to “4:00 p.m.,” “the market close,” and “the
     closing of trade,” “the end of the trading day” interchangeably as the end of the trading day for
     common stocks on U.S. stock exchanges.
80
     Class Certification Report, ¶¶61-63 and Appendix E.


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flow of information)81 throughout the Class Period,82 it is my opinion that it is appropriate
to look at the entire Class Period as one event window.

         63.   When using a longer event window, it allows the researcher to capture the full
effect of the event, but it also adds to the possibility that information unrelated to the event
may be impacting the subject security’s prices. Therefore, when analyzing loss causation
and calculating artificial inflation in this matter, I account for any such unrelated
information that may have affected Tesla’s security prices. This includes adjusting for
market-wide and industry influences as well as accounting for Tesla-specific confounding
information.

          1.      Empirical Event Study Results for the Class Period Event Window

         64.   The first period of the Class Period I analyze is the initial positive reaction to
the Musk Tweets on August 7, 2018. As of 12:47 p.m. on August 7, 2018, just prior to the
start of the Class Period (at 12:48 p.m.), Tesla’s stock price was $356.85 per share.83 At
12:48 p.m. on August 7, 2018 the Musk Tweets began to be disseminated, which caused
the price of Tesla common stock to rapidly increase such that it closed the trading day at



81
     For example, see Class Certification Report, ¶¶82-85 (citing to Jonathan M. Karpoff, The
     Relation between Price Changes and Trading Volume: A Survey, 22 J. of Fin. and Quantitative
     Analysis, 109 (1987); William H. Beaver, The Informational Content of Annual Earnings
     Announcements, 6 J. of Accounting Research, 67 (1968); Daniella Acker, Implied Standard
     Deviations and Post-Earnings Announcement Volatility, 29 J. of Bus., Fin. and Accounting,
     429 (2002).
82
     The average daily trading volume of Tesla’s common stock over this period was 15.1 million
     shares, while average daily trading volume over the prior 120 days was 8.3 million shares (see
     Class Certification Report, Appendix C). The average daily trading volume of Tesla’s call and
     put stock options over this period was approximately 197,000 and 178,000, respectively (based
     on total Class Period option volume divided by nine trading days, See Hartzmark Class
     Certification Report, Exhibit XI), while average daily trading volume over the prior 120 days
     was approximately 104,000 and 93,000, respectively (based on Bloomberg data fields
     “Volume_Total_Call” and “Volume_Total_Put”). The average daily trading volume (in face
     value) of Tesla’s for Notes over this period was $29.4 million, $37.7 million, $28.3 million,
     and $48.5 million for the 2019 Note, 2021 Note, 2022 Note, and 2025 Note, respectively, while
     average daily trading volume over the prior 120 days was $11.2 million, $14.7 million, $13.7
     million, and $20.5 million for the 2019 Note, 2021 Note, 2022 Note, and 2025 Note,
     respectively.
83
     Based on Bloomberg intraday data, GIT function, 1-minute intervals (closing price for 1-
     minute interval 12:47-12:48).


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$379.57 per share.84 As detailed in the Class Certification Report, this $22.72 per share
increase of 6.37%, which after adjusting for market and industry effects is an abnormal
price increase of $23.27 or 6.52% is statistically significant at the 1% level.85

         65.   Other than for a few minutes in early trading on August 8, 2018, for the
remainder of the Class Period after August 7, 2018, Tesla’s stock traded at prices lower
than $379.57,86 closing on August 17, 2018 at $305.50 per share.87                     Based on the
information (or lack of information) released from the close of August 7, 2018 through the
close of August 17, 2018, I analyze the price reaction over this entire period. The 8-day
return from the close on August 7, 2018 through the close of August 17, 2018 is negative
19.5%, with a cumulative abnormal return that adjusts for market and industry influences
of negative 17.6%, which is statistically significant at the 5% level.88 It is my opinion that



84
     Based on Bloomberg intraday data, GIT function, 1-minute intervals (closing price for 1-
     minute interval 15:59-16:00), I refer to this as Bloomberg GIT data.
85
     Class Certification Report, ¶75; the abnormal return is based on compounded one-minute level
     abnormal returns over the 192-minute period (including a trading halt). The calculation of
     intraday abnormal returns throughout this Damages Report follows the same procedure
     described in the Class Certification Report. For this analysis, I obtain one-minute interval
     returns on August 6, 2018 for Tesla, the XCMP Index and the DJUSAP index from Bloomberg
     GIT data (based on closing prices at each minute interval). I remove Tesla’s return from the
     DJUSAP index per my methodology in Appendix E to my Class Certification Report. I run a
     market model of the one-minute returns on August 6, 2018 to obtain beta estimates for the
     market and industry. These beta estimates are applied for each 1-minute interval to obtain
     abnormal returns for each minute (I also calculate a minute level return from the open price
     obtained from Bloomberg to the first minute interval closing price). Over a specified interval,
     I compound the one-minute level abnormal returns to obtain a cumulative abnormal return for
     a given period. I calculate t-statistics for the cumulative abnormal return by dividing it by the
     product of the standard error of the August 6, 2018 minute-level regression and the square root
     of the number of minutes in the specified interval. I calculate the two-tailed p-value of the t-
     statistic based on 386 degrees of freedom.
86
     According to Bloomberg, the high price for Tesla’s stock on August 8, 2018 was $382.64.
     Based on Bloomberg one-minute level GIT data, Tesla’s stock price was $382.55 at the close
     of the 10:10-10:11 a.m. interval on August 8, 2018 and had a high trading price of $382.64 in
     both the 10:10-10:11 and 10:11-10:12 a.m. intervals.
87
     Based on daily close prices.
88
     The cumulative abnormal return is calculated by compounding the daily abnormal return. The
     confidence level is calculated based on a t-statistic that is calculated by dividing the cumulative
     abnormal return by the product of: (i) the daily standard error of the market model regression;
     and (ii) the square root of 8 (the number of trading days).


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it is reasonable and appropriate to consider the entire Class Period as the relevant event
window based upon:

               a) the economically material, including statistically significant (below the
                  5% level), stock price increase after the Musk Tweets starting at 12:48
                  p.m. through the close on August 7, 2018;

               b) the economically material, including statistically significant (below the
                  5% level), stock price decline from Tesla’s August 7, 2018 close through
                  its August 17, 2018 close;

               c) the high level of trading volume after the Musk Tweets starting at 12:48
                  p.m. through the close on August 7, 2018;

               d) the high level of trading volume over the remainder of the Class Period;

               e) scrutiny of regulatory agents/agencies related to the Musk Tweets over
                  the Class Period;

               f) focus of the Tesla Board of Directors and other Tesla personnel on the
                  Musk Tweets;

               g) substantial analyst coverage related to the Musk Tweets over the Class
                  Period; and

               h) substantial news coverage related to the Musk Tweets over the Class
                  Period.

         66.   For the purposes of examining loss causation and calculating damages, I
divide the Class Period into two time intervals. The initial “Tweets Interval” covers the
period commencing on August 7, 2018 immediately after the Musk Tweets started at 12:48
p.m. to the market close at 4:00 p.m. on August 7, 2018.89 The second “Corrective Interval”
covers the period from the market close on August 7, 2018 through the market close at 4:00
p.m. on August 17, 2018.90 Table 4 shows daily statistics based on my event study over
the Corrective Interval, with extremely active trading throughout the Class Period.


89
     I note that the convertible Notes also increased in value during the initial Tweets Interval. The
     options call prices generally increased in the initial Tweets Interval, except for longer term call
     options that decreased (which will be discussed below), while the put prices declined. See
     Expert Report of Steven L. Heston, Ph.D., November 8, 2021 (the “Heston Report”), ¶¶13-14.
90
     I note that the convertible Notes also decreased in value during the Corrective Interval. The
     options call prices generally decreased during the Corrective Interval, while the put prices
     generally increased.


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                                              Table 491
                                                                                Cumulative
                                                       Abnormal    Cumulative   Abnormal
           Date       Volume       Price      Return    Return      Return       Return
           8/7/2018   30,875,768    $379.57
           8/8/2018   24,571,163    $370.34   -2.43%      -2.36%     -2.43%       -2.36%
           8/9/2018   17,183,811    $352.45   -4.83%      -4.67%     -7.14%       -6.92%
          8/10/2018   11,552,044    $355.49    0.86%       2.11%     -6.34%       -4.96%
          8/13/2018   10,463,881    $356.41    0.26%       0.95%     -6.10%       -4.06%
          8/14/2018    6,986,427    $347.64   -2.46%      -3.32%     -8.41%       -7.24%
          8/15/2018    9,101,258    $338.69   -2.57%      -0.71%    -10.77%       -7.89%
          8/16/2018    6,064,033    $335.45   -0.96%      -1.54%    -11.62%       -9.31%
          8/17/2018   18,958,612    $305.50   -8.93%      -9.10%    -19.51%      -17.56%

        67.    I next discuss in more detail the information released throughout each day of
the Class Period.

          2.        August 7, 2018 and the Tweets Interval

               a)       The Rapid Reaction to the Information in the Musk Tweets
        68.    On Tuesday, August 7, 2018, Tesla’s CEO, Elon Musk, tweeted at 12:48 p.m.:

               Am considering taking Tesla private at $420. Funding
               secured.92

        69.    This tweet caused an immediate price reaction in Tesla’s stock, with Tesla’s
stock price increasing to $365.03 per share (just prior to 12:49 p.m.) from $356.85 per
share (just prior to 12:48 p.m.) on volume of over 800,000 shares in this first minute of
trading after the Musk Tweets.93 Tesla’s stock continued to be heavily traded on August




91
     Source: Class Certification Report, Appendix F.
92
     Elon Musk on Twitter.com, August 7, 2018, 12:48 p.m.,                          available   at:
     https://twitter.com/elonmusk/status/1026872652290379776?lang=en.
93
     Based on Bloomberg GIT data (closing prices for 1-minute intervals 12:47-12:48 and 12:48-
     12:49, and volume for 1-minute interval 12:48-12:49).


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7, 2018 with volume of over 10 million shares until a trading halt at 2:08 p.m.,94,95 when
the price was $367.25.96

          70.   Defendant Musk made further tweets during the August 7, 2018 trading day,
as well as sending an email to employees at 3:16 p.m.97 This email was then subsequently
posted on a public Tesla blog that was linked by Musk in a tweet at 3:28 p.m.98 In the
email, Defendant Musk explained his reasons for wanting to take Tesla private, including
asserting that Tesla was “the most shorted stock in the history of the stock market” and
stating that “being public means there are large numbers of people who have incentive to
attack the company.”99 Then at 3:36 p.m. Defendant Musk tweeted:

                Investor support is confirmed. Only reason why this is not
                certain is that it’s contingent on a shareholder vote.100




94
       “Tesla Inc. (TSLA) Halted due to pending news,” Dow Jones Institutional News, August 7,
      2018, 2:08 p.m. A later news article reported “Update, 11:14 p.m. PT: NASDAQ has halted
      Tesla’s trading at 2:08 p.m. Eastern for ‘pending news’ following Musk’s tweet.” See “Elon
      Musk ‘considering’ taking Tesla private, trading resumed,” CNET News.com, August 7, 2018.
95
      I note that Nasdaq can halt trading “when a company has pending news that may affect the
      security’s price (a “news pending” halt or delay).” See “Trading Halts and Delays,” available
      at https://www.sec.gov/fast-answers/answerstradinghalthtm.html. Nasdaq rules also state: “In
      circumstances in which Nasdaq deems it necessary to protect investors and the public interest,
      Nasdaq, pursuant to the procedures set forth in paragraph (c): (1)   may halt trading on
      Nasdaq of a Nasdaq-listed security to permit the dissemination of material news.” See Nasdaq
      rule 4120.          Limit Up-Limit Down Plan and Trading Halts available at
      https://listingcenter.nasdaq.com/rulebook/nasdaq/rules/nasdaq-equity-4.
96
      Based on Bloomberg GIT data (sum of volume of 1-minute intervals starting 12:49 through
      14:08; closing price for 1-minute interval of 14:08-14:09).
97
      Complaint, ¶84; SPACEX_LITTLETON_00000127.
98
      Elon Musk on Twitter.com, August 7, 2018, 3:28 p.m., available at:
      https://twitter.com/Tesla/status/1026912973120462848 and blog post on Tesla website
      available at: https://www.tesla.com/blog/taking-tesla-private.
99
      Elon Musk on Twitter.com, August 7, 2018, 3:28 p.m., available at:
      https://twitter.com/Tesla/status/1026912973120462848 and blog post on Tesla website
      available at: https://www.tesla.com/blog/taking-tesla-private.
100
      Elon Musk on Twitter.com, August 7, 2018, 3:36 p.m.,                           available   at:
      https://twitter.com/elonmusk/status/1026914941004001280?lang=en.


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         71.   Tesla stock resumed trading at approximately 3:45 p.m.,101 quickly increasing
to over $386 per share before closing at $379.57 per share with additional volume of over
6 million shares.102

         72.   During and after market trading hours on August 7, 2018, news articles
reported that the Musk Tweets caused an increase in Tesla’s share price on August 7, 2018,
for example:

                “Am considering taking Tesla private at $420. Funding
                secured,” Tesla CEO Elon Musk says in tweet. Tesla climbs
                to session high, up 8.2%, on Musk’s tweet.103

                                              *****

                Tesla Inc. (TSLA) jumped as much as 8% midday Tuesday
                after Chief Executive Elon Musk tweeted he was
                “considering” taking the Silicon Valley car maker private
                at $420 a share. “Funding secured,” the tweet continued,
                garnering calls to “dewit” and love yous from Musk supporters
                on Twitter. The price would represent a 16% upside from
                Tuesday’s prices.104

                                              *****

                Tesla shares jumped after midday on Tuesday following a
                tweet by Chief Executive Elon Musk that he was
                considering taking the electric automaker private. Shares
                were up 5.9 percent to $361.87 around 1700 GMT after spiking
                to $371.15 shortly after Musk’s tweet.105

                                              *****



101
      “Tesla Inc. (TSLA) Resumed Trading,” Dow Jones Institutional News, August 7, 2018, 3:45
      p.m.
102
      Based on Bloomberg GIT data (minute-level intervals starting 15:44 through 15:59).
103
      “Tesla Jumps After Musk Tweets He Could Take Co. Private at $420,” Bloomberg News,
      August 7, 2018, 1:00 p.m. (emphasis added).
104
      “Tesla’s Musk Tweets He’s ‘Considering’ Taking Company Private – MarketWatch,” Dow
      Jones Institutional News, August 7, 2018, 1:07 p.m. (emphasis added).
105
      “Tesla shares jump on Musk tweet on taking company private,” Agence France Presse, August
      7, 2018, 1:09 p.m. (emphasis added).


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               What’s in a tweet? About $500 million of potential losses to
               short sellers, when it comes to Tesla’s Chief Executive Officer
               Elon Musk. A tweet that he’s considering taking the
               company private “at $420” sent an already elevated stock
               higher. From around $355 it jumped above $371 just after the
               post, before the gains were pared.106

                                             *****

               The Nasdaq rose for a sixth day in a row, its longest winning
               streak since March, led by Tesla Inc., which spiked following
               a tweet from Chief Executive Elon Musk that he was
               considering a move to take the company private, which was
               followed by confirmation from the company.107

                                             *****

               Key takeaways from the TOPLive blog on Tesla Inc. after CEO
               Elon Musk tweeted he’s considering taking the automaker
               private.

               Elon Musk tweeted that he wants to take Tesla private at
               $420 a share and said he had “funding secured.”

               Shares initially rose as much as 8% until trading was halted
               for an hour and a half.

               Musk in a series of tweets said he doesn’t have a controlling
               vote and wouldn’t expect any shareholder to have one if the
               company goes private. He said people could still invest in Tesla
               once it’s private.

               Musk later put out a letter that, in essence, said that the company
               would be better off focusing on its goals without the scrutiny of
               investors and the “attacks” from short sellers.

               Still, Musk said, a final decision hasn’t been made.

               Investors and analysts, even Musk himself, all seemed a little
               uncertain whether this will happen. The same with the market:
               Tesla shares closed up 11% to $379.57. That was a great run,

106
      “Afternoon of Terror for Tesla Shorts Fomented by Musk’s Tweet,” Bloomberg News, August
      7, 2018, 1:54 p.m. (emphasis added).
107
      “MW UPDATE: Stocks close higher as earnings news trumps trade-war fear; Tesla soars 11%
      on Musk’s going-private tweet,” MarketWatch, August 7, 2018, 4:39 p.m. (emphasis added).


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                but still about $40 shy of what Musk would want to offer
                shareholders to get a deal done. Shares were coming down by
                about $5 in after-market trades.108

                                               *****

                Going private, Musk said, would end “negative propaganda
                from shorts,” referring to his hated short-sellers. Around
                3:30 ET, Tesla released a statement via its blog, titled “Taking
                Tesla Private.” It contained a letter from Musk sent to Tesla
                employees. … Musk then tweeted the blog post with his own
                commentary. “Investor support is confirmed. Only reason
                why this is not certain is that it’s contingent on a shareholder
                vote,” he said.109

                                               *****

                Shares of Tesla were halted in afternoon trading on Tuesday
                after CEO Elon Musk tweeted that he’s considering taking the
                electric car company private at $420 a share - a significant jump
                from the stock’s current price of roughly $379.

                Musk said the take-private transaction has received
                investor support and now rests on a shareholder vote in order
                for it to become official.110

          73.   Analysts also commented on the Musk Tweets, for example:

                Shares up 6% on tweet from CEO

                • Tesla’s Chairman and CEO, Elon Musk, tweeted that he is
                “considering taking Tesla private at $420,” and that he has
                “Funding secured.”

                • This tweet epitomizes the reason we have a HOLD rating on
                Tesla shares and not a Buy. If true, and his account was not



108
      “Crazy Ride for Tesla Watchers as Musk Tweets: TOPLive Takeaways,” Bloomberg First
      Word, August 7, 2018, 4:25 p.m. (emphasis added).
109
      “Elon Musk tweets a lot. This time was different,” CNN Wire, August 7, 2018, 6:09 p.m.
      (emphasis added).
110
      “Is Tesla going private? Elon Musk claims ‘investor support is confirmed’ after tweeting plans
      to privatize at $420 per share, in shock announcement that HALTED the stock for almost two
      hours,” Mail Online, August 7, 2018, 6:41 p.m. (emphasis added).


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               hacked, this reinforces the rationale behind our market neutral
               stance.

               • As the company matures or on pullbacks we would look to
               become more constructive but remain on sidelines at current
               levels.111

                                            *****

               Tesla CEO Elon Musk tweeted around midday on Aug. 7 the
               following: “Am considering taking Tesla private at $420.
               Funding Secured.” A buyout price of $420 per share would be
               for about $71.6 billion based on the July 27 outstanding share
               count of 170.6 million in the latest 10-Q filing, though it’s
               unclear if Musk’s roughly 22% ownership stake would be part
               of the deal or just converted into equity of a new private
               company. If a deal is announced and we think its execution
               is more likely than not, we will raise our fair value estimate
               to the deal price, but for now we are leaving our fair value
               estimate of $179 in place.

               We find it odd that Musk would disclose that he is considering
               doing a deal and specifying a price rather than not saying
               anything until Tesla actually announces it is going private. It
               is possible that he wants to hurt short sellers of Tesla now.
               He has been very vocal against them recently, including
               posting a satire video on Twitter on Aug. 5. We think it is
               also possible that he wants to get a price higher than $420, else
               we would expect him to simply announce he is considering
               going private with funding secured and leave the $420 number
               out of the tweet. We speculate that the funding comes
               mostly from tech investors, such as possibly SoftBank or
               Tencent (the latter bought 5% of Tesla in 2017), sovereign
               wealth funds, and wealthy Silicon Valley investors.112

                                            *****

               This is out there even for Tesla


111
      Canaccord Genuity, Shares up 6% on tweet from CEO, August 7, 2018, 1:52 p.m. (source of
      timestamp: Capital IQ).
112
      Morningstar, Musk Tweets Tesla May Go Private at $420 a Share but Stockholders May Not
      Have to Sell at That Price, August 7, 2018, 3:06 p.m. (source of timestamp: Capital IQ;
      emphasis added).


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                Elon’s tweet and blog post around going private at $420/share
                was certainly a disruptor this afternoon. What was looking to
                us to be a quiet afternoon digesting the earnings results of auto
                rental companies was disrupted by Elon Musk’s tweet …

                We’re not clear where the funding would come from –
                would have to be largely equity

                Buyout would require ~$70bn - ~$60bn for equity and ~$10bn
                to take out debt. With 145mn shares (including shares for
                comp, but subtracting Musk’s 34mn shares), a buyout at
                $420/share would require $60bn to take out all public
                shareholders. Even with the Saudi fund taking a 3-5% stake
                (see “Tesla shares move higher on Saudi Arabia fund stake” FT,
                Aug 7, 2018), that leaves a large funding gap.

                And credit markets may not be that receptive. The Tesla
                unsecured bonds trade at a yield of ~6.7% -- so even if say
                $40bn could be financed in the high yield market (never mind
                old fashioned things like interest coverage ratios), the annual
                interest bill would consume $2.7bn in cash. …

                And not clear how public shareholders stay in a private
                company. Musk promised that existing shareholders “can stay
                investors in a private Tesla” – but we’re not clear how that
                would work under current registration rules/caps on non-
                accredited and total investors (the JOBS act requirement) –
                although Musk hinted at a special purpose vehicle structure that
                might be able to avoid the caps.113

                                              *****

                Earlier today, CEO Elon Musk started tweeting about
                “considering taking Tesla private at $420/share. Funding
                secured.” This was later followed up with a letter to employees
                detailing the rationale. The structure would apparently be to
                create a special purpose fund enabling current shareholders to
                remain shareholders or cash out at $420. This would be subject
                to a shareholder vote. …

                Success of consummation contingent on who goes along for the
                ride. The ability to convince shareholders to stay involved is
                likely critical to the success of Tesla going private which would
                be the biggest buyout in history (over $70bn). Musk owns

113
      Barclays, Musing about going private is the latest strange twist, August 7, 2018, 4:57 p.m.
      (source of timestamp: Capital IQ; emphasis added and omitted).


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                ~20% of the shares, so all else equal, they may need to get
                committed financing for the remaining ~80% (~$57bn). Given
                Tesla’s financials, we don’t believe lenders would sign up to
                support the deal. …

                And there are some chunky page 1 holders that collectively
                make up ~30% of the shares. However, some of those holders
                may not be able to hold Tesla (or as much as they currently
                hold) should Tesla go private. A preliminary review of some
                of the big mutual fund holders indicates holding limits on
                illiquid securities. At the very least it could cause broader
                portfolio reviews. That’s not to say that a private Tesla can’t
                find its way into other funds at those holders.

                Elon’s tone and messaging regarding a potential
                transaction lead us to believe that there could be significant
                outside funding lined up. Learning who this is will be
                important (and relevant for shareholders deciding whether they
                should stay involved should the deal consummate). We note an
                unconfirmed FT article from today indicates that Saudi
                Arabia’s sovereign fund took a 3-5% stake on the public
                markets, it was also noted they approached Tesla about new
                shares. In our view, sovereign funds (broadly), cash rich
                tech companies, Chinese sources and large VCs could all be
                potential candidates to provide funding.114

                                              *****

                Earlier today, CEO Musk tweeted that he is “considering”
                taking TSLA private at $420/share and noted funding was
                secured. Following his tweet, an email sent to employees was
                shared publicly outlining the motivation including noting that
                volatile stock prices are distracting to TSLA employees.

                Disclosure method in question Typically, a company would
                disclose this kind of news via a detailed press release while the
                market is closed or halt their stock in advance of the
                announcement. Disclosing news of this nature via twitter is
                unprecedented and, according to a former SEC chairman,
                may constitute fraud if Tesla does not already have the
                financing lined up. The deal would likely require participation
                from numerous banks and institutional investors, and we think



114
      RBC Capital Markets, On Tesla $420, August 7, 2018, 8:53 p.m. (source of timestamp: Capital
      IQ; emphasis added and omitted).


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                it likely that news of the deal would have leaked had Tesla
                already held discussions to secure funding.

                Post announcement, shares closed at ~$380, with the take-
                out price implying ~10.7% upside from here. In past deals
                that terminated adversely, ~70% trade down over 10% with
                1/3rd trading down more than 30%.115

                                             *****

                Even if no deal for Tesla materializes, the stock bounce
                following Mr. Musk’s tweet could help the company preserve
                needed cash. Tesla has more than $1.1 billion in convertible
                bonds that will come due over the next seven months absent a
                sustained rise in its share price.

                That starts with $230 million of convertible bonds set to mature
                in November if its stock doesn’t reach a conversion price of
                $560.64, followed by $920 million that mature in March, if
                shares remain below the trigger price of $359.87.

                The March notes would be convertible into Tesla stock instead
                of redeemable for cash -- a scarce resource for the company.116

         74.   As will be discussed in detail below, news articles also reported on the chance
that Defendant Musk would be successful taking Tesla private. For example:

                According to Gene Munster of Loup Ventures, Musk has a
                one-in-three shot of taking Tesla private, given the 16%
                premium he would pay to shareholders. … “Fundamentally,
                Tesla is not a good LBO candidate given it’s not profitable, not
                cashflow heavy, and has high R&D and capex. However, the
                structure of the pending deal is unknown and may not take the
                form of an LBO.”117




115
      UBS Securities, A Disruptive Approach to Disclosing Material Info, August 7, 2018, 10:28
      p.m. (source of timestamp: Capital IQ; emphasis added and in original).
116
      “Elon Musk Says in Tweet He Is Considering Taking Tesla Private -- 3rd Update,” Dow Jones
      Institutional News, August 7, 2018, 4:51 p.m.
117
      “Musk Makes Startling Proposal to Take Tesla Private,” The Deal August 7, 2018. See also,
      “MUSK HAS ‘1 IN 3 CHANCE’ OF TAKING TESLA PRIVATE: GENE MUNSTER,”
      Bloomberg First Word, August 7, 2018 , 1:42 p.m. (emphasis added).


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           3.        Stock Price Movements on August 7, 2018

         75.    Chart 1 below shows the intraday trading activity (including price and
volume) of Tesla common stock on August 7, 2018.

                                             Chart 1




                a)      Accounting for the Financial Times report that a fund from
                        Saudi Arabia was investing a large amount in Tesla
         76.    News articles also reported, and my empirical results from my minute-by-
minute event study confirmed, that Tesla’s stock price increased on August 7, 2018 after
news at 12:17 p.m. (approximately 30 minutes prior to the start of the Class Period at 12:48
p.m.), when the Financial Times reported that a fund from Saudi Arabia was investing a
large amount in Tesla (the “FT Article”).118 In the 10-minute interval between 12:17 p.m.


118
      “Saudi Arabia’s sovereign fund builds $2b Tesla stake,” The Financial Times, August 7, 2018
      (It is my understanding from Counsel that the source code for the article shows that it was
      published at 16:17:28 GMT, indicating publication at 12:17 pm ET). News outlets reported on
      the price movements following the Financial Times article, for example: “Tesla Climbs to
      Session High; FT Reports Saudi Fund Has Stake,” Bloomberg News, August 7, 2018, 12:35


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and 12:27 p.m. Tesla’s stock price rose from $342.26 to $354.38.119 This $12.12 (3.5%)
per-share increase in ten minutes is statistically significant at the 1% level based on using
one-minute intervals for an event study analysis.120 In addition, the volume over the ten
minutes of 1,284,993 shares121 was over 7 times the average volume per 10-minute interval
of 164,453 shares over the time period from the open of trade to 12:10 p.m. on August 7,




      p.m.; “12:27 EDT Tesla jumps 3% to $352.37 after FT says Saudi fund built $2B stake,”
      Theflyonthewall.com, August 7, 2018.
      Additional news articles during and after the close of trading on August 7, 2018 reported on
      the investment by the Saudi fund, for example:
      “Tesla Climbs to Session High; FT Reports Saudi Fund Has Stake,” Bloomberg News, August
      7, 2018, 12:35 p.m.: “Saudi’s Public Investment Fund (PIF) built the undisclosed stake of
      between 3-5% of Tesla’s shares this year, FT reports, citing unidentified people with direct
      knowledge of the matter…Tesla climbs to session high, gains as much as 3.8%... PIF initially
      approached co. and CEO Elon Musk to express interest in new co. shares. Co. did not act on
      the interest, according to one unidentified person…Saudi state fund acquired the position in
      secondary markets with JPMorgan help… Exact timing of purchase not known; believed to
      have taken place after the crown prince’s tour of the US in March… Musk, Tesla are aware of
      the PIF shareholding, one of the people said … Stake makes PIF one of Tesla’s eight biggest
      shareholders…”
      “MW Saudi Arabia’s mega-fund builds stake in Tesla: report,” MarketWatch, August 7, 2018,
      12:45 p.m.:): “Saudi Arabia’s sovereign wealth fund, which has more than $250 billion under
      management, has built an undisclosed stake in Tesla Inc. (TSLA) of 3% to 5%, the Financial
      Times reported … Tuesday, citing people with direct knowledge of the issue. The position fell
      below the 5% threshold that requires disclosure, and would be worth between $1.7 billion and
      $2.9 billion, the report said…”
      “MW UPDATE: Tesla confirms intention to go private, sending stock up 11%,” MarketWatch,
      August 7, 2018, 4:52 p.m.: “Tesla shares were up 7.4% before the halt Tuesday, and earlier in
      the day got a boost from news that Saudi Arabia’s sovereign-wealth fund has taken a significant
      stake in the company.”
      “Tesla boss Musk weighs go-private deal for electric car maker,” Agence France Presse,
      August 7, 2018, 5:01 p.m.: “Shares surged 11 percent to $379.57 at the closing bell after being
      suspended for about 90 minutes following a series of Musk statements on Twitter in which he
      initially floated the idea of going private….Tuesday’s gains following the tweet added to
      upward movement on the stock after The Financial Times reported earlier Tuesday that a Saudi
      Arabian sovereign wealth fund had built a stake of between three and five percent in the
      company.”
119
      Based on Bloomberg GIT data (last prices for 12:16-12:17 and 12:26-12:27 minute intervals).
120
      For this analysis, the number of intervals is 10.
121
      Based on Bloomberg GIT data (volume from the 12:17-12:18 through 12:26-12:27 intervals).


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2018.122 In the next 10-minute interval between 12:27 p.m. and 12:37 p.m. Tesla’s stock
price rose from $354.38 to $357.97.123 This $3.59 (1.0%) per-share increase in ten minutes
is also statistically significant at the 1% level based on using one-minute intervals for an
event study analysis.124 In addition, the volume over the ten minutes between 12:27 p.m.
and 12:37 p.m. of 1,676,623 shares125 was approximately 10 times the average volume per
ten-minute interval of 164,453 shares over the time period from the open of trade to 12:10
p.m. on August 7, 2018.126 Finally, in the next 10-minute interval between 12:37 p.m. and
12:47 p.m. — the period immediately prior to the Musk Tweets — Tesla’s stock price fell
from $357.97 to $357.00.127 This $0.97 (0.3%) per-share decrease over the last ten minutes
before the Musk Tweets is not statistically significant at the 5% level based on using one-
minute intervals for an event study analysis.128 In addition, the volume over the last ten
minutes before the Musk Tweets minutes between 12:37 p.m. and 12:47 p.m. of 842,053
shares129 was less than the volume in each of the prior two ten-minute intervals (12:17 to
12:27 p.m. and 12:27 to 12:37 p.m.). Moreover, after the FT Article although there were
changes in the prices of the shortest term options, there were no changes in long-term
straddle prices suggesting that there was no impact of the news in the FT Article on implied
volatility observed by Professor Heston, as he notes: “Between 12 p.m. and 12:30 p.m., the
shortest-term options gained value, but there were no perceptible movements in long-term
straddle prices. Immediately following 12:48 p.m., straddle prices began to fall.”130 These


122
      Source: Bloomberg GIT data based on non-overlapping 10-minute intervals. I obtained new
      GIT data since the Class Certification Report. There was only one difference in volume for
      one interval over the Class Period – the 9:30-9:31 interval on August 7, 2018. I use the updated
      data which yields a slightly lower average than reported in the Class Certification Report of
      168,381 shares.
123
      Based on Bloomberg GIT data (last prices for 12:26-12:27 and 12:36-12:37 intervals).
124
      For this analysis, the number of intervals is 10.
125
      Based on Bloomberg GIT data (volume from the 12:27-12:28 through 12:36-12:37 intervals).
126
      Source: Bloomberg GIT data based on non-overlapping 10-minute intervals.
127
      Based on Bloomberg GIT data (last prices for 12:36-12:37 and 12:46-12:47 intervals). It
      further declined at the close of the 12:47-12:48 interval at $356.85.
128
      For this analysis, the number of intervals is 10.
129
      Based on Bloomberg GIT data (volume from the 12:37-12:38 through 12:46-12:47 intervals).
130
      Expert Report of Steven L. Heston, Ph.D., November 8, 2021 (the “Heston Report”), ¶142.


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financial factors would suggest that the price impact from the information revealed in the
FT Article had taken place prior to start of the Musk Tweets at 12:48 p.m. when the volume
over the next ten minutes after the start of the Musk Tweets between 12:48 p.m. and 12:58
p.m. increased to 3,576,429 shares131 that was over 21 times the average volume per ten-
minute interval of 164,453 shares over the time period from the open of trade to 12:10 p.m.
on August 7, 2018.132 In addition, implied volatility for long-term options observed by
Professor Heston declined significantly following the Musk Tweets.133

                b)       Stock price movements following the Musk Tweets
          77.   As shown in Appendix 4, on August 7, 2018, Tesla’s common stock price
increased 6.37%, from $356.85 per share at 12:47 p.m. (just prior to the start of the Musk
Tweets) to a close of $379.57 per share on August 7, 2018 on volume of over 18 million
shares,134 which even though it is less time than in a full trading day, was over two times
the average daily volume of 8,293,907 shares during the 120 trading days prior to the start
of the Class Period.135 The abnormal return is positive 6.52%, which is statistically
significant at the 1% level.136 The abnormal price increase of $23.27 accounts for and
thus eliminates the effects of all market-wide and industry-wide factors that might
influence the price of Tesla common stock.137




131
      Based on Bloomberg GIT data (volume from the 12:48-12:49 through 12:57-12:58 intervals).
132
      Source: Bloomberg GIT data based on non-overlapping 10-minute intervals.
133
      Heston Report, ¶12.
134
      Based on Bloomberg GIT data (volume from the 12:48-12:49 through 13:59-16:00 intervals).
135
      In the Hartzmark Opening Class Certification (¶26), I referred to the “PreCP” as the 120 trading
      days prior to the start of the Class Period (“the ‘PreCP Period;’ as described later, the PreCP
      Period is used as the estimation period for my event study analysis”).
136
      Based on 192 intervals.
137
      Tesla’s common stock price increased 10.99%, from a close of $341.99 per share on August 6,
      2018 to a close of $379.57 per share on August 7, 2018. The abnormal return is positive
      10.61%, which is statistically significant at the 1% level. The total abnormal price increase of
      $36.28 accounts for and thus eliminates the effects of all market-wide and industry-wide factors
      that might influence the price of Tesla common stock, but does include the price impact from
      the FT Article. See Hartzmark Opening Class Certification Report, Appendix F.


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           4.        August 8, 2018 and the Commencement of the Corrective Interval

         78.    On Wednesday, August 8, 2018, Tesla’s share price opened at $369.09, a
2.8% decline from the prior day close of $379.57, but then quickly increased to $382.64 at
approximately 10:10 a.m.138 before declining on news reports that the SEC was probing
Tesla over Defendant Musk’s tweets. I show below a summary of news articles and analyst
commentary this day.

                a)      News prior to the opening of trade
         79.    It is important to point out that after the market closed on Tuesday, August 7,
2018, Tesla’s Senior Director of Investor Relations replied to emails related to Defendant
Musk’s tweets and apparently buttressing the information disclosed on August 7, 2018.
His response included:

                a) “I can only say that the first Tweet clearly stated that ‘financing is
                   secured.’ Yes, there is a firm offer.”139

                b) “[A]part from what has been tweeted and what was written in a blog post,
                   we can’t add anything else. I only want to stress that Elon’s first tweet,
                   which mentioned ‘financing secured’ is correct.”140

                c) “The very first tweet simply mentioned ‘Funding secured’ which means
                   there is a firm offer. Elon did not disclose details of who the buyer is. …
                   I actually don’t know [whether a verbal agreement or commitment letter],
                   but I would assume that given we went full-on public with this, the offer
                   is as firm as it gets.”141

         80.    Before the market opened on Wednesday, August 8, 2018, certain members
of Tesla’s board issued a statement that said:

                Last week, Elon opened a discussion with the board about
                taking the company private. This included discussion as to how
                being private could better serve Tesla’s long-term interests, and
                also addressed the funding for this to occur. The board has met


138
      Based on the high traded price during both the 10:10-10:11 and 10:11-10:12 minute intervals
      from Bloomberg GIT data. Source for market open price: Bloomberg.
139
      TESLA_LITTLETON_00004010 (Exhibit 150).
140
      TESLA_LITTLETON_00004253 at 4254 (Exhibit 151).
141
      JENN0000074 (Exhibit 58).


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                several times over the last week and is taking the appropriate
                next steps to evaluate this.142

          81.   Also, before the market opened on August 8, 2018, news articles reported that
both Jefferies and J.P. Morgan analysts had raised their target prices on Tesla stock
following the Musk Tweets, for example:

                Tesla going private ‘feels like the right thing to do,’ says
                Jefferies. Jefferies analyst Philippe Houchois raised his
                price target for Tesla to $360 from $250 after CEO Elon
                Musk suggested taking the company private. The stock
                closed yesterday up 11%, or $37.58, to $379.57. Going private
                “feels like the right thing to do,” Houchois tells investors in a
                research note. “Distraction or not, the move feels right even if
                Musk is downplaying how supportive public markets have
                been,” the analyst adds. However, with Tesla unable to take on
                more debt, he wonders who may fund the potential deal and end
                up as a new large shareholder. Houchois raised his estimates to
                reflect a “better outlook” post Tesla’s Q2 results. His
                discounted cash flow fair value points to $300 per share and
                his new $360 price target “bridges the gap” to the $420
                potential going private bid. The analyst keeps a Hold rating
                on Tesla.143

                                                *****

                JP Morgan analysts raised their stock price target for Tesla
                Inc. (TSLA) to $308 from $195 on Wednesday, a day after
                Chief Executive Elon Musk said he is thinking of taking the
                company private, but said they are sticking with an underweight
                rating, “on chance the shares could again trade on
                fundamentals.” “As surprising to us as these developments are,
                and as lacking as the statements are in any details regarding who
                is expected to provide the required amount of financing and on
                what terms, they are nevertheless declarative statements
                from the CEO of a public company which we feel should be
                considered seriously,” analyst Ryan Brinkman wrote in a note.
                Musk said he had already secured the funding for a deal,
                without offering any further detail. Banks and private-equity

142
      “Statement from the following members of Tesla’s Board of Directors: Brad Buss, Robyn
      Denholm, Ira Ehrenpreis, Antonio Gracias, Linda Johnson Rice, and James Murdoch,”
      GlobeNewswires, August 8, 2018, 9:00 a.m.
143
      “07:59 EDT Tesla going private ‘feels like the right thing to do,’ says...,” Theflyonthewall.com,
      August 8, 2018 (emphasis added).


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                firms were surprised at that news and questioned how it could
                be done, given the company is cash flow negative, is loss
                making and saddled with about $10 billion of debt.

                “We continue to believe Tesla’s valuation based on
                fundamentals alone (i.e., a 50/50 blend of discounted cash flow
                and 2020-based multiples analysis - itself consisting of a blend
                of P/E, EV/EBITDA, and Price-to-Sales) is worth no more than
                $195 (our previous price target),” said Brinkman. “But
                introducing a new 50% weighting of $420 suggests a large
                upward revision to our price target is warranted, and we
                newly value Tesla at $308 per share (i.e., 50/50 blend of $195
                and $420).” Tesla shares were down 1% in premarket trade, but
                have gained 22% in 2018, while the S&P 500 has gained 7%.144

                b)      After the market opened for trade: The beginning of the
                        revelation of the truth about the likelihood of the going private
                        transaction and the materialization of Consequential Harm
         82.   Beginning with a New York Times article at 10:24 a.m. on August 8, 2018,
news articles reported that the SEC was probing Tesla over the Musk Tweets, which along
with reports of skepticism of the deal, caused the stock price to decline:

                Elon Musk had better be right.

                Mr. Musk’s audacious offer Tuesday to take private Tesla, the
                innovative auto company he founded and leads as chairman and
                chief executive, will surely go down as one of the most
                unorthodox takeover bids ever. …

                But it was Mr. Musk’s “funding secured” statement on
                Twitter that may put the iconoclastic founder most at risk.
                He provided no details about how much funding had been
                secured, from whom or under what conditions. His email to
                employees did not mention anything about the funding.

                “That’s a clear factual statement,” said John C. Coffee Jr., a
                professor at Columbia Law School who specializes in corporate
                law and securities fraud. “If it’s not fully secure, that’s
                potentially a very material misrepresentation, and a very
                straightforward violation of Rule 10b-5 of the securities
                law” in short, securities fraud.


144
      “MW UPDATE: JP Morgan raises Tesla price target but stays underweight in case shares trade
      on fundamentals again,” MarketWatch, August 8, 2018, 7:58 a.m. (emphasis added).


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                It is illegal for a director or officer of a public company “to
                knowingly or recklessly make material misstatements about
                that company,” said John Coates, a professor at Harvard Law
                School who teaches mergers and acquisitions. Mr. Musk’s
                “tweets seem cryptic at best, and it is hard to see how he has
                complied with his duty to not be misleadingly incomplete.”

                A Tesla spokeswoman declined to comment.

                The Securities and Exchange Commission contacted Tesla
                on Wednesday to inquire about the accuracy of Mr. Musk’s
                tweets and why the announcement was not made in a
                regulatory filing, according to a person briefed on the inquiry,
                who was not authorized to speak publicly on behalf of the
                S.E.C. Such questions typically precede the launch of any
                formal investigation.145

                                             *****

                Securities regulators have inquired with Tesla Inc. about
                Chief Executive Elon Musk’s surprise announcement that
                he may take the company private and whether his claim was
                factual, people familiar with the matter said.

                The Securities and Exchange Commission has asked whether
                Musk’s unusual announcement on Tuesday was factual, the
                people said. The regulator also asked Tesla [] about why the
                disclosure was made on Twitter rather than in a regulatory
                filing, and whether the company believes the announcement
                complies with investor-protection rules, the people said. …

                The SEC’s inquiries, which originated from its San Francisco
                office, suggest Tesla could come under an enforcement
                investigation if regulators develop evidence that Musk’s
                statement was misleading or false. It wasn’t immediately
                clear on Wednesday whether the regulator had opened a formal
                enforcement investigation based on the answers it received
                from the company.       An SEC spokesman declined to
                comment.146


145
      “Did Elon Musk Violate Securities Laws With Tweet About Taking Tesla Private?,”
      NYTimes.com Feed, August 8, 2018, 10:24 a.m. (emphasis added).
146
      “SEC questions Tesla over Elon Musk’s tweets to take the company private; Regulators said
      to be inquiring whether CEO’s claim was factual,” MarketWatch, August 8, 2018, 1:32 p.m.
      (emphasis added).


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                                               *****

                … people close to SoftBank tell the FT that the fund
                considers Tesla to be overvalued and there are no
                indications it wants to invest. Even if it did want to add
                Tesla to its stable, SoftBank might face an obstacle in the form
                of the Committee on Foreign Investment in the US (Cfius),
                given its close links to China and record of previous hold-ups
                on other deals.147

                                               *****

                Regulator examining whether Tesla CEO Elon Musk’s
                statement on Tuesday was truthful, DJ reported, citing
                unidentified people with knowledge of the matter. SEC also
                inquired why disclosure was made on Twitter.148

                                               *****

                Tesla stock rallied on CEO Elon Musk saying he wants to take
                the company private. … But shares fell 2.4% on Wednesday to
                370.34, amid reports that the SEC is probing Tesla over Musk’s
                tweets.149



147
      “Who could fund Elon Musk’s Tesla buyout?,” Financial Times, August 8, 2018, 1:59 p.m.
      (emphasis added).
148
      “SEC Is Said to Have Made Inquiries to Tesla Over Musk Tweet: DJ,” Bloomberg First Word,
      August 8, 2018, 3:49 p.m. See also “SEC IS SAID TO BE LOOKING AT WHETHER MUSK
      STATEMENT TRUTHFUL:DJ,” Bloomberg News, August 8, 2018, 3:45 p.m.
      After the market closed on August 8, 2018, the full updated text of the article reported: “U.S.
      regulators are asking Tesla Inc. whether Chief Executive Elon Musk was truthful when he
      tweeted that he had secured funding for what would be the largest-ever corporate buyout,
      people familiar with the matter said. Officials at the Securities and Exchange Commission
      want to know whether Mr. Musk had a factual basis for tweeting Tuesday that the going-private
      transaction was all but certain, with only a shareholder vote needed to pull it off, the people
      said. The SEC’s inquiries, which originated from the agency’s San Francisco office, suggest
      Tesla could come under an enforcement investigation if regulators suspect that Mr. Musk’s
      statement was misleading or false. It couldn’t be learned on Wednesday whether the agency
      had opened a formal enforcement investigation.” “SEC Probes Tesla CEO Musk’s Tweets;
      The regulator is examining whether Musk’s statement was truthful and why the disclosure was
      made on Twitter,” The Wall Street Journal Online, August 8, 2018, 7:27 p.m.
149
      “Dow Futures: Roku Soars Near Buy Point; This Breakout Stands Out Vs. Apple, Alphabet,
      Tesla,” Investor’s Business Daily, August 9, 2018.


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                One day after Chief Executive Elon Musk stirred investors with
                a surprise proposal to take Tesla Motors private, shares of the
                electric automaker fell 2.4 percent as some analysts expressed
                skepticism.150

                                               *****

                Tesla shares rallied 11% on Tuesday, but lost 2.4% Wednesday
                as Wall Street faulted the plan for being lean on funding
                details.151

                                               *****

                Analysts are taking Musk at his word that he has indeed
                secured funding, has investor support, and is seriously
                considering taking the company private - he could face
                serious legal consequences if he wasn’t entirely truthful.
                But many nonetheless find the $420 a share price tag he’s
                floated exceptionally high given that Tesla ended trading on
                Wednesday at $370.34 a share.152

          83.   In addition to the Jefferies and J.P. Morgan analyst reports raising price
targets and summarized in news articles above, Bernstein stated:

                We see upside risk in the near term to perhaps $400, but
                downside risk to $340 (yesterday’s low price) or below if no
                firmer details emerge, as investors would likely increasingly
                debate Musk’s credibility and over-focus on the shares’
                price and volatility.

                …

                Was this solely Musk’s idea? Or does he already have the
                support of his board / major shareholders? Given the haphazard
                process of disclosure last afternoon, our initial impression was
                that Elon Musk sprung his plan of going private upon the public
                without consulting Tesla's board of directors or major

150
      “US stocks end near flat; Tesla retreats,” Agence France Presse, August 8, 2018, 4:22 p.m.
151
      “SEC Looks Into Musk’s Taking-Tesla-private Tweets: WSJ – MarketWatch,” Dow Jones
      Institutional News, August 8, 2018, 4:06 p.m. (emphasis added).
152
      “A couple reasons why Elon Musk could actually pull off his wild plan to take Tesla private
      (TSLA),” Business Insider, August 8, 2018, 6:28 p.m. (emphasis added).


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                shareholders. On the other hand, Musk’s tweets that
                “Investor support is confirmed” and “Funding secured”
                would suggest that he has spoken with some few
                stakeholders. Here, as with nearly everything else, we
                remain with more questions than answers. What does
                Musk mean by “investor support” – has he already gotten a
                go-ahead from Tesla’s major institutional shareholders,
                and in what form? If so, why is the deal still “contingent on
                a shareholder vote” (as he noted within the same tweet)?
                Did Tesla's board of directors or management team already
                know about these plans? If so, why was the announcement so
                abrupt and seemingly “unofficial”? Has Musk run his plan of
                maintaining retail shareholders within a private Tesla by his
                legal team? And so forth.153

          84.   Evercore commented that:

                What happened? The above are two of a series of tweets by
                Tesla CEO Elon Musk yesterday, where the company
                announced that it is considering going private.

                Could this happen? It is important to note that, as of today, no
                details have been provided with regards to what “Funding
                secured” means, who is providing that funding and what any
                potential funding structure might look like. Our view is that
                “Funding secured” should be interpreted as a strong verbal
                commitment, with funds available and parties willing to execute
                quickly.

                Stock Implications The majority of the move towards $420 is
                now done, with the share price sitting within 11%. As a result,
                unless there is evidence to suggest that the funding is not
                secured and a transaction cannot be completed, we believe there
                is little to be done with the stock at these levels. More broadly,
                if Tesla has attracted a strategic investor who is willing to not
                only help take the company private but also to provide material
                funding going forward, it should enable the company to execute
                and move faster as it seeks to complete its mission to move the
                world to a solar electric future.154




153
      Bernstein, Tesla: Going private? Who knows... does Elon?, August 8, 2018 (emphasis added).
154
      Evercore ISI, A Private Life is a Happy Life, August 8, 2018, 4:26 a.m. (source of timestamp:
      Capital IQ, emphasis omitted).


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          85.   Piper Jaffray questioned the likelihood of the deal succeeding:

                We note that many important details are still unknowable, given
                the precedent-setting nature of this proposal as well as the vague
                verbiage used to describe it. As a result, we believe this deal
                is unlikely to succeed in the very near-term, if it succeeds at
                all. We also note that, for true believers with a multi-year time
                horizon, the suggested go-private valuation of $420/share is
                probably unpalatable (especially if they cannot invest in
                illiquid, private securities), but gaining 50%+ shareholder
                approval may nonetheless prove easier than funding and
                structuring the deal in a way that is legal and executable. …

                We are unsure about the legal implications and procedural
                requirements associated with transitioning public equity into a
                widely-held private security through a special-purpose entity
                similar to the SpaceX equity arrangement.

                In our view, creating this novel shareholding structure in
                compliance with securities laws may constitute the biggest
                hurdle to formalizing an offer.

                The other major hurdle relates to funding the $420/share
                buyout, because some form of funding would be necessary for
                all shares that select cash instead of new equity.

                Funding the deal with debt (an LBO) seems difficult, given the
                levered state of TSLA’s balance sheet, the company’s junk (B-)
                rating, and its history of negative cash flow.

                Musk may have lined up “big thinker” equity investors with
                deep pockets and generous investment time horizons, but if
                these are sovereign wealth funds or foreign partners, then Tesla
                may face a review from the Committee on Foreign Investment
                (CFIUS).155

          86.   Chart 2 below shows the intraday trading activity (including price and
volume) of Tesla common stock on August 8, 2018. As shown in Appendix 5,156 Tesla’s
common stock price declined 2.43%, from a close of $379.57 per share on August 7, 2018
to a close of $370.34 per share on August 8, 2018 on volume of 24.6 million shares, which


155
      Piper Jaffray, Questions Remain; Overweight-rated TSLA Not Going Private Anytime Soon,
      August 8, 2018, 12:24 p.m. (source of timestamp: Capital IQ).
156
      Appendix 5 is Appendix F to the Class Certification Report extended through October 1, 2018.


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was 3.0 times the average volume during the 120 trading days prior to the start of the Class
Period. The abnormal return is negative 2.36%, which is not statistically significant at the
5% level. The abnormal price decrease of $8.97 accounts for and thus eliminates the effects
of all market-wide and industry-wide factors that might influence the price of Tesla
common stock.

          87.   Chart 2 also shows that the additional information discussed above, including
the emails from Tesla’s Investor Relations, before the disclosure of the SEC inquiry, was
followed by an increase of Tesla’s stock price from $369.09 at the opening to 382.55 at
10:10 a.m., with volume of 5,679,850 shares through 10:10 a.m.157 The $13.46 price
change (3.65%) is statistically significant at the 1% level based on using one-minute
intervals for an event study analysis.158

          88.   I also note that Chart 2 shows at approximately 10:10 a.m., the price of Tesla
common stock peaked and fell from $382.55 to close at $370.34 on volume of 11.8 million
shares.159 Based on the minute-by-minute event study this 3.2% decline is statistically
significant at the 6% level.160 Chart 2 also shows the price impact of news articles and a
Wall Street Journal report issued beginning at 3:45 P.M. on August 8, 2018 stating, “on
Wednesday that the U.S. Securities and Exchange Commission was asking Tesla why
Musk announced his plans on Twitter and whether his statement was truthful.”161 This


157
      Volume is based on Bloomberg GIT data for intervals 9:30-9:31 through 10:10-10:11. $382.55
      is the close price of the 10:10-10:11 interval, while the high price during this 1-minute interval
      is $382.64 as discussed in paragraph 78.
158
      For this analysis, there are 41 intervals.
159
      Volume is based on Bloomberg GIT data for intervals 10:11-10:12 through 15:59-16:00. Price
      is close price in interval 10:10-10:11 and 15:59-16:00 based on Bloomberg GIT data.
160
      For this analysis, there are 349 intervals.
      I note, that between 10:10 a.m. and 10:30 a.m. the stock price declined from $382.55 (1-minute
      interval of 10:10-10:11 a.m.) to $377.01 (1-minute interval of 10:30-10:31 a.m.). This
      abnormal return of negative 3.27% is statistically significant at the 1% level (20 intervals).
161
       “SEC Is Said to Have Made Inquiries to Tesla Over Musk Tweet: DJ,” Bloomberg First Word,
      August 8, 2018, 3:49 p.m. See also “SEC IS SAID TO BE LOOKING AT WHETHER MUSK
      STATEMENT TRUTHFUL:DJ,” Bloomberg News, August 8, 2018, 3:45 p.m. and “SEC
      Probes Tesla CEO Musk’s Tweets; The regulator is examining whether Musk’s statement was
      truthful and why the disclosure was made on Twitter,” The Wall Street Journal Online, August


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report was followed by a decrease of Tesla’s stock price from $371.76 at 3:45 p.m. to an
open of $365.55 on August 9, 2018, with volume of 1,331,422 shares on August 8, 2018.162


                                           Chart 2




           5.      August 9, 2018 and the Continued Absence of Disclosures of
                   Meaningful, Reliable and Clear Information Describing the Proposed
                   Going Private Transaction and the Continued Materialization of
                   Consequential Harm

         89.    On Thursday, August 9, 2018, Tesla’s share price opened at $365.55, a 1.3%
decline from the prior day close of $370.34, and further declined to close at $352.45 on
reports that the SEC probe was intensifying and doubt the deal could be done. I show
below a summary of news articles and analyst commentary this day.


      8, 2018, 7:27 p.m.; “Tesla Shares Fell 5% on Wall Street Skepticism; SEC Probe Reports,”
      Reuters News, August 9, 2018, 4:54 p.m.
162
      Based on Bloomberg GIT data for intervals 3:45-3:46 through 15:59-16:00 (volume starting
      3:46-3:47 interval) and Bloomberg open prices.


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         90.   News articles reported, for example:

               Doubts about Elon Musk’s ability to take Tesla Inc. private
               mounted across Wall Street on Thursday, driving the stock
               down as much as 4 percent in what’s shaping up to be the
               worst rout in a month.

               The stock slipped to $356.66 in late morning trading, well
               below the $420 at which Musk said shareholders would be
               bought out. It’s now dropped on back-to-back days after having
               jumped 11 percent on Tuesday, when Musk vowed that he had
               “funding secured” for a spectacular $82 billion deal.

               Since that initial tweet, though, he has offered no evidence
               to back up the statement. Nor has anyone stepped forward
               publicly -- or privately – to say they’re behind the plan. People
               with or close to 15 financial institutions and technology firms
               who spoke on the condition of anonymity said they weren’t
               aware of financing having been locked in before Musk’s tweet.

               “I don’t really understand the idea of what was suggested in the
               potential for them to go private,” Dick Weil, CEO of Janus
               Henderson Group, said in an interview with Bloomberg
               Television. “That’s obviously an incredibly large valuation to
               somehow take into the private market.”

               All of which could be problematic as the Securities and
               Exchange Commission starts investigating the matter.
               Regulators have asked the company if what Musk tweeted was
               factual and why such a disclosure was made via social media
               rather than in a filing, according to the Wall Street Journal,
               citing unidentified people familiar with the matter. Judith
               Burns, an SEC spokeswoman, declined to comment. Tesla also
               declined to comment.163

                                            *****

               Musk said he had the funding for such a deal secured and
               merely needed the proposal to pass a shareholder vote
               before it could go through. (He indicated via Twitter that
               he had investor support.)

               But nearly two days later, it’s unclear where that funding
               will come from. Tesla has yet to submit any regulatory filings

163
      “Tesla Shares Sink as Pressure Mounts on Musk to Show the Money,” Bloomberg News,
      August 9, 2018, 11:40 a.m. (emphasis added).


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                that provide more detail into Musk’s proposal, and, according
                to The New York Times, some top executives at major Wall
                Street Banks, like JPMorgan Chase and Citigroup, were not
                familiar with Musk’s intention to convert Tesla into a private
                company before he tweeted about it.

                That raises the question: Where’s the money coming
                from?164

                                               *****

                Tesla shares drop as much as 4.6% to $353.33 as of 12:31 p.m.
                in New York, as skepticism mounts that Elon Musk has the
                ability to take the co. private. Stock traded at ~$356.64 before
                Musk tweeted on Aug. 7…165

                                               *****

                The Securities and Exchange Commission is “intensifying”
                its inquiry into Tesla, Bloomberg reports.

                The agency on Wednesday asked Tesla about whether one of
                CEO Elon Musk’s tweets regarding the possibility of taking the
                company private was truthful, The Wall Street Journal reported,
                citing people familiar with the matter.

                According to the Journal, the SEC is also looking into why
                Musk's first statement about the potential of taking Tesla private
                was made on Twitter instead of in a regulatory filing. The
                agency also asked the company whether it believes Musk’s
                tweet follows SEC rules about protecting investors, The Journal
                reported.

                Bloomberg reports that the agency was gathering
                information about statements Tesla has made regarding
                sales and manufacturing targets before its most recent
                inquiry.

                An inquiry from the SEC does not necessarily mean an
                investigation will follow.


164
      “A deal to take Tesla private probably won’t come from Wall Street or Silicon Valley (TSLA),”
      Business Insider, August 9, 2018, 12:09 p.m.
165
      “Tesla Erases Gain Since Musk Tweeted He May Take Co. Private,” Bloomberg First Word,
      August 9, 2018, 12:49 p.m.


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                The SEC and Tesla declined Business Insider’s requests for
                comment.166

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                Tesla will need to access the capital markets in order to fund its
                operating requirements and repay the maturing convertible debt
                obligations, Moody’s Investors Service said in a statement.

                CEO’s note to employees that he is considering taking Tesla
                private is credit negative, but does not affect the ratings at this
                time, the agency said.

                Moody’s expect the company’s cash generation will improve
                during the second half of 2018 and over the coming year as its
                Model 3 production improves.167

                                              *****

                Tesla shares tumbled Thursday following a report the company
                faces intensifying scrutiny from securities regulators as US
                stocks finished a quiet session mostly lower.168

                                              *****

                Tesla Inc’s <TSLA.O> shares slipped nearly 5 percent on
                Thursday, wiping out the gains fueled by Chief Executive Elon
                Musk’s announcement of a plan to take the company private,
                after reports of concern by regulators and on doubt the deal
                could be done.

                Shares fell early in the day, weighed by Wall Street’s
                skeptical response to Musk’s idea of going private and a
                Wall Street Journal report on Wednesday that the U.S.

166
      “SEC reportedly ‘intensifying’ examination of Tesla after Elon Musk tweets about taking the
      company private (TSLA),” Business Insider, August 9, 2018, 2:42 p.m. (emphasis added).
      See also “TESLA IS SAID TO FACE BROADER SEC SCRUTINY OVER MUSK
      STATEMENTS,” Bloomberg News, August 9, 2018, 2:19 p.m.; “SEC SCRUTINY OF
      TESLA CONFIRMED BY PEOPLE FAMILIAR WITH MATTER, Bloomberg News, August
      9, 2018, 2:19 p.m. and “AGENCY WAS SAID TO BE LOOKING AT TESLA BEFORE
      TAKEOVER TWEETS,” Bloomberg News, August 9, 2018, 2:19 p.m.
167
      “Tesla Will Still Need to Access Capital Markets, Moody’s Says,” Bloomberg First Word,
      August 9, 2018, 3:06 p.m.
168
      “Tesla tumbles as US stocks end mostly lower,” Agence France Presse, August 9, 2018, 4:22
      p.m.


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                Securities and Exchange Commission was asking Tesla why
                Musk announced his plans on Twitter and whether his
                statement was truthful.

         91.   The shares slipped further on Thursday after Bloomberg reported that
the SEC already had been looking at Tesla’s public statements, citing two unnamed
people it said were familiar with the matter.169One analyst stated that as of August 8,
2018, Tesla’s share price moves implied a 34.4% deal probability of going private:

                As of yesterday, TSLA share prices were implying a market
                deal probability of 34.4% after Elon Musk’s publicly
                suggested a go-private deal for the electric vehicle company.
                … While many instantly denounced the deal as impossible, the
                rise in the share price staying below the purported deal price of
                $420 shows that the market is implying a certain probability of
                success. … By assuming the average price on Monday as the
                market price, $348.79, we can infer that the market is pricing a
                34.4% of the deal going through.170

         92.   Chart 3 below shows the intraday trading activity (including price and
volume) of Tesla common stock on August 9, 2018.




169
      “Tesla shares fall 5 percent on Wall Street skepticism, SEC probe reports,” Reuters News,
      August 9, 2018, 4:54 p.m. (emphasis added).
170
      Macro Risk Advisors, MRA- Does the options market believe Elon Musk?, August 9, 2018,
      9:51 a.m. (emphasis added).



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                                         Chart 3




       93.    As shown in Appendix 5, Tesla’s common stock price declined 4.83%, from
a close of $370.34 per share on August 8, 2018 to a close of $352.45 per share on August
9, 2018 on volume of 17.2 million shares, which was 2.1 times the average volume during
the 120 trading days prior to the start of the Class Period. The abnormal return is negative
4.67%, which is statistically significant at the 8% level. The total abnormal price decrease
of $17.28 accounts for and thus eliminates the effects of all market-wide and industry-wide
factors that might influence the price of Tesla common stock.

         6.        August 10, 2018 and the Continued Absence of Disclosures of
                   Meaningful, Reliable and Clear Information Describing the Proposed
                   Going Private Transaction and the Continued Materialization of
                   Consequential Harm

       94.    On Friday, August 10, 2018, Tesla’s share price opened at $354.00, a 0.4%
increase from the prior day close of $352.45, and further increased slightly to close at
$355.49 likely on reports that the Tesla board would meet with advisers next week on the
go private deal.


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         95.   I show below a summary of news articles on August 10, 2018.

         96.   News articles reported that Tesla’s board of directors plans to meet with
advisers next week, for example:

               The Tesla Inc. (TSLA) board of directors plans to meet with
               advisers next week to make formal the process of exploring
               Chief Executive Elon Musk’s proposal to take the company
               private, according to a CNBC report that cited people familiar
               with the matter. The board is likely to ask Musk to recuse
               himself, and the board told him that he’d need his own set of
               advisers, the report said.171

                                            *****

               Tesla (NASDAQ: TSLA) is trimming some gains on a report
               that the automaker is seeking a “wide” investor pool in its go-
               private plan. That’s in an apparent move to avoid concentrating
               ownership of the stock, Bloomberg notes. It’s also raising
               chatter among investors questioning just how “secured” the
               funding is that CEO Elon Musk was tweeting about. Shares are
               back to flat after rising as much as 2.1% to $360 today.172

                                            *****

               Tesla Inc’s <TSLA.O> board has not yet received a detailed
               financing plan from CEO Elon Musk, and is seeking more
               information about how he will take the U.S. electric car maker
               private in a proposed deal worth $72 billion, people familiar
               with the matter said on Thursday.

               While Tesla’s board has held multiple discussions about
               Musk’s proposal, which first became public on Tuesday, it has
               not yet received specific information on who will provide the
               funding, one of the sources said.173



171
      “Tesla Board To Ramp Up Going-private Talks: Report – MarketWatch,” Dow Jones
      Institutional News, August 9, 2018, 5:18 p.m.
172
      “Bloomberg: Tesla seeking ‘wide’ investor pool for go-private plan,” Bloomberg News,
      August 10, 2018, 3:05 p.m. See also “TESLA IS SAID TO SEEK WIDE INVESTOR POOL
      FOR TAKE-PRIVATE PLAN,” Bloomberg First Word, August 10, 2018, 2:56 p.m.
173
      “Exclusive: Tesla’s board seeking more information on Musk’s financing plan – sources,”
      Reuters News, August 9, 2018, 8:26 p.m.


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         97.   .One analyst noted the decline in long-term option volatility after the Musk
tweet:

               TSLA Options Takeaways

               In Wednesday’s Derivatives Daily we looked at the shift in
               Tesla’s (TSLA: Not Covered) term structure, and particularly
               the significant decline in long-term volatility, following CEO
               Elon Musk’s tweet indicating that he was considering taking the
               company private. Given the widespread interest in the name,
               alongside this morning’s headlines indicating that the
               company’s board will meet with financial advisers next week,
               here we circle back to TSLA options to now see what they can
               tell us about the potential for moves in the stock price in the
               weeks ahead. As we noted on Wednesday, aside from the very
               short-term 30-Day options, implied volatility levels generally
               declined in response to the potential for a take-private outcome.
               That said, 90-Day volatility has since rebounded higher, and at
               ~52%, 90-Day implied volatility in the name is still higher than
               all but a handful of names within the Russell 1000.174

         98.   Chart 4 below shows the intraday trading activity (including price and
volume) of Tesla common stock on August 10, 2018.




174
      Susquehanna International Group, PTEN Calls and TSLA Takeaways, August 10, 2018.


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                                         Chart 4




       99.    As shown in Appendix 5, Tesla’s common stock price increased 0.86%, from
a close of $352.45 per share on August 9, 2018 to a close of $355.49 per share on August
10, 2018 on volume of 11.6 million shares, which was 1.4 times the average volume during
the 120 trading days prior to the start of the Class Period. The abnormal return is positive
2.11%, which is not statistically significant at the 5% level. The total abnormal price
increase of $7.42 accounts for and thus eliminates the effects of all market-wide and
industry-wide factors that might influence the price of Tesla common stock.

         7.      August 13, 2018 and the Defendants’ Update on Taking Tesla Private
                 and the Continued Materialization of Consequential Harm

       100. On Monday, August 13, 2018, Tesla’s share price opened at $361.13, a 1.6%
increase from the prior day close of $355.49. Thereafter, the stock price declined during
the day to close at $356.41 on news that said shares shot up more than 3% on Musk’s blog
post (before the markets opened) explaining his August 7th tweet, but then turned down as




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investors parsed the statement and that investors now know that his “funding secured”
tweet last week was premature at best.

         101. I show below a summary of news articles and analyst commentary over the
weekend (August 11 and 12, 2018) and on August 13, 2018.

         102. News articles reported, for example:

                Two new lawsuits accuse Tesla and its CEO Elon Musk of
                violating federal securities law by allegedly making false
                statements to boost the company's stock price.

                The complaints, filed in federal court in San Francisco this
                week, claim Musk sought to mislead investors when he said on
                Twitter that he had secured the funding to take Tesla private.
                …

                Both lawsuits accused Musk or Tesla of harming short sellers
                with false information.175

                                             *****

                While Tesla CEO Elon Musk teased last week about taking the
                company private, several suitors may have already been
                courting the electric car giant months ago.

                Saudi Arabia’s Public Investment Fund, the country’s
                sovereign wealth fund, is in talks with Tesla about becoming a
                significant investor as part of the move towards privatization,
                sources with knowledge of the fund’s plans told Bloomberg
                Sunday.

                The Saudi investment fund approached Musk months ago to
                discuss acquiring a minority stake but was turned down as the
                company did not plan on issuing new shares at the time, a
                source close to the discussions told Bloomberg. In turn, the
                fund bought nearly $2 billion worth of Tesla shares on the
                market with the help of an investment bank, building up a stake
                just short of 5% in the company.

                The fund has not yet made any concrete plans with Tesla on
                increasing its stake, sources told Bloomberg, but talks are
                ongoing, and continued investment in the company is seen as a

175
      “Two lawsuits accuse Elon Musk of false statements to boost Tesla share price,” CNN Wire,
      August 11, 2018, 5:59 p.m.


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                strategic step toward diversifying the Saudi economy away
                from oil.176

          103. Before markets opened on Monday, August 13, 2018, Musk posted an
“Update on Taking Tesla Private” on Tesla’s website and stated:

                As I announced last Tuesday, I’m considering taking Tesla
                private because I believe it could be good for our shareholders,
                enable Tesla to operate at its best, and advance our mission of
                accelerating the transition to sustainable energy. As I continue
                to consider this, I want to answer some of the questions that
                have been asked since last Tuesday.

                What has happened so far?

                On August 2nd, I notified the Tesla board that, in my personal
                capacity, I wanted to take Tesla private at $420 per share. This
                was a 20% premium over the ~$350 then current share price
                (which already reflected a ~16% increase in the price since just
                prior to announcing Q2 earnings on August 1st). My proposal
                was based on using a structure where any existing shareholder
                who wished to remain as a shareholder in a private Tesla could
                do so, with the $420 per share buyout used only for shareholders
                that preferred that option.

                After an initial meeting of the board’s outside directors to
                discuss my proposal (I did not participate, nor did Kimbal), a
                full board meeting was held. During that meeting, I told the
                board about the funding discussions that had taken place (more
                on that below) and I explained why this could be in Tesla’s
                long-term interest.

                At the end of that meeting, it was agreed that as a next step, I
                would reach out to some of Tesla’s largest shareholders. Our
                largest investors have been extremely supportive of Tesla over
                the years, and understanding whether they had the ability and
                desire to remain as shareholders in a private Tesla is of critical
                importance to me. They are the ones who believed in Tesla
                when no one else did and they are the ones who most believe in
                our future. I told the board that I would report back after I had
                these discussions.

                Why did I make a public announcement?


176
      “Report: Saudi Arabia is looking to invest big in Tesla as the company teases going private,”
      Business Insider, August 12, 2018, 8:45 p.m. (emphasis added).


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         The only way I could have meaningful discussions with our
         largest shareholders was to be completely forthcoming with
         them about my desire to take the company private. However, it
         wouldn’t be right to share information about going private with
         just our largest investors without sharing the same information
         with all investors at the same time. As a result, it was clear to
         me that the right thing to do was announce my intentions
         publicly. To be clear, when I made the public announcement,
         just as with this blog post and all other discussions I have had
         on this topic, I am speaking for myself as a potential bidder for
         Tesla.

         Why did I say “funding secured”?

         Going back almost two years, the Saudi Arabian sovereign
         wealth fund has approached me multiple times about taking
         Tesla private. They first met with me at the beginning of 2017
         to express this interest because of the important need to
         diversify away from oil. They then held several additional
         meetings with me over the next year to reiterate this interest and
         to try to move forward with a going private transaction.
         Obviously, the Saudi sovereign fund has more than enough
         capital needed to execute on such a transaction.

         Recently, after the Saudi fund bought almost 5% of Tesla stock
         through the public markets, they reached out to ask for another
         meeting. That meeting took place on July 31st. During the
         meeting, the Managing Director of the fund expressed regret
         that I had not moved forward previously on a going private
         transaction with them, and he strongly expressed his support for
         funding a going private transaction for Tesla at this time. I
         understood from him that no other decision makers were needed
         and that they were eager to proceed.

         I left the July 31st meeting with no question that a deal with the
         Saudi sovereign fund could be closed, and that it was just a
         matter of getting the process moving. This is why I referred to
         “funding secured” in the August 7th announcement.

         Following the August 7th announcement, I have continued to
         communicate with the Managing Director of the Saudi fund.
         He has expressed support for proceeding subject to financial
         and other due diligence and their internal review process for
         obtaining approvals. He has also asked for additional details on
         how the company would be taken private, including any
         required percentages and any regulatory requirements."



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         Another critical point to emphasize is that before anyone is
         asked to decide on going private, full details of the plan will be
         provided, including the proposed nature and source of the
         funding to be used. However, it would be premature to do so
         now. I continue to have discussions with the Saudi fund, and I
         also am having discussions with a number of other investors,
         which is something that I always planned to do since I would
         like for Tesla to continue to have a broad investor base. It is
         appropriate to complete those discussions before presenting a
         detailed proposal to an independent board committee.

         It is also worth clarifying that most of the capital required for
         going private would be funded by equity rather than debt,
         meaning that this would not be like a standard leveraged buyout
         structure commonly used when companies are taken private. I
         do not think it would be wise to burden Tesla with significantly
         increased debt.

         Therefore, reports that more than $70B would be needed to take
         Tesla private dramatically overstate the actual capital raise
         needed. The $420 buyout price would only be used for Tesla
         shareholders who do not remain with our company if it is
         private. My best estimate right now is that approximately two-
         thirds of shares owned by all current investors would roll over
         into a private Tesla.

         What are the next steps?

         As mentioned earlier, I made the announcement last Tuesday
         because I felt it was the right and fair thing to do so that all
         investors had the same information at the same time. I will now
         continue to talk with investors, and I have engaged advisors to
         investigate a range of potential structures and options. Among
         other things, this will allow me to obtain a more precise
         understanding of how many of Tesla’s existing public
         shareholders would remain shareholders if we became private.

         If and when a final proposal is presented, an appropriate
         evaluation process will be undertaken by a special committee
         of Tesla’s board, which I understand is already in the process
         of being set up, together with the legal counsel it has selected.
         If the board process results in an approved plan, any required




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                regulatory approvals will need to be obtained and the plan will
                be presented to Tesla shareholders for a vote.177

         104. Market commentary discussed the content of Elon Musk’s August 13, 2018
blog post:

                Shares of Tesla surged as much as 3% in early-trading Monday,
                before paring their gains, after CEO Elon Musk published an
                update on his plans to take the company private at $420 a share.

                Despite tweeting on Tuesday that funding had been secured,
                Musk’s newest blog post appears to contradict that claim.178

                                              *****

                In his statement on Monday, Musk said that following his
                August 7 tweet, he has been in communication with the
                managing director of the Saudi fund.

                “He has expressed support for proceeding subject to financial
                and other due diligence and their internal review process for
                obtaining approvals. He has also asked for additional details on
                how the company would be taken private, including any
                required percentages and any regulatory requirements,” Musk
                said.179

                                              *****

                Saudi Arabia’s desire to take a big stake in Tesla Inc. reflects
                its ambitious plan to build a base in the kingdom for electric-
                car production and diversify away from oil.

                Its sovereign-wealth fund is considering raising its nearly 5%
                holding in Tesla, people familiar with the matter said.
                Discussions among Saudi officials about increasing the Public
                Investment Fund’s stake accelerated after Tesla Chief




177
      “Update on Taking Tesla Private,” Elon Musk blog post, August 13, 2018, 8:59 a.m., available
      at https://www.tesla.com/blog/update-taking-tesla-private. See also “Update on Taking Tesla
      Private,” Elon Musk tweet, August 13, 2018, 9:02 a.m.
178
      “Tesla surges after Elon Musk offers details about his ‘funding secured’ tweet (TSLA),”
      Business Insider, August 13, 2018, 10:09 a.m. (emphasis added).
179
      “Elon Musk reveals what he meant by his ‘funding secured’ tweet (TSLA),” Business Insider,
      August 13, 2018, 10:45 a.m. (emphasis added).


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                Executive Elon Musk last week proposed to take the car
                company private in a tweet, the people said.180

                                             *****

                All of Wall Street, and MarketWatch along with it, wanted to
                know more about Elon Musk’s claims last week that he had the
                funding to take Tesla Inc. private.

                After Musk explained himself Monday morning, investors
                now know that his “funding secured” tweet last week was
                premature at best. They showed that they were not buying his
                explanation by not buying Tesla (TSLA) stock at going rates
                well lower than the $420 level Musk quoted in that now-
                infamous tweet.

                In a blog post early Monday, Musk responded to the doubts that
                have arisen since he created havoc among investors last
                Tuesday with the tweet that he was considering taking Tesla
                private at $420 a share. …

                Taken together, Musk’s definition of “funding secured”
                appears to be, to assess it charitably, a stretch. And it
                certainly does not live up to what was required after his
                original tweet.181

                                             *****

                Tesla Inc. shares wavered between gains and losses Monday as
                the boost from Chief Executive Elon Musk’s blog post detailing
                his proposal to take the Silicon Valley car maker private faded.

                Tesla (TSLA) shares shot up more than 3% in pre-market
                trading as Musk’s blog post on the company’s website went up,
                but then turned down more than 1% in midday trade as investors
                parsed the statement. They ended the session 0.3% higher at
                $356.41.182




180
      “Saudi Arabia Weighs Larger Tesla Stake as Part of Plan to Make Electric Cars,” Dow Jones
      Institutional News, August 13, 2018, 1:13 p.m.
181
      “MW UPDATE: Wall Street has spoken: Tesla funding is not ‘secured’,” MarketWatch,
      August 13, 2018, 3:39 p.m. (emphasis added).
182
      “MW UPDATE: Tesla shares swing higher amid confusion about Musk’s going-private plan,”
      MarketWatch, August 13, 2018, 5:03 p.m. (emphasis added).


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         105. An article in The New York Times on August 13, 2018 stated that, according
to sources, the Musk Tweets had not been cleared with the Tesla Board and that some
members of the board were blindsided by the tweet:

               An abrupt tweet last week by Elon Musk about the prospect
               of taking Tesla private was dashed off with little
               forethought, and had not been cleared ahead of time with
               the company’s board, two people familiar with the chain of
               events said Monday….

               But three people familiar with the workings of the Saudi fund
               cast doubt on his account. They said the fund had taken none
               of the steps that such an ambitious transaction would entail, like
               preparing a term sheet or hiring a financial adviser to work on
               the deal....

               A person with direct knowledge of the Tesla board’s thinking
               said some members of the board had been totally blindsided
               by Mr. Musk’s decision to air his plan on Twitter....183

         106. Analyst commentary on August 13, 2018 included CFRA stating the going
private deal could be more likely than previously thought and Morningstar, which was also
positive on the likelihood of the deal happening:

               We think Elon Musk’s blog post likely reduces legal risk
               fallout for TSLA and helps clarify the potential going
               private situation, even if a transaction is ultimately not
               consummated. In the post, Mr. Musk explains how the Saudi
               Arabia Public Investment Fund had repeatedly expressed
               interest in taking Tesla private, something the fund could likely
               afford, leading Musk to believe that funding for a transaction
               was “secured.” The blog also explains how the deal could be
               more likely than we previously thought, as it would ideally
               be structured to be less leveraged via greater than expected use
               of equity versus debt. We would prefer this given TSLA’s
               already plentiful cash needs.184

                                            *****



183
      “Tesla Board Surprised by Elon Musk’s Tweet on Taking Carmaker Private,” NYTimes.com
      Feed, August 13, 2018, 10:05 a.m. (emphasis added).
184
      CFRA, CFRA REITERATES HOLD OPINION ON SHARES OF TESLA, INC., August 13,
      2018, 11:36 a.m. (source of timestamp: Capital IQ) (emphasis added).


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               Tesla CEO Elon Musk issued a blog post Aug. 13 that states he
               is still gauging shareholder interest in Tesla going private at
               $420 a share, but our impression of his words is that he
               thinks it can happen, and we agree. Tesla’s board still must
               receive a formal proposal and then will have to evaluate it, so
               we think a deal will not happen this week but will eventually be
               announced. Musk also said the Saudi Arabian sovereign wealth
               fund has taken almost a 5% stake in Tesla, and he met with it
               recently about going private. All shareholders would have the
               choice of having their stock bought out at $420 a share or
               remaining invested in a private Tesla. We speculate that retail
               investors may have their equity moved to a publicly traded
               special-purpose vehicle while accredited investors would only
               be able to buy or sell shares every six months.

               …

               Musk in an Aug. 7 tweet said, “Investor support is
               confirmed. Only reason why this is not certain is that it’s
               contingent on a shareholder vote.” We think this statement
               means Musk believes he has enough votes to go private.
               Musk also said in the Aug. 13 blog post that he estimates about
               two thirds of shareholders would go private and therefore not
               sell at $420. It sounds to us that he is not done talking to
               shareholders to gauge interest, but his estimate of about 66% of
               shareholders not tendering is not far off from our own
               assumption of 60%.185

         107. Chart 5 below shows the intraday trading activity (including price and
volume) of Tesla common stock on August 13, 2018.




185
      Morningstar, Tesla Buyout Looks Likely to Us, but Timing and Structure Uncertain, August
      13, 2018, 4:50 p.m. (source of timestamp: Capital IQ) (emphasis added).


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                                         Chart 5




       108. As shown in Appendix 5, Tesla’s common stock price increased 0.26%, from
a close of $355.49 per share on August 10, 2018 to a close of $356.41 per share on August
13, 2018 on volume of 10.5 million shares, which was 1.3 times the average volume during
the 120 trading days prior to the start of the Class Period. The abnormal return is positive
0.95%, which is not statistically significant at the 5% level. The total abnormal price
increase of $3.37 accounts for and thus eliminates the effects of all market-wide and
industry-wide factors that might influence the price of Tesla common stock.

         8.     August 14, 2018 and Musk’s Tweets on the Purported Hiring of
                Financial Advisers, along with the Continued Absence of Disclosures
                of Meaningful, Reliable and Clear Information Describing the
                Proposed Going Private Transaction and the Continued
                Materialization of Consequential Harm

       109. On Tuesday, August 14, 2018, Tesla’s share price opened at $358.45, a 0.6%
increase from the prior day close of $356.41. Thereafter, the stock price declined to close
at $347.64 on reports questioning the accuracy of Musk’s latest tweets on hiring advisers


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Goldman Sachs and Silver Lake. I show below a summary of news articles and analyst
commentary this day.

          110. After the markets closed on August 13, 2018, Musk tweeted:

                I’m excited to work with Silver Lake and Goldman Sachs as
                financial advisors, plus Wachtell, Lipton, Rosen & Katz and
                Munger, Tolles & Olson as legal advisors, on the proposal to
                take Tesla private.186

          111. News articles reported on the Musk tweet after the markets closed on August
13, 2018 and on August 14, 2018, which was then followed by reports that denied Silver
Lake and Goldman Sachs had been hired:

                Tesla Inc Chief Executive Officer Elon Musk said on Monday
                he was working with Silver Lake Partners and Goldman
                Sachs Group Inc for financial advice on his proposal to take
                the electric car company private.

                “I’m excited to work with Silver Lake and Goldman Sachs as
                financial advisors, plus Wachtell, Lipton, Rosen & Katz and
                Munger, Tolles & Olson as legal advisors, on the proposal to
                take Tesla private,” Musk said in a tweet.187

                                               *****

                Silver Lake not hired by Tesla in official capacity, Reuters
                reports Silver Lake is offering its assistance to Elon Musk in his
                exploration of taking Tesla private without compensation, and
                has not been hired as a financial adviser in an official capacity,
                Reuters reports, citing a source familiar with the matter.
                Further, Silver Lake is not currently discussing participating in
                the potential Tesla deal as an investor, the source added. The
                firm is known for putting together leveraged buyouts in the
                technology sector rather than providing investment banking
                advice, Reuters added. Musk last night tweeted that he’s




186
      Elon Musk tweet, August 13, 2018, 9:02 p.m., available at: https://twitter.com/elonmusk/status/
      1029171381584314368?lang=en.
187
      “Musk says working with Silver Lake, Goldman on proposal to take Tesla private,” Reuters
      News, August 13, 2018, 9:15 p.m. (emphasis added).


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               working Silver Lake and Goldman Sachs on taking the
               automaker private.188

                                            *****

               Tesla, Inc. (the “Company”) announced today that its Board of
               Directors has formed a special committee comprised of three
               independent directors to act on behalf of the Company in
               connection with Elon Musk’s previously announced
               consideration of a transaction to take the Company private (the
               “Going Private Transaction”). The special committee has not
               yet received a formal proposal from Mr. Musk regarding any
               Going Private Transaction nor has it reached any conclusion as
               to the advisability or feasibility of such a transaction.189

                                            *****

               Tesla Inc. (TSLA) Chief Executive Elon Musk hadn’t
               officially tapped Goldman Sachs Group Inc. as its financial
               advisor when he revealed plans last week to take the car maker
               private and said he had secured funding for the deal, according
               to a Bloomberg News report that cited people with knowledge
               of the matter. The bank still hadn’t signed on when Musk
               tweeted late Monday he was working with Goldman and
               Silver Lake, the people told Bloomberg. Conversations
               between Musk and Goldman Sachs representatives are ongoing,
               the report said. Silver Lake also is in a similar situation,
               Bloomberg said, citing one person familiar with the matter.
               Silver Lake isn’t officially working for Musk and isn’t being
               compensated, the report said.190

                                            *****

               In corporate news, shares of Tesla Inc. (TSLA) ended 2.3%
               lower after CEO Elon Musk late Monday said in a tweet that he


188
      “04:52 EDT Silver Lake not hired by Tesla in official capacity, Reuters…,”
      Theflyonthewall.com, August 14, 2018, 4:52 a.m. (emphasis added).
189
      “Tesla Announces Formation of Special Committee to Evaluate Potential Going Private
      Transaction,” GlobeNewswire, August 14, 2018, 8:30 a.m.
190
      “MW Goldman, Silver Lake not officially on board with Musk’s plan: report,” MarketWatch,
      August 14, 2018, 3:36 p.m. (emphasis added). See also “GOLDMAN SACHS IS SAID TO
      HAVE HAD NO MANDATE WHEN MUSK TWEETED” Bloomberg News, August 14,
      2018, 12:53 p.m.


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                was working with Goldman Sachs and private-equity firm
                Silver Lake on the electric-car maker’s go-private plan.191

                                              *****

                Elon Musk again caught the financial world by surprise with an
                announcement on Twitter about his desire to take Tesla Inc.
                private, this time revealing a list of advisers before
                arrangements with all of them were completed.192

         112. Analysts commented on Musk’s blog post on August 13 including Barclays
stating that the go-private deal was still in its early stages, Evercore ISI stating that
investors were awaiting more detail on any potential Saudi funding and the structure of the
deal, and J.P. Morgan questioning whether the deal was ever near the finish line and not
sure what to believe:

                Tesla’s blog post on Monday 8/13/18 makes it clearer
                buyout is still in early stages, and board has much work to
                do; ... Yesterday Elon Musk’s blog post made it clear - as we
                suspected last week - that any go-private transaction still had
                numerous hurdles in front of it. …

                And on Monday 13 August 2018, an updated blog post on the
                Tesla site from Mr. Musk made it clear that the funding was
                in its very early stages.193

                                              *****

                Elon returns to Twitter: Yesterday, Elon released 2 statements
                (TSLA blog & twitter): 1) Background to “Funding Secured”
                comment – the full release is included here and we invite
                investors to come to their own semantic conclusions regarding
                1) Saudi PIF verbal commitments and 2) Undisclosed details
                regarding the potential structure of a deal where current
                shareholders would opt-in to a “roll over” from public to private
                equity, 2) Corporate Advisors – Elon tweeted “I’m excited to

191
      “MW Dow, S&P 500 halt 4-session skid as Turkish lira angst takes a breather,” MarketWatch,
      August 14, 2018, 4:08 p.m.
192
      “Elon Musk Tweets Another Surprise, Saying Goldman and Silver Lake Are Tesla Advisers;
      Electric-car maker’s CEO and the investment firms hadn’t completed any financial deals,
      though,” The Wall Street Journal Online, August 14, 2018, 7:30 p.m.
193
      Barclays, Time for even ‘Blue Pillers’ to Cash Out?, August 14, 2018, 12:15 a.m. (source of
      time stamp: Capital IQ) (emphasis added, footnote omitted).


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                work with Silver Lake and Goldman Sachs as financial
                advisors, plus Wachtell, Lipton, Rosen & Katz and Munger,
                Tolles & Olson as legal advisors, on the proposal to take Tesla
                private”. Reuters later reported that Silver Lake appears to be
                “offering assistance to Musk without compensation” and has
                not been hired as a financial adviser in an official capacity.
                Complicated to say the least…investors clearly await more
                detail on size of any potential Saudi funding (and any
                strategic/secondary sponsors?) in addition to what the structure
                of any complicated roll over tender would look like?194

                                              *****

                We significantly raised our price target based upon
                assertions of fact from Tesla CEO Elon Musk that “funding
                is secured”

                                                …

                We raised our price target from $195 to $308, but are ready
                to again value the firm on fundamentals alone should a deal
                not be cobbled together.

                Already, it seems, such a deal is in trouble and may never
                have been anywhere near the finish line in the first place:

                Monday, August 13 morning blog post to us seems a walk-
                back aimed more at providing legal cover for Mr. Musk than at
                providing additional details to the financial community;

                Monday, August 13 afternoon report by NYTimes says Musk
                4/20 tweet took Board by surprise;

                Monday, August 13 evening tweet by Elon Musk says excited
                to work with Silver Lake and Goldman Sachs as financial
                advisors on proposal to take Tesla private.

                WE [ARE] NOT SURE WHAT TO BELIEVE!195




194
      Evercore ISI, EvrISI Autos Pitstop: NIO IPO / Elon returns to Twitter, August 14, 2018, 3:12
      a.m. (TESLA_LITTLETON_00005109).
195
      J.P.Morgan, U.S. Autos, Auto Parts, Tires, & Auto Auction, Presentation for 2018 “Summer
      Lunch Series,” August 14, 2018, p. 28 at JPMS_00002934 at 2961 (emphasis added and in
      original).


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       113. Chart 6 below shows the intraday trading activity (including price and
volume) of Tesla common stock on August 14, 2018.

                                         Chart 6




       114. As shown in Appendix 5, Tesla’s common stock price declined 2.46%, from
a close of $356.41 per share on August 13, 2018 to a close of $347.64 per share on August
14, 2018 on volume of 7.0 million shares, which was 0.8 times the average volume during
the 120 trading days prior to the start of the Class Period. The abnormal return is negative
3.32%, which is not statistically significant at the 5% level. The total abnormal price
decrease of $11.82 accounts for and thus eliminates the effects of all market-wide and
industry-wide factors that might influence the price of Tesla common stock.

         9.     August 15, 2018 and the Issuance of Subpoenas by the SEC, along
                with the Continued Absence of Disclosures of Meaningful, Reliable
                and Clear Information Describing the Proposed Going Private




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                   Transaction and the Continued Materialization of Consequential
                   Harm

          115. On Wednesday, August 15, 2018, Tesla’s share price opened at $341.91, a
1.6% decrease from the prior day close of $347.64. Thereafter, the stock price declined
further to close at $338.69 on reports that the SEC had issued a subpoena to Tesla and news
that the SEC probe was now a formal investigation regarding the Musk Tweets.

          116. I show below a summary of news articles on August 15, 2018.

          117. News articles reported for example:

                The SEC sent subpoenas to Tesla on privatization plans and
                Musk’s statements involving funding, Fox’s Charles
                Gasparino tweeted citing sources.

                Subpoenas signal investigation has reached the ‘formal’
                stages, tweet said. Tesla extends losses, falls to session low,
                down as much as 4.5%.196

                                               *****

                US authorities have intensified an investigation into Tesla’s
                privatisation plan by issuing formal summons to the electric
                car manufacturer's chief executive Elon Musk. …

                The SEC investigation into the company stepped up a gear on
                Wednesday when the SEC issued a formal subpoena to Tesla
                officials and Mr Musk, the company’s billionaire founder,
                according to Fox News. …

                Tesla’s share price dropped 3.9pc following the reports of
                the subpoenas, which are likely to complicate any discussions
                about taking the group private.197


196
      “SEC Is Said to Send Subpoenas to Tesla on Privatization: Fox,” Bloomberg First Word,
      August 15, 2018, 10:50 a.m. (emphasis added).
      The Gasparino tweet stated: “SCOOP: SEC ramps up investigation into Tesla privatization
      plans; sends subpoenas to Tesla regarding privatization plans and Musk’s statements involving
      “funding secured”--sources Subpoenas signal investigation has reached the “formal” stages --
      sources more now @FoxBusiness.” See Charles Gasparino tweet, August 15, 2018, 10:42 a.m.
      available at: https://twitter.com/cgasparino/status/1029740099339268096?lang=en
197
      “Tesla and Elon Musk under fire as SEC issues subpoenas,” The Telegraph Online, August 15,
      2018, 1:03 p.m. (emphasis added).


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                Elon Musk will likely need clearance from U.S. national
                security officials for any proposal to take Tesla Inc. private
                with financing from Saudi Arabia, just as the Trump
                administration steps up scrutiny of foreign investment in
                American technology.

                The deal, if it becomes reality, would be among the first to be
                reviewed by U.S. officials since President Donald Trump
                signed legislation this week that expands the government’s
                authority to investigate and potentially block foreign takeovers
                of domestic companies.198

                                              *****

                Shares of Tesla fell Wednesday following reports US
                securities regulators have subpoenaed the electric car
                maker's Chief Executive Elon Musk over his statements
                about taking the company private.

                Shares finished down 2.6 percent at $338.69 after news of the
                formal demand for information was published by Fox Business
                and The New York Times. Shares fell as much as 4.5 percent
                earlier in the session.

                The development suggests the oversight by the US
                Securities and Exchange Commission -- which was
                characterized in previous news articles as an inquiry -- has
                “advanced to a more formal, serious stage,” said The Times,
                which cited a person familiar with the matter.

                A subpoena “typically requires the approval of top SEC
                officials,” the newspaper added.

                A Wall Street Journal story published after the stock market
                closed said the subpoena sought information from each of
                Tesla's directors.

                A Tesla spokesperson declined comment.199


198
      “Musk Seen Facing National Security Review in a Tesla-Saudi Deal,” Bloomberg News,
      August 15, 2018, 12:48 p.m. (emphasis added).
199
      “Tesla shares fall on reports of SEC subpoena,” Agence France Presse, August 15, 2018, 5:33
      p.m. (emphasis added).


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       118. There were no new analyst reports available to me this day.

       119. Chart 7 below shows the intraday trading activity (including price and
volume) of Tesla common stock on August 15, 2018.

                                         Chart 7




       120. As shown in Appendix 5, Tesla’s common stock price decreased 2.57%, from
a close of $347.64 per share on August 14, 2018 to a close of $338.69 per share on August
15, 2018 on volume of 9.1 million shares, which was 1.1 times the average volume during
the 120 trading days prior to the start of the Class Period. The abnormal return is negative
0.71%, which is not statistically significant at the 5% level. The total abnormal price
decrease of $2.46 accounts for and thus eliminates the effects of all market-wide and
industry-wide factors that might influence the price of Tesla common stock.




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           10.     August 16, 2018 and the Continued Absence of Disclosures of
                   Meaningful, Reliable and Clear Information Describing the Proposed
                   Going Private Transaction

         121. On Thursday, August 16, 2018, Tesla’s share price opened at $339.91, a 0.4%
increase from the prior day close of $338.69. Thereafter, the stock price declined during
the day to close at $335.45 on mixed news and analyst commentary on Tesla’s Model 3
production forecast (favorable news)200 and base Model 3 future profitability (unfavorable
news). 201,202

         122. News articles reported for example:

                 Tesla’s odds of a successful take-private transaction are less
                 than 50%, Bernstein analyst Toni Sacconaghi writes in a note
                 raising the automaker’s PT to $325 from $265.

                 See Tesla as a challenging company to value given lack of cash
                 flow, high capital intensity and explosive growth

                 Sees a valuation range of $300 to $400 and current share prices
                 imply margins and market share in 2050 that are higher than
                 Mercedes and BMW

                 Believe questions around a take-private transaction and the
                 clarity of Model 3 quality and profitability will likely be
                 answered over the next few quarters

                 Maintain market-perform203

         123. Chart 8 below shows the intraday trading activity (including price and
volume) of Tesla common stock on August 16, 2018.




200
      “Tesla Analyst Who Toured Plant Bets on 8,000-a-Week Model 3 Pace,” Bloomberg News,
      August 16, 2018, 8:38 a.m. (emphasis added).
201
      “Is a $35,000 Tesla Model 3 Envisioned by Musk Profitable? UBS Says No; Current claims of
      profitability are based on higher-price version of the sedan, the brokerage says,” The Wall
      Street Journal Online, August 16, 2018, 12:20 p.m.
202
      See also discussion in paragraphs 155 to 161 below on potential confounding information
      disclosed on August 16, 2018, as well as on other dates.
203
      “Tesla’s Odds of Going Private Less Than 50%, Bernstein Says,” Bloomberg First Word,
      August 16, 2018, 7:11 a.m. (emphasis added).


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                                         Chart 8




       124. As shown in Appendix 5, Tesla’s common stock price decreased 0.96%, from
a close of $338.69 per share on August 15, 2018 to a close of $335.45 per share on August
16, 2018 on volume of 6.1 million shares, which was 0.7 times the average volume during
the 120 trading days prior to the start of the Class Period. The abnormal return is negative
1.54%, which is not statistically significant at the 5% level. The total abnormal price
decrease of $5.21 accounts for and thus eliminates the effects of all market-wide and
industry-wide factors that might influence the price of Tesla common stock.

         11.    August 17, 2018 and the NYT Article, which the Market Interprets
                that Funding was NOT Secured, Nor Was there Any Formal Proposal

       125. On Friday, August 17, 2018, Tesla’s share price opened at $323.50, a 3.6%
decrease from the prior day close of $335.45, and continued to decline to close at $305.50
on reports of an Elon Musk interview in the NYT Article linked the Musk Tweets to
previously stated concerns about Musk’s health and its impact on his ability to lead the
company. Further, in addition to reporting on Musk’s health issues, according to the


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Complaint, NYT Article also “noted that the funding for the proposed going private
transaction ‘was far from secure’ and the Public Investment Fund ‘had not committed to
provide any cash’”204 and “that no one had seen or reviewed Musk’s August 7, 2018 tweet
before he posted it indicating that no going private transaction was imminent.”205
According to the Order on Defendants’ Motion to Dismiss, the NYT Article

                … revealed that (1) Mr. Musk posted the tweet while driving
                himself to the airport; (2) he had been under a lot of work-
                related stress; (3) the PIF did not commit any cash; (4) funding
                was far from secure; and (5) people were concerned about his
                drug use at the time.206

          126. Thus, the likelihood of the going private transaction was substantially
reduced. I show below a summary of news articles and analyst commentary this day.

          127. The news articles starting late at night on August 16, 2018 begin with the
Musk interview in the NYT Article (published in print on August 17, 2018) 207

                Elon Musk was at home in Los Angeles, struggling to maintain
                his composure. “This past year has been the most difficult and
                painful year of my career,” he said. “It was excruciating.”

                The year has only gotten more intense for Mr. Musk, the
                chairman and chief executive of the electric-car maker Tesla,
                since he abruptly declared on Twitter last week that he hoped
                to convert the publicly traded company into a private one. The
                episode kicked off a furor in the markets and within Tesla itself,
                and he acknowledged on Thursday that he was fraying.

                In an hourlong interview with The New York Times, he choked
                up multiple times, noting that he nearly missed his brother’s
                wedding this summer and spent his birthday holed up in Tesla’s
                offices as the company raced to meet elusive production targets
                on a crucial new model.



204
      Complaint, ¶112, citing to “Elon Musk Details ‘Excruciating’ Personal Toll of Tesla Turmoil,”
      NYTimes.com Feed, August 16, 2018, 11:22 p.m.
205
      Complaint, ¶6.
206
      MTD, p. 39.
207
      “Elon Musk Details ‘Excruciating’ Personal Toll of Tesla Turmoil,” NYTimes.com Feed,
      August 16, 2018, 11:22 p.m.


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         Asked if the exhaustion was taking a toll on his physical health,
         Mr. Musk answered: “It’s not been great, actually. I’ve had
         friends come by who are really concerned.” …

         For two decades, Mr. Musk has been one of Silicon Valley’s
         most brash and ambitious entrepreneurs, helping to found
         several influential technology companies. He has often carried
         himself with bravado, dismissing critics and relishing the
         spotlight that has come with his success and fortune. But in the
         interview, he demonstrated an extraordinary level of self-
         reflection and vulnerability, acknowledging that his myriad
         executive responsibilities are taking a steep personal toll.

         In the interview, Mr. Musk provided a detailed timeline of the
         events leading up to the Twitter postings on Aug. 7 in which he
         said he was considering taking the company private at $420 a
         share. He asserted that he had “funding secured” for such a deal
         a transaction likely to be worth well over $10 billion.

         That morning, Mr. Musk woke up at home with his girlfriend,
         the musician known as Grimes, and had an early workout. Then
         he got in a Tesla Model S and drove himself to the airport. En
         route, Mr. Musk typed his fateful message. …

         Mr. Musk has said he was referring to a potential investment by
         Saudi Arabia’s government investment fund. Mr. Musk had
         extensive talks with representatives of the $250 billion fund
         about possibly financing a transaction to take Tesla private --
         maybe even in a manner that would have resulted in the Saudis’
         owning most of the company. One of those sessions took place
         on July 31 at the Tesla factory in the Bay Area, according to a
         person familiar with the meeting. But the Saudi fund had not
         committed to provide any cash, two people briefed on the
         discussions said.

    128. News media commented:

         Tesla’s stock tumbled after CEO Elon Musk said he’s working
         himself to the bone and relies on Ambien to sleep.

         In a[] tearful interview with The New York Times, Musk said
         this has been “the most difficult and painful year” of his career.
         He said he works 120 hours some weeks and has trouble
         sleeping. Musk is also CEO of SpaceX and The Boring
         Company.

         Investors weren’t sympathetic.


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                The stock fell 8% on Friday, and it’s down more than 20% since
                the day Musk tweeted he had secured funding for a private
                takeover of Tesla.

                Musk hasn’t exactly given investors confidence that he’s on
                the ball.

                He admitted in the Times interview that he hadn’t cleared
                his tweet with anyone at Tesla before firing it off midday
                August 7. He also said that the price he chose ” $420 a
                share” was somewhat arbitrary. He wanted it to be a 20%
                premium, which would have been around $419. So he tweeted
                $420 because it was “better karma.”208

                                               *****

                Tesla Inc’s shares slumped 9 percent on Friday after Chief
                Executive Officer Elon Musk told the New York Times he
                was under major emotional stress and was preparing for
                “extreme torture” from short sellers.

                Tesla stock was on track for its biggest daily slump in two years
                as Wall Street questioned Musk’s ability to lead the electric
                car maker. Investors also were worried about reports that
                regulators were pressuring Tesla’s directors for details
                about how much information he shared with them.209

                What Mr. Musk meant by “funding secured” has become
                an important question. Those two words helped propel
                Tesla’s shares higher. But that funding, it turned out, was
                far from secure.210

          129. The NYT Article brought to light the foreseeable consequence of the Musk
Tweets, as it revealed information that would indeed cause investor concern about
regulators pressuring directors for details on how much he shared with them:




208
      “Tesla’s stock falls sharply after Elon Musk’s tearful interview,” CNN Wire, August 17, 2018,
      11:51 a.m. (emphasis added).
209
      “Tesla stock sinks after Musk gives tearful NYT interview,” Reuters News, August 17, 2018,
      4:00 p.m. (emphasis added).
210
      “Elon Musk Details ‘Excruciating’ Personal Toll of Tesla Turmoil,” NYTimes.com Feed,
      August 16, 2018, 11:22 p.m. (emphasis added).


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               Mr. Musk has said he saw the tweet as an attempt at
               transparency. He acknowledged Thursday that no one had seen
               or reviewed it before he posted it. …211

               The SEC is pressing Tesla’s directors on how much info CEO
               Elon Musk shared with them ahead of his tweet last week about
               a potential deal to take the company private, the WSJ reported,
               citing an unidentified person with knowledge of the matter.212

         130. The NYT Article brought to light the foreseeable consequence of the Musk
Tweets, as it revealed information that would indeed cause investor concern related to
corporate governance as it angered some board members, according to people familiar with
the matter:

               The events set in motion by Mr. Musk’s tweet have ignited a
               federal investigation and have angered some board members,
               according to people familiar with the matter. Efforts are
               underway to find a No. 2 executive to help take some of the
               pressure off Mr. Musk, people briefed on the search said. And
               some board members have expressed concern not only about
               Mr. Musk’s workload but also about his use of Ambien, two
               people familiar with the board said. …

               Mr. Musk said in the interview that board members had not
               complained to him about his tweet. “I don’t recall getting any
               communications from the board at all,” he said. “I definitely
               did not get calls from irate directors.”

               But shortly after the Times published its interview with Mr.
               Musk, he added through a Tesla spokeswoman that Antonio
               Gracias, Tesla’s lead independent director, had indeed
               contacted him to discuss the Aug. 7 Twitter post, and that he
               had agreed not to tweet again about the possible privatization
               deal unless he had discussed it with the board.213




211
      “Elon Musk Details ‘Excruciating’ Personal Toll of Tesla Turmoil,” NYTimes.com Feed,
      August 16, 2018, 11:22 p.m.
212
      “SEC Is Said Asking How Much Musk Shared With Tesla Directors:WSJ,” Bloomberg First
      Word, August 16, 2018, 4:19 p.m.
213
      “Elon Musk Details ‘Excruciating’ Personal Toll of Tesla Turmoil,” NYTimes.com Feed,
      August 16, 2018, 11:22 p.m. (emphasis added).


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         131. News media commented on the NYT Article and whether Musk should still
be the CEO:

                Shares of Electric car maker Tesla Inc. tumbled about 9 percent
                Friday after CEO Elon Musk conceded in a newspaper
                interview that job stress may be getting the best of him. Tesla
                shares closed at $305.50, their lowest level since Aug. 1, as
                analysts and business professors questioned whether the
                company’s board should grant Musk a leave or even replace
                him with a more seasoned CEO.214

                                             *****

                Elon Musk’s erratic behavior was front and center again this
                week as the CEO of Tesla conceded that he’s overwhelmed by
                job stress, pushing his electric car company’s stock down and
                bringing pressure on its board to take action.

                Musk’s revelation, in a Thursday interview with The New York
                Times, came as government regulators are reportedly
                investigating whether his recent out-of-the-blue tweet about
                taking Tesla private violated disclosure requirements.

                Now, experts say Tesla has reached an intersection where
                the board must decide the direction of its leadership.
                Among their suggestions: Remove Musk as CEO,
                permanently or via a temporary leave of absence, or
                appoint a No. 2 executive who could act as a steadying
                hand.215

         132. Comments by the Barclays analysts about the need for a COO are also related
to the questioning of the ability of Defendant Musk to lead the company:

                The NY Times interview gets to the question of a COO – an
                issue we pressed Mr. Musk on two years ago

                Need for a COO raised in Times article. We’ll leave it to others
                to debate the psychology of Mr. Musk revealed in the lengthy
                NY Times interview that appears to have sent the shares sharply
                down today … For us, an important point was the

214
      “Business Highlights,” Associated Press Newswires, August 17, 2018, 6:07 p.m. (emphasis
      added).
215
      “As Musk admits to job stress, Tesla’s board may have to act,” Associated Press Newswires,
      August 17, 2018, 6:08 p.m. (emphasis added).


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                acknowledgement that the company/board has, and may be
                searching for a COO…216

         133. J.P. Morgan stated that subsequent events led the analyst to believe that
funding was not secured for going private:

                We are reverting to valuing Tesla shares on the basis of
                fundamentals alone, which entails a $113 reduction in our
                price target back to the $195 level where it stood prior to
                our August 8 note in which we newly weighted 50% in our
                valuation analysis a go-private scenario for which funding
                was at that time said to have been secured to take the
                company private at $420 per share …In reference to
                statements on Twitter on August 7 by Tesla CEO Elon Musk
                that “funding has been secured”, we wrote in our August 8 note,
                “As surprising to us as these developments are, and as lacking
                as the statements are in any details regarding whom is expected
                to provide the required amount of financing and on what terms,
                they are nevertheless declarative statements from the CEO of a
                public company which we feel should be considered seriously.
                Either funding is secured or it is not secured, and Tesla’s CEO
                says funding is secured.” We also stated, “Our price target could
                move up or down based upon further developments affecting
                the likelihood the transaction will or will not go through.”

                Our interpretation of subsequent events leads us to believe
                that funding was not secured for a going private
                transaction, nor was there any formal proposal. On August
                13, Mr. Musk posted a statement to Tesla’s website in which he
                explained that the comment relative to funding being secured
                was based upon a July 31 meeting with the Saudi Arabian
                sovereign wealth fund in which its representative expressed
                support for funding a transaction to go private. However, it was
                also stated, “Following the August 7th announcement, I have
                continued to communicate with the Managing Director of the
                Saudi fund. He has expressed support for proceeding subject to
                financial and other due diligence and their internal review
                process for obtaining approvals. He has also asked for
                additional details on how the company would be taken private,
                including any required percentages and any regulatory
                requirements.” We had imagined following the surprise August
                7 announcement that another party (e.g., the Saudi fund) had
                already firmly decided (including having completed any

216
      Barclays, Potential for a COO: Good for the company, but won’t help the stock, August 17,
      2018, 2:08 p.m. (source for time stamp: Capital IQ, emphasis omitted).


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                 internal review process) to fund a going private transaction.
                 The revelation the Saudi fund is subsequently asking Tesla for
                 details of how the company would be taken private suggests to
                 us that any deal is potentially far from even being formally
                 proposed, which is different from our understanding on August
                 8 which was based on Mr. Musk’s statement on Twitter that,
                 “Only reason why this is not certain is that it’s contingent on a
                 shareholder vote”.217

          134. Chart 9 below shows the intraday trading activity (including price and
volume) of Tesla common stock on August 17, 2018.




217
      J.P. Morgan, Reverting to Valuing TSLA Shares on Fundamentals Alone Given Funding
      Appears to Not Have Been Secured; PT Back to $195, August 20, 2018, 6:15 a.m. (emphasis
      in original and added). I note that in an email dated August 17, 2018 at 8:59 a.m., the J.P.
      Morgan analyst, Ryan Brinkman, wrote “I’m thinking on Monday to perhaps remove the 50%
      “go private” weighting, taking price target back down to $195. Obviously a tough call.”
      Source: JPMS_00004543 (Exhibit 21 to Deposition of Ryan Brinkman, May 4, 2021
      (“Brinkman Dep.”). I note the time stamp in the email is 12:59 p.m. but Mr. Brinkman stated
      in deposition that the time stamp is four hours ahead so the correct time is 8:59 a.m. Brinkman
      Dep. 99:2 - 99:8. When asked what made the price target reduction a tough call, Mr. Brinkman
      stated “I think I was the first analyst to come out and say -- or one of the first, that these Tweets
      weren’t true and essentially it would be tantamount to say the CEO had lied or mislead investors
      which is, you know, something that’s impolitic and I think I handled it in the best way
      possible.” Brinkman Dep. 100:9 - 100:18.
      I also note the analyst stated, when asked about the NYT Article, “I don’t know if this is for
      sure the one, but it might have been the article where there was reference to board of directors
      not having known about the go-private Tweet, which certainly would have been impactful for
      my research and understanding of the situation.” Brinkman Dep. 93:7-93:13. Further, when
      asked about the following statement in the NY Times: “Board members blind-sided by the
      chief executive’s market-moving statement were angry they had not been briefed…”, Mr.
      Brinkman stated this was important because “…CEOs just don’t come out with announcements
      that the company is being taken private or acquired by another company or even acquiring
      another company without the board of directors being at least aware. So it -- it very much
      undermined the veracity of the August 7 Tweets.” Brinkman Dep. 95:15 - 96:23.


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                                         Chart 9




       135. As shown in Appendix 5, Tesla’s common stock price decreased 8.93%, from
a close of $335.45 per share on August 16, 2018 to a close of $305.50 per share on August
17, 2018 on volume of 19.0 million shares, which was 2.3 times the average volume during
the 120 trading days prior to the start of the Class Period. The abnormal return is negative
9.10%, which is statistically significant at the 1% level. The total abnormal price decrease
of $30.53 accounts for and thus eliminates the effects of all market-wide and industry-wide
factors that might influence the price of Tesla common stock.

       C. Post Class Period: August 27, 2018 (Impact Day) - Staying Public

       136. After the markets closed on Friday, August 24, 2018, Elon Musk announced
via tweet and blog post on the company’s website that Tesla would remain a public
company. The blog post stated:

             Given the feedback I’ve received, it’s apparent that most of
             Tesla’s existing shareholders believe we are better off as a



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                public company. … I’m incredibly excited to continue leading
                Tesla as a public company.218

         137. A statement was also released by the independent members of Tesla’s Board
which said:

                Elon communicated to the Board that after having done this
                work and considered all factors, he believes the better path is to
                no longer pursue a transaction for taking Tesla private. After
                discussing this, we dissolved the Special Committee. The
                Board and the entire company remain focused on ensuring
                Tesla’s operational success, and we fully support Elon as he
                continues to lead the company moving forward.219

         138. Analyst reaction included CFRA lowering their target price to $325 from
$380, reflecting the removal of the premium ($30 per share) for the potential going private
transaction and a valuation penalty ($25 per share) for reduced management credibility and
increased legal risk (SEC investigations and investor lawsuits) and distraction; RBC stating
the stock could return to trading on fundamentals but acknowledged it trades on sentiment;
Jefferies stating the stock could take a hit and the go-private episode had resulted in an
SEC investigation, lawsuits and more damage to the standing of management and board;
and Canaccord stating the recent distractions increased its risk profile, reduced outlook for
Model 3 production and decreased their price target for the stock to $316 from $336:

                We lower our 12-month target price to $325 from $380.
                This reflects the removal of the premium ($30 per share) we
                added for the then potential going private transaction and
                a valuation penalty ($25 per share) that we asses [sic] for
                reduced management creditability and increased legal risk
                (SEC investigations and investor lawsuits) and distraction.
                …

                We are not surprised that the bid failed, as there were many
                hurdles to leap. Also, as noted previously, we believe that there
                are more benefits for TSLA by staying public than by going


218
      “Staying Public,” Tesla Blog Post by Elon Musk, August 24, 2018, and Twitter post “Staying
      Public,” @Tesla, August 24, 2018, 11:15 p.m.
219
      “Statement from Independent Members of Tesla’s Board of Directors (Brad Buss, Robyn
      Denholm, Ira Ehrenpreis, Antonio Gracias, Linda Johnson Rice, and James Murdoch),”
      GlobeNewswire, August 24, 2018, 11:11 p.m.


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                private and adding additional debt to a leveraged balance
                sheet.220

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                Late Friday night, Tesla announced they would remain a public
                company. With a potential bid of $420/share out of the way,
                we’d like to say the stock will return to trading on
                fundamentals, but the truth is the stock trades on sentiment.
                Each side of this polarizing stock may feel emboldened by the
                “stay public” announcement. ... It has become clear to us that
                funding was not secured or there was not sufficient interest
                to take the company private at $420/share. And we think
                credibility has taken a hit. Recall, Elon initially stated
                “investor support is confirmed” but now shareholder
                sentiment is “please don’t do this.” The letter also indicated
                that institutional shareholders explained they have limits on
                private investments and there is no proven path for retail
                investors to remain in a private Tesla (which Elon wanted) - two
                ideas many sussed out quickly.

                This reinforces the idea that this whole episode was not
                planned or fully thought out and thus could get added to the
                list of debatable statements from the company over the
                years. Further, we see potential ramifications from an SEC
                investigation and shareholder lawsuits. Though these are
                admittedly unquantifiable, they would be an incremental call on
                cash for a company with a weak balance sheet.

                Given the events of the past few weeks, we believe even rational
                bulls would have to admit that Tesla and CEO Elon Musk
                have lost some of their luster. This is a non-trivial point
                considering that investor belief in Musk and wanting to
                invest with him, has to date, arguably been the largest
                driver of the stock. In our view, Musk’s involvement in the
                company is critical, but now more than ever a solid #2 -
                someone with strong operational background that can help
                Tesla move from ideas to execution - is crucial. We could also
                see more investor pressure for improved corporate
                governance.221



220
      CFRA, CFRA MAINTAINS HOLD OPINION ON SHARES OF TESLA MOTORS, INC.,
      August 27, 2018, 10:40 a.m. (source of time stamp: Capital IQ) (emphasis added).
221
      RBC Capital Markets, What a long strange trip it’s been, August 26, 2018, 4:00 p.m. (source
      of time stamp: Capital IQ) (emphasis added).


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                Shares may be hit today as a result of more erratic
                corporate behavior at Tesla, However, we wonder if the
                “going private” tweet has effectively put Tesla in play and may
                lead to additional discussions with other investors, mainly
                corporates, that value Tesla’s vision and can help bridge gaps
                in growth and execution skills. In any scenario, we think Tesla
                needs new capital to fund midterm growth or risk a de-rating of
                its valuation multiples. …

                The targeted $420 price was also, understandably, deemed too
                low by many bulls. The only tangible results so far from that
                episode seem to be an SEC investigation, lawsuits and more
                damage to the standing of management and board.222

                                                *****

                Tesla announced late Friday that the company would remain
                public; Elon Musk cited a consensus shared between both retail
                and institutional shareholders that remaining a public company
                would be in its best interest. Those institutional investors also
                indicated regulatory guidelines would prevent them from
                maintaining their full stakes.

                We believe the drama associated with this endeavor, which
                includes tweeting “funding secured,” is a great example of why
                even a great company may need different leaders during its life
                cycle.

                Our greatest concern is that while TSLA leads the market with
                brand and technology, a series of self-inflicted problems could
                open the door for new entrants with greater financial backing,
                such as the Toyota/Uber opportunity, for example.

                The recent distractions at TSLA increase our risk profile
                and affect our outlook for Model 3 production. With a
                modest trim of our Model 3 production estimates from 52K
                to 48K, our PT decreases to $316 from $336 previously.223



222
      Jefferies, Is Tesla still in play?, August 27, 2018, 4:45 a.m. (source of time stamp: Capital IQ)
      (emphasis added).
223
      Canaccord Genuity, Going private off the table; trimming Model 3 expectations for Q3; HOLD,
      PT to $316, August 28, 2018, 5:04 a.m. (source of time stamp: Capital IQ) (emphasis added).


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          139. As shown in Appendix 5, Tesla’s common stock price decreased 1.10%, from
a close of $322.82 per share on August 24, 2018 to a close of $319.27 per share on August
27, 2018 on volume of 13.1 million shares, which was 1.6 times the average volume during
the 120 trading days prior to the start of the Class Period. The abnormal return is negative
2.64%, which is not statistically significant at the 5% level.224

          D. Post Class Period: September 28, 2018 and October 1, 2018 (Impact Days)
             - SEC Settlements

          140. According to the Complaint:

                On September 27, 2018, the SEC filed a complaint against
                Musk alleging violations of Section 10(b) of the Securities
                Exchange Act of 1934 and Rule 10b-5. Two days later, on
                September 29, 2018, the SEC filed a complaint against Tesla
                alleging violations of Rule 13a-15 under the Securities
                Exchange Act of 1934. Both Musk and Tesla later consented
                to judgments being entered against them. The judgments
                ordered Musk to resign as Tesla’s Chairman, ordered Tesla to
                appoint additional independent directors, and required Tesla
                and Musk to each pay a $20 million penalty ($40 million total).
                The United States District Court for the Southern District of
                New York approved the settlements and the accompanying
                judgments and consents on October 16, 2018.225

          141. The SEC complaint against Musk was filed after the markets closed on
Thursday September 27, 2018226 and the SEC complaint against Tesla, as well as the Musk
and Tesla settlements, were filed on Saturday, September 29, 2018.227




224
      The same regression specification has been applied to the period following the end of the Class
      Period as was employed for the dates during the Class Period. See Appendix E to Class
      Certification Report for description of the market model.
225
      Complaint, ¶116.
226
      See, for example, “Elon Musk Sued by the SEC for Securities Fraud,” Dow Jones Institutional
      News, September 27, 2018, 4:20 p.m.
227
      See, for example, “Elon Musk Forced To Step Down As Tesla Chairman To Settle SEC Fraud
      Charges – MarketWatch,” Dow Jones Institutional News, September 29, 2018, 5:47 p.m. and
      “Elon Musk Settles SEC Fraud Charges; Tesla Charged With and Resolves Securities Law
      Charge,” Securities and Exchange Commission Documents, September 29, 2018.


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         142. After the SEC complaint filed against Musk on September 27, 2018, analyst
commentary was negative especially because the SEC was pursuing barring Elon Musk
from acting as an officer or director of any public companies in the future:

                After market close, the SEC filed a complaint against Elon
                Musk, alleging he committed securities fraud by knowingly
                Tweeting false and misleading statements regarding taking
                Tesla private and whether funding was secured, among other
                complaints. Tesla shares have dropped over 10% in after-hours
                trading.

                We believe this will raise the cost of capital to fund the two
                upcoming tranches of debt, which include $230M in November
                and $920M in March 2019. This will also likely pressure the
                shares with the ongoing lawsuit, due to many institutional
                investors limiting the amount of shares they hold with an active
                SEC lawsuit.

                Beyond suing for any ill-gotten gains and civil penalties
                surrounding the Securities and Exchange Act, the SEC is
                pursuing barring Elon Musk from acting as an officer or
                director of any public companies in the future.

                While we agree Musk’s talent could likely be used in a different
                capacity than Chairman and CEO, we also believe that a
                complete removal from the company poses a risk to the
                shares.228

                                              *****

                The SEC filed a civil action against Elon Musk alleging he
                made “false and misleading statements” when tweeting about
                taking Tesla private, causing “significant confusion and
                disruption in the market for Tesla stock and resulting harm to
                investors.” The SEC seeks to disgorge any ill-gotten gains, civil
                fines, and an order prohibiting Mr. Musk from acting as an
                officer or director of a public company. Without a doubt, we
                see that last demand as the one mattering most.229



228
      Canaccord Genuity, SEC files lawsuit against Musk, September 27, 2018, 6:33 p.m (source for
      time stamp: Capital IQ).
229
      Guggenheim Securities, TSLA – Taking the Bad with the Good, September 27, 2018, 11:10
      p.m. (source for time stamp: Capital IQ, emphasis omitted).


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                                               *****

                SEC lawsuit against CEO Elon Musk adds further uncertainty
                to Tesla story.230

                                               *****

                We reiterate our Underweight rating on Tesla shares, including
                after the US Securities and Exchange Commission (SEC) filed
                a complaint Thursday with the US District Court for the
                Southern District of New York alleging that Tesla CEO Elon
                Musk violated federal securities law by making a series of false
                and misleading statements on August 7 relative to the prospect
                of taking the company private.231

                                               *****

                The SEC civil action may lead to Musk’s exit from Tesla (either
                permanently or temporarily) and the Musk premium in the
                shares dissipating. … TSLA share have ~$130 of Musk
                premium for future success that might dissipate.232

          143. After the news on Saturday, September 29, 2018 that Musk and Tesla had
settled with the SEC, analyst commentary was positive though noting risks remain
elevated:

                We view Elon Musk and Tesla’s settlement with the SEC as a
                positive change, as it should improve corporate governance and
                allow investor focus squarely on the operations.233

                                               *****

                Elon Musk settled with the SEC after last week’s claims that his
                go-private tweets misled investors, agreeing to step down as

230
      RBC Capital Markets, Lawsuit Secured, September 27, 2018, 6:27 p.m. (source for time stamp:
      Capital IQ).
231
      J.P. Morgan, Reiterate Underweight as SEC Seeks CEO Removal After Alleged Securities Law
      Violation, Adding to Pre-Existing Pressures, September 28, 2018, 6:00 a.m. (source for time
      stamp: Capital IQ).
232
      Barclays, Lawsuit Secured, September 28, 2018., 12:59 a.m. (emphasis omitted, source for time
      stamp: Capital IQ).
233
      Canaccord Genuity, SEC settlement should be a positive for shares; maintain HOLD,
      September 30, 2018, 11:06 p.m. (source for time stamp: Capital IQ).


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                chairman for 3 years and add 2 new independent directors, with
                him and Tesla each paying a $20mil fine and Tesla establishing
                new oversight of his tweets, but Musk importantly remaining
                CEO.234

                                             *****

                Given the circumstances, we view Elon Musk’s and Tesla's
                settlement with the SEC as a positive outcome.235

                                             *****

                The Securities and Exchange Commission (SEC) on Saturday
                announced a settlement of the securities fraud charges it had
                brought against Tesla CEO Elon Musk only last Thursday …
                and announced additional charges against Tesla itself that were
                simultaneously also settled. …

                We regard the settlement with Mr. Musk as a positive relative
                to the situation Tesla found itself in after the SEC charges were
                initially brought last Thursday, as it reduces uncertainty as to
                who will lead Tesla and avoids a distracting and potentially
                lengthy trial. …

                We estimate Tesla’s legal risks remain elevated, given the
                plethora of now potentially bolstered shareholder class actions
                and any potential Department of Justice investigation.236

                                             *****

                Back to the bull/bear debate with bulls likely to declare near-
                term victory: With the unexpected SEC/Tesla/Musk settlement
                announced on Saturday, we are back to the “red pill vs. blue pill
                debate” over the underlining fundamentals for the stock. We
                on the red pill side will continue to focus on what we see the
                longer-term over-valuation of the shares, while those on the
                blue pill side will probably see the settlement as vindication,

234
      Guggenheim Securities, TSLA – Staying CEO and Now Back to Business, October 1, 2018,
      12:00 a.m. (source for time stamp: Capital IQ).
235
      RBC Capital Markets, Settlement Secured, September 30, 2018, 2:52 p.m. (source for time
      stamp: Capital IQ).
236
      J.P. Morgan, Tesla and Tesla CEO Elon Musk Settle Charges with SEC, Reducing Uncertainty,
      Although Legal Risk Remains Elevated – ALERT, October 1, 2018, 12:16 a.m. (emphasis
      omitted, source for time stamp: Capital IQ).


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                esp. as the shares Monday should regain their Friday losses.
                With 90 days to comply with the settlement, Tesla is likely in
                our view to strike a typically bullish tone on the 3Q sales
                release, shareholder letter and conference call. As a result, we
                would not be surprised to see the stock rebound over the next
                few weeks. Nevertheless, we reiterate our UW and $210 price
                target.237

          144. As shown in Appendix 5, Tesla’s common stock price decreased 13.90%,
from a close of $307.52 per share on September 27, 2018 to a close of $264.77 per share
on September 28, 2018 on volume of 33.6 million shares, which was 4.1 times the average
volume during the 120 trading days prior to the start of the Class Period. The abnormal
return is negative 13.84%, which is statistically significant at the 1% level.

          145. As shown in Appendix 5, Tesla’s common stock price increased 17.35%,
from a close of $264.77 per share on Friday, September 28, 2018 to a close of $310.70 per
share on Monday, October 1, 2018 on volume of 21.8 million shares, which was 2.6 times
the average volume during the 120 trading days prior to the start of the Class Period. The
abnormal return is 17.53%, which is statistically significant at the 1% level.

VI.       LOSS CAUSATION ISOLATING THE IMPACT OF THE ALLEGATIONS BY
          ACCOUNTING FOR MARKET-WIDE AND INDUSTRY INFLUENCES, AS
          WELL AS POTENTIALLY CONFOUNDING INFORMATION RELEASED
          OVER THE CLASS PERIOD AND THE CONSTRUCTION OF THE
          ARTIFICIAL INFLATION RIBBON

          A. Statistical Analysis of the Price Movements Following the Alleged Partial
             Corrective Disclosure

          146. In this section, I analyze the impact, if any, of potentially confounding
information (i.e., the disclosure of unanticipated, material information that is unrelated to
the allegations) on the observed price movements during the Class Period. I begin by
repeating that, as of the close on August 17, 2018, the value of Tesla reflected all the
information that had been incorporated into Tesla’s market price during the Class Period.
Although I find that the price movements over the Class Period predominantly related to


237
      Barclays, Back to the previously scheduled red pill v blue pill debate, October 1, 2018, 12:18
      a.m. (emphasis omitted, source for time stamp: Capital IQ).


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the information allegedly misrepresented and omitted in the Musk Tweets, as well as the
foreseeable consequential effects caused by those concerns that surfaced after the Musk
Tweets (e.g., reduced management credibility and failures of corporate governance and
internal controls, as well as increased legal risk from SEC investigations and investor
lawsuits), I isolate any of the overall price decline during the Class Period that could be
attributable to factors unrelated to Plaintiff’s allegations in this matter.

         1.      Accounting for Market-Wide and Industry Influences on Tesla Stock
                 Price Movements

        147. Over the Class Period, there was a general decline in the market and industry
indexes. I therefore first remove these market-wide and industry influences on Tesla’s
stock price movements between the market close on August 7, 2018 when the stock price
was $379.57 per share and the market close on August 17, 2018 when the stock price was
$305.50 per share. I show in Table 5 below that after removing market-wide and industry
influences on Tesla’s stock price movements, the “adjusted” stock price of Tesla would
have been $312.90 per share. For this calculation I start with the closing price on August
7, 2018 of $379.57, and then apply the daily abnormal return on August 8, 2018 of negative
2.36% — i.e., the return to Tesla that eliminates market and industry effects for August 8,
2018 — and calculate the adjusted price for August 8, 2018 of $370.60. This adjusted
price removes the August 8, 2018 market-wide and industry influences on Tesla’s stock
price movements.

                                             Table 5
                                                         Abnormal Adjusted
                        Date       Price       Return      Return      Price
                       8/7/2018     $379.57                             $379.57
                       8/8/2018     $370.34      -2.43%      -2.36%     $370.60
                       8/9/2018     $352.45      -4.83%      -4.67%     $353.31
                      8/10/2018     $355.49       0.86%       2.11%     $360.75
                      8/13/2018     $356.41       0.26%       0.95%     $364.17
                      8/14/2018     $347.64      -2.46%      -3.32%     $352.10
                      8/15/2018     $338.69      -2.57%      -0.71%     $349.61
                      8/16/2018     $335.45      -0.96%      -1.54%     $344.24
                      8/17/2018     $305.50      -8.93%      -9.10%     $312.90
                     Adjusted Price after 8/7/2018 is prior Adjusted Price
                     multiplied by 1 + Abnormal Return.




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          148. I next use this adjusted price of $370.60 on August 8, 2018 and the abnormal
returns for each of the seven following days (i.e., August 9, 2018 to August 17, 2018), to
calculate an adjusted stock price for Tesla as of August 17, 2018 of $312.90 per share,
which accounts for and removes the market and industry influences on Tesla stock price
movements during the Corrective Interval or my event window. This derivation is also
shown in Table 5, where I demonstrate that of the total $74.07 per share decline in Tesla’s
stock price — from $379.57 per share on August 7, 2018 to $305.50 per share on August
17, 2018 — $7.40 per share (or $312.90 - $305.50, which is approximately 10% of the total
decline) is due to market-wide and industry influences.

           2.       Company-specific information unrelated to the alleged misstatements

          149. After removing the market-wide and industry influences from the Tesla stock
price movements over the Class Period, I next carefully examined the news sources and
the analyst reports, as well as the minute-by-minute results from my event study to
determine whether Tesla’s stock price might have been impacted by contemporaneous
disclosures of other Tesla-specific, unanticipated, material information that was unrelated
to the Musk Tweets or Consequential Harm. By examining the price movements in minute
detail, I am able to determine whether any of the observed price decline over the Corrective
Interval was caused by unrelated material, unanticipated information or factors. I note that
positive material, unanticipated news that would have caused stock price to rise would have
cushioned the observed price decline.238

          150. In Table 6 below, I identify news that is not associated with the Musk Tweets
and the Consequential Harm (i.e., potentially confounding information) and that might
have resulted in price impact. The date and time of the news recorded in Table 6 below
specifies when the articles first reported on the matter. I also present the abnormal returns
and statistical significance measures for the one-minute and fifteen-minute intervals




238
      I examine all potential confounding information, but note that that positive material,
      unanticipated news that would have caused stock price to rise would have cushioned the
      observed price decline over the Corrective Interval. Thus, if this was incorrectly accounted for
      it would means my calculation of artificial inflation is too low and damages are understated.


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following these disclosures.239 Based on my statistical analysis of the one-minute and
fifteen-minute intervals as well as my thorough analysis of the news, I did not identify any
materially, negative, new, unanticipated confounding information that should be
incorporated into my “adjusted” price of Tesla common stock. I explain my analysis of
the potentially confounding news in Table 6 below.




239
      I use 1-minute and 15-minute intervals in my potentially confounding news analysis and note
      that the abnormal returns for the 1-minute and 15-minute intervals following the Musk Tweets
      at 12:48 p.m. on August 7, 2018 are positive and statistically significant at the 1% level. The
      1-minute (close to open) and 15-minute (close to 9:45 a.m.) intervals following the interview
      in the NYT Article after the market close on August 16, 2018 are negative and statistically
      significant at the 5% and 1% level, respectively.


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                                                Table 6240
                              Disclosures with Potentially Confounding News
                                                                                                    Abnormal Return        p-value
                                                                                                       1-       15-   1-          15-
Impact                                                                                               minute minute minute       minute
 Date     Date     Time News Summary                                                                interval interval interval interval
 8/6/18 8/6/2018
 8/7/18 8/7/2018 12:17 PM Saudi Arabia's Public Investment Fund Builds $2 Bln Stake.                 0.01%    4.17%    95.43%    0.00%
 8/8/18 8/8/2018 1:00 AM Tesla's production of solar roof tiles has been delayed by assembly-       -2.65%   -0.81%     6.04%   60.63%
                          line problems.
 8/9/18 8/9/2018
8/10/18 8/10/2018 8:55 AM Return of an experienced engineer like Field suggests Apple could          1.51%   -0.81%    28.10%   60.63%
                          still be looking to produce its own autonomous vehicles.
8/13/18 8/10/2018 6:01 PM Tesla blog post: What You Need to Know about the Federal EV Tax            1.50%   -0.51%    28.46%   74.45%
                          Credit Phase Out explains phase out of tax credits for buyers after
                          Tesla sold 200,000 vehicles.

8/14/18 8/14/2018
8/15/18 8/15/2018
8/16/18 8/16/2018 4:20 AM Tesla backs off solar panel deal; latest sign of the uncertain outlook    -0.51%   -0.64%    71.47%   68.46%
                           for Tesla's solar business.
        8/16/2018 7:14 AM Tesla whistleblower (Tripp) tweets claims that the firm's car             -0.51%   -0.64%    71.47%   68.46%
                           batteries are faulty.
        8/16/2018 8:38 AM Musk’s plan to become profitable, is on track and an 8,000 a week         -0.51%   -0.64%    71.47%   68.46%
                           production rate is “well within reach,”. Evercore forecast Model 3
                           production of 123,000 vehicles during the second half of the year, but
                           the analysts said they may need to boost that by as much as 7
                           percent after the tours.
        8/16/2018 12:20 PM Tesla making profit of more than $3,000 on each sale of the current      -0.14%   -0.33%    11.68%   35.62%
                           low-price version of its Model 3 sedan, but would likely lose nearly
                           twice that amount if it sold the vehicle at its long-promised $35,000
                           price tag, according to a new estimate from UBS.

        8/16/2018 2:29 PM Ex-Tesla worker (Hansen): Gigafactory workers involved in drug             0.12%   0.28%     18.35%   42.93%
                          trafficking.
8/17/18 8/16/2018 4:03 PM Another whistleblower (Hansen) filed tip with the SEC. The tip            -3.13%   -5.66%    2.67%    0.04%
                          alleges that Tesla did not disclose to shareholders the theft of raw
                          materials and unauthorized surveillance and hacking of employee
                          devices and that the company did not tell federal authorities about
                          information it received from former employee Karl Hansen about
                          alleged drug trafficking at the company's Gigafactory in Nevada.
                          [Musk later responds calling whistleblower super nuts].
        8/16/2018 4:30 PM SEC Said to Probe Tesla on Model 3 Disclosures Last Yr: WSJ.              -3.13%   -5.66%    2.67%    0.04%
        8/16/2018 5:54 PM Whistleblower (Hansen) says Tesla's security team is staffed with         -3.13%   -5.66%    2.67%    0.04%
                          former members of a notorious group from Uber that allegedly spied
                          on rivals.




240
      The 1-minute and 15-minute intervals are based on the closing price of the 1-minute interval
      starting before the news and ending at the first and fifteenth 1-minute interval following the
      news. For news after the market close and prior to the next market open, the 1-minute and 15-
      minute abnormal returns and p-values are measured from prior close to the next market open
      for the 1-minute interval and to 9:45 a.m. for the 15-minute interval. Source for news:
      Appendix 14. For news released within a trading day, 1-minute and 15-minute abnormal
      returns are calculated based on minute-level abnormal returns, with t-statistics and p-values for
      the 15-minute abnormal returns based on 15 intervals. Abnormal returns for news released
      outside of market hours are calculated as follows: 1-minute returns are equal to the close-to-
      open returns as described in footnote 122 of the Class Certification Report; and 15-minute


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                a)       August 7, 2018 at 12:17 p.m.
          151. As discussed above, news of the Saudi Arabia PIF investment in Tesla241 had
a positive stock price impact, as shown by the fifteen-minute stock price reaction. The ten-
minute price and volume analysis in paragraph 76above shows that the price and volume
increase was most prevalent in the first 20 minutes after the news and had been
incorporated into the market price prior to and at least ten minutes before the Musk Tweets.
Therefore, I have appropriately accounted for this information, which was disclosed before
the start of the Class Period.

                b)       August 8, 2018 at 1:00 a.m.
          152. News that Tesla’s production of solar roof tiles had been delayed by
assembly-line problems242 might be considered negative news to Tesla investors. However,
a complete examination of the discussions following this disclosure and empirical evidence
suggests it was not unanticipated, material adverse information. Although the Tesla stock
opened down 2.8% at $369.09, it quickly rebounded to $382.55 by 10:10 a.m.,243 which
was above the prior day’s close. Moreover, the one-minute (close to open) and the fifteen-
minute stock price reaction (close to 9:45 a.m.) were not statistically significant at the 5%
level and the full day stock price reaction is also not statistically significant at the 5% level.
More critically, a full analysis shows that news articles before the market open noting the
pre-market stock price decline mentioned and focused on the going-private deal, while
there was no mention of the information disclosed about solar roof tiles. Indeed, news
sources attributed the full day stock decline of 2.4% to news that the SEC was probing the
Musk Tweets,244 while I was unable to find even a single news article or analyst

      returns are based on a similar methodology using returns calculated from the close to the 9:44-
      9:45 closing interval price (obtained from Bloomberg GIT data).
241
      “Saudi Arabia’s sovereign fund builds $2bn Tesla stake,” Financial Times, August 7, 2018,
      12:17 p.m.
242
      “INSIGHT-Inside Tesla’s troubled New York solar factory,” Reuters News, August 8, 2018,
      1:00 a.m.
243
      Based on the closing 1-minute interval price, see paragraph 87.
244
      “SEC Looks Into Musk’s Taking-Tesla-private Tweets: WSJ -- MarketWatch,” Dow Jones
      Institutional News, August 8, 2018, 4:06 p.m.; “US stocks end near flat; Tesla retreats,” Agence


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commentary attributing any of the price decline to the delay in solar roof tile production.
Nor did I find any analysts decreasing their estimates based on solar-related revenues.
Therefore, from an economic perspective I do not consider this disclosure to include
negative, unanticipated, material information; in other words, it is not confounding
information.

                c)       August 10, 2018 at 8:55 a.m.
          153. News that Apple could be looking to produce autonomous vehicles245 was
disclosed before the market open might be considered negative news to Tesla investors.
However, the price opened 0.4% higher than its prior day close, the one-minute (close to
open) and fifteen-minute (close to 9:45 a.m.) stock price reactions were not statistically
significant at the 5% level, and the full day stock price reaction was positive and not
statistically significant at the 5% level. Further, no news sources attributed any price
impact to the Apple news, nor did I find any analysts commenting on this news in my
search of analyst reports available to me. Therefore, from an economic perspective I do
not consider this disclosure to include negative, unanticipated, material information; in
other words, it is not confounding information.

                d)       August 10, 2018 at 6:01 p.m. (August 13 impact day)
          154. A Tesla blog post about the phase out of the EV tax credit after selling
200,000 vehicles246 was not unanticipated, material, new information because similar
information was reported in July 2018 after Tesla had reported the sale of 200,000
vehicles.247 Moreover, the one-minute (close to open) and fifteen-minute (close to 9:45
a.m.) stock price reactions were not statistically significant at the 5% level, and the full day


      France Presse, August 8, 2018, 4:22 p.m.; and “Dow Futures: Roku Soars Near Buy Point; This
      Breakout Stands Out Vs. Apple, Alphabet, Tesla, Paycom,” Investor’s Business Daily, August
      8, 2018.
245
      “Tesla’s former head of engineering Doug Field has left the company to work on Apple’s
      secretive ‘Project Titan’ self-driving car experiment,” Mail Online, August 10, 2018, 8:55 a.m.
246
      “What You Need to Know about the Federal EV Tax Credit Phase Out,” Musk Blog Post,
      August 10, 2018, 6:01 p.m.; and “What you need to know about the Federal EV Tax Credit
      phase out,” Musk Tweets, August 10, 2018, 6:04 p.m.
247
      See for example: “Tesla delivers 200,000 cars, tax credit for future buyers to be lower,” Reuters
      News, July 12, 2018, 9:47 a.m.


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stock price reaction was positive and not statistically significant at the 5% level. Therefore,
from an economic perspective I do not consider this disclosure to include negative,
unanticipated, material information; in other words, it is not confounding information.

                 e)      August 16, 2018 before the opening of trade (at 4:20 a.m., 7:14
                         a.m. and 8:38 a.m.)
          155. Prior to the opening of trade in the stock market, news sources and analysts
discussed three issues, including: (a) Tesla’s solar panel business outlook;248 (b)
whistleblower claims of faulty batteries;249 and (c) an Evercore analyst report on Model 3
production.250 The one-minute (close to open) and fifteen-minute (close to 9:45 a.m.) stock
price reactions were not statistically significant at the 5% level, and the full day stock price
reaction was not statistically significant at the 5% level.

          156. The following is from the news article about the Evercore analyst who was
positive on Tesla’s production of Model 3 sedan and may need to increase their production
forecast by as much as 7 percent.251

                 It’s been a wild ride for Tesla Inc. recently, but production of
                 the Model 3 sedan -- a previous point of concern -- is going
                 swimmingly.

                 Output of the more mass-market vehicle, a key plank in Chief
                 Executive Officer Elon Musk’s plan to become profitable, is on
                 track and an 8,000 a week production rate is “well within
                 reach,” despite extra spending demands, Evercore ISI analysts
                 George Galliers and Arndt Ellinghorst wrote Thursday in a
248
      “Tesla backs off solar panel deal with Panasonic; The news is the latest sign of the uncertain
      outlook for Tesla’s solar business, which has taken a back seat to the electric car business,”
      MarketWatch, August 16, 2018, 4:20 a.m.
249
      “Tesla whistleblower tweets claims that the firm’s car batteries are faulty,” The Telegraph
      Online, August 16, 2018, 7:14 a.m.
250
      “Tesla Analyst Who Toured Plant Bets on 8,000-a-Week Model 3 Pace,” Bloomberg News,
      August 16, 2018, 8:38 a.m.
251
      I note that this news is unrelated to the alleged wrongdoing and possibly caused some increase
      in Tesla’s stock price. The news is before the market open on August 16, 2018 and Tesla’s
      stock price increase at the open is $1.22 (open price of $339.91 minus prior close price of
      $338.69) or 0.4%; the close-to-open abnormal return is negative 0.51%, which is not significant
      at the 5% level. I also note there are 8 negative and 4 positive statistically significant abnormal
      returns at the 5% significance level for 1-minute intervals just after open between 9:30 – 10:00
      a.m.


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                note. Their report came after a site visit at the company’s
                Fremont, California, plant this week.

                In more of a mixed report on the automaker, Bernstein
                analyst Toni Sacconaghi raised his target price to $325 from
                $265, saying the chances Tesla will go private are less than
                50 percent. …

                “We are incrementally positive on Tesla having just returned
                from a 48-hour trip to Tesla’s Fremont facility,” the analysts
                wrote, after completing three separate tours at the site. “Tesla
                seems well on the way to achieving a steady weekly production
                rate.”

                The analysts saw nothing that would suggest Tesla isn’t able to
                produce 5,000 Model 3 cars per week currently and increase
                that by 1,000 per week “very shortly.”

                Evercore forecast Model 3 production of 123,000 vehicles
                during the second half of the year, but the analysts said they
                may need to boost that by as much as 7 percent after the
                tours.

                Tesla shares rose 1.1 percent to $342.50 at 8:30 a.m. in New
                York before regular trading.252

         157. Therefore, from an economic perspective I do not consider this disclosure to
include negative, unanticipated, material information; in other words, it is not confounding
information.

                f)      August 16, 2018 at 12:20 p.m.
         158. A negative UBS analyst report on base Model 3 profitability was
disseminated and reported on by a news article during mid-day trading.253 The one-minute




252
      “Tesla Analyst Who Toured Plant Bets on 8,000-a-Week Model 3 Pace,” Bloomberg News,
      August 16, 2018, 8:38 a.m. (emphasis added).
253
      “Is a $35,000 Tesla Model 3 Envisioned by Musk Profitable? UBS Says No; Current claims of
      profitability are based on higher-price version of the sedan, the brokerage says,” The Wall
      Street Journal Online, August 16, 2018, 12:20 p.m.


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and fifteen-minute stock price reactions were not statistically significant at the 5% level,
and the full day stock price reaction was not statistically significant at the 5% level.

          159. The following is from the news article that reported a UBS analyst was
negative on the future profitability of Tesla’s base of Model 3 sedan and could have an
operating loss of approximately $6,000 per vehicle if it sold at its long-promised $35,000
price.254

                Tesla Inc. is making an operating profit of more than $3,000
                on each sale of the current low-price version of its Model 3
                sedan, but would likely lose nearly twice that amount if it
                sold the vehicle at its long-promised $35,000 price tag,
                according to a new estimate from UBS Securities LLC.

                The Model 3’s profitability is a critical issue for the electric-car
                maker, which began selling the vehicle a year ago as it sought
                to move from a luxury niche into the mass market, and end
                years of losses.

                The vehicle’s price currently ranges from $49,000 to about
                $80,000, well above the more-affordable target long envisioned
                by Chief Executive Elon Musk.

                At the low end of that range, Tesla’s operating profit is likely
                $3,420 a vehicle, according to the UBS estimate, which is based
                on analysis of a Model 3 vehicle the firm deconstructed in order
                to understand how it was made. That would help explain why
                Mr. Musk is forecasting a profit in the third quarter.

                The lack of a $35,000 base model in Tesla's lineup, as well as
                early demand for the more expensive versions, should set up the
                company for its best quarter of profitability from the vehicle
                ahead of less-costly versions down the road that will reduce the
                lineup’s margins, Colin Langan, who wrote the UBS report,
                said Thursday in an interview.




254
      I note that this news is unrelated to the alleged wrongdoing and possibly caused some decline
      in Tesla’s stock price. The first UBS news is at 12:20 p.m. on August 16, 2018 and the 1-
      minute and 15-minute abnormal returns are not statistically significant at the 5% level. I also
      note there are 2 negative and 1 positive statistically significant abnormal returns at the 5%
      significance level for 1-minute intervals after 12:20 p.m. through the market close this day.


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                “Q3 is Tesla’s best shot because of this pricing dynamic,” he
                said of profitability. “I’m very clear that I don’t think that’s
                sustainable.”

                A Tesla spokeswoman declined to comment on the report.

                Tesla’s finances are in a brighter spotlight now as Mr. Musk
                considers taking the auto maker private, in part to shed intense
                scrutiny of the company’s finances as it grows its business
                globally.

                Before Tesla began Model 3 production in July 2017 and
                revealed its pricing strategy, UBS estimated the Model 3 at
                $35,000 would lose about $2,300 a car, while a more expensive
                version at $42,000 would eke out $670 of profit.

                The teardown of the Model 3, however, resulted in a higher
                estimated cost of the vehicle’s batteries.

                Tesla has spent the past 12 months struggling to ramp up
                production to reach a rate that would give it enough vehicles to
                sell to generate cash. At the end of June, Tesla finally reached
                its long-delayed goal of making 5,000 Model 3s in a single
                week, a pace that if continued should help it be profitable this
                quarter and next, Mr. Musk has said.

                A $35,000 version will come later this year, Mr. Musk has
                promised. In May, on Twitter, he suggested Tesla first
                needed to ramp up production to help lower costs, saying
                shipping the $35,000 version then would cause the company
                “to lose money & die.”

                Tesla needs three to six months after being able to reach a
                build rate of 5,000 sedans a week before being able to sell
                the $35,000 version and “live,” he said.255




255
      “Is a $35,000 Tesla Model 3 Envisioned by Musk Profitable? UBS Says No; Current claims of
      profitability are based on higher-price version of the sedan, the brokerage says,” The Wall
      Street Journal Online, August 16, 2018, 12:20 p.m. (emphasis added).


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         160. A news article summarizing Tesla’s stock price move on August 16, 2018
mentioned the positive Evercore report, Bernstein raising its target price, and Tesla suing
Ontario (Canada) for canceling incentives for electric-vehicle purchases:

               Industrials outpaced the broader market’s advance, as Boeing,
               Caterpillar and Lockheed each climbed more than 2.5 percent.
               Tesla would have no problem bumping up Model 3 output to
               8,000 a week, according to Evercore ISI. …

               Tesla’s (TSLA -1%) production of the Model 3 sedan at 8,000
               a week is “well within reach,” according to Evercore ISI. After
               touring Tesla’s Fremont facility, the firm determined that the
               carmaker could produce 5,000 a week and increase that by
               1,000 per week “very shortly.”

               Tesla’s odds of successfully going private are less than 50
               percent, Bernstein said as it raised its price target on the
               carmaker to $325 from $265.

               Tesla sued Ontario for canceling incentives for electric-vehicle
               purchases.256

         161. Analyst commentary on August 15-16, 2018 included Evercore’s favorable
comments on the Model 3 production outlook, UBS’s unfavorable comments on the
profitability of a base Model 3 (that would be released in the future), and UBS’s comments
that laid out three possible paths for enforcement by the SEC investigating the Musk
Tweets:

               Model 3 on track, positive revisions to production forecasts
               may be required – We are incrementally positive on Tesla
               having just returned from a 48 hour trip to Tesla’s Freemont
               facility to see Model 3 production. Tesla seems well on the
               way to achieving a steady weekly production rate of 5 to 6k
               units per week. In addition, the capex required and
               constraints that need to be overcome to reach 7 to 8k units
               per week seem well within reach. While, we forecast H2
               Model 3 production of 123k units, following our trip, we
               believe our estimate could be 4 to 7% too low. …

               Focusing on the fundamentals and setting aside talk of
               privatization, we are incrementally positive on Tesla following

256
      “Tesla Model 3 Line Is Humming; Boeing Climbs: Industrials Wrap,” Bloomberg First Word,
      August 16, 2018, 4:49 p.m.


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                our visit. We have confidence in their production. We did not
                see anything to suggest that Model 3 cannot reach 6k units per
                week, and 7k to 8k with very little incremental Capex.
                HOWEVER, to materially move our numbers and our TP, we
                would need to positively revise our Model 3 RpU and gross
                margin assumptions, with the key questions being can Model 3
                RpUs hold through 2019 and can a 25% gross margin be
                realized. The company seems confident about both. For us,
                further analysis is required and we would like to see continued
                evidence of gross margin expansion in 2H. However, taking
                such projections into consideration would likely see mid-teen
                percentage positive gross profit revisions for 2019 and 2020. If
                we were to apply this to our blended TP methodology, it would
                result in a TP of closer to $380; materially higher than our $301
                and within 10% of Musk’s tweeted privatization price.257

                                             *****

                All-in, our base case estimate for a 75kWh battery at a $49,000
                price point would imply a 31% contribution margin, a 19%
                gross margin, and a 9% operating margin. … The teardown
                results imply this model would get only a 29% contribution
                margin, a 17% gross margin, and a 7% operating margin. With
                multiple factors including but not limited to volatile commodity
                prices and manufacturing efficiency influencing the per cell
                price, we realize that our estimates could be off from actual
                prices and with total cell cost equal to almost 1/3rd of the cost
                of the car the margins are ultimately very sensitive to cell
                pricing. With that, we highlight that based on a range of cell
                costs of $105-185kWh, the EBIT rate could be between 1.7%-
                14.0%. …

                Valuation: Reiterate Sell rating and $195 price target. We are
                maintaining our $195 DCF based price target. …

                The market should not ignore fundamental headwinds that
                persist with regards to TSLA’s Model 3 profitability, stationary
                storage, and solar. …




257
      Evercore ISI, Just got back from Tesla…, August 16, 2018, 6:44 a.m. (source of time stamp:
      Capital IQ) (emphasis added).


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                Our math suggests that a base $35k version has a gross
                margin of -3% and that a fully loaded performance version has
                a 42% GM.258

                                             *****

                We hosted a call with Ronald Kiima, former Assistant Chief
                Accountant at the US Securities & Exchange Commission
                (SEC), to discuss the ramifications of Elon Musk’s tweet about
                taking Tesla private. ...

                Mr. Kiima highlighted two issues with the tweet: 1) disclosing
                the info via twitter, & 2) disseminating speculative information.
                While the SEC has previously stated it is acceptable to
                disseminate info via social media, there is a potential conflict
                due to Musk’s reported blocking of short sellers on twitter (Reg
                FD says info must be universally available). Also, the use of
                the phrase “funding secured” presents a far greater potential
                liability, according to Mr. Kiima, as regulations forbid
                companies from speculating about a tender offer unless there is
                significant documentation to support any assertion. If Tesla is
                unable to produce legal documents showing a deal was actually
                in place, Mr. Kiima believes that the SEC could move forward
                with enforcement action.

                Mr. Kiima laid out three possible paths for enforcement: 1)
                Elon pays a monetary fine, 2) the SEC suspends Elon from
                participation in a public company, or 3) the DOJ pursues
                criminal charges. The SEC only has the power to bring civil
                charges, while the DOJ brings charges in the criminal arena.
                The severity of any potential punishment likely would come
                down to whether the tweet is determined to be merely gross
                negligence or if it crossed the line into market manipulation.
                Mr. Kiima noted that to prove market manipulation the SEC
                would need to demonstrate that the tweet was intended to
                manipulate the stock price (i.e., prove he tweeted to hurt the
                short sellers). Ultimately, the decision will come down to SEC
                Chairman Jay Clayton.259




258
      UBS Securities, Teardown Gives Us a View on Model 3 P&L, August 15, 2018, 4:56 p.m.
      (source of time stamp: Capital IQ) (emphasis added and omitted).
259
      UBS Securities, SEC Expert Recaps Tesla Twitter Drama, August 15, 2018, 6:46 p.m. (source
      of time stamp: Capital IQ) (emphasis added).


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         162. Therefore, from an economic perspective even if these disclosures did include
unanticipated, material information, they offset one another and therefore, as a package
would not be confounding information.

                g)      August 16, 2018 at 2:29 p.m.
         163. News sources reported claims of workers involved in drug trafficking.260 The
one-minute and fifteen-minute stock price reactions were not statistically significant at the
5% level, and the full day stock price reaction was not statistically significant at the 5%
level. Therefore, from an economic perspective I do not consider this disclosure to include
negative, unanticipated, material information; in other words, it is not confounding
information.

                h)      August 16, 2018 at 4:03 p.m., 4:30 p.m. and 5:54 p.m. (August 17
                        impact day)
         164. After the market trading closed for the day on August 16, 2018, news sources
reported whistleblower claims261,262 and the SEC probe of Model 3 production claims.263
However, the SEC probe was not unanticipated, material information because similar news
was reported in July 2018, 264 and news articles during and after trading overwhelmingly
attributed the stock price reaction on August 17, 2018 to the NYT Article.265

         165. The news article about the SEC probe stated:




260
      “14:29 EDT Ex-Tesla worker: Gigafactory workers involved in drug trafficking,”
      Theflyonthewall.com, August 16, 2018, 2:29 p.m.
261
      “Ex-Tesla employee alleges Elon Musk authorized spying on workers in bombshell SEC tip
      (TSLA),” Business Insider, August 16, 2018, 4:03 p.m.
262
      “A Tesla whistleblower says the electric car maker’s security team is staffed with former
      members of a notorious group from Uber that allegedly spied on rivals (TSLA),” Business
      Insider, August 16, 2018, 5:54 p.m.
263
      “Tesla Was Under Regulator Scrutiny Prior to Musk’s Tweet,” Dow Jones Institutional News,
      August 16, 2018, 4:30 p.m.
264
      “Tesla ‘whistleblower’ tells SEC company misled investors and put customers at risk,” CNN
      Wire, July 11, 2018, 5:19 p.m.
265
      For example: “Tesla’s stock falls sharply after Elon Musk’s tearful interview,” CNN Wire,
      August 17, 2018, 11:51 a.m. and “Tesla stock sinks after Musk gives tearful NYT interview,”
      Reuters News, August 17, 2018, 4:00 p.m.


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                SEC last year subpoenaed a parts supplier for Tesla as it looked
                at whether the auto maker misled investors about Model 3 car
                production problems, WSJ reports, citing unidentified person
                familiar with the matter.

                Probe of Tesla’s disclosures about Model 3 production
                preceded its latest demand for information related to CEO Elon
                Musk’s tweets. An SEC spokesman declined to comment;
                Tesla didn’t respond to request for comment: WSJ.266

         166. But the SEC probe and the whistleblower claims were not new information
on August 17, 2018 because similar information (i.e., the SEC had been gathering
information about Tesla’s public pronouncements regarding manufacturing goals and sales
targets) was reported earlier on before August 17, 2018, for example:

                A former Tesla employee who calls himself a whistleblower has
                filed a formal tip with the Securities and Exchange Commission
                that alleges Elon Musk’s electric car start-up misled investors
                and put its customers at risk.

                Martin Tripp — who has been sued by Tesla and accused by
                Musk of attempting to sabotage the company — claims Tesla
                installed faulty batteries into some vehicles and placed battery
                cells dangerously close together.

                Tripp also alleges Tesla has drastically overstated to investors
                how many Model 3 vehicles the company produces. Tesla
                allegedly inflated its statistics by as much as 44%.

                The tip was filed with the SEC on July 6, and a press release
                about its contents was made public by Tripp’s attorney, Stuart
                Meissner, on Wednesday.267

                                              *****




266
      “SEC Said to Probe Tesla on Model 3 Disclosures Last Yr: WSJ (1),” Bloomberg First Word,
      August 16, 2018, 6:56 p.m.
267
      “Tesla ‘whistleblower’ tells SEC company misled investors and put customers at risk,” CNN
      Wire, July 11, 2018, 5:19 p.m. (emphasis omitted). See also “The ex-Tesla employee Elon
      Musk called a ‘horrible human being’ just slapped the company with a countersuit alleging
      defamation,” Business Insider, July 31, 2018, 7:19 p.m. and “Internal documents reveal Tesla
      is blowing through an insane amount of raw material and cash to make Model 3s, and
      production is still a nightmare,” Business Insider, June 4, 2018, 3:42 p.m.


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                A fired Tesla employee who CEO Elon Musk has described as
                a disgruntled saboteur is being granted a meeting with the U.S.
                Securities and Exchange Commission, after filing a
                whistleblower complaint against his former employer.

                Martin Tripp made four separate allegations of corporate
                misconduct against Tesla in his complaint, notably that the
                company lied to investors by overstating its weekly Model 3
                production numbers by as much as 44 percent.268

                                              *****

                Bloomberg reports that the agency [SEC] was gathering
                information about statements Tesla has made regarding sales
                and manufacturing targets before its most recent inquiry.269

                                              *****

                The Securities and Exchange Commission already had been
                gathering general information about Tesla’s public
                pronouncements regarding manufacturing goals and sales
                targets, according to two people who asked not to be named
                because the review is private. Now the attorneys are also
                examining whether Musk’s tweet about having funding to buy
                out the company was meant to be factual, according to one of
                the people.270

         167. Therefore, this SEC probe news cannot be considered new information.

           3.      Summary Regarding Potential Confounding Information

         168. Over the nine-day Class Period, from an economic perspective there was no
confounding information in any of the sources that would be considered negative material,
new, and unanticipated. Therefore, no further adjustment of Tesla’s stock price movements
is required and $312.90 per share represents the adjusted price that reflects the revelation


268
      “Former Tesla employee the company called a saboteur is granted a meeting with SEC over
      whistleblower claims,” San Francisco Business Times Online, July 27, 2018 (emphasis
      omitted).
269
      “SEC reportedly ‘intensifying’ examination of Tesla after Elon Musk tweets about taking the
      company private (TSLA),” Business Insider, August 9, 2018, 2:42 p.m.
270
      “BUSINESS BEAT; Tesla’s stock surge fizzles; Tumble erases gains triggered by Musk’s
      tweet on privatizing electric car maker,” Los Angeles Times, August 10, 2018.


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of the truth in the Musk Tweets and Consequential Harm. I note, however, that should
there be any support that negative, unanticipated, material and confounding information
was released and did have a negative and material impact on Tesla’s stock price, I would
simply add the abnormal stock price impact caused by this confounding disclosure to
Tesla’s adjusted stock price of $312.90 per share. By increasing the adjusted price of Tesla
common stock, I would reliably remove not only all market-wide and industry influences,
but also all price impact of confounding information on Tesla’s share price movements.271

          169. In summary, I attribute $66.67272 of the $74.07 decline in Tesla’s stock price
to the Musk Tweets and Consequential Harm. Another way to describe this price decline
is that after adjusting for market-wide and industry influences as well as accounting for
any potential non-allegation related, confounding sources of information causing price
declines, I find that the decline in value of Tesla from all allegation-related information
released throughout the Class Period and the failure of the going private transaction is
$66.67 per share. This also means that the value of Tesla common stock that reflects the
removal of all the allegation-related information revealed throughout the Class Period is
$312.90, or $379.57 minus $66.67.

          B. Separating the Abnormal Price Decline of $66.67 into the Amount Directly
             Caused by the Misrepresentations in the Musk Tweets from the Amount
             Caused by Consequential Harm

          170. For the purposes of the empirical analysis to follow, I have separated the price
impacts (and related artificial inflation) directly caused by the Musk Tweets from the price
impacts (and related artificial inflation) caused by the Consequential Harm. I refer to these
effects as the direct effect and consequential effects, respectively.



271
      Thus, for example, assume it were found that my minute-by-minute event study and an
      economic examination of the information suggested a specific news release with information
      unrelated to the Musk Tweets or Consequential Harm was material and caused an abnormal
      price movement of negative $5.00. In this hypothetical situation, I would simply add this $5.00
      amount to Tesla’s adjusted stock price of $312.90, to calculate a new adjusted price of $317.90,
      which removes not only the market-wide and industry influences, but the price impact of the
      specific hypothetical confounding information as well.
272
      $66.67 is equal to $74.07 less $7.40 per share attributed to market-wide, industry and
      confounding influences. See paragraph 148.


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       171. I measure the direct effect of the alleged misrepresentations and/or omissions
in the Musk Tweets and calculate the artificial inflation directly caused by the Musk Tweets
during the Tweets Interval, as the abnormal increase in Tesla’s stock price after the
proposed going private transaction was initially disclosed on August 7, 2018 at 12:48 p.m.
As discussed above, I find that the information disclosed in the Musk Tweets caused an
abnormal price increase of $23.27 per share, when during the Tweets Interval the actual
share price increased from $356.85 at 12:48 p.m. to $379.57 at the close of trade on August
7, 2018. Thus, of the $66.67 per share abnormal price decline I calculated over the Class
Period (equal to $74.07 less market and industry effects of $7.40 and confounding Tesla-
related effects of zero dollars), I calculate $23.27 as being directly caused by the alleged
misrepresentations and/or omissions in the Musk Tweets and related disclosures.
Therefore, the remaining $43.40 per share (= $66.67 less $23.27) was caused by the
Consequential Harm. In other words, in my opinion as of the close of trade on August 7,
2018 the level of artificial inflation related to the direct effect was $23.27 per share and the
level of artificial inflation related to the consequential effects was $43.40.

       C. Construction of the Artificial Price Inflation Ribbons Attributed to the
          Musk Tweets and Consequential Harm

         1.      Introduction

       172. It is almost universally accepted in securities fraud litigation that an artificial
price inflation ribbon represents a daily, or in this matter possibly the minute-by-minute,
series of differences between the actual share price paid and the so-called “but-for” price.
The “but-for” price represents a state-of-world wherein the fraudulent misrepresentation or
omission did not occur, all the truthful information is known and thus the market price
reflects the incorporation of the truths about the alleged misrepresentations, omissions and
consequential harm. In this matter the “but-for” price would represent the price that would
reflect all the Musk Tweets-related information (both direct and consequential effects)
from the moment the Musk Tweets were issued until the information was revealed in the
final disclosures in the NYT Article that was published, disseminated, processed by market
participants and incorporated into the closing price on August 17, 2018. In other words,
had the truths about the alleged misrepresentations and/or omissions in the Musk Tweets
(and the resulting Consequential Harm) been revealed at any point earlier in the Class

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Period, the market price (at the time of the revelation) would have fallen to the “but-for”
price. Calculating this “but-for” price within the Class Period allows me to calculate the
level of artificial inflation — which measures the difference between actual transaction
prices and the “but-for” prices. The differences between the actual transaction prices and
the “but-for” prices throughout the Class Period represent the artificial inflation and
measure the harm to Class members that flowed from the misstatements in the Musk
Tweets and the depressing impact of the Consequential Harm that emerged due to the Musk
Tweets.

        173. Because of the nature of this matter where there are both direct and
consequential effects, I am able to separate the artificial inflation ribbon into two sub-
ribbons that separately measure the harm to investors from the direct and consequential
effects. Moreover, I am able to calculate daily “but-for” prices associated with the alleged
misrepresentations and/or omissions of the Musk Tweets (i.e., the direct effect), as well as
daily “but-for” prices associated with the combined effects (direct effect plus consequential
effects).

            2.   Calculation of the Artificial Inflation Related to the Direct and
                 Consequential Effects

        174. As described above the Musk Tweets and the ensuing market reaction to the
Consequential Harm related to the Musk Tweets over the Class Period caused a price
decline of $74.07, which, after removing market-wide, industry and confounding effects
resulted in an abnormal price decline of $66.67. Therefore, in this matter the measurement
of the artificial inflation is properly based on the adjusted closing price of Tesla common
stock on August 17, 2018, which was $312.90 (i.e., $379.57 closing price on August 7,
2018 minus $66.67). This adjusted stock price is the “but-for” price and represents the
value of Tesla common stock after accounting for the impact of the direct and
consequential effects on Tesla’s market stock price from the Musk Tweets. It is my opinion
that this $312.90 price is a reliable, reasonable and robust calculation of the “but-for” price
throughout the Class Period. In other words, in my opinion had all the information
concerning the misrepresentations and/or omissions in the Musk Tweets and the causally-
linked Consequential Harm been revealed at any time during the Class Period, market
participants who bought and sold Tesla common stock would have understood the

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economic materiality and the risks associated with investing in Tesla common stock and
the stock price would have reacted to this information in such a manner that the adverse
information would been reflected in a market price of $312.90; a price that incorporates
and adjusts for any market-wide, industry and confounding influences.

       175. Therefore, should Plaintiff’s allegations be found true by the fact finder, then
the daily artificial inflation related to Defendants’ alleged misrepresentations and/or
omissions would cover the period from August 7, 2018 at 12:48 p.m. through August 17,
2018 at 4:00 p.m.; and at any point in time the level of artificial inflation is equal to the
actual stock price at that time less the adjusted stock price of $312.90. This amount
represents the harm to the investors caused by the Musk Tweets in total. In Table 7 below,
I calculate the level of artificial inflation based on the closing price on each date in the
Class Period.

                                           Table 7
                                                   But-For Artificial
                            Date        Price       Price     Inflation
                            8/7/2018     $379.57     $312.90      $66.67
                            8/8/2018     $370.34     $312.90      $57.44
                            8/9/2018     $352.45     $312.90      $39.55
                           8/10/2018     $355.49     $312.90      $42.59
                           8/13/2018     $356.41     $312.90      $43.51
                           8/14/2018     $347.64     $312.90      $34.74
                           8/15/2018     $338.69     $312.90      $25.79
                           8/16/2018     $335.45     $312.90      $22.55
                           8/17/2018     $305.50          ---         ---

       176. Because of the nature of the alleged misstatements and the process in which
speculation about going private would affect a company’s stock price, in my opinion, it is
reasonable and appropriate to calculate artificial inflation throughout the Class Period
based on the relative difference between the actual stock price and the price that Tesla
common stock would have traded at had all the information in the Class Period related to
the allegations been released at the time the actual stock price is measured.




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         3.        Calculation of the Direct Artificial Inflation Utilizing the Direct Effect
                   Caused by the Musk Tweets

              a)       The Abnormal Price Response Caused by the Musk Tweets Is
                       Related to the Market’s Perception of the Probability the Going
                       Private Deal Is Completed
       177. As discussed above, for the purposes of my loss causation analysis I have
divided the Class Period into two intervals — the Tweets Interval and the Corrective
Interval. Using the price movements and the information disclosed within these intervals
I can reliably separate the level of artifical inflation caused directly from the Musk Tweets
from the level of artifical inflation caused by the Consequential Harm.

       178. The Class Period begins on August 7, 2018 at 12:48 p.m. with the start of the
Musk Tweets, which as discussed previously, caused Tesla’s stock price to rise throughout
the remainder of August 7, 2018. Based on an intraday event study analysis, the Musk
Tweets caused an increase in Tesla’s stock price by $23.27 per share after accounting for
market-wide, industry and confounding effects. Academic research demonstrates that once
a potential going private deal is announced, which is similar to a cash takeover
announcement, the price of a company’s common stock will no longer reflect the value of
that company as a public entity, but rather will reflect an expected value of the company
under what economists refer to as two states of the world — a combination of the value if
the going private deal is completed and the value if the going private deal is not completed.
In the case of Tesla and the Musk Tweets, this expected value reflects the market consensus
about three basic quantitative elements that emerged from the Musk Tweets — namely:

              a) the expected transaction price should the going private deal be completed
                 (PPrivate);

              b) the public entity value should the going private deal fail or not be
                 completed (PPublic); and

              c) the probability the going private transaction would be completed
                 Prob(DC). Note that the probability the going private deal would fail to
                 take place and Tesla remains a public company is Prob(ND) = 1 -




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                      Prob(DC) = probability of the going private transaction fails or is not
                      completed and Tesla remains a public entity.273

          179. This relationship and the expected value reflected in the market price (PM)
following the Musk Tweets can be written as the formula:274

                               PM = [PPrivate * Prob(DC)] + [PPublic * Prob(ND)]

          180. Therefore, when Defendant Musk tweeted a price of $420, the market price
(PM) went up as PPrivate would have increased to at least $420, while Prob(DC) would have
increased as well. I assume for the purposes of this analysis that immediately after the
Musk Tweets the market price before the initial tweet of $356.85 would be a reasonable
estimate of PPublic. Using all this information along with the market price of $379.57 (=PM)
following the Musk Tweets and the going private price of $420 (=PPrivate),275 I can calculate
a reasonable estimate of the probability of the going private transaction being completed
(Prob(DC)). Rearranging the formula above I get:276

                             Prob(DC) = [PM - PPublic] / [PPrivate - PPublic]




273
      I use “DC” to represent the going private deal being completed and “ND” to represent the going
      private deal not being completed.
274
      See J. Fred Weston, Kwang S. Chung and Susan E. Hoag, Mergers, Restructuring, and
      Corporate Control (Prentice-Hall, 1990), Chapter 22, p. 556; David F. Larcker and Thomas
      Lys, An Empirical Analysis of the Incentives to Engage in Costly Information Acquisition: The
      Case of Risk Arbitrage, 18 Jnl. of Fin. Econ. 111 (1987); and Keith C. Brown and Michael V.
      Raymond, Risk Arbitrage and the Prediction of Successful Corporate Takeovers, 15 Finl.
      Mgmt. 54 (1986) for discussion of this equation.
275
      Using the expected transaction or deal price of $420 is supported by: (a) the fact it was made
      by Defendant Musk, Tesla’s largest shareholder; and (b) at the time there was little discussion
      in the press or by analysts of higher prices.
276
      I derive this using the following sequence of equations:
      PM = [PPrivate * Prob(DC)] + [PPublic * Prob(ND)]
      PM = [PPrivate * Prob(DC)] + [PPublic * {1 - Prob(DC)}]
      PM = [PPrivate * Prob(DC)] - [PPublic * Prob(DC)] + PPublic
      PM - [PPublic] = [PPrivate * Prob(DC)] - [PPublic * Prob(DC)]
      PM - PPublic = Prob(DC) * [PPrivate - PPublic]


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          181. I can then calculate the measure of the probability of the going private
transaction being completed immediately after the Musk Tweets (i.e., at the close of trade
on August 7, 2018) as approximately 36%, or:

              Prob(DC) = [$379.57 – $356.85] / [$420.00 – $356.85] = 35.98%

          182. This probability of the deal being completed is consistent with the analyst
commentary that followed. For example, Macro Advisors on August 9, 2018 at 9:51 a.m.
wrote:

                As of yesterday [August 8, 2018], TSLA share prices were
                implying a market deal probability of 34.4% after Elon Musk’s
                publicly suggested a go-private deal for the electric car
                company.277

          183. Therefore, once Defendant Musk issued the series of tweets the market
increased its perception of a going private deal to approximately 36% as of August 7, 2018
at 4:00 p.m.

                b)      The Musk Tweets Caused a “Unusual” Event Wherein There
                        Were “Large Movements” in Implied Volatility of Tesla
                        Options, Movements that Reflect the Market’s Perception of the
                        Probability the Going Private Deal Will Be Completed
          184. Academic research demonstrates that:

                Generally speaking, any market for securities whose values are
                contingent on movements in stock prices will also contain
                information about investor beliefs.         Of course, this
                classification could include both the market for stock index
                options and futures and the market for individual equity
                options.278

          185. Therefore, the market’s perception of the probability of the going private deal
being completed would not only have been reflected in the increase in the price of Tesla



277
      Macro Risk Advisors, MRA- Does the options market believe Elon Musk?, August 9, 2018,
      9:51 a.m. See Appendix 6, for a chronology of news and analyst commentary to see that my
      calculation is consistent with the reaction of market participants.
278
      Giovanni Barone-Adesi, Keith C. Brown and W.V. Harlow, On the use of implied volatilities
      in the prediction of successful corporate takeovers, 7 Advances in Futures and Options Res.,
      147, 148 (1994) (“Barone-Adesi et al. 1994”).


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common stock, but also was reflected, as described by Professor Steven Heston, in his
finding that:

                 Following 12:48 p.m. on August 7, 2018, Tesla stock prices
                 rose, and long-term ATM-forward Tesla option straddle prices
                 fell sharply. Section 5.4 shows that on August 7, 2018,
                 following 12:48 p.m., long-term ATM-forward Tesla option
                 straddles lost value. This decline in price is substantial and rare.
                 This decline can be directly translated into a significant
                 decrease in implied volatility using standard Black-Scholes-
                 Merton formulas.279

          186.   In other words, as Professor Heston demonstrates, there were large and
unusual movements in options prices (and related implied volatility) following the Musk
Tweets. My loss causation analysis has demonstrated these movements were caused by
the Musk Tweets and reflected an increased probability of a going private deal being
completed.

          187. Academic research supports this conclusion about option prices and implied
volatility movements in response to announcements of potential corporate events, such as
a going private transaction. The research shows:

                 …that through the collective actions of the arbitrage
                 community it is possible to use the post announcement prices
                 from the stock and option markets to infer both the probability
                 of success and timing of a proposed acquisition. While the
                 former notion is well established in the literature, the latter is
                 not. … Specifically, we showed that traders effectively shorten
                 the life of options scheduled to expire beyond the resolution
                 date of the tender offer by setting their prices so as to reduce the
                 implied stock volatility below its normal level.280


279
      Heston Report, ¶12 (emphasis omitted).
280
      Barone-Adesi et al. 1994 at 150. Also, “This will be the case because efficient option prices
      must be set in such a way as to effectively shorten the maturity date of the longer-term
      instrument relative to that of the shorter-term. Further, we demonstrate a technique for
      exploiting the extent to which these implied volatilities decline as a means of predicting when
      the takeover will be completed. When coupled with earlier work, this latter point has the
      potential to be extremely important in that it will allow risk arbitrageurs to make more precise
      speculations against the market as to both the probability of success and the timing of a
      proposed takeover. This approach is fully consistent with the work of Cox and Rubinstein
      (1985), who suggested that different options on the same underlying stock may have different


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          188. In other words, the analysis presented by Professor Heston illustrates and
offers a measure of the market reaction to the Musk Tweets and how the options prices and
implied volatility reflected the probability of the deal being completed. In addition, “by
examining the information implicit in option prices for firms targeted for acquisition”281 (in
this case Tesla), I can infer the market’s perception of changes over the Class Period in the
probability the deal will be completed.282 Specifically, I examine the changes in implied
volatility of Tesla’s long-dated options. Indeed, this is consistent with academic research
that shows:

                 In applying this model to the market for corporate control,
                 Hutson and Kearney (1998) argued that for targets of successful
                 takeover bids, the dispersion in traders’ opinion as to the value
                 of the stock diminishes as the bid progresses. This explained
                 the observed reduction in trading volume and price
                 volatility…As the bid proceeds, the dispersion in traders’




      implied volatilities in response to different economic events.” Barone-Adesi et al. 2004 at 149
      (footnote omitted).
281
      Barone-Adesi et al. 1994, p. 149.
282
      See C. Alan Bester, Victor H. Martinez, and Ioanid,Roşu, Option Prices and the Probability of
      Success of Cash Mergers, forthcoming Jnl. of Finl. Econometrics (working paper, April 12,
      2021, available at https://papers.ssrn.com/sol3/papers.cfm?abstract_id=1364491): “However,
      when a firm undergoes a merger attempt, its options are known to become informative about
      the underlying stock (see, e.g., Cao, Chen, and Grin (2005)). A natural explanation is that
      during merger attempts, the merger’s probability of success can fluctuate, thus creating an
      additional source of uncertainty that can no longer be determined only by the underlying price,
      but that options can potentially capture. …
      The advantage of our approach is that the stochastic volatility is not exogenously specified but
      arises endogenously as a function of the success probability and other variables in the model.
      … our model also predicts that the return volatility of the target is stochastic and is proportional
      to the failure probability. This is illustrated in Figure 2, which shows that when the success
      probability is closer to 1, the target's implied volatility is closer to 0. …
      … we show that the return volatility of the target company in a cash merger, σB(t), is
      proportional to the failure probability, 1- q(t). …
      As predicted by our model, we find that the target firms of cash mergers should display a
      pronounced pattern in their implied volatility curve during the life of the deal. This volatility
      smile is more pronounced when the merger is more likely to being successful.


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                beliefs regarding value tends to collapse around the offer
                price.283

          189. This relationship between changes in volatility of Tesla’s long-dated options
and the possible going private deal also was discussed by analysts. For example, in a
Susquehanna report in its section on TSLA Options Takeaways:

                In Wednesday’s Derivatives Daily we looked at the shift in
                Tesla’s (TSLA: Not Covered) term structure, and particularly
                the significant decline in long-term volatility, following CEO
                Elon Musk’s tweet indicating that he was considering taking the
                company private. Given the widespread interest in the name,
                alongside this morning’s headlines indicating that the
                company’s board will meet with financial advisers next week,
                here we circle back to TSLA options to now see what they can
                tell us about the potential for moves in the stock price in the
                weeks ahead. As we noted on Wednesday, aside from the very
                short-term 30-Day options, implied volatility levels generally
                declined in response to the potential for a take-private outcome.
                That said, 90-Day volatility has since rebounded higher, and at
                ~52%, 90-Day implied volatility in the name is still higher than
                all but a handful of names within the Russell 1000.284

          190. Moreover, Professor Heston demonstrates that for longer-term options the
volatility over the Class Period immediately declines and then rises by August 17, 2018.285
To calculate how this probability of the deal being completed varied over the Class Period,
I am able to isolate the impact of the Musk Tweets by using the information described in
the Heston Report that measures the changes in the price of Standardized At-The-Money
(ATM)-Forward Straddles (for simplicity I will refer to these as the “ATM Straddles”) and



283
      Elaine Hutson, Takeover targets and the probability of bid success: Evidence from the
      Australian market, 9 Intl. Jnl. of Finl. Analysis, 45, 62 (2000).
      In his Report, Professor Heston states: “This drop in long-term option prices is consistent with
      the academic literature on merger and buyout announcements. … This exact pattern [found in
      the academic literature] is visible in the Tesla options data. Following 12:48 p.m., the longest
      maturing options lost the most value and recovered the slowest, while the very short-term
      options saw little effect.” Heston Report, ¶¶134-135 (emphasis omitted).
284
      Susquehanna International Group, PTEN Calls and TSLA Takeaways, August 10, 2018.
285
      This is evident in the Heston Report, Figure 14, and Professor Heston’s conclusion that: “It
      was not until August 17, 2018 that the relationship between short- and long-term straddles
      returned to the normal levels observed historically.” Heston Report, ¶139.


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the implied volatility based on the ATM Straddle prices. I utilize the price calculated and
the implied volatility derived from the ATM Straddles because as Professor Heston states:

                At-the-money-forward Tesla option prices, including straddles,
                provide a reasonable and reliable measurement of option prices
                relative to underlying stock prices. Section 3.2 explains that a
                “straddle” options position is when an investor buys both a put
                and a call with the same strike and maturity date
                simultaneously. Straddle holders bet that there will be a large
                change in the stock price, either upward or downward, but are
                neutral with respect to stock movements. Straddle prices
                therefore reflect “implied volatility,” or the market’s
                expectation of future stock price volatility.286

                A straddle is a widely applied option strategy and are
                commonly studied by practitioners and in academia. Notably,
                the original VIX index was calculated by inverting Black-
                Scholes-Merton formulas using prices of ATM-forward
                straddles.287

                ATM options also have the highest time value and vega.
                Therefore, as discussed in further detail in Section 6.1, by
                analyzing changes in prices of ATM-forward straddles, I can
                measure changes in implied volatility.288

                Because all the curves are taken from the same day, one before
                and one after 12:48 p.m., these shifts cannot be explained by
                changes in time to expiration or risk-free returns.

                Furthermore, because the curves all control for shifts in the
                underlying stock price by dividing the strike prices by the spot
                price, these shifts cannot be explained by changes in stock price.
                Therefore, pursuant to the BSM model, the only factor that is
                impacting the curves in the Figure 22 and Figure 23, is changes
                in implied volatility.289




286
      Heston Report, ¶11 (emphasis omitted).
287
      Heston Report, ¶72 (footnotes omitted).
288
      Heston Report, ¶83 (footnote omitted).
289
      Heston Report, ¶¶160-161.


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                 c)      Using the Implied Volatility Based on the ATM Straddle Price
                         for January 2020 Options to Measure the Changes in the Direct
                         Effect of and Direct Artificial Inflation Caused by the Musk
                         Tweets
          191. Using information on the implied volatility derived from ATM Straddles, I
am able to hold Tesla’s stock price constant and isolate the changing price impact directly
related to the Musk Tweets (as opposed to the consequential effects) via the changing long-
term option implied volatility. The changes incorporate and reflect the market’s perception
of the changes in the likelihood the going private deal would be completed following the
Musk Tweets.

          192. I have chosen for my analysis to use the longest term ATM Straddles —
namely the January 2020 ATM Straddle — as this is also the least affected by the change
in the time-to-maturity over the Class Period and has the largest variation.290

          193. By examining the price movements of this January 2020 ATM Straddle and
related movements of the implied volatilities over the Corrective Interval, I am able to
measure or proxy for the relative variation in the probability of deal completion throughout
the Class Period. Examining how the relative probability of deal completion varies
throughout the Corrective Interval and the Class Period allows me to infer how the price
impact of the Musk Tweets would have varied throughout the Class Period, holding all else
constant. In other words, it enables me to adjust the level of artificial inflation as the
multitude of tweets, corporate disclosures, articles and analysis sequentially and partially
corrects for the alleged misrepresentations and/or omissions in the Musk Tweets.

          194. In Table 8 below, I show Professor Heston’s calculation of implied volatility
based on the January 2020 ATM Straddle price at the end of the Class Period to be




290
      Professor Heston states: “Following 12:48 p.m. on August 7, 2018, Tesla stock prices rose, and
      long-term ATM-forward Tesla option straddle prices fell sharply. Section 5.4 shows that on
      August 7, 2018, following 12:48 p.m., long-term ATM-forward Tesla option straddles lost
      value. This decline in price is substantial and rare. This decline can be directly translated into
      a significant decrease in implied volatility using standard Black-Scholes-Merton formulas.”
      Heston Report, ¶12 (emphasis omitted).


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48.65%.291 After the Musk Tweets, the implied volatility declines to 32.57% by the close
of trade on August 7, 2018. This demonstrates, that as would be expected, when there is
the disclosure of a possible takeover, the fundamental properties of options pricing theory
suggests that all else constant, options prices will go down and the standardized price
distribution (and the implied volatility) will become narrower.292

          195. The difference between the implied volatility on August 7, 2018 and August
17, 2018 is 16.08%. In other words, as the probability of completion — Prob(DC) in the
equation above — falls over the Corrective Interval, while the implied volatility returns to
a higher level. Therefore, I use this difference of 16.08% between the initial implied
volatility (on August 7, 2018 at 4:00 p.m.) and the terminal implied volatility (on August
17, 2018 at 4:00 p.m.) to reflect the impact of the Musk Tweets and the initial level of
probability of the deal being completed; or (Prob(DC) of 35.98%). I also associate this
deviation of the initial implied volatility from the terminal implied volatility with the
$23.27 in artificial inflation caused by the Musk Tweets. In other words, the Musk Tweets
cause artificial inflation of $23.27, as well as a deviation in implied volatility of 16.08%
because they cause the probability of the deal being completed to rise to 35.98%.

          196. With this foundation, I can then use this benchmark deviation in implied
volatility between the initial and terminal levels relative to the deviations in implied
volatility throughout the Corrective Interval to calculate how the $23.27 of artificial
inflation caused by the Musk Tweets would have varied over the Class Period. I use this
benchmark deviation in implied volatility relative to the deviations in implied volatility
throughout the Corrective Interval to calculate how the probability of deal completion
perceived by the market and the direct effect of the Musk Tweets changed over the
Corrective Interval.




291
      Heston Report, Table 6. I note that this 48.65% is approximately equal to the implied volatility
      based on the ATM Straddle price for January 2020 options of 50.52% calculated as of 12:47
      p.m. on August 7, 2018.
292
      The going private transaction would reduce the price of the option (holding the stock price
      constant) by (a) decreasing the time value of the option and (b) decreasing the price volatility
      of the option.


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           197. To adjust the direct effect based on changes in implied volatility based on the
January 2020 ATM Straddle price, I use Professor Heston’s calculations day-by-day in
Table 8 below. These same calculations could be performed on a minute-by-minute basis
given minute-level calculations of the implied volatility.293 Using this information from
the Heston Report and measuring how the implied volatility varies over time, I calculate
how the artificial inflation directly related to the Musk Tweets changes throughout the
Class Period. In Table 8, the implied volatility based on the January 2020 ATM Straddle
price at the close of trade each day are shown in Row [1].

                                                          Table 8
                                        Aug. 7   Aug. 8    Aug. 9   Aug. 10   Aug. 13   Aug. 14   Aug. 15   Aug. 16   Aug. 17
[1] Heston Implied Volatility
    for January 2020 Options            32.57%   37.08%   42.02%    40.43%    38.54%    38.37%    39.96%    40.87%    48.65%
[2] Difference with Aug. 17, 2018       16.08%   11.57%    6.63%     8.22%    10.11%    10.28%     8.69%     7.78%     0.00%
[3] Amount of Difference [2] Relative
    to Aug. 7 Close Difference          100.0%   72.0%     41.2%     51.1%     62.9%     63.9%     54.0%     48.4%      0.0%
[4] Daily Direct Artificial Inflation
    Based on $23.27 on 8/7/2018         $23.27   $16.75     $9.59    $11.90    $14.64    $14.88    $12.57    $11.27     $0.00


           198. Table 8 also shows in Row [2] the difference between implied volatilities
relative to the implied volatility on August 17, 2018 at 4:00 p.m. The difference between
the terminal implied volatility of 48.65% and the initial implied volatility at 4:00 p.m. on
August 7, 2018 of 32.57% is 16.08%. There are two pieces of information that flow from
this. I also know that the artificial inflation on August 7, 2018 at 4:00 p.m. is equal to
100% of the $23.27 of artificial inflation caused directly by the Musk Tweets.

           199. Next, I look at the implied volatility on August 8, 2018 at 4:00 p.m. The
difference between the terminal implied volatility and the August 8, 2018 implied volatility
of 37.08% is lower than the initial level and is equal to 11.57%. In other words, after the
information disclosed on August 8, 2018, the implied volatility based on the January 2020
ATM Straddle price begins its upward journey to the terminal level of 48.65% observed at
the end of the Class Period. This is consistent with the probability of the deal going down
during the Corrective Interval. Indeed, as Appendix 6 shows, the differences in Table 8


293
      In his report, Professor Heston notes that: “Minute-by-minute BSM implied volatility can be
      calculated based on the CBOE DataShop Data using the same formulas.” Heston Report, ¶169,
      fn 103.


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Row [2] are consistent with the content in many of the news releases and analyst reports
over the period that discuss the probability of the Tesla going private transaction being
completed.

          200. Using these movements in the deviations of the implied volatilities relative to
the terminal value, I derive and present in Table 8 the movements in the daily levels of the
portion of artificial inflation related to the direct effect for each day of the Class Period.294
For this I note that in Table 8 Row [3] I calculate the deviations on each date of the
Corrective Interval relative to the terminal implied volatility as a percent of that same
deviation on August 7, 2018. This shows, for example, that on August 9, 2018 at 4:00
p.m., the level of inflation due to the direct effect is 41.2% of the level of the direct effect
observed on August 7, 2018 at 4:00 p.m. Given that 100% of the direct effect is equal to
$23.27, this means that on August 9, 2018 at 4:00 p.m. the artificial inflation due to the
direct effect is $9.59 or 41.2% of $23.27.

          201. Using all this information I am able to calculate the artificial inflation due to
the direct effect each day. In Table 8 Row [4], I show how artificial inflation related to the
direct effect caused by market participants’ reactions to the information disclosed in the
Musk Tweets varies over the Class Period. I show that as of August 7, 2018 at 4:00 p.m.,
the artificial inflation related to the direct effect begins at $23.27. Then, throughout the
Corrective Interval as the failure to offer meaningful, reliable and clear information steadily
contributed to and increased skepticism about the true (and concealed) status of the
proposed transaction and the veracity of the Musk Tweets and the market participants
reflected upon the possible deal, the inflation related to the direct effects (excluding the
consequential effects caused by the Consequential Harm) falls to $11.27 on August 16,
2018 — the date prior to the release of the NYT Article — before going to zero on August
17, 2018. This row also offers what economists commonly referred to as a “scalar.” A
scalar is used to gauge changes in artificial inflation over time based on a reasonable
metric.



294
      This calculation could similarly be employed on any time interval, such as minute-by-minute,
      using the implied volatility based on the January 2020 ATM Straddle price at each respective
      time interval.


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          202. The increase in the direct effect I observe and measure from August 10, 2018
to August 14 are attributable to the market’s evaluation of the potential going private
transaction disclosed in the Musk tweets which, as stated above, was subject to near-
continuous media coverage, reporting, and analysis during this period.295 The increase in
direct effect I observe and measure from August 10, 2018 to August 14, 2018 is attributable
to the market’s changing evaluation of the potential going private transaction and the
probability of completion as disclosed in the Musk Tweets which, as stated above, was
subject to near-continuous media coverage, reporting, and analysis during this period.
Should, however, the finder of fact or the Court determine that any changes in the level of
the direct effect that I measure using the implied volatilities calculated by Professor Heston,
were not proximately caused by the Musk Tweets (i.e., were caused by unrelated factors),
then I can account for these unrelated factors and adjust the level of direct effects.
Adjusting the level of the direct effects will also induce a change in the direct but-for price.

          203. From these artificial inflation measures, I then derive the “but-for” prices
based on the actual stock closing prices observed on each date; where the but-for prices
represent a “true” price level had the information in the Musk Tweets been revealed on that
day. In other words, these measures of the daily direct artificial inflation and daily direct
but-for prices exclude the consequential effects caused by the Consequential Harm.

          204. Based on the combined levels of daily artificial inflation calculated in the
previous section and the daily direct artificial inflation proximately caused by the Musk
Tweets, I calculate the daily consequential artificial inflation caused by the Consequential
Harm, as well as the daily direct “but-for” prices excluding the price impact of the
Consequential Harm. This is shown below in Table 9.




295
      If the finder of fact or the Court determines that any changes in the level of the direct effect that
      I measure using the implied volatilities calculated by Professor Heston were not proximately
      caused by the Musk Tweets, I could adjust the measured direct effect to exclude such changes.


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                                             Table 9296
                                                   Direct      Consequential
                           Artificial   Direct    Artificial     Artificial     Direct
                Date       Inflation    Scalar    Inflation      Inflation   But-For Price
              8/7/2018      $66.67       1.00      $23.27          $43.40         $356.30
              8/8/2018      $57.44       0.72      $16.75          $40.69         $353.59
              8/9/2018      $39.55       0.41       $9.59          $29.96         $342.86
              8/10/2018     $42.59       0.51      $11.90          $30.68         $343.59
              8/13/2018     $43.51       0.63      $14.64          $28.87         $341.77
              8/14/2018     $34.74       0.64      $14.88          $19.86         $332.76
              8/15/2018     $25.79       0.54      $12.57          $13.21         $326.12
              8/16/2018     $22.55       0.48      $11.27          $11.28         $324.18
              8/17/2018        ---       0.00         ---             ---          ---

          205. Finally, in Table 10 I show how the probability of the deal being completed
(PROB(DC)) varies over time, because it too is reflected in the deviations of the implied
volatilities relative to the terminal implied volatility. For Table 10 I apply the same scalar
I derived and presented in Table 9 to estimate the changes in the probability of deal
completion. Table 10 shows that as the deviations in implied volatility grow smaller (i.e.,
the level of implied volatility grows larger), the probability of deal completion falls as does
the artificial inflation and the “but-for” price related to the direct effect of the Musk
Tweets.297 I note that the scalars in Table 9 used to reflect the market perception and
concerns of the changing probability the deal would be completed are generally consistent
with news and analyst commentary at the time, as shown in Appendix 6, and in the
examples below in Table 10. I also show that much of the analyst commentary and news
corresponds to the relative movements in the probability of deal completion, lending
support for the procedure I undertake to calculate the movements of the direct effect
throughout the Corrective Interval.




296
      See Table 7 for Total Artificial Inflation; see Table 8 for Direct Artificial Inflation;
      Consequential Artificial Inflation equals Total Artificial Inflation minus Direct Artificial
      Inflation; Direct But-For Price equal Price minus Direct Artificial Inflation.
297
      The calculation of the direct effects on Tesla’s stock price from 12:48 p.m. through the close
      of trade can be calculated on a minute-by-minute basis similar to the calculation of the full
      $23.27 per share abnormal price change from 12:48 p.m. through the 4:00 p.m. close on August
      7, 2018 (i.e., by compounding the minute-level abnormal returns provided in Appendix 4 and
      multiplying that compounded return by the $356.85 price prior to 12:48 p.m.).


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                                       Table 10
              News and Analyst Commentary on Probably of Deal Completion298
             Probability
              of Deal                                Excerpts from News and Analyst Commentary That Reflect Probability of
      Date   Completion           Analysis           Deal Completion as Proxied for by Changes in Implied Volatility
                                                     "30%"; "Musk has '1 In 3 Chance' of Taking Tesla Private"; "there do seem to be
                           Immediate Response
 8/7/2018          36%                               avenues to do this sort of transaction"; "reasonable assertion… it's not
                           To Musk Tweets
                                                     inconceivable".
                                                     "less than 50%"; "it will never happen"; "Morgan Stanley's Adam Jonas questions
                           Skepticism plus SEC
 8/8/2018          26%                               the feasibility"; "doubts that the deal would ever take off"; "an apparent firm
                           Investigation Emerge
                                                     offer… Tesla is intent on pursuing this proposal".
                           Skepticism continues      "do bond traders think it's possible? No."; "extremely low probability"; "big
 8/9/2018          15%
                           plus SEC Subpoenas        challenge"; "looks close to a fiction".
                           Skepticism still remains, "Doubts have mounted"; "market is skeptical"; ""'Funding secured' should be
                           but confidence in deal interpreted as a strong verbal commitment… it could be less than this.";
 8/10/2018         18%     and veracity of Musk "unlikely… He probably can’t"; "far from certain that he pulls it off"; "questioning
                           Tweets increases due just how 'secured' the funding is"; "reason it is trading at a discount is because of
                           to Board comments         uncertainty as to whether the deal will come to fruition".
                           Defendant Musk blog
                           post increases          "these talks are almost certainly very real"; "a bit optimistic"; "The blog also
 8/13/2018         23%     confidence in deal and explains how the deal could be more likely than we previously thought"; "we think
                           veracity of Musk        it will end in the next year with Tesla going private".
                           Tweets
                           Impact from Musk
                           Tweets on Deal          "blog post on Monday 8/13/18 makes it clearer buyout is still in early stages";
 8/14/2018         23%     Advisers, and residual "theoretically possible”; "our impression of his words is that he thinks it can
                           impact from Musk Blog happen, and we agree".
                           Post
                           No meaningful update
 8/15/2018         19%     appears to lead to more "there still isn't any formal offer to take Tesla private".
                           skeptical press
                           No meaningful update
                                                   "less than 50 percent; "if a viable blueprint is made available to the public, it could
 8/16/2018         17%     appears to lead to more
                                                   push the stock higher".
                           skeptical press
                           NYT Article and
                           confidence in deal
 8/17/2018         0%      down to zero as Musk "Most investors feel they won't get it done".
                           tweets shown to be
                           false


              4.         The Flexibility of the Damages Model

             206. In my opinion, the predominant cause of Tesla’s stock price declines and
anomalous changes in implied volatility over the Class Period was the continual
incorporation of news (or lack thereof) correcting the alleged misrepresentations and/or
omissions of the Musk Tweets and the revelations about the Consequential Harm. This
information, as detailed earlier, included stock price reductions due to the release of

298
       Probability of deal completion equals 35.98% multiplied by the daily scalar in Table 9. Source
       of news and analyst commentary: Appendix 6.


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information that altered the market’s perception of the probability of the going private deal
would actually be completed, as well as the revelation of Consequential Harm. Tesla’s
stock price increased from $356.85 at the start of the Class Period to $379.57 at the close
on August 7, 2018 and further increased to peak at $382.55 at 10:10 a.m. on August 8,
2018,299 which is when the impact of the Consequential Harm began to affect the stock
price. Investors then suffered losses as the stock price declined further throughout the
Class Period and closed at $305.50 on August 17, 2018. Should the fact finder determine
that the initial false and misleading statements in the Musk Tweets were not fully reflected
in the market price until August 8, 2018 at 10:10 a.m., my damages model can account and
adjust for this change in timing of the end of the Tweets Interval and the beginning of the
Corrective Interval I have used in my calculations. The formulas all remain the same, only
the inputs would change. Moreover, should the fact finder determine the allegations and
the risks associated with the revelation of the truth about these issues occurred on dates
other than those dates or times discussed specifically in this Expert Damages Report, then
the artificial inflation measures can be easily modified to adjust for different times and
dates.

VII. CALCULATION OF PER SHARE DAMAGES

          207. The measure of per share damages traditionally applied in Rule 10b-5 cases
is often referred to as out-of-pocket damages, or the difference between the actual purchase
price of the security and what would have been the purchase price of the security had there
been no fraud or misrepresentation:

                [M]any courts have adopted the out-of-pocket rule as the
                traditional measure of damages in Rule 10b-5 cases. The out-
                of-pocket measure rule defines damages as “the difference
                between the contract price, or the price paid, and the real or
                actual value at the date of the sale, together with such outlays
                as are attributable to the defendant’s conduct. Or, in other
                words, the difference between the amount parted with and the
                value of the thing received.” Typically, courts measure this as
                the Plaintiffs’ purchase price less the true value at the time of


299
      Based on the closing 1-minute interval price, see paragraph 87.


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                the transaction. The true value is the price of the security in the
                absence of fraud or misrepresentation ….300

          208. As discussed above, the standard “out-of-pocket” method of calculating
damages per share for each member of the Class under Section 10(b) involves a measure
of the net minute-by-minute or daily inflation in the price of the security at the time of the
purchase and at the time of the sale. For an investor who bought a security on a given day
in the Class Period (but not to cover a short sale) when the measure of the artificial inflation
in the security price is $39.55 (for the example below, August 9, 2018) the “out-of-pocket”
damages per share can be calculated under Section 10(b):301

          (1) If the investor sells the security during the Class Period, the investor’s damages
              per share are equal to the inflation at purchase less the inflation at sale.302

          (2) If the investor sold a security during the 90-day lookback period and the Court
              and/or the finder of fact were to apply the PSLRA dollar limits, then the
              investor’s damages per share are equal to the artificial inflation on the purchase
              date (for example, $39.55 if purchased on August 9, 2018) capped by the
              difference between the price at which the security was purchased during the
              Class Period and the average closing price of the security from the last alleged
              partial corrective disclosure to the date of sale (i.e., investment loss based on
              the terminal price being the average closing price through the date of sale). The



300
      Nicholas I. Crew, Kevin L. Gold, and Marnie A. Moore, “Federal Securities Acts and Areas of
      Expert Analysis,” chapter 18 in Litigation Services Handbook: The Role of the Financial
      Expert, 4th edition, edited by Roman Weil, Peter Frank, Christian Hughes, and Michael J.
      Wagner, John Wiley & Sons (2007), p. 18.6 (internal citations omitted). I note that the out-of-
      pocket damages are, economically, the amount overpaid for the security. Thus, even if the
      price of the security appreciates over time leading to a market profit, the investor would have
      an out-of-pocket loss due to having purchased at an inflated price (i.e., the investor would have
      an even greater profit if they had purchased at a lower price).
301
      If the Court or finder of fact determines that only shares held across certain time periods are
      eligible to recover damages, my artificial inflation ribbon would still be applicable to such
      shares.
302
      If the Court and/or finder of fact determined that damages are limited to only the investment
      loss on such shares, this would be an additional calculation that would be based on the
      investor’s transaction prices.


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              statutory 90-day lookback price for each day starting on the end of the Class
              Period is shown Appendix 7.303

          (3) If the investor sold the security after the 90-day lookback period, then his or her
              damages per share are equal to the artificial inflation on the purchase date (for
              example, $39.55 if purchased on August 9, 2018) capped by the difference
              between the purchase price and the average price of the Tesla common stock
              during the 90-day lookback period (i.e., $300.73 as shown in Appendix 7). For
              example, if Investor A sold his security on November 16, 2018, after the 90-
              day lookback period, then Investor A’s damages per share cannot exceed the
              difference between the purchase price paid and $300.73, Tesla’s common stock
              average price during the 90-day lookback period.

          A. Damages for Short Sellers

          209. The Class definition also includes short sellers.304 A short seller borrows the
stock and sells it in the market. Later, the short seller will close the position by “covering”
the short position through a purchase of the stock. A short seller is damaged if the artificial
inflation when covering the position is greater than the artificial inflation when selling the
position.

          210. Here, it is my understanding that damages are recoverable only for those
investors who had shorted the stock prior to the start of the Class Period (i.e., when no
artificial inflation had yet been introduced into the stock) and then covered such positions
during the Class Period at artificially inflated prices. The measure of damages remains the
same for these Class members: the artificial inflation at the time of purchase (covering)
less the artificial inflation at the time of the short sale (here, zero).305




303
      I begin on August 17, 2018 because that is the date on which the information correcting the
      alleged wrongdoing is reflected in the market. The 90-day lookback period then runs through
      November 14, 2018.
304
      Class Certification Order, ¶4.
305
      These damages could also be limited by the PSLRA as determined by the Court and/or finder
      of fact.


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VIII. ARTIFICIAL INFLATION AND DEFLATION IN CALL AND PUT OPTIONS
      ON TESLA COMMON STOCK

          A. Introduction to Options on Tesla Common Stock

          211. As discussed in my Class Certification Report, a Tesla call option gives the
holder the right, but not the obligation, to purchase or call shares of Tesla common stock
at a specified strike or exercise price, on or before the specified expiration or maturity date.
A Tesla put option gives the holder the right, but not the obligation, to sell or put shares of
Tesla common stock at the specified exercise price on, or possibly before, the expiration
date. If exercised, these shares are purchased/called from or sold/put to sellers of call (put)
options, who are commonly referred to as the option writers.306

          212. Further, when a Tesla stock option is exercised, the call holder is contractually
obligated to buy the Tesla common stock at the specified strike price, while the put holder
is contractually obligated to sell the Tesla common stock at the specified strike price.
Because most stock options are closed out or offset (i.e., sold, if previously purchased or
purchased if previously sold), when stock options are exercised the calls (puts) are assigned
randomly to and possibly apportioned among several different call (put) writers.
Assignment on a written put means that the put writer is contractually obligated to purchase
the stock from the put holder at the specified strike price, while assignment on a written
call means that the call writer is contractually obligated to sell the stock to the call holder
at the specified strike price. In either case, when the option is assigned to the put (call)
writer, it is comparable to the put (call) writer purchasing (selling) Tesla common stock.

          213. As it relates to calculating artificial inflation (deflation) in call (put) prices, it
is important to consider that options are “derivative” securities, where:

                [S]tock options are considered “derivative” securities because
                they derive their value from the value of the underlying asset,
                which in the case of Tesla put and call options is the share price
                of Tesla common stock. In other words, at any given point in
                time, the ultimate price of a particular option is primarily
                dependent on the magnitude of the difference between the fixed
                strike price of that option and the variable price of Tesla’s

306
      Class Certification Report, ¶94.


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                common stock (in particular, the variability of the price over the
                life of the option). Therefore, holding all else constant, as the
                price of Tesla common stock changes, so too will the prices of
                the put and call options. When the price of Tesla common stock
                rises, all else constant, in an efficient market it is expected that
                the prices of call options will rise, while the prices of put
                options will fall. Conversely, when the price of Tesla common
                stock falls, all else constant, in an efficient market it is expected
                that the prices of call options will fall, while the prices of put
                options will rise.307

          B. Computing Artificial Inflation and Deflation in Tesla Call and Put Prices

          214. To calculate the artificial inflation (or deflation) in each of the options that
were traded at some point during the Class Period, I employ the Black-Scholes-Merton
options pricing model. Utilizing the Black-Scholes-Merton options pricing model, I am
able to calculate but-for option values and compare them to fitted options values from
observed options data that are adjusted (as discussed below) to account for items, such as
bid-ask spreads. The differences between these values equates to the levels of artificial
inflation (or deflation) in each of the options values.

          215. For the purposes of calculating the levels of artificial inflation (or deflation)
in each of the options I employ the “impact quantum” methodology presented in the Heston
Report.308 Based on Professor Heston’s procedure, I am able to derive the two inputs
required to calculate artificial inflation (deflation), namely: “[a] ‘re-valued’ curve, based
on observed stock prices and implied volatilities [defined by Professor Heston as the
“Actual BSM Option Curve”] [and] [a] ‘but-for’ curve based on counterfactual stock prices
and counterfactual implied volatilities [defined by Professor Heston as the “But-for BSM
Option Curve.”]”309




307
      Class Certification Report, ¶98 (footnote omitted).
308
      Heston Report, Section 6.
309
      Heston Report, ¶170.


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          216. These two curves provide a method of calculating a Re-Valued Fitted Option
Value and a But-for Fitted Option Value, with the difference (i.e., quantum) between the
two being the artificial inflation/deflation in the value of the option.310

          217. For the purposes of this report and my damages calculation, I have used the
daily Re-Valued Fitted Option Values based on the Black-Scholes-Merton model described
by Professor Heston.311 I use these Re-Valued Fitted Option Values as opposed to actual
transaction prices, because of the two benefits described by Professor Heston:

                It allows me to account for differences in outcomes investors
                experienced in the real world. Following 12:48 p.m. on August
                7, 2018, the bid-ask spread of traded Tesla option values grew,
                so some investors, either by happenstance or acumen, achieved
                better prices. By applying an impact quantum, I can equitably
                show the difference in the amount of option price paid or
                received as compared to a counterfactual price across investors
                regardless of their independent and individual circumstances. I
                discuss this more in detail in Section 6.3; and

                It allows me to difference out potential model fitting biases in
                the levels. Like all models, the BSM model and its extensions
                have biases in the levels. If I were to simply calculate a but-for
                price, the impact could vary substantially based on which model
                I used. We apply the BSM model with a robust methodology
                that measures changes in value, thereby differencing out
                potential biases in levels.312

          218. In other words, employing this technique to calculate values for the purposes
of calculating artificial inflation, eliminates (or minimizes) any profits or losses caused by
market micro-structure issues or other imperfections, and enables me to apply an apples-
to-apples calculation when I use in tandem the Re-Valued Fitted Option Value and But-for
Fitted Option Value to calculate the artificial inflation, as described below.



310
      For options that expire within the Class Period (expirations of August 10, 2018 and August 17,
      2018), on the day of expiration the Re-Valued Fitted Option Value is simply the intrinsic value
      of the option the But-for Fitted Option Value is simply the intrinsic value of the option given
      the But-for stock price.
311
      Heston Report, Section 4. This methodology could be applied at any time interval such as
      minute-by-minute.
312
      Heston Report, ¶164 (emphasis in original).


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          219. To calculate the individual Re-Valued Fitted Option Values each day, I use
the closing Tesla stock price and the implied volatility calculated by Professor Heston for
that option maturity for that day.

          220. To calculate the individual daily But-for Fitted Option Values I use as inputs
into the Black-Scholes option pricing model the but-for prices in Table 9. Professor
Heston:

                … established that option curves are typically stable and shift
                in parallel. In other words, changes in implied volatility affects
                option prices of all moneyness.313

          221. Therefore, given the stability of the implied volatility measures prior to the
start of the Musk Tweets, when calculating the But-for Fitted Option Price related directly
to the Musk Tweets (i.e., based on the daily direct artificial inflation in Tesla common
stock), I use as the but-for implied volatility the levels observed (and measured by
Professor Heston) immediately prior to the Class Period for the long-term options.314,315
Similarly, when calculating the But-for Fitted Option Price related to the Musk Tweets and
the Consequential Harm (i.e., based on the daily direct and consequential artificial inflation
in Tesla common stock), I use as the but-for implied volatility the levels observed (and
measured by Professor Heston) at the end of the Class Period for the long-term options.316
I use the end, because this volatility measure would incorporate all the direct and
consequential effects, discussed above.



313
      Heston Report, ¶154 (emphasis in original).
314
      Heston Report, Table 6. Again, the methodology and formulas in Professor Heston’s report
      can be applied at any time interval such as minute-by-minute.
315
      For options expiring prior to October 2018, I use the Actual volatility calculated by Professor
      Heston on the day because, as found by Professor Heston, “I define ‘long-term’ Tesla options
      as those expiring on or after October 19, 2018. Figure 14 depicts that there is notable decline
      in the long-term Tesla options ATM-forward straddle prices following 12:48 p.m.” Heston
      Report, ¶131 (footnotes omitted).
316
      For options expiring prior to October 2018, I use the Actual volatility calculated by Professor
      Heston on the day because, as found by Professor Heston, “I define ‘long-term’ Tesla options
      as those expiring on or after October 19, 2018. Figure 14 depicts that there is notable decline
      in the long-term Tesla options ATM-forward straddle prices following 12:48 p.m.” Heston
      Report, ¶131 (footnotes omitted).


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          222. Employing Professor Heston’s “impact quantum” approach is consistent with
the out-of-pocket damages methodology for options I presented in the Class Certification
Report, where I stated:

                 Because the options prices are derived primarily based on the
                 price level of Tesla common stock and the expected dispersion
                 of Tesla stock prices, the level of artificiality for the options’
                 prices will primarily depend on the levels of artificiality (or
                 daily inflation) in Tesla’s common stock price and any levels of
                 artificiality (or daily inflation/deflation) induced by the changes
                 in the expected dispersion of Tesla stock prices.317

                 …the daily level of artificiality in prices (either inflation or
                 deflation) can be established for each option on Tesla common
                 stock by taking into account the artificial inflation in Tesla
                 common stock prices and any artificial option price levels
                 induced by changes in the expected dispersion of Tesla stock
                 prices as a result of the alleged misrepresentations and
                 omissions.

                 Because option prices are derived from the share price of Tesla
                 common stock and other factors like the expected future
                 volatility of Tesla’s stock, if the price of Tesla common stock
                 is artificially inflated (and all other option inputs are constant),
                 then a call option would likewise be artificially inflated because
                 the call option would be worth less if the Tesla common stock
                 price was lower. If the price of the Tesla common stock is
                 artificially inflated (and all other option inputs are constant), a
                 put option would be artificially deflated because the put option
                 would be worth more if the Tesla common stock price was
                 lower. More generally, if the price of the Tesla common stock
                 is artificially distorted because the Musk Tweets impacted the
                 price level of Tesla common stock, as well as causing other
                 option pricing inputs to be distorted (e.g., implied volatility),
                 then the prices of call and put options would be artificially
                 distorted and the level of the artificial distortion (whether
                 inflation or deflation) would then be applied class-wide to



317
      Class Certification Report, ¶163. Some have argued that the U.S. Supreme Court decision in
      Dura Pharmaceuticals v. Broudo, 544 U.S. 336 (2005) caps the amount of per share damages
      to the dollar drop in the security price that was caused by the corrective disclosure of the alleged
      wrongdoing. See, e.g., David Tabak, Inflation and Damages in a Post-Dura World, NERA
      white paper, September 25, 2007.


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                purchases and sales of the specific options to determine out-of-
                pocket damages.318

         223. As discussed above, to calculate the daily level of artificial inflation and
deflation in each of the multitude of call and put option prices, I measure the difference
between the daily Re-Valued Fitted Option Value and the But-for Fitted Option Value
based on the Black-Scholes-Merton option pricing model and the inputs of the but-for price
of Tesla stock and the but-for implied volatility.319

         224. In the Black-Scholes-Merton option pricing model (adjusted for dividends),
the option price is based on the underlying stock price, the exercise price of the option, the
risk-free interest rate over the life of the option, the time to the expiration of the option, the
implied volatility of the underlying stock price, and the dividend yield of the underlying
stock.

         225. Specifically, the Black-Scholes-Merton model is as follows:320

               𝑐 = 𝑆𝑒 𝑁 𝑑 − 𝑋𝑒 𝑁 𝑑
               𝑎𝑛𝑑
               𝑝 = 𝑋𝑒 𝑁 −𝑑 − 𝑆𝑒 𝑁 −𝑑
               𝑤ℎ𝑒𝑟𝑒,
                    𝑙𝑛 𝑆⁄𝑋 + 𝑟 − 𝑞 + 𝜎 ⁄2 𝑇
               𝑑 =
                             𝜎√𝑇
               𝑎𝑛𝑑
               𝑑 = 𝑑 − 𝜎√𝑇

               and:      c = the price of a call option;
                         p = the price of a put option;
                         S = the current stock price underlying the option;
                         σ = the volatility of the underlying stock;

318
      Class Certification Report, ¶¶170-171 (footnotes omitted). As with the common stock, the
      PSLRA limit would also apply (see Class Certification Report, footnote 197).
319
      No adjustment for dividends is necessary because Tesla did not pay any dividends. Tesla SEC
      Form 10-K filed February 19, 2019, p. 39. (“We have never declared or paid cash dividends
      on our common stock. We currently do not anticipate paying any cash dividends in the
      foreseeable future.”).
320
      For example, see John C. Hull, Options, Futures, and Other Derivatives, 7th ed., Pearson
      Prentice Hall (2009), 291 (without dividends), 331 (with dividends); Fischer Black and Myron
      Scholes, The Pricing of Options and Corporate Liabilities, 81 Jnl. of Political Econ. 637
      (1973).


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                           X = the exercise price of the option;
                           T = the time to expiration of the option (in years);
                           q = the dividend yield on the underlying stock;
                           r = the risk-free interest rate; and
                           N denotes the cumulative probability density function for a
                           standardized normal distribution.

          226. To calculate damages, I first calculate the Re-Valued Fitted Option Value by
using the actual closing stock price and implied volatility calculated by Professor Heston.
I next calculate the But-for Fitted Option Value by inserting into the Black-Scholes-
Merton formula the but-for stock price (i.e., the stock price less the daily artificial inflation
in the stock price) and the but-for implied volatility.321,322 For each option, I subtract the
But-for Fitted Option Price from the Re-Valued Fitted Option Price to obtain the daily level
of artificial inflation (a positive result) or deflation (a negative result) in each option.323,324

          227. The daily results for a selection of options are provided in Appendix 8.325 I
note that it is possible that the model results could yield inflation or deflation higher than
the transaction price due to market micro-structure effects, but any such issue would be
mitigated should the finder of fact determine that the application of a cap on damages as
prescribed by the PSLRA as appropriate.326 This methodology could be applied on any



321
      The true option price is set equal to the intrinsic value (based on the true stock price) if the date
      is the expiration date of the option.
322
      I use the interest rates obtained from the Federal Reserve Board database. The following cut-
      offs were used in assigning interest rates to time to maturity: 1-60 days, 1-month rate; 61-136
      days, 3- month rate; 137-273 days, 6-month rate; and 274-547 days, 1-year rate; and 548-912
      days, 2-year rate. I converted the interest rates to continuous compounding using the formula:
      2 x ln(1+r/2), where r is the interest rate based on semiannual compounding.
323
      In general, the call options have artificial inflation, except for longer-term options where the
      effect of the Musk Tweets and the possibility of going private caused the option price to be
      deflated due to the reduction in implied volatility. In general, the put options have artificial
      deflation.
324
      I note that for certain out-of-the money options that had effectively no value, they would also
      not have any measurable artificial inflation or deflation.
325
      I separately provide an electronic file with the daily calculations for all options that traded over
      the Class Period.
326
      I separately provide an electronic file that provides the daily rolling average price of the options
      that traded over the Class Period for the 90-day period based on closing bid-ask spreads from
      CBOE data.


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time interval such as minute-by-minute by implementing the formulas in Professor
Heston’s report to calculate the appropriate implied volatility at the time interval.

          228. As discussed above, the standard “out-of-pocket” method of calculating
damages per contract for each member of the Class under Section 10(b) involves a measure
of the net minute-by-minute or daily inflation (or deflation) in the price of the option
contract at the time of the purchase and at the time of the sale.

IX.       ARTIFICIAL INFLATION AND DAMAGES CALCULATIONS FOR TESLA
          DEBT SECURITIES

          A. Introduction to Corporate Bonds and Bond Pricing Theory

           1.      Background Information on Corporate Bonds

          229. A corporate bond is a security issued in connection with a corporation’s
borrowing activity.       The borrower (the corporation) receives a lump sum payment
(generally denominated in $1,000 amounts per single bond) in return for a promise to make
periodic payments to the lender in the future. These periodic payments typically include
semiannual payments of interest to lenders (called coupon payments), as well as a lump
sum payment at maturity (called principal payment).327

          230. The corporate bond market is primarily an institutional market, meaning that
most of the participants are large institutions rather than retail clients. Furthermore, most
trading takes place over-the-counter, where the bond trader cannot observe quotes on a
centralized or electronic exchange.328 Instead, for quotes, the institution or customer
contacts one or more dealers or alternatively accesses through Bloomberg or other price
providers an electronic broadcast of a list of bonds and quotes.




327
      Corporate bonds frequently have covenants or terms whereby the bond may be put to the
      company by the investor or called by the company. They can also be convertible or secured
      by specified assets.
328
      Corporate bonds also trade on the NYSE, a centralized exchange where there are readily
      available price quotes. Estimates suggest that only a small proportion of all corporate bond
      trades are made on the NYSE.


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          231. The price of a bond is calculated as the present value of the expected future
cash flows it generates.329         In turn, the present-value calculation depends upon the
magnitude and timing of promised bond payments and the likelihood of repayment, as well
as the market interest rates for comparable securities.

          232. The value330 of a corporate bond is then determined by six components:

                a) The expected rate of return on similar maturity, riskless debt (i.e., U.S.
                   government bonds);

                b) The various provisions and restrictions associated with the particular bond
                   (e.g., call terms, convertibility features, seniority in the event of default,
                   maturity date, etc.);

                c) The default risk, or the probability that the company will be unable to
                   satisfy some or all of the indenture requirements given current and
                   expected future economic conditions;

                d) The likely recovery rate of the bonds in case of bankruptcy or liquidation
                   given current and expected future economic conditions;

                e) The tax considerations of the bond payments; and

                f) The likelihood of being able to sell the corporate bond in a liquid
                   market.331


329
      Corporate bonds are generally issued with a par value (which is also sometimes referred to as
      face value or original principal balance) of $1,000. Most corporate bonds (like the Tesla Debt
      Securities) have a par value, face value or original principal balance that is fixed and does not
      change over the life of the corporate bond. On the other hand, the market value of a bond will
      change based on the market price of the bond. Bond pricing convention is such that bonds are
      priced relative to $100 par value, face value or original principal balance. Therefore, a bond
      price of $96 represents a market value of a bond of $960 or 96% times $1,000.
330
      The value of a bond with a fixed coupon is expressed as a price relative to $100 par value. This
      price relative to par value is inversely related to its yield. This means that as the bond price
      falls, the yield rises.
331
      The first three components of the value of a corporate bond are discussed in detail in Robert C.
      Merton, On the Pricing of Corporate Debt: The Risk Structure of Interest Rates, 29 J. Fin., 449
      (1974). Other articles discuss tax effects, but that discussion is not important in this report, as
      taxes remained stable over the period. With respect to components (4) and (6) above and
      general discussions on factors affecting corporate bonds, see Edwin J. Elton, Martin J. Gruber,
      Deepak Agrawal, and Christopher Mann, Factors Affecting the Valuation of Corporate Bonds,
      28 J. Banking and Fin. 2747 (2004); Merton H. Miller, Debt and Taxes, 32 J. Fin. 261 (1977);
      Merton H. Miller and Myron S. Scholes, Dividends and Taxes, 6 J. Fin. Econ. 333 (1978);


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          233. Changes in these variables explain most of the variation in the prices and
yields of corporate bonds. However, daily changes in corporate bond prices and yields are
most often a function of changes in risk-free rates of interest, in risk premia for similar-risk
bonds, and in the company’s likelihood of default on its obligations.332

          234. Furthermore, because the bondholder receives only a return of principal (in
the case of a non-convertible bond or convertible bond333 trading well below its conversion
price), there is generally less upward movement in a bond price than downward movement.
In essence, unlike common stock, there can be an asymmetry of price movements – almost
like something bumping up against a ceiling.

          235. While U.S. Government obligations are typically viewed as free from default
risk, the same is not true for corporate bonds. Corporations can and do default on their
promises to make future payments, or otherwise abide by the bond indentures and
covenants. Bond default risk, also called credit risk, is measured by various rating
agencies, such as Moody’s Investors Service (“Moody’s”) and Standard and Poor’s
Corporation (“S&P”).334 Bonds are generally separated into two groups: investment-grade
bonds, with Standard and Poor’s ratings BBB- or higher, and speculative-grade bonds with
ratings BB+ or lower.335 Certain bonds are not rated.336


      Harry DeAngelo and Ronald W. Masulis, Leverage and Dividend Irrelevancy under Corporate
      and Personal Taxation, 35 J. Fin. 453 (1980).
332
      Typically, tax, recovery rate, and liquidity factors are stable on a day-to-day basis. Another
      variable that can affect the valuation of the bonds, the age of the bond, is deterministic (i.e.,
      known in advance). Thus, while all of these factors affect bond prices, they will have only a
      small effect day-to-day.
333
      It is my understanding that three of Tesla’s senior unsecured public debt securities discussed
      in Section IX.B below were convertible into Tesla common stock.
334
      See Appendix 9 for a description of the bond ratings provided by Moody’s and S&P.
335
      An investment-grade bond is assigned a rating in the top categories by commercial credit rating
      companies. S&P classifies investment-grade bonds as BBB- or higher, and Moody’s classifies
      investment-grade bonds as Baa or higher. See Zvi Bodie, Alex Kane, and Alan J. Marcus,
      Investments, Ch. 14, 468-469 (McGraw-Hill, Irwin, 10th ed. 2013).
336
      The rating agencies charge fees to issuing firms to rate corporate bonds, therefore some
      corporations choose not to have their corporate bond offerings rated. In fact, according to data
      in the Issue Information from the 2018 TRACE Fact Book, in 2018, 88.29% of the corporate
      convertible bond issues and 66.16% of the non-convertible corporate bond issues were not
      rated. https://www.finra.org/filing-reporting/trace/trace-fact-book.


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         236. Highly rated investment-grade bonds rarely default. In other words, firms
issuing investment-grade bonds have adequate cash flows to cover interest payment
obligations and sufficient assets to back up the principal payment obligations. The relative
safety of investment-grade bonds in effect separates the pricing of “straight” or non-
convertible investment-grade bonds from day-to-day stock-price fluctuations of the issuing
firm. Consequently, the price of a straight investment-grade bond is generally not very
sensitive to day-to-day stock-price fluctuations of the issuer, nor will it always react to
corporate announcements.

         237. Defaults on non-investment-grade, high-yield or speculative-grade bonds
(also called junk bonds) are more common. About half of all bonds that are rated CCC by
Standard and Poor’s Corporation have defaulted within ten years.337 Although high-yield
bonds, like investment-grade bonds, are also sensitive to changes in interest rates and credit
market conditions, in an efficient market stock-price behavior of the issuing firm and other
firm-specific announcements are expected to have a greater impact on the value of high-
yield bonds.

         238. This also demonstrates an important observation about corporate bonds.
Straight investment-grade bond prices are expected to be sensitive only to bond-pricing
factors, such as risk-free interest rates, the default premium and the term spread.
Speculative-grade bond prices are expected to be sensitive not only to these same bond-
pricing factors, but also to stock-market pricing factors, such as stock returns for the
underlying firm. This dichotomy of variables that explain variations in bond prices is
explained by Fama and French in their seminal article.338




337
      See Zvi Bodie, Alex Kane, and Alan J. Marcus, Investments, Ch. 14, 468-469 (McGraw-Hill,
      Irwin, 10th ed. 2013).
338
      Eugene F. Fama and Kenneth R. French, Common risk factors in the returns on stocks and
      bonds, 33 J. Fin. Econ. 3 (1993).


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          239. Moreover, it is common for corporate bonds to trade less frequently than
stocks because the outside influences and internal financial factors have less impact on
pricing.339

           2.       Bond and Stock Prices Often Move in Different Directions

          240. Simon Kwan has explained why a company’s stock and bond prices may
move in opposite directions in response to new company-specific information:

                 Depending on the type of firm-specific information
                 disseminated over time, individual stocks and bonds can be
                 either positively or negatively correlated. Information about the
                 mean value of the firm’s underlying assets affects the values of
                 the firm’s stocks and bonds in similar directions, resulting in a
                 negative [positive] relationship between individual stock
                 returns and changes in individual bond yield [price]. On the
                 other hand, if we view equity as similar to a call option on the
                 firm’s underlying assets … then information about the variance
                 of the firm’s asset return has opposite effects on the values of
                 the firm’s stocks and bonds, resulting in a positive [negative]
                 relationship between individual stock returns and bond yield
                 [price] changes. Hence, examining the correlation between
                 individual stocks and bonds can reveal the dominant type of
                 firm-specific information that drives these investments.340



339
      Sriketan Mahanti, Amrut Nashikkar, Marti Subrahmanyam, George Chacko and Gaurav
      Mallik, Latent Liquidity: A New Measure of Liquidity, with an Application to Corporate Bonds,
      88 J. Fin. Econ. 272 (2008) (“Latent Liquidity”); see also Michael L. Hartzmark, Cindy A.
      Schipani and H. Nejat Seyhun, Fraud on the Market: Analysis of the Efficiency of the
      Corporate Bond Market, 3 Colum. Bus. L. Rev., 654, 674-675 (2011).
340
      Simon H. Kwan, Firm-Specific Information and the Correlation between Individual Stocks and
      Bonds, 40 J. Fin. Econ. 63, 64 (1996) (citations omitted). In general, then, two factors affect
      the value of stocks and bonds.
      Dr. Kwan asks, “What is the dominant type of firm-specific information that drives individual
      stocks and bonds?” (Id. at 65.) This is an understanding of the domination of one type over
      the other on average and does not conclude that if one type dominates the other on average that
      it always dominates. In other words, these factors include the business prospects of the firm
      and the business risks of the firm. Economists use the mean value (or level) of the firm’s assets
      to describe the business prospects of the firm. If the business prospects improve or the value
      of the assets increase generally, that means that the value of both the firm’s stock and bonds
      will rise. Economists use the variance of the firm’s assets to describe the business risks. If the
      business risks or the variance of the assets increase this may mean an increase in the value of
      the firm’s common stock (as the upside is enhanced, while the downside of zero dollars has not


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          241. In addition to the widely accepted theory of the relationship between stock
and bond returns being a function of the nature of the information, “[t]he wealth
redistribution hypothesis, which stems from the conflict of interests between bondholders
and stockholders, differs from the information content hypothesis by stating that an
increase (decrease) in the equity market value is accompanied by a decrease (increase) in
the debt market value.           Indeed, wealth can be redistributed from bondholders to
stockholders by increasing the risk of the outstanding bonds. Higher bond risk can result
from increasing the variance of the firm’s possible future values.”341 Thus, “the wealth
redistribution hypothesis predicts offsetting changes in the values of individual classes of
securities and no change in firm value.”342 This means that stock and bond returns will be
inversely related.

          242. One of the more common examples of the wealth redistribution effect that is
important in examining the Notes, as well as why stock and bond returns may be inversely
related, is that:

                An increase in the corporation’s debt, keeping the total value of
                the corporation constant, will increase the probability of default
                and will thus reduce the market value of one of the
                corporation’s bonds. If the company changes its capital
                structure by issuing more bonds and using the proceeds to retire
                common stock, it will hurt the existing bond holders, and help


      changed), while this may mean a decrease in the value of the firm’s corporate bonds as the
      likelihood of bankruptcy rises.
      Even if changes in the business prospects (or level of the assets) are more often the dominant
      type of firm-specific information, this does not preclude the changes in a firm’s business risks
      (or the variance of assets) as being an important factor determining the directional relationship
      between a firm’s stock and bond returns. For example, the changes in the business prospects
      (or the level of assets) might dominate the changes in the business risks (or the variance of
      assets) in six of ten events, and thus be “dominant,” such that one observes the prices of stocks
      and bonds moving in the same direction on six of ten days. However, this does not preclude
      the business risks (or the variance of assets) from dominating the business prospects (or the
      level of assets) in the other four events and the prices of stocks and bonds moving in inverse
      relation on four of ten days.
341
      George Handjinicolaou and Avner Kalay, Wealth Redistributions or Changes in Firm Value:
      An Analysis of Returns to Bondholders and Stockholders around Dividend Announcements, 13
      J. Fin. Econ. 35, 38 (1984) (citations omitted) (“Wealth Redistributions”).
342
      Ronald W. Masulis, The Effects of Capital Structure Change on Security Prices: A Study of
      Exchange Offers, 8 J. Fin. Econ. 139, 143 (1980).


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                the existing stockholders. The bond price will fall, and the
                stock price will rise. In this sense, changes in the capital
                structure of a firm may affect the price of its common stock.
                The price changes will occur when the change in the capital
                structure becomes certain, not when the actual change takes
                place.343

          243. There does not need to be a corporate transaction or major event for these
differential effects to emerge, however, they will generally be important in announcements
of going private transactions as is the case for Tesla.

           3.      Differences in Price Movements between Notes with Different
                   Coupons and Maturities

          244. As discussed above, a bond’s price is determined by calculating the present
value of all future cash flows. When exogenous economic factors such as market interest
rates change, two primary factors will differentially influence a bond’s price. These are
the coupon rates and time to maturity. All else constant, bonds with higher coupon rates
tend to fluctuate less in price as they have less interest-rate risk, while bonds with lower
coupons have greater price sensitivity and interest-rate risk. All else constant, longer-term
bonds have greater risk, which results in greater price sensitivity than shorter-term bonds.

          B. Description of the Tesla Notes

          245. Tesla had four Notes outstanding during the Class Period. These included the
following: (i) 0.25% Convertible Senior Notes due in 2019 (the “2019 Note”); (ii) 1.25%
Convertible Senior Notes due in 2021 (the “2021 Note”); (iii) 2.375% Convertible Senior
Notes due in 2022 (the “2022 Note”); and (iv) 5.30% Senior Notes due in 2025 (the “2025
Note”).

           1.      The 2019 Note

          246. In March 2014, Tesla issued $800 million in principal amount of 0.25%
Convertible Senior Notes due in March 2019, and in April 2014, issued an additional $120




343
      Fischer Black and Myron Scholes, The Pricing of Options and Corporate Liabilities, 81 J.
      Political Econ. 637, 650 (1973) (citations omitted).


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million pursuant to the exercise in full of the overallotment option by the underwriters, for
a total of $920 million in principal amount.344

         247. Each $1,000 of principal of these notes was initially convertible into 2.7788
shares of Tesla common stock, which is equivalent to an initial conversion price of $359.87
per share, subject to adjustment upon the occurrence of specified events. Holders of these
notes could elect to convert on or after December 1, 2018.345 Further, holders of these notes
could convert, at their option, prior to December 1, 2018, only under the following
circumstances:

                (1) during a quarter in which the closing price of our common
                stock for at least 20 trading days (whether or not consecutive)
                during the last 30 consecutive trading days immediately
                preceding the quarter is greater than or equal to 130% of the
                conversion price; (2) during the five- business day period
                following any five- consecutive trading day period in which the
                trading price of these notes is less than 98% of the product of
                the closing price of our common stock for each day during such
                five- consecutive trading day period or (3) if we make specified
                distributions to holders of our common stock or if specified
                corporate transactions occur.346

         248. If a fundamental change occurred (as described in the prospectus supplement)
prior to the applicable maturity date, holders of these notes could require the Company to
repurchase all or a portion of their notes for cash at a repurchase price equal to 100% of
the principal amount plus any accrued and unpaid interest. In addition, if specific corporate
events occurred (as described in the prospectus supplement) prior to the applicable maturity
date, the Company would increase the conversion rate for a holder who elected to convert
their notes in connection with such an event in certain circumstances.347




344
      Tesla SEC Form 10-K filed February 19, 2019, pp. 110-111.
345
      Tesla SEC Form 10-K filed February 19, 2019, p. 111.
346
      Tesla SEC Form 10-K filed February 19, 2019, p. 111.
347
      Tesla SEC Form 10-K filed February 19, 2019, p. 111.


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         249. The amount outstanding during the Class Period equaled the amount issued.348
The 2019 Note was not redeemable by Tesla.349 During the Class Period, the 2019 Note
was rated “B-” by S&P.350

           2.      The 2021 Note

         250. In March 2014, Tesla issued $1.2 billion in principal amount of 1.25%
Convertible Senior Notes due in March 2021, and in April 2014, issued an additional $180
million pursuant to the exercise in full of the overallotment option by the underwriters, for
a total of $1.38 billion in principal amount.351

         251. Each $1,000 of principal of these notes was initially convertible into 2.7788
shares of Tesla common stock, which is equivalent to an initial conversion price of $359.87
per share, subject to adjustment upon the occurrence of specified events. Holders of these
notes could elect to convert on or after December 1, 2020.352 Holders of these notes could
convert, at their option, prior to December 1, 2020, only under the same three
circumstances as outlined above for the 2019 Note.353 As of December 31, 2018, none of
the conditions permitting the holders of 2021 Notes to early convert had been met.354

         252. If a fundamental change occurred (as described in the prospectus supplement)
prior to the applicable maturity date, holders of these notes could require the Company to
repurchase all or a portion of their notes for cash at a repurchase price equal to 100% of
the principal amount plus any accrued and unpaid interest. In addition, if specific corporate
events occurred (as described in the prospectus supplement) prior to the applicable maturity
date, the Company would increase the conversion rate for a holder who elected to convert
their notes in connection with such an event in certain circumstances.355

348
      Source: Bloomberg.
349
      Tesla Prospectus Supplement filed February 28, 2014, p. S-5.
350
      Source: Bloomberg.
351
      Tesla SEC Form 10-K filed February 19, 2019, pp. 110-111.
352
      Tesla SEC Form 10-K filed February 19, 2019, pp. 110-111.
353
      Tesla SEC Form 10-K filed February 19, 2019, p. 111.
354
      Tesla SEC Form 10-K filed February 19, 2019, p. 111.
355
      Tesla SEC Form 10-K filed February 19, 2019, p. 111.


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         253. The amount outstanding during the Class Period equaled the amount issued.356
The 2021 Note was not redeemable by Tesla.357 During the Class Period, the 2021 Note
was rated “B-” by S&P.358

           3.      The 2022 Note

         254. In March 2017, Tesla issued $977.5 million in aggregate principal amount,
including the over-allotment option by underwriters, of 2.375% Convertible Senior Notes
due in March 2022.359

         255. Each $1,000 of principal of the 2022 Notes is initially convertible into 3.0534
shares of Tesla common stock, which is equivalent to an initial conversion price of $327.50
per share, subject to adjustment upon the occurrence of specified events. Holders of the
2022 Notes may convert, at their option, on or after December 15, 2021.360 Further, holders
of the 2022 Notes may convert, at their option, prior to December 15, 2021 only under the
following circumstances:

                (1) during any quarter beginning after June 30, 2017, if the
                closing price of our common stock for at least 20 trading days
                (whether or not consecutive) during the last 30 consecutive
                trading days immediately preceding the quarter is greater than
                or equal to 130% of the conversion price; (2) during the five-
                business day period following any five- consecutive trading day
                period in which the trading price of the 2022 Notes is less than
                98% of the product of the closing price of our common stock
                for each day during such five- consecutive trading day period
                or (3) if we make specified distributions to holders of our
                common stock or if specified corporate transactions occur.361

         256. If a fundamental change occurs (as described in the prospectus supplement)
prior to the applicable maturity date, holders of these notes could require the Company to

356
      Source: Bloomberg.
357
      Tesla Prospectus Supplement filed February 28, 2014, p. S-5.
358
      Source: Bloomberg.
359
      Tesla SEC Form 10-K filed February 19, 2019, pp. 111-112; Tesla Prospectus Supplement
      dated March 16, 2017, cover page.
360
      Tesla SEC Form 10-K filed February 19, 2019, p. 112.
361
      Tesla SEC Form 10-K filed February 19, 2019, p. 112.


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repurchase all or a portion of their notes for cash at a repurchase price equal to 100% of
the principal amount plus any accrued and unpaid interest. In addition, if specific corporate
events occurred (as described in the prospectus supplement) prior to the applicable maturity
date, the Company would increase the conversion rate for a holder who elected to convert
their notes in connection with such an event in certain circumstances.362

         257. As of December 31, 2018, none of the conditions permitting the holders of
the 2022 Notes to early convert had been met.363

         258. The amount outstanding during the Class Period equaled the amount
issued.364 The 2022 Note was not redeemable by Tesla.365 During the Class Period, the
2021 Note was rated “B-” by S&P.366

           4.      The 2025 Note

         259. In August 2017, Tesla issued $1.80 billion in aggregate principal amount of
unsecured 5.30% Senior Notes due in August 2025 pursuant to Rule 144A and Regulation
S under the Securities Act.367 The 2025 Note is governed by an indenture and guaranteed
on a senior unsecured basis by SolarCity.368 The 2025 Note is redeemable by Tesla, in
whole or in part, prior to the maturity date by paying a price equal to:

                (i) if the redemption is prior to August 15, 2020, 100% of the
                principal amount thereof and accrued and unpaid interest, if
                any, plus a “make-whole” premium calculated pursuant to the
                Indenture; (ii) if the redemption is on or after August 15, 2020
                and before August 15, 2023, a specified price that annually
                declines ratably from 103.975% of the principal amount thereof
                to 101.325% of the principal amount thereof, plus accrued and
                unpaid interest, if any; and (iii) if the redemption is on or after



362
      Tesla SEC Form 10-K filed February 19, 2019, p. 112.
363
      Tesla SEC Form 10-K filed February 19, 2019, p. 112.
364
      Source: Bloomberg.
365
      Tesla Prospectus Supplement filed March 16, 2017, p. S-5.
366
      Source: Bloomberg.
367
      Tesla SEC Form 10-K filed February 19, 2019, p. 112.
368
      Tesla SEC Form 8-K filed August 23, 2017.


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                August 15, 2023, 100% of the principal amount thereof and
                accrued and unpaid interest, if any.369

         260. The 2025 Note is not convertible.370 The amount outstanding during the Class
Period equaled the amount issued.371 During the Class Period, the 2025 Note was rated
“B-” by S&P and “Caa1” by Moody’s.372

         261. Table 11 below summarizes the terms of these bonds.

                                           Table 11373




         C. Event Study for the Tesla Notes

         262. As discussed in the Class Certification Report, to perform an event study, one
begins by separating the impact on security price movements of market- and industry-wide
factors from the impact of firm-specific factors.374 For bonds, an event study uses the same
approach, but a slightly different specification of the regression model. As with a single-
issuer common stock, this approach uses a so-called market model to partition a single
company’s bond price movement on each trading day into various components. For
common stock, there are three parts: the movement caused by market-wide factors, or the
“market effect”; the movement caused by industry-wide factors, or the “industry effect”;
and the movement caused by the “firm-specific effect.” For bonds, especially convertible
bonds, these three components are relevant along with two additional elements: the credit-
risk effect and the time-to-maturity effect.


369
      Tesla SEC Form 8-K filed August 23, 2017.
370
      Source: Bloomberg.
371
      Source: Bloomberg.
372
      Source: Bloomberg.
373
      Source: Bloomberg.
374
      Class Certification Report, Appendix E.


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          263. Furthermore, as discussed above, bond-pricing theory tells us that changes in
prices will take place based on discounted cash flows. The price is a function of these two
factors (in addition to others):

                a) The expected rate of return on similar maturity, riskless debt (i.e., U.S.
                   government bonds); and

                b) The default risk or the probability that the company will be unable to
                   satisfy some or all of the indenture requirements given current and
                   expected future economic conditions.

          264. Therefore, to run the market model regression I add explanatory variables that
account for these exogenous factors. Thus, the specification is as follows:

          Nt = a+ β1(Rmt) + β2(INDUSTRYt) + β3(CREDITt) + β4(MATURITYt) + et.

          265. In this equation, Nt is the daily return to the Note, Rmt is a proxy for the daily
market return, INDUSTRYt is a proxy for the daily industry return, CREDITt is the daily
return of an index of comparably risky bonds, and MATURITYt is the daily return of a
treasury security with the same time-to-maturity as each of the Tesla Notes. In each of the
Tesla Note regressions, the explanatory variables are:

                Rmt: the Nasdaq Composite Total Return Index return
                (Bloomberg ticker “XCMP”);

                INDUSTRYt: the Dow Jones US Automobiles & Parts Industry
                Total Return Index (Bloomberg ticker “DJUSAPT”);

                CREDITt: various ICE BofAML CCC & Lower US Cash Pay
                High Yield Indexes with different term to maturity matched
                with Tesla Notes’ term to maturity as of the start of the Class
                Period;375, 376 and


375
      For the 2019 Note and 2021 Note, I use the ICE BofAML 1-3 Year CCC & Lower US Cash
      Pay High Yield Index (Bloomberg ticker “J1A3”); for the 2022 Note, I use the ICE BofAML
      3-5 Year CCC & Lower US Cash Pay High Yield Index (Bloomberg ticker “J2A3”); for the
      2025 Note, I use the ICE BofAML 7-10 Year CCC & Lower US Cash Pay High Yield Index
      (Bloomberg ticker “J4A3”).
376
      Because the Tesla Notes were rated B- by S&P, I also tested using various ICE BofAML B US
      Cash Pay High Yield Indexes matched to each Note’s time to maturity at the start of the Class
      Period. For the 2019 Note and 2021 Note, I use the ICE BofAML 1-3 Year B US Cash Pay


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                MATURITYt: the return of a Treasury Note with due date
                closest to the maturity date of each Tesla Note.377

          266. The return for INDUSTRYt is net of the Nasdaq Composite Total Return and
the return for CREDITt, is net of the Notes’ respective Treasury Note returns.

          267. Econometric regression methods are used to estimate the parameters or
coefficients in the equation above, namely a, β1, β2, β3 and β4. As for the stock, for each
Note, I use a single control period of 120 trading days ending on August 6, 2018, the day
prior to the start of the Class Period, to estimate the parameters or coefficients of the market
model. As for the stock, I also include “dummy” variables to account for possible
anomalous Note price reactions on the impact dates of days on which the Company
announced earnings results.378

          268. To calculate the returns for the Notes, I use Bloomberg evaluated prices.379, 380
The results of the regression models for Tesla Notes are presented in Panel A of Appendix
11.


      High Yield Index (Bloomberg ticker “J1A2”); for the 2022 Note, I use the ICE BofAML 3-5
      Year B US Cash Pay High Yield Index (Bloomberg ticker “J2A2”); for the 2025 Note, I use
      the ICE BofAML 7-10 Year B US Cash Pay High Yield Index (Bloomberg ticker “J4A2”). I
      chose the CCC & Lower indexes because the R-squared for market models with CCC & Lower
      indexes are higher than that with B rating indexes for all but the 2025 Notes.
377
      The treasury note has to be issued as of February 14, 2018, which is 120 trading days prior to
      the start of the Class Period. If multiple treasury notes mature at the same time, I use the
      treasury note with coupon rate closer to that of Tesla. The CUSIPs of treasury notes I used are
      as follows: 2019 Note: 912828W30; 2021 Note: 912828P87; 2022 Note: 912828W55; 2025
      Note: 912828K74.
378
      The impact dates for the 2 earnings-related dates are: May 3, 2018 and August 2, 2018.
379
      “Bloomberg’s BVAL Evaluated Pricing Service provides transparent and highly defensible
      prices across the liquidity spectrum for a variety of fixed income securities …. The key to
      BVAL’s methodology is its real-time access to market observations from a wealth of
      contributed sources. The accumulated mass of market data serves as the main driver of an
      innovative and quantitative approach that first corroborates market levels on actively traded
      bonds and then derives a comparable relative value price on those securities that are less
      liquid.” Source: Bloomberg.
380
      I also tested market models using daily Volume Weighted Average Prices (“VWAPs”)
      calculated using transactions data during stock trading hours available from Trade Reporting
      and Compliance Engine (“TRACE”). See Appendix 10 for methodology to compute TRACE
      VWAPs. Because there was not TRACE VWAP on each day during the 120 stock trading days


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          269. As discussed above, corporate bonds do not generally trade as frequently as
common stocks. Therefore, it can often take longer for the bond price to respond to new
information. Although in a recent Monroe County Court decision the focus was on
common stock, the court made clear that it is not uncommon for a financial security to take
longer than a single trading day to absorb and reflect all publicly available information.381
The Monroe County Court laid out the arguments as follows:382

                First, using exclusively one-day event windows does not
                change [] conclusion[s] concerning market efficiency. As a
                result, the debate about event windows in this case is largely
                academic. Second, there are many cases that find that multi-
                day event windows are appropriate for event study analysis in
                securities fraud class actions.[citations footnoted]383 Third, and
                more broadly, the Supreme Court has expressly refused to
                “adopt any particular theory of how quickly and completely
                publicly available information is reflected in market

      prior to the Class Period and the Class Period for all Tesla Notes, I used BVAL prices to
      estimate market models for Tesla Notes.
381
      Monroe Cty Empls . Retirement Syst., et al. v. The Southern Co., et al., 332 F.R.D 370, 391
      (N.D. Ga. 2019).
382
      Monroe 332 F.R.D. 370, 391-392.
383
      Monroe citations:
      See, e.g., In re Xcelera.com Sec. Litig., 430 F.3d 503, 513 n.11 (1st Cir. 2005) (rejecting
      argument that a two-day event window is inconsistent with an efficient market); In re DVI, Inc.
      Sec. Litig., 639 F.3d 623, 635 (3rd Cir. 2011) (“That some information took two days to affect
      the price does not undermine a finding of efficiency.”), abrogated on other grounds by Amgen
      Inc. v. Connecticut Retirement Plains and Trust Funds, 133 S. Ct. (2013); In re Vivendi
      Universal, S.A., Sec. Litig., 634 F. Supp. 2d 352, 372 (S.D.N.Y. 2009) (using a three-day
      window for analysis); In re Diamond Foods, Inc., 295 F.R.D. 240, 249 (N.D. Cal. 2013) (citing
      defense expert’s assertion that a “proper test of market efficiency” required analyzing whether
      the market price reacted to new information over more than one trading day in order to “assess[]
      whether there are delayed price responses to the events of interest”); Fogarazzo v. Lehman
      Bros., 263 F.R.D. 90, 104 (S.D.N.Y. 2009) (accepting event study with three-day event window
      and rejecting argument that this rule only applied “where the timing of discrete events was
      [not] ascertainable”); Aranaz v. Catalyst Pharm. Partners, 302 F.R.D. at 669 (citing significant
      two-day stock decline as “strong empirical evidence of market efficiency”). In another
      securities fraud case, Carpenters Pension Tr. Fund of St. Louis v. Barclays PLC, the court
      explicitly considered and rejected Professor Gompers’ exact same argument against two-day
      windows that he offers in this case, finding that “[a] two-to three-day window is common in
      event studies” because “it is standard for experts to utilize an event window including both the
      day of the event and the day following an event.” 310 F.R.D. at 96. The Barclays court noted
      that Professor Gompers “agree[d] that event studies often use a two-day window, the date of
      the announcement and the day after." Id. at 96 n.183.


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                price.”[citations footnoted]384     Fourth, academic literature
                supports the use of two-day (or more) event windows.[citations
                footnoted]385 Fifth, the Court finds, in accordance with the
                academic literature, that when the particular facts and
                circumstances justify investigating multi-day event windows,
                such analysis is appropriate…. Finally, the Court rejects
                Defendants’ suggestion that [multi-day] analysis should be
                disregarded because [it] did not analyze only one-day windows
                or only two-day windows. The Court is unaware of any rule,
                and Defendants cite none, requiring that one must commit at the
                outset, before analyzing the data, to investigate only one-day or
                only two-day event windows. Professor Feinstein testified that
                event study analysis is “an investigation, and the results might
                compel you to look at a larger window.”[citations footnoted]386



384
      Monroe citations:
      Basic, 485 U.S. at 249 n.28. Following its decision in Basic, the Supreme Court in Halliburton
      II reiterated that it would not “enter the fray” of academic debates about the speed at which
      information is impounded into a stock price, and reconfirmed that market efficiency is based
      on “the fairly modest premise that ‘market professionals generally consider most publicly
      announced material statements about companies, thereby affecting stock market prices.’”
      Halliburton Co, et al. v. Erica P. John Fund, Inc., 134 S.Ct. 2398, 2410 (2014). (quoting Basic,
      485 U.S. at 247 n.24).
385
      Monroe citations:
      For example, MacKinlay explains that two-day event windows are appropriate when analyzing
      earnings announcements. (Craig A. MacKinlay, Event Studies in Economics and Finance,35
      Jnl. of Econ. Lit., 1997, pp. 14-15: MacKinlay makes clear that examination of stock price
      effects that occur on the second trading day is perfectly appropriate in event study analysis.).
      Professor Feinstein cited multiple other legal and academic papers endorsing the use of multi-
      day event windows and explaining that price reactions to news sometimes occur over two or
      more trading days, including a paper by David I. Tabak, who explains that “[i]n securities fraud
      cases, many experts have adopted the convention of looking at one-day, two-day, or five-day
      periods following an announcement.” (footnote omitted) And although Defendants and
      Professor Gompers cite academic literature for the proposition that stock price reactions
      generally begin quickly, this does not necessarily mean that stock price reactions always end
      quickly. Rather, as Professor Feinstein explained, “[i]t is not settled science that an efficient
      market price reaction is over within a matter of minutes,” and “the articles [Professor Gompers
      cites] do not conclude that the stock price reaction in an efficient market necessarily ends
      quickly and cannot continue on the day after an earnings announcement.” [Doc. 113-2, ¶¶60,
      65].
386
      Monroe citations:
      Day 1 Tr. at 138:4-11; see also id. at 143:7-10 (“[T]o commit to one-day windows only and
      disregard the possibility that the reaction will be evident on the second day is not reliable
      investigative research.”); id. at 143:17-24 (“Because the literature says that the reaction might


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       D. Results of Event Study for the Notes

       270. Based on my event studies, daily statistics for the four Tesla Notes over the
Corrective Interval are shown in Appendix 12. As expected, the convertible notes react
much like the stock, with cumulative abnormal returns ranging between negative 9.8% and
negative 14.3%, as compared to the stock’s cumulative abnormal return of negative 17.6%.
Although the cumulative abnormal return for the 2025 Note is negative 2.5% over the
Corrective Interval, because the 2025 Note is not convertible and the cumulative abnormal
return was not statistically significant at the 5% level, I do not implement my damages
analysis for the 2025 Note.

       271. In Table 12 below, for each of the convertible Notes, I present the closing
prices, returns, and abnormal returns based on the market models discussed above, and the
adjusted price (i.e., the Note price after removing market-wide and industry influences, as
calculated for the stock).




   be on the second day, it's imperative to look on the second day before concluding that there
   was no reaction.”)


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                                               Table 12387
                                                             Abnormal Adjusted
                            Date       Price      Return      Return   Price
                        2019 Note
                          8/7/2018    $114.69                          $114.69
                          8/8/2018    $110.56      -3.6%      -3.5%    $110.67
                          8/9/2018    $108.27      -2.1%      -2.0%    $108.45
                         8/10/2018    $108.60       0.3%       0.8%    $109.36
                         8/13/2018    $109.29       0.6%       0.9%    $110.36
                         8/14/2018    $108.12      -1.1%      -1.3%    $108.94
                         8/15/2018    $106.63      -1.4%      -0.6%    $108.29
                         8/16/2018    $106.10      -0.5%      -0.8%    $107.45
                         8/17/2018    $102.16      -3.7%      -3.7%    $103.48

                        2021 Note
                          8/7/2018    $122.55                          $122.55
                          8/8/2018    $116.14      -5.2%      -5.1%    $116.26
                          8/9/2018    $112.31      -3.3%      -3.3%    $112.38
                         8/10/2018    $112.74       0.4%       0.9%    $113.41
                         8/13/2018    $114.64       1.7%       2.1%    $115.74
                         8/14/2018    $111.76      -2.5%      -2.7%    $112.56
                         8/15/2018    $109.79      -1.8%      -0.7%    $111.73
                         8/16/2018    $108.80      -0.9%      -1.2%    $110.35
                         8/17/2018    $103.44      -4.9%      -4.9%    $104.99
                        2022 Note
                          8/7/2018    $130.41                          $130.41
                          8/8/2018    $123.61      -5.2%      -5.1%    $123.74
                          8/9/2018    $120.81      -2.3%      -2.1%    $121.17
                         8/10/2018    $121.19       0.3%       1.0%    $122.35
                         8/13/2018    $122.32       0.9%       1.5%    $124.14
                         8/14/2018    $120.27      -1.7%      -2.1%    $121.56
                         8/15/2018    $117.47      -2.3%      -1.2%    $120.13
                         8/16/2018    $116.79      -0.6%      -0.9%    $119.03
                         8/17/2018    $110.07      -5.8%      -5.9%    $112.06

          E. Artificial Inflation in Note Prices

          272. Using the same methodology as used for Tesla common stock, I next compute
the artificial inflation in the prices of the convertible Notes during the Class Period. The
artificial inflation or the consequential effects for the 2019, 2021 and 2022 Notes begin at
$11.21, $17.56 and $18.35, respectively and are presented in Table 13 below.




387
      See Appendix 12 for prices, returns, and abnormal returns. The adjusted price after August 7,
      2018 is equal to the adjusted price on the prior date multiplied by (1 + abnormal return).


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                                             Table 13388
                                                      But-for   Artificial
                                Date       Price       Price    Inflation
                            2019 Note
                              8/7/2018     $114.69    $103.48     $11.21
                              8/8/2018     $110.56    $103.48      $7.07
                              8/9/2018     $108.27    $103.48      $4.78
                             8/10/2018     $108.60    $103.48      $5.12
                             8/13/2018     $109.29    $103.48      $5.81
                             8/14/2018     $108.12    $103.48      $4.63
                             8/15/2018     $106.63    $103.48      $3.15
                             8/16/2018     $106.10    $103.48      $2.61
                             8/17/2018     $102.16      ---           ---

                            2021 Note
                              8/7/2018     $122.55    $104.99     $17.56
                              8/8/2018     $116.14    $104.99     $11.15
                              8/9/2018     $112.31    $104.99      $7.32
                             8/10/2018     $112.74    $104.99      $7.75
                             8/13/2018     $114.64    $104.99      $9.65
                             8/14/2018     $111.76    $104.99      $6.77
                             8/15/2018     $109.79    $104.99      $4.80
                             8/16/2018     $108.80    $104.99      $3.81
                             8/17/2018     $103.44      ---           ---
                            2022 Note
                              8/7/2018     $130.41    $112.06     $18.35
                              8/8/2018     $123.61    $112.06     $11.55
                              8/9/2018     $120.81    $112.06      $8.75
                             8/10/2018     $121.19    $112.06      $9.13
                             8/13/2018     $122.32    $112.06     $10.26
                             8/14/2018     $120.27    $112.06      $8.21
                             8/15/2018     $117.47    $112.06      $5.41
                             8/16/2018     $116.79    $112.06      $4.73
                             8/17/2018     $110.07      ---           ---

          F. Artificial Inflation in Note Prices Caused Directly by the Musk Tweets

          273. To calculate the direct effect on the Note prices of the Musk Tweets, I
calculate the abnormal return observed for the Tweets Interval using Note transaction data
from TRACE. Appendix 10 describes the data and my methodology to clean the data. I
first calculate a price prior to the Musk Tweets, as the volume weighted average price
(“VWAP”) based on transactions on August 7, 2018 prior to 12:48 p.m. I then calculate a


388
      See Table 12 for prices and but-for prices. Artificial inflation is equal to price less but-for
      price.


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price following the initial Musk tweet, as the VWAP after the initial 12:48 p.m. tweet based
on transactions on or after 12:48 p.m.389 To measure the direct effect on the Note prices of
the Musk Tweets, I start with the difference between the post-Musk Tweets VWAP price
and the pre-Musk Tweets VWAP price. Finally, I remove the impact of market-wide and
industry influences from the price change. The abnormal price change is a measure of the
direct effect on the Note prices of the Musk Tweets.390 I note that the abnormal price change
is equal to abnormal return multiplied by the pre-Musk Tweets VWAP. The abnormal
price changes for all three Notes are statistically significant at the 1% level.391 These
abnormal price changes or the direct effect for the 2019, 2021 and 2022 Notes are $4.49,
$6.17 and $6.26, respectively and are shown in Table 14 below.

          274. I then apply the analysis from Table 8 above that uses the direct scalar to
measure the direct effect of the Musk Tweets over the Class Period. The results of this
analysis are presented in Table 14 below.




389
      For the calculation of these intraday VWAPs, I considered all transactions during the day and
      did not limit the analysis to stock trading hours.
390
      For each Note, I calculate two volume-weighted times (one for trades before 12:48 pm and one
      for trades on or after 12:48 pm). I then compute the intraday market return and intraday
      industry return between these two points of time. The intraday abnormal return is computed
      as intraday return on the Note, less market beta times the intraday market return, less industry
      beta times the intraday industry return. For each Note, the market beta and industry beta are
      measured from the same regression specification as used in the market model discussed above,
      except that I run an alternative regression over the prior 120 days wherein the industry return
      is not net of market. See Panel B of Appendix 11. In the calculation of the intraday abnormal
      return, I assume intraday Credit and Treasury variable movements are close to zero.
      If the volume-weighted time is before market open or after market close, I use the open and
      close price respectively for the market and industry to calculate the intraday returns. Industry
      return is calculated after removing the impact of Tesla based on Tesla’s weights in the index.
      Source for minute-level price and open/close prices for market and industry indexes:
      Bloomberg.
391
      The t-statistic for each abnormal return is computed as the abnormal return divided by the
      adjusted standard error, which is equal to the standard error of the regression discussed in the
      previous footnote multiplied by the squared root of the ratio of the number of minutes between
      the two points of volume weighted times divided by 390 (i.e., the number of minutes between
      9:30 am and 4:00 pm). The ratio is set to be less than or equal to one.


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                                                  Table 14392
                           Aug. 7    Aug. 8   Aug. 9   Aug. 10   Aug. 13   Aug. 14   Aug. 15   Aug. 16   Aug. 17
Direct Scalar              100.0%    72.0%    41.2%     51.1%     62.9%     63.9%     54.0%     48.4%     0.0%

Daily Direct Artificial Inflation
2019 Note                    $4.49   $3.23    $1.85     $2.30     $2.83     $2.87     $2.43     $2.17     $0.00
2021 Note                    $6.17   $4.44    $2.54     $3.16     $3.88     $3.95     $3.34     $2.99     $0.00
2022 Note                    $6.26   $4.50    $2.58     $3.20     $3.94     $4.00     $3.38     $3.03     $0.00


          275. Finally, based on the combined levels of artificial inflation in Table 13 and
the artificial inflation directly caused by the Musk Tweets in Table 14, I calculate the
artificial inflation related to the Consequential Harm or the consequential effects and the
“but-for” price excluding the price impact of the Consequential Harm. This is shown below
in Table 15 below.




392
      See Table 8 for the Direct Scalar. The direct artificial inflation on each day equals the direct
      effect on August 7, 2018 multiplied by the direct scalar each day.


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                                               Table 15393
                                  Total                 Direct      Consequential   Direct
                                Artificial    Direct   Artificial     Artificial    But-For
                   Date         Inflation     Scalar   Inflation      Inflation      Price


                2019 Note
                   8/7/2018        $11.21      1.00       $4.49         $6.72       $110.20
                   8/8/2018         $7.07      0.72       $3.23         $3.84       $107.33
                   8/9/2018         $4.78      0.41       $1.85         $2.93       $106.42
                  8/10/2018         $5.12      0.51       $2.30         $2.82       $106.31
                  8/13/2018         $5.81      0.63       $2.83         $2.98       $106.47
                  8/14/2018         $4.63      0.64       $2.87         $1.76       $105.25
                  8/15/2018         $3.15      0.54       $2.43         $0.72       $104.21
                  8/16/2018         $2.61      0.48       $2.17         $0.44       $103.92
                  8/17/2018            ---     0.00          ---           ---           ---


                2021 Note
                   8/7/2018        $17.56      1.00       $6.17        $11.39       $116.38
                   8/8/2018        $11.15      0.72       $4.44         $6.71       $111.70
                   8/9/2018         $7.32      0.41       $2.54         $4.77       $109.76
                  8/10/2018         $7.75      0.51       $3.16         $4.59       $109.58
                  8/13/2018         $9.65      0.63       $3.88         $5.76       $110.75
                  8/14/2018         $6.77      0.64       $3.95         $2.83       $107.82
                  8/15/2018         $4.80      0.54       $3.34         $1.47       $106.46
                  8/16/2018         $3.81      0.48       $2.99         $0.82       $105.81
                  8/17/2018            ---     0.00          ---           ---           ---


                2022 Note
                   8/7/2018        $18.35      1.00       $6.26        $12.10       $124.16
                   8/8/2018        $11.55      0.72       $4.50         $7.04       $119.10
                   8/9/2018         $8.75      0.41       $2.58         $6.17       $118.23
                  8/10/2018         $9.13      0.51       $3.20         $5.93       $117.99
                  8/13/2018        $10.26      0.63       $3.94         $6.33       $118.39
                  8/14/2018         $8.21      0.64       $4.00         $4.21       $116.27
                  8/15/2018         $5.41      0.54       $3.38         $2.03       $114.09
                  8/16/2018         $4.73      0.48       $3.03         $1.70       $113.76
                  8/17/2018            ---     0.00          ---           ---           ---

          276. As discussed above, the standard “out-of-pocket” method of calculating
damages per Note for each member of the Class under Section 10(b) involves a measure




393
      See Table 8 for and the Direct Scalar. See Table 14 for Direct Artificial Inflation.
      Consequential Artificial Inflation is equal to Artificial Inflation in Table 13 minus Direct
      Artificial Inflation. Direct But-For Price is equal to Price minus Direct Artificial Inflation.


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of the net minute-by-minute or daily inflation in the price of the Note at the time of the
purchase and at the time of the sale.394


I declare under penalty of perjury that the foregoing is true and correct.

RESPECTFULLY SUBMITTED THIS TENTH DAY OF NOVEMBER 2021



_____________________________________
Michael L. Hartzmark, Ph.D.




394
      As with the common stock, the PSLRA limit would also apply.


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                           UNITED STATES DISTRICT COURT

                        NORTHERN DISTRICT OF CALIFORNIA

                     BEFORE THE HONORABLE EDWARD M. CHEN

IN RE TESLA, INC. SECURITIES       )
LITIGATION                         ) No. C 18-4865 EMC
                                   )
                                   ) San Francisco, California
                                   ) Tuesday
                                   ) October 25, 2022
___________________________________) 9:30 a.m.

           TRANSCRIPT OF ZOOM VIDEO CONFERENCE PROCEEDINGS

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                                       New York, New York 10010
4                             BY:      ALEXANDER B. SPIRO, ESQ.
                                       ELLYDE R. THOMPSON, ESQ.
5                                      JESSE A. BERNSTEIN, ESQ.

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            Official Reporter - U.S. District Court - San Francisco
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1         As I understand the model that Dr. Heston used, I mean, he

2    took everything -- his volatility, you know, implied volatility

3    rates and all sorts of stuff was taken before the Tweet and

4    then you look at what happens after the Tweet.                     That's how he

5    got his differential; right?                I mean, it's the same principle,

6    his but-for was based on the pre-Tweet circumstances.                     Do I

7    have that right?

8              MR. PORRITT:            What you described, Your Honor, is

9    basically what Professor Heston and Dr. Hartzmark do.                     I mean,

10   they do take the price beforehand, and that's the implied

11   volatility that Dr. Hartzmark uses, and then -- or you could

12   take it at the end.

13        I mean, essentially at the end, on August 17th the

14   volatility goes back to kind of where it was on August 7th, so

15   it's kind of a distinction without a difference.

16        And we use those implied volatilities to calculate but-for

17   option prices, and then we compare that to the option prices

18   that were actually transacted during the class period.

19             THE COURT:           I guess my simple question is why not use

20   the actual option prices, which are already -- presumably takes

21   into account the expected volatility?                      There is a certain

22   expectation of volatility before the Tweet and expected

23   volatility after the Tweet, as there was an expected price

24   direction of stock before the Tweet versus after the Tweet.

25        Why doesn't real world pricing already take -- why do we

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1    actual prices can be observed.                 They're there.

2         So that could be done to compare them, but we could

3    calculate -- we are going to calculate but-for prices for every

4    single one of the 2400 option series.

5         It's not like damages are going to be calculated based on

6    an aggregate basis, which is sort of what defendants implied.

7    They will be calculated -- implied volatility will be assessed

8    as required by the Black-Scholes method across -- by maturity,

9    but then that will then be used in what is a completely

10   arithmetic exercise to then generate but-for prices for all

11   2400 option series, which will then be used to calculate

12   damages for every single one of the 2400 option series.

13        So if it's the difference between we think the adjusted

14   price that Professor Heston did, he eliminates some of the

15   noise, what he describes as noise in the data.                    But if the --

16   if the Court's concern is that's not sufficiently supported and

17   would rather -- if the Court's preference is that we use actual

18   prices, we use actual prices.                 That would be very easy to do,

19   and I don't think would make really that much of a difference

20   in the whole scheme of things.

21             THE COURT:           Have you done a -- remind me.           Have you

22   done that comparison between the actual prices and the

23   generated --

24             MR. PORRITT:            In this one?           When we were evaluating

25   the model, I believe Professor Heston looked at that.                    I don't

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                    CERTIFICATE OF OFFICIAL REPORTER




     I certify that the foregoing is a correct transcript from

the record of proceedings in the above-entitled matter.




                 __________________________________

               Debra L. Pas, CSR 11916, CRR, RMR, RPR

                         Wednesday, November 2, 2022




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Case 3:18-cv-04865-EMC Document 515-1 Filed 12/21/22 Page 265 of 271




                 Exhibit D
             Case 3:18-cv-04865-EMC Document 515-1 Filed 12/21/22 Page 266 of 271


Kyle Batter

From:                Nicholas I. Porritt <nporritt@zlk.com>
Sent:                Monday, December 19, 2022 9:21 PM
To:                  Anthony Alden
Cc:                  Michael Lifrak; Elizabeth K Tripodi; Adam M Apton; Adam C McCall; Alexander Krot; Maxwell Weiss;
                     Pamela Hunter; Kathy Ames Valdivieso; Alex Bergjans; Alex Spiro; Jesse Bernstein; Kyle Batter; Phillip
                     Jobe; Ellyde Thompson; Andrew J. Rossman
Subject:             Re: [External]RE: [External]RE: [External]RE: [External]Heston Analysis


                                         [EXTERNAL EMAIL from nporritt@zlk.com]


Anthony:

As we explained in our discussion on Friday, this is not a new methodology by Dr. Hartzmark but is exactly the out‐of‐
pocket methodology described in Dr. Hartzmark’s and Professor Heston’s reports and discussed at length during their
depositions. Plaintiff is simply accepting Defendants’ proposal made by Prof. Seru and by Defendants’ counsel to the
Court to use unadjusted transaction data rather than data adjusted for market noise etc. to calculate option prices for
the purposes of the out‐of‐pocket methodology. Any calculation of damages for options will also utilize the but‐for price
for Tesla stock determined by the jury at trial. Plaintiff is prepared to provide revised calculations showing the but‐for
prices for Tesla options assuming a but‐for price for Tesla stock of $312.90 which is the price identified by Dr. Hartzmark
and described in his report. This is a straightforward calculation that Defendants are more than capable of running
themselves but nonetheless we are prepared to provide it to you.

With regards to additional depositions of Dr. Hartzmark and Prof. Heston, we are prepared to discuss this further with
Defendants’ counsel if you can identify areas of inquiry that were unable to be addressed in their depositions taken to
date. For instance, see Hartzmark 3/18/22 Dep. Tr. at 298:21‐299:1 (noting that to the “extent that these values
[in Appendix 8 showing the levels of inflation or deflation in Tesla options] are replaced, say, for example, with
defendants’ values, then the methodology and the out‐of‐pocket methodology to calculate damage would
remain the same”). There are numerous other examples of similar testimony.

Sincerely

Nick


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                  Case 3:18-cv-04865-EMC Document 515-1 Filed 12/21/22 Page 267 of 271

From: Anthony Alden <anthonyalden@quinnemanuel.com>
Date: Friday, December 16, 2022 at 7:51 PM
To: Nicholas I. Porritt <nporritt@zlk.com>
Cc: Michael Lifrak <michaellifrak@quinnemanuel.com>, Elizabeth K Tripodi <etripodi@zlk.com>, Adam M
Apton <aapton@zlk.com>, Adam C McCall <amccall@zlk.com>, Alexander Krot <akrot@zlk.com>, Maxwell
Weiss <mweiss@zlk.com>, Pamela Hunter <phunter@zlk.com>, Kathy Ames Valdivieso
<kavaldivieso@zlk.com>, Alex Bergjans <alexbergjans@quinnemanuel.com>, Alex Spiro
<alexspiro@quinnemanuel.com>, Jesse Bernstein <jessebernstein@quinnemanuel.com>, Kyle Batter
<kylebatter@quinnemanuel.com>, Phillip Jobe <phillipjobe@quinnemanuel.com>, Ellyde Thompson
<ellydethompson@quinnemanuel.com>, Andrew J. Rossman <andrewrossman@quinnemanuel.com>
Subject: [External]RE: [External]RE: [External]RE: [External]Heston Analysis

Nick: Thank you for talking today. During the call, you stated that Professor Heston would not be offering any new
opinions as a result of the Court’s Final Pre‐Trial Conference Order; instead, certain opinions contained in his reports will
not be offered at trial. We requested and you agreed to advise us in writing, and by reference to sections in his reports,
which opinions Professor Heston will no longer be offering at trial. Please provide this by Wednesday, December 21.

We also requested (1) a supplemental report from Dr. Hartzmark explaining his new methodology for calculating
damages on Tesla options, the bases for the new methodology, and all supporting calculations; and (2) supplemental
depositions of Professor Heston and Dr. Hartzmark. Defendants are entitled to depose Professor Heston and Dr.
Hartzmark about the obvious inconsistencies between Dr. Hartzmark’s newly disclosed options damages methodology
and their prior opinions. You stated that you would consider our requests and that it might be reasonable for plaintiff to
at least serve a supplemental Hartzmark report containing a description of the methodology and revised Appendix
8. Please let us know by Monday whether plaintiff will agree to our request and by when plaintiff will serve the
supplemental report. Absent agreement, we intend to promptly seek relief from the Court.

Thanks,
Anthony

Anthony P. Alden | Partner | Quinn Emanuel Urquhart & Sullivan, LLP

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From: Nicholas I. Porritt <nporritt@zlk.com>
Sent: Thursday, December 15, 2022 8:48 AM
To: Anthony Alden <anthonyalden@quinnemanuel.com>
Cc: Michael Lifrak <michaellifrak@quinnemanuel.com>; Elizabeth K Tripodi <etripodi@zlk.com>; Adam M Apton
<aapton@zlk.com>; Adam C McCall <amccall@zlk.com>; Alexander Krot <akrot@zlk.com>; Maxwell Weiss
<mweiss@zlk.com>; Pamela Hunter <phunter@zlk.com>; Kathy Ames Valdivieso <kavaldivieso@zlk.com>; Alex Bergjans
                                                                                  2
              Case 3:18-cv-04865-EMC Document 515-1 Filed 12/21/22 Page 268 of 271

<alexbergjans@quinnemanuel.com>; Alex Spiro <alexspiro@quinnemanuel.com>; Jesse Bernstein
<jessebernstein@quinnemanuel.com>; Kyle Batter <kylebatter@quinnemanuel.com>; Phillip Jobe
<phillipjobe@quinnemanuel.com>; Ellyde Thompson <ellydethompson@quinnemanuel.com>; Andrew J. Rossman
<andrewrossman@quinnemanuel.com>
Subject: Re: [External]RE: [External]RE: [External]Heston Analysis

                                           [EXTERNAL EMAIL from nporritt@zlk.com]


Yes that is fine.

Sent from my iPhone



         On Dec 15, 2022, at 11:07 AM, Anthony Alden <anthonyalden@quinnemanuel.com> wrote:


         Nick: Is it possible to move this call to 9 a.m. PT / 12 p.m. ET tomorrow? A couple of people on our side
         have had conflicts arise today.

         From: Nicholas I. Porritt <nporritt@zlk.com>
         Sent: Tuesday, December 13, 2022 9:58 AM
         To: Michael Lifrak <michaellifrak@quinnemanuel.com>; Elizabeth K Tripodi <etripodi@zlk.com>; Adam
         M Apton <aapton@zlk.com>; Adam C McCall <amccall@zlk.com>; Alexander Krot <akrot@zlk.com>;
         Maxwell Weiss <mweiss@zlk.com>; Pamela Hunter <phunter@zlk.com>; Kathy Ames Valdivieso
         <kavaldivieso@zlk.com>
         Cc: Alex Bergjans <alexbergjans@quinnemanuel.com>; Alex Spiro <alexspiro@quinnemanuel.com>;
         Jesse Bernstein <jessebernstein@quinnemanuel.com>; Kyle Batter <kylebatter@quinnemanuel.com>;
         Phillip Jobe <phillipjobe@quinnemanuel.com>; Ellyde Thompson
         <ellydethompson@quinnemanuel.com>; Anthony Alden <anthonyalden@quinnemanuel.com>; Andrew
         J. Rossman <andrewrossman@quinnemanuel.com>
         Subject: Re: [External]RE: [External]Heston Analysis

                                           [EXTERNAL EMAIL from nporritt@zlk.com]


         Thursday is better for me. I am generally available all day.

         From: Michael Lifrak <michaellifrak@quinnemanuel.com>
         Date: Tuesday, December 13, 2022 at 12:43 PM
         To: Nicholas I. Porritt <nporritt@zlk.com>, Elizabeth K Tripodi <etripodi@zlk.com>, Adam M
         Apton <aapton@zlk.com>, Adam C McCall <amccall@zlk.com>, Alexander Krot
         <akrot@zlk.com>, Maxwell Weiss <mweiss@zlk.com>, Pamela Hunter <phunter@zlk.com>,
         Kathy Ames Valdivieso <kavaldivieso@zlk.com>
         Cc: Alex Bergjans <alexbergjans@quinnemanuel.com>, Alex Spiro
         <alexspiro@quinnemanuel.com>, Jesse Bernstein <jessebernstein@quinnemanuel.com>, Kyle
         Batter <kylebatter@quinnemanuel.com>, Phillip Jobe <phillipjobe@quinnemanuel.com>, Ellyde
         Thompson <ellydethompson@quinnemanuel.com>, Anthony Alden
         <anthonyalden@quinnemanuel.com>, Andrew J. Rossman


                                                               3
     Case 3:18-cv-04865-EMC Document 515-1 Filed 12/21/22 Page 269 of 271

<andrewrossman@quinnemanuel.com>
Subject: [External]RE: [External]Heston Analysis

Thanks, Nick.

Can we schedule a call for tomorrow or Thursday to discuss further?

Could you let us know available times?

Thanks,
Mike

From: Nicholas I. Porritt <nporritt@zlk.com>
Sent: Monday, December 12, 2022 7:19 PM
To: Michael Lifrak <michaellifrak@quinnemanuel.com>; Elizabeth K Tripodi <etripodi@zlk.com>; Adam
M Apton <aapton@zlk.com>; Adam C McCall <amccall@zlk.com>; Alexander Krot <akrot@zlk.com>;
Maxwell Weiss <mweiss@zlk.com>; Pamela Hunter <phunter@zlk.com>; Kathy Ames Valdivieso
<kavaldivieso@zlk.com>
Cc: Alex Bergjans <alexbergjans@quinnemanuel.com>; Alex Spiro <alexspiro@quinnemanuel.com>;
Jesse Bernstein <jessebernstein@quinnemanuel.com>; Kyle Batter <kylebatter@quinnemanuel.com>;
Phillip Jobe <phillipjobe@quinnemanuel.com>; Ellyde Thompson
<ellydethompson@quinnemanuel.com>; Anthony Alden <anthonyalden@quinnemanuel.com>; Andrew
J. Rossman <andrewrossman@quinnemanuel.com>
Subject: Re: [External]Heston Analysis

                                 [EXTERNAL EMAIL from nporritt@zlk.com]


Michael:

Based on the Court order and our revisions to verdict form that we sent through earlier today, we are
not sure there are any revised calculations for our experts. None of Professor Heston’s calculations
changes (although some will not be presented at trial). As discussed in the context of the verdict form,
we propose to just use actual reported implied volatility for all calculations of option damages. The
actual but‐for option price for each option series will depend on the amount of inflation for the
underlying Tesla stock that is found by the jury (as was always the case) but there is now no additional
variable of implied volatility being calculated by Dr. Hartzmark and presented to the jury for
determination.

We are happy to discuss further tomorrow or on Wednesday this week together with our proposed
revised verdict form.

Sincerely,


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                                                    4
       Case 3:18-cv-04865-EMC Document 515-1 Filed 12/21/22 Page 270 of 271

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From: Michael Lifrak <michaellifrak@quinnemanuel.com>
Date: Sunday, December 11, 2022 at 11:49 AM
To: Elizabeth K Tripodi <etripodi@zlk.com>, Nicholas I. Porritt <nporritt@zlk.com>, Adam M
Apton <aapton@zlk.com>, Adam C McCall <amccall@zlk.com>, Alexander Krot
<akrot@zlk.com>, Maxwell Weiss <mweiss@zlk.com>, Pamela Hunter <phunter@zlk.com>,
Kathy Ames Valdivieso <kavaldivieso@zlk.com>
Cc: Alex Bergjans <alexbergjans@quinnemanuel.com>, Alex Spiro
<alexspiro@quinnemanuel.com>, Jesse Bernstein <jessebernstein@quinnemanuel.com>, Kyle
Batter <kylebatter@quinnemanuel.com>, Phillip Jobe <phillipjobe@quinnemanuel.com>, Ellyde
Thompson <ellydethompson@quinnemanuel.com>, Anthony Alden
<anthonyalden@quinnemanuel.com>, Andrew J. Rossman
<andrewrossman@quinnemanuel.com>
Subject: [External]Heston Analysis

Counsel:

In the Court’s December 7, 2021 Final Pretrial Conference Order, the Court noted that “in response to
the concerns expressed by the Court [regarding Professor Heston’s analysis], Plaintiff agreed to use
actual, not adjusted data to calculate the ‘actual’ (not but‐for) curve” and to “rerun his calculations using
actual market data for each particular stock option.” (Dkt. 508 at 47).

It has now been nearly seven weeks since the Final Pretrial Conference. In light of the upcoming trial
date, please immediately provide the new report and disclosure by Professor Heston (and Professor
Hartzmark, if he is amending any of his calculations). If you do not provide the new reports and
disclosures within a week of the Court’s order, we will treat them as untimely and prejudicial, and we
will move to exclude them. Moreover, even if you do provide them immediately, we believe any new
opinions/calculations are independently inadmissible (including on the basis of untimeliness), and we
reserve the right to seek exclusion and to have our experts rebut them at trial.

Please also let us know dates in the next few weeks on which you will make Professor Heston and
Professor Hartzmark available for deposition regarding any new calculations.

Thanks,

Mike

Michael Lifrak
Partner,
Quinn Emanuel Urquhart & Sullivan LLP.

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